Case 1:23-cv-00975-RGA-SRF        Document 422 Filed 07/09/25       Page 1 of 455 PageID
                                       #: 34271



                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS                       )
  CORPORATION,                              )
                                            )
                Plaintiff,                  ) Redacted - Public Version
                                            )
    v.                                      ) C.A. No. 23-975-RGA-SRF
                                            )
  LIQUIDIA TECHNOLOGIES, INC.,              )
                                            )
                Defendant.                  )


               DEFENDANT’S OPENING BRIEF IN SUPPORT OF ITS
            MOTION TO EXCLUDE THE OPINIONS AND TESTIMONY OF
              PLAINTIFF’S EXPERT DR. RONALD A. THISTED, PH.D.
                 REGARDING INFRINGEMENT AND VALIDITY


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Case 1:23-cv-00975-RGA-SRF     Document 422 Filed 07/09/25   Page 2 of 455 PageID
                                    #: 34272



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Case 1:23-cv-00975-RGA-SRF                      Document 422 Filed 07/09/25                              Page 3 of 455 PageID
                                                     #: 34273

                                                   TABLE OF CONTENTS

                                                                                                                                Page

 I.     NATURE AND STAGE OF PROCEEDINGS ................................................................. 1
 II.    SUMMARY OF ARGUMENT ......................................................................................... 1
 III.   STATEMENT OF FACTS ................................................................................................ 2
        A.        The ’327 Patent and the Asserted Claims .............................................................. 2
        B.        Dr. Thisted is Not a POSA..................................................................................... 3
        C.        Dr. Thisted Opines that a POSA Would Consider the ’327 Patent Claims
                  Valid and Infringed ................................................................................................ 6
 IV.    ARGUMENT ................................................................................................................... 10
        A.        Legal Standards .................................................................................................... 10
        B.        Dr. Thisted’s Opinions regarding Validity Should be Excluded ......................... 12
        C.        Dr. Thisted’s Opinions regarding Infringement Should be Excluded ................. 15
        D.        Alternatively, Dr. Thisted’s Identified Opinions Should be Excluded under
                  Rules 402 and/or 403 ........................................................................................... 18
 V.     CONCLUSION ................................................................................................................ 19




                                                                 -i-
Case 1:23-cv-00975-RGA-SRF                        Document 422 Filed 07/09/25                           Page 4 of 455 PageID
                                                       #: 34274

                                                   TABLE OF AUTHORITIES

                                                                                                                             Page(s)
 Cases

 Bausch & Lomb Inc. v. SBH Holdings LLC,
    C.A. No. 20-1463-GBW-CJB, 2025 WL 591318 (D. Del. Feb. 24, 2025) .......................12, 17

 Bial-Portela & CA. S.A. v. Alkem Lab’ys Ltd.,
    C.A. No. 18-304-CFC-CJB, 2022 WL 4244989 (D. Del. Sept. 15, 2022) ..............................12

 Daubert v. Merrell Dow Pharms, Inc.,
    509 U.S. 579 (1993) .......................................................................................................1, 10, 11

 Schneider ex rel. Est. of Schneider v. Fried,
    320 F.3d 396 (3d Cir. 2003).................................................................................................1, 10

 Heron Therapeutics, Inc. v. Fresenius Kabi USA, LLC,
    C.A. No. 22-985-WCB, 2024 U.S. Dist. LEXIS 87435 (D. Del. May 15, 2024)....................12

 HVLPO2, LLC v. Oxygen Frog, LLC,
   949 F.3d 685 (Fed. Cir. 2020)..................................................................................................11

 Kyocera Senco Indus. Tools Inc. v. Int’l Trade Comm’n,
    22 F.4th 1369 (Fed. Cir. 2022) ........................................................................................ passim

 Robert S. v. Stetson Sch.,
    256 F.3d 159 (3d Cir. 2001).....................................................................................................18

 Sanofi v. Glenmark Pharms. Inc.,
    No. 14-264-RFA, 2016 WL 10957311 (D. Del. May 12, 2016) .................................15, 17, 18

 Sierra Wireless, ULC v. Sisvel S.p.A,
     130 F.4th 1019 (Fed. Cir. 2025) ........................................................................................11, 15

 Standard Oil Co. v. Am. Cyanamid Co.,
    774 F.2d 448 (Fed. Cir. 1985)..................................................................................................11

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    550 F.3d 1356 (Fed. Cir. 2008)................................................................................1, 11, 12, 18

 Takeda Pharm. Co. Ltd. v. Norwich Pharms., Inc.,
    No. 20-8966 (SRC), 2022 WL 17959811 (D.N.J. Dec. 27, 2022), aff’d, 2023
    WL 3244022 (Fed. Cir. May 4, 2023) .....................................................................................12




                                                                  -ii-
Case 1:23-cv-00975-RGA-SRF                            Document 422 Filed 07/09/25                               Page 5 of 455 PageID
                                                           #: 34275

                                                      TABLE OF AUTHORITIES
                                                          (CONTINUED)

                                                                                                                                      Page(s)
 Other Authorities

 Fed. R. Evid.
    402..............................................................................................................................1, 2, 18, 19
    403........................................................................................................................1, 2, 15, 18, 19
    702.................................................................................................................................... passim




                                                                      -iii-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 6 of 455 PageID
                                           #: 34276



        Defendant Liquidia Technologies, Inc. (“Liquidia”) respectfully moves to exclude the

 opinions and testimony of Plaintiff United Therapeutics Corporation’s (“UTC’s”) expert,

 Dr. Ronald A. Thisted, Ph.D., regarding infringement and validity 1 because he admittedly does not

 meet the definition of a person of ordinary skill in the art (“POSA”) in this case, and therefore his

 identified opinions are inadmissible under Federal Rule of Evidence 702 (“Rule 702”). 2

 I.     NATURE AND STAGE OF PROCEEDINGS

        This is a patent infringement litigation arising under the Hatch-Waxman Act and relates to

 the use of the drug treprostinil for pulmonary hypertension associated with interstitial lung disease

 (“PH-ILD”). D.I. 8, ¶¶ 1-3. The sole asserted patent is U.S. Patent No. 11,826,327 (“the ’327

 patent”). Id.; D.I. 17. Fact and expert discovery are closed. D.I. 225, ¶ 4. This case is scheduled

 for a bench trial beginning on June 23, 2025. D.I. 45, ¶ 14. The pretrial conference is set for

 June 13, 2025. Id. at ¶ 12.

 II.    SUMMARY OF ARGUMENT

        1.      Rule 702 sets forth three distinct restrictions on expert testimony—“qualification,

 reliability, and fit.” Schneider ex rel. Est. of Schneider v. Fried, 320 F.3d 396, 404-05 (3d Cir.

 2003). “To offer expert testimony from the perspective of a skilled artisan in a patent case—like

 for claim construction, validity, or infringement—a witness must at least have ordinary skill in the

 art.” Kyocera Senco Indus. Tools Inc. v. Int’l Trade Comm’n, 22 F.4th 1369, 1376-78 (Fed. Cir.

 2022); see also Sundance, Inc. v. DeMonte Fabricating Ltd., 550 F.3d 1356, 1363 (Fed. Cir. 2008)



 1
   The specific opinions of Dr. Thisted that should be excluded include the subject matter of the
 highlighted paragraphs, and portions of paragraphs, identified in Exhibit 1 (Thisted Rebuttal
 Report) and Exhibit 2 (Thisted Reply Report), both attached hereto.
 2
   To the extent the Court does not view these issues as appropriate for a Daubert motion, Liquidia
 requests that the Court consider these issues as if in a motion in limine and exclude Dr. Thisted’s
 opinions and testimony regarding infringement and validity under Federal Rules of Evidence 402
 (“Rule 402”) and/or 403 (“Rule 403”). See infra § IV.D.


                                                 -1-
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25            Page 7 of 455 PageID
                                             #: 34277



 (“[W]here an issue calls for consideration of evidence from the perspective of one of ordinary skill

 in the art, it is contradictory to Rule 702 to allow a witness to testify on the issue who is not

 qualified as a technical expert in that art.”).

         2.      Rule 402 provides that irrelevant evidence is not admissible. Rule 403 provides

 that the Court may exclude relevant evidence if its probative value is substantially outweighed by

 a danger of, inter alia, unfair prejudice, confusing the issues, or wasting time.

         3.      Dr. Thisted, by his own admission, is not a POSA in this case because he has no

 medical degree and no experience treating patients, let alone PH-ILD patients. However, his

 expert reports opine extensively regarding whether the claims of the ’327 patent are valid and/or

 infringed when viewed from the perspective of a POSA. Because he is not a POSA, this testimony

 amounts to sheer speculation and is “neither relevant nor reliable” under Rule 702. Kyocera, 22

 F.4th at 1377. Further, Dr. Thisted’s identified testimony is irrelevant under Rule 402, and any

 potential relevance is substantially outweighed by the threat of unfair prejudice to Liquidia,

 confusing the issues, and wasting time under Rule 403.

         4.      Accordingly, Dr. Thisted’s opinions regarding infringement and validity offered

 from the POSA’s perspective, including at least those identified in Exhibits 1 and 2 attached hereto,

 should be excluded under Rule 702 or, alternatively, Rules 402 and/or 403.

 III.    STATEMENT OF FACTS

         A.      The ’327 Patent and the Asserted Claims

         The asserted ’327 patent claims methods of improving exercise capacity in PH-ILD

 patients by administering treprostinil by inhalation. D.I. 8-2 (“’327 patent”), 54:5-55:9 (cls. 1-19).

 PH-ILD is one of several different forms of pulmonary hypertension (“PH”), a progressive, life-

 threatening disease characterized by elevated blood pressure in lung vasculature. D.I. 54, ¶¶ 27-

 35. Specifically, PH is categorized into five groups by the World Health Organization (“WHO”),


                                                   -2-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 8 of 455 PageID
                                           #: 34278



 and PH-ILD falls within WHO Group 3—PH associated with lung diseases and/or hypoxia. Id.

 PH-ILD is one of the most common diseases associated with Group 3, with PH reported in up to

 86% of patients with interstitial lung disease (“ILD”). ’327 patent, 27:16-22. As noted in the ʼ327

 patent, ILD is a “group of lung diseases.” Id. at 1:20-28, 2:53-67, 12:49-62, 29:1-30 (Table 4).

        UTC asserts that Liquidia’s YutrepiaTM product infringes claims 1-11 and 14-19 of the ’327

 Patent (“the Asserted Claims”). See Ex. 2, ¶ 2. Independent claim 1 recites:

        A method of improving exercise capacity in a patient having pulmonary
        hypertension associated with interstitial lung disease, comprising administering by
        inhalation to the patient having pulmonary hypertension associated with interstitial
        lung disease an effective amount of at least 15 micrograms up to a maximum
        tolerated dose of treprostinil or a pharmaceutically acceptable salt thereof in a
        single administration even that comprises at last 6 micrograms per breath.

 ’327 patent, 54:6-14. The remaining Asserted Claims all depend from claim 1 and recite, for

 example, methods wherein the claimed administration increases, reduces, or otherwise improves

 various clinical endpoints, when measured, such as the 6 minute walk distance (“6MWD”), plasma

 concentration of NT-proBNP, exacerbations of ILD, clinical worsening events due to ILD, or

 forced vital capacity (FVC). Id. at 54:5-55:9 (cls. 1-19); e.g., id. at 54:15-54:49 (cls. 2-10).

        B.      Dr. Thisted is Not a POSA

        In this case, the parties proposed the following definitions for a POSA for purposes of

 evaluating the alleged infringement and validity of the ’327 patent:

             UTC’s POSA Definition                            Liquidia’s POSA Definition
  The POSA would have a graduate degree in           A [POSA] would have a medical degree with
  medicine or a field relating to drug               a specialty in pulmonology or cardiology,
  development, such as an M.D. or Ph.D., with        plus at least two years of experience treating
  at least two years’ experience treating            patients with PH as an attending, including
  patients with interstitial lung disease,           PH-ILD and including inhaled therapies, or
  including with PH-ILD.                             equivalent degree or experience.

 D.I. 123, 4 (emphasis added); Ex. 1, ¶ 32; see also id. at ¶ 29 (“I understand that the validity of a

 patent is to be assessed from the perspective of a hypothetical [POSA] as of the effective filing



                                                  -3-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 9 of 455 PageID
                                           #: 34279



 date.”); id. at ¶ 47 (“I further understand that the scope and content of the prior art must be viewed

 through the perspective of a POSA at the time of the invention.”); Ex. 2, ¶ 19 (“Counsel have

 advised me that patent infringement is evaluated from the perspective of a hypothetical [POSA].”).

 As shown, the parties agree that the POSA would have at least two years of experience treating

 patients with PH, including PH-ILD. Id.

        During expert discovery, UTC submitted six reports in total from three technical experts

 regarding the alleged infringement and/or validity of the ’327 patent—(1) an Opening, Rebuttal,

 and Reply Report from Dr. Steven D. Nathan, M.D., (2) a Rebuttal Report from Dr. Bradley M.

 Wertheim, M.D., and (3) a Rebuttal and Reply Report from Dr. Ronald A. Thisted, Ph.D. Drs.

 Nathan and Wertheim are both board-certified pulmonologists with active clinical practices

 treating patients with pulmonary hypertension, including PH-ILD. D.I. 28, ¶¶ 4-14; Ex. 3, ¶¶ 5-9.

 Dr. Thisted, by contrast, is a biostatistician with no medical degree, and no experience treating

 patients, let alone those with PH-ILD. Ex. 1, ¶¶ 6-19. He therefore does not qualify as a POSA

 under the plain language of either party’s definition. See D.I. 123, 4.

        In his Reports, Dr. Thisted never contends that he is a POSA, but instead asserts that he has

 “worked alongside and advised physicians who met the level of skill of the POSA under either

 party’s definition for various diseases” and that he is “familiar with the perspective of a POSA in

 this case, particularly as it relates to how a POSA would analyze and understand clinical data.”

 Ex. 1, ¶ 33; see also Ex. 2, ¶ 19. Based on this, he purports that he is “able to provide opinions

 reflecting the perspective of a hypothetical POSA under either party’s definition.” Ex. 1, ¶ 33. In

 his Rebuttal Report, Dr. Thisted states that he “reviewed a public, redacted version of a declaration

 of Dr. Nathan to learn about pulmonary hypertension, varieties thereof, and treatment options.”

 Id. at ¶ 59. Dr. Thisted’s Reply Report states that he reviewed Dr. Nathan’s Opening Report




                                                  -4-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 10 of 455 PageID
                                           #: 34280



  regarding infringement, but he does not indicate he is relying upon Dr. Nathan’s infringement

  analysis regarding independent claim 1. 3 Ex. 2 at ¶¶ 3, 8.

         Dr. Thisted admitted in deposition that he is not a POSA for purposes of this case:

         Q.      You do not personally qualify as a POSA under UTC’s definition, correct?

         A.      Although I don’t have a medical degree and I don’t treat PH-ILD patients,
                 I have expertise that overlaps with what a POSA would have as relates to
                 issues such as biostatistics, study design, analysis of studies, and evaluation
                 of what they do and do not say, which would be part of -- which would be
                 within the scope of what a POSA would have to have in order to review
                 these patents.

         Q.      You do not have an MD, correct?

         A.      I do not.

         Q.      You do not have any experience treating patients with interstitial lung
                 disease, correct?

         A.      That’s correct.

         Q.      Let alone patients with PH-ILD?

         A.      Correct.

  Ex. 4, 23:9-25 (emphasis added).

         Further, Dr. Thisted’s view appears to be that he meets some, but not all, of the

  qualifications of the parties’ respective POSA definitions, further confirming that he makes no

  claim to actually be a POSA, or to possess the skills and experience that provide a POSA with the

  relevant perspective for the ʼ327 patent:

         Q.      [. . .] So your testimony is that you have some expertise that is relevant to
                 the expertise a POSA would have, but you do agree with me that you don’t
                 meet the definition of a POSA that is recited here, correct?

                 [. . . .]



  3
   Dr. Thisted summarily states that he “agrees with” Dr. Nathan’s infringement analysis regarding
  dependent claims 11, 14, 15, and 16 but fails to explain why. Ex. 2, ¶¶ 323, 325, 327, 329.


                                                  -5-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 11 of 455 PageID
                                           #: 34281



         A.      I do not possess all of the qualifications that are enumerated in these two
                 statements, but I do have expertise that falls within the scope of what a
                 POSA would have, I just don’t have all of that expertise.

         Ex. 4, 24:20-25:5 (emphasis added) (“two statements” referring to the parties’ two POSA

  definitions). Additionally, Dr. Thisted admitted that he did not speak with, or rely on any

  conversations with, Dr. Nathan or Dr. Wertheim when preparing his opinions. Id. at 16:1-15,

  28:10-14. As a result, not only is Dr. Thisted unable to offer an opinion as a POSA, but he did not

  check with POSAs who were available to him to see if the opinions he offered would be viewed

  as correct by a POSA.

         C.      Dr. Thisted Opines that a POSA Would Consider the ’327 Patent Claims Valid
                 and Infringed

         Despite not qualifying as a POSA, Dr. Thisted’s Rebuttal Report regarding validity and

  Reply Report regarding infringement both purport to present opinions from the perspective of a

  POSA (i.e., a clinician with experience treating patients). For example, Dr. Thisted’s Rebuttal

  Report provides opinions “regarding how the POSA would evaluate and view the data disclosed”

  in the prior art references “and the appropriate conclusions, if any, that can be drawn from the

  data.” Ex. 1, ¶ 118 (emphasis added). As another example, he goes so far as to speculate which

  patients had a PH-ILD diagnosis in the prior art patient population, and asserts that a POSA would

  consider that population to be “unrepresentative” of PH-ILD patients. E.g., id. at ¶¶ 160, 189, 194,

  273; see also id. at ¶¶ 138-140, 145, 172, 176, 180, 195-197, 201, 221, 232, 237, 245, 247, 250,

  258. Indeed, Dr. Thisted asserts that the opinions of Liquidia’s expert, Dr. Channick—who is

  without question a POSA—were “based on a severe misunderstanding” of “what the prior art can

  demonstrate to a POSA.” Id., ¶ 320 (emphasis added).

         Dr. Thisted’s Reply Report impermissibly interprets, for example, how a POSA would

  understand the Asserted Claims, Liquidia’s YutrepiaTM label, and/or the INCREASE study results



                                                  -6-
Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25              Page 12 of 455 PageID
                                              #: 34282



  cited therein. E.g., Ex. 2, ¶¶ 223, 228-229, 235-236, 239, 242, 249-254, 275-277, 285-287, 309.

  And similar to his Rebuttal Report, Dr. Thisted’s Reply Report includes improper opinions

  evaluating the patient populations in the prior art. E.g., Ex. 2, ¶ 202 (“Further, Faria-Urbina does

  not disclose methods targeting PH-ILD patients. Rather, Faria-Urbina 2018 concerns Group 3 PH

  and follows a heterogenous population of patients that were retrospectively selected and that

  include PH-COPD subjects. This is a different patient population than the one targeted by

  Yutrepia’s PH-ILD indication. . . .”) (internal citations omitted) (emphasis added); see also id. at

  ¶¶ 191, 194, 195, 198-200, 203-209.

            As noted, Exhibits 1 and 2 attached hereto specifically identify, with highlighting, the

  improper opinions contained in the following exemplary paragraphs from Dr. Thisted’s Rebuttal

  Report and Reply Report, respectively, where he purports to opine from the perspective of a POSA:

                                         Paragraphs Containing Improper Opinion(s)
      Thisted Rebuttal (Ex. 1) ¶¶ 3, 24, 83-84, 88, 118-120, 122-123, 125, 130, 132, 138-140,
                               142-143, 145, 156-161, 164, 172-173, 176-177, 180, 189, 194-
                               197, 199, 201, 210-211, 216, 221-223, 226, 229-230, 232-234,
                               237-240, 245, 247-248, 250, 254, 258, 264-265, 267-320
      Thisted Reply (Ex. 2)    ¶¶ 3, 10-17, 107, 110-112, 179, 186-187, 189, 190-191, 193-195,
                               198-200, 202-209, 213-219, 221, 223, 226-334

            Below are non-exhaustive examples of Dr. Thisted’s improper, wholly speculative opinions

  regarding how a POSA would assess the validity or infringement of the Asserted Claims:

        •   “Dr. Channick’s conclusions concerning what the prior art teaches are based on a severe
            misunderstanding of clinical study design that ignores fundamental limitations to what the
            prior art can demonstrate to a POSA. Based on the POSA’s medical education and
            training the POSA would understand that these limitations prevent the hindsight driven
            conclusions that Dr. Channick reaches.” Ex. 1, ¶ 320. 4

        •   “Faria-Urbina 2018, Agarwal 2015, Saggar 2014, and Parikh 2016 would not have
            demonstrated to prescribing physicians as of the priority date that inhaled treprostinil
            improves exercise capacity in patients with PH-ILD.” Id.


  4
      For the bulleted citations, emphasis is added to all and internal citations are omitted from all.


                                                     -7-
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 13 of 455 PageID
                                          #: 34283



    •   “The examples of the ’793 patent specification contain only aggregated data for pulmonary
        hypertension patients with various disease etiologies, and a POSA would not understand
        from such disclosures any specific treatment effect for patients with a pulmonary fibrosis
        disease etiology.” Id. at ¶ 125.

    •   “Moreover, the 15-patient cohort appears to represent a very select subset of PH-ILD
        patients, in that all participants had to have been referred to UCLA’s tertiary site for lung
        transplantation evaluation. I note that the criteria for referral are not described and could
        well vary from patient to patient. Consequently, at least for these reasons, it is unclear how
        the data reported by Saggar 2014 would apply to the broader population of PH-ILD
        patients. [] Additionally, the patients studied in Saggar 2014 were required to have
        ‘advanced’ pulmonary hypertension (mPAP ≥ 35 mm Hg; PAWP ≤ 15 mm Hg; and PVR
        > 240 dyn s/cm). I understand that PH-ILD patients with mPAP ≥ 35 mmHg is only a
        subset of all PH-ILD patients: [graph].” Id. at ¶¶ 138-139 (discussing prior art reference
        Saggar 2014).

    •   “As noted above, only 21 patients had data on change in 6MWD, an unknown number of
        which had PH-ILD. Assuming that the PH-CPFE patients count as PH-ILD, we can
        only conclude that the number of PH-ILD patients for which 6MWD changes are reported
        is between 6 and 20, either limit being a very small sample size.” Id. at ¶ 176 (discussing
        prior art reference Agarwal 2015).

    •   “This small patient cohort is also likely to be unrepresentative of PH-ILD patients due to
        the study’s PVD inclusion criteria (i.e., the hemodynamic requirements), which generally
        required severe PH or an indication that pulmonary vascular disease was ‘the predominant
        physiopathologic mechanism for PH.’” Id. at ¶ 194 (discussing prior art reference Faria-
        Urbina 2018).

    •   “Additionally, Dr. Channick mischaracterizes the results that Parikh 2016 reported. First,
        Parikh 2016 did not find (or report) that PH-ILD patients showed an improvement in the
        6MWD. Instead, patients diagnosed with PH-ILD were probably among the collection of
        the patients with PH of a wide variety of etiologies (WHO Groups 1–5) for whom, in
        aggregate, increased 6MWD was observed.” Id. at ¶ 230.

    •   “ . . . The article suggests that whether to perform the 6MWD assessment was based on the
        treating physicians’ judgments for each patient. A physician’s judgment that a patient’s
        condition was too severe to safely and successfully perform or complete the 6MWD test
        could be one reason for not performing the test; such a reason would tend to remove
        patients who could not or would not perform well from the set of patients analyzed,
        thereby introducing this bias along with others into the reported 6MWD change scores.”
        Id. at ¶ 196 (discussing prior art reference Faria-Urbina 2018); see also id. at ¶ 248.

    •   “The POSA would not have had a reasonable expectation of success in arriving at the
        claimed methods. There was no expectation of success that the clinical trial required to
        demonstrate an inhaled treprostinil treatment effect with respect to improved exercise
        capacity or any of the other claimed outcomes. Agarwal 2015, which a POSA would
        recognize a [sic] merely an abstract, concludes ‘[a] prospective trial is indicated.’ A POSA


                                                 -8-
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 14 of 455 PageID
                                          #: 34284



         would know or be informed that this step does not come with a reasonable expectation
         of success. Moreover, a POSA would not be buoyed by the ’793 patent—a patent that does
         not address exercise capacity (or any other claimed outcome) at all and for which any PH-
         ILD data is masked amongst data reported in aggregate. A POSA would also understand
         that the ’793 patent only reflects data from one dose administered during a right heart
         catheter. Therefore, a POSA would find no guidance relevant or otherwise in the ’793
         patent.” Id. at ¶ 311.

     •    “Dr. Channick asserts that a ‘POSA reading [the INCREASE] publication would not make
         the leap that YutrepiaTM administration would result in the same NT-proBNP levels.’ I
         disagree that a POSA’s reading would be so limited. Rather, a POSA would apply the
         findings from the INCREASE study relating to NT-proBNP plasma concentrations to
         PH-ILD patients administered Yutrepia consistent with Yutrepia’s tentatively approved
         label.” Ex. 2, ¶ 270.

     •   “. . . It is Dr. Channick who is improperly overlooking key information available to the
         POSA and that is also embedded and explicitly referenced in the Yutrepia label—the
         INCREASE study. Accordingly, I disagree with Dr. Channick’s personal opinion ‘that
         direct infringement of these claims requires a healthcare provider or patient to actively
         measure whether YutrepiaTM administration produces the claimed statistically significant
         outcomes.’ But the claims do not require this, and regardless it is unnecessary with respect
         to Yutrepia in view of the INCREASE study and especially in view of the tentatively
         approved Yutrepia label. This is also why Dr. Channick’s position regarding what the
         ‘POSA would understand’ is wrong. The POSA would at least have Yutrepia’s label and
         the INCREASE study information and data cited therein, and thus not need to ‘prescribe
         inhaled treprostinil (apply the intervention)[] to multiple patients (a group large enough to
         detect a meaningful difference), measure one of the selected parameters in each group
         member, aggregate the results from the patients, and then perform statistical analysis on
         those results.’ Instead, the treatment course need only be undertaken in accordance with
         Yutrepia’s label.” Id. at ¶ 235.

     •   “It is my opinion that administering Yutrepia according to Yutrepia’s tentatively approved
         label will infringe claim 9 of the ’327 patent. Yutrepia’s tentatively approved labeling
         relies on reported methods of administering inhaled treprostinil to PH-ILD patients that
         achieve statistically significant treatment effects with respect to % predicted FVC after 8
         weeks and 16 weeks as well as a statistically significant improvement in absolute FVC in
         the IIP and IPF subpopulations after 16 weeks as claimed. Accordingly, it is more likely
         than not that PH-ILD patients, especially those within the IIP and IPF subpopulations,
         administered Yutrepia consistent with its tentatively approved label will experience an
         inhaled treprostinil treatment effect with respect to % predicted FVC after 8 weeks and 16
         weeks as well as a statistically significant improvement in absolute FVC in the IIP and
         IPF subpopulations after 16 weeks that were reported by the INCREASE study or its post
         hoc analyses.” Id. at ¶ 309.

         By opining about what he imagines a POSA’s expectations and understandings would be,

  as well asserting that Liquidia’s experts “misunderstand” how a POSA would read the prior art and


                                                  -9-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 15 of 455 PageID
                                           #: 34285



  the Yutrepia label, Dr. Thisted exceeds the scope of his expertise as a biostatistician and offers

  inadmissible opinions that do not pass muster under the Daubert standard.

  IV.    ARGUMENT

         A witness must at least be a POSA to provide expert testimony on patent infringement or

  validity, and Dr. Thisted has admitted that he is not a POSA in this case. The result here is thus

  straightforward—Dr. Thisted’s opinions regarding validity and infringement of the Asserted

  Claims must be excluded under Rule 702.

         A.      Legal Standards

         Rule 702, which codified the principles of Daubert v. Merrell Dow Pharms, Inc., 509 U.S.

  579 (1993) and its progeny, only permits expert testimony if it is more likely than not that:

         (a) the expert’s scientific, technical, or other specialized knowledge will help the trier of
             fact to understand the evidence or to determine a fact in issue;
         (b) the testimony is based on sufficient facts or data;
         (c) the testimony is the product of reliable principles and methods; and
         (d) the expert’s opinion reflects a reliable application of the principles and methods to the
             facts of the case.

  Fed. R. Evid. 702 (amended Dec. 1, 2023). The Third Circuit has explained that Rule 702

  “embodies a trilogy of restrictions on expert testimony: qualification, reliability and fit.”

  Schneider, 320 F.3d at 404-05. Qualification refers to the requirement that the witness possess

  “specialized expertise” in the pertinent subject matter. Id. at 404. Reliability means that the

  testimony “must be based on the methods and procedures of science rather than on subjective

  belief or unsupported speculation[.]” Id. (internal quotations and citations omitted) (emphasis

  added). Lastly, the expert testimony must “fit” the issues in the case, meaning that “the expert’s

  testimony must be relevant for the purposes of the case and must assist the trier of fact.” Id. “Rule

  702’s ‘helpfulness’ standard requires a valid scientific connection to the pertinent inquiry as a

  precondition to admissibility.” Daubert, 509 U.S. at 591-92. The party offering expert testimony



                                                  -10-
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 16 of 455 PageID
                                            #: 34286



  bears the burden of proving admissibility. Id. at 592 n.10.

          The validity and infringement of a patent must be assessed from the perspective of a POSA.

  See, e.g., Standard Oil Co. v. Am. Cyanamid Co., 774 F.2d 448, 454 (Fed. Cir. 1985); see also

  Sundance, 550 F.3d at 1364 (“Nor may a witness not qualified in the pertinent art testify as an

  expert on obviousness, or any of the underlying technical questions, such as . . . the scope and

  content of prior art, the differences between the claimed invention and the prior art, or the

  motivation of one of ordinary skill in the art to combine these references to achieve the claimed

  invention.”).

          Federal Circuit law is clear that “[t]o offer expert testimony from the perspective of a

  skilled artisan in a patent case—like for claim construction, validity, or infringement—a witness

  must at least have ordinary skill in the art.” Kyocera, 22 F.4th at 1376-78 (finding that the district

  court abused its discretion in admitting an expert’s testimony regarding “any issue that is analyzed

  through the lens of an ordinarily skilled artisan[,]” where the “level of ordinary skill in the art . . .

  requires experience in power nailer design” and the expert, while having “advanced degrees in

  engineering and extensive experience in the design and manufacture of fastener driving tools[,]”

  “lack[ed] experience in power nailer design”); see also Sierra Wireless, ULC v. Sisvel S.p.A, 130

  F.4th 1019, 1024-25 (Fed. Cir. 2025) (finding abuse of discretion for relying on testimony

  regarding validity from expert who “does not satisfy the requirements for an ordinarily skilled

  artisan”); see also HVLPO2, LLC v. Oxygen Frog, LLC, 949 F.3d 685, 688-89 (Fed. Cir. 2020)

  (internal quotation and citation omitted) (“[I]t is an abuse of discretion to permit a witness to testify

  as an expert on the issues of noninfringement or invalidity unless that witness is qualified as an

  expert in the pertinent art. The prohibition of unqualified witness testimony extends to the ultimate

  conclusions of infringement and validity as well as to the underlying technical questions.”). The




                                                    -11-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 17 of 455 PageID
                                           #: 34287



  opinions of an expert who lacks ordinary skill are “neither relevant nor reliable” and “not [] based

  on any specialized knowledge, training, or experience that would be helpful to the fact-finder.”

  Kyocera, 22 F.4th at 1376-77. Indeed, admitting expert testimony from a non-POSA “‘serves only

  to cause mischief and confuse the factfinder.’” Id. (quoting Sundance, 550 F.3d at 1362).

         Applying Kyocera, this Court and courts in this Circuit routinely exclude opinions from

  experts who do not qualify as a POSA. See, e.g., Bausch & Lomb Inc. v. SBH Holdings LLC, C.A.

  No. 20-1463-GBW-CJB, 2025 WL 591318, at *2-6 (D. Del. Feb. 24, 2025) (excluding testimony

  regarding infringement from expert who was not a POSA); Bial-Portela & CA. S.A. v. Alkem

  Lab’ys Ltd., C.A. No. 18-304-CFC-CJB, 2022 WL 4244989, at *6-7 (D. Del. Sept. 15,

  2022) (excluding testimony of two experts regarding their ultimate conclusions of validity and

  underlying technical questions because they did not meet the POSA definition); Heron

  Therapeutics, Inc. v. Fresenius Kabi USA, LLC, C.A. No. 22-985-WCB, 2024 U.S. Dist. LEXIS

  87435, at *8-10 (D. Del. May 15, 2024) (excluding expert opinions relating to a POSA’s

  expectations when the expert was not a POSA); Takeda Pharm. Co. Ltd. v. Norwich Pharms., Inc.,

  No. 20-8966 (SRC), 2022 WL 17959811, at *33-34 (D.N.J. Dec. 27, 2022) (finding that “it is

  proper to exclude” the expert’s testimony on any “salt-related topic” where expert opined that a

  POSA would routinely perform a salt screen, while admitting that he had never performed a salt

  screen and thus “does not meet his own definition of a POSA.”), aff’d, 2023 WL 3244022 (Fed.

  Cir. May 4, 2023).

         B.      Dr. Thisted’s Opinions regarding Validity Should be Excluded

         In his Rebuttal Report, Dr. Thisted opines extensively regarding whether a POSA would

  consider the Asserted Claims of the ’327 patent to be anticipated and/or obvious in view of the

  prior art’s disclosures. See generally Ex. 1; see supra § III.B. However, as Dr. Thisted himself

  acknowledges, the issue of patent validity must be assessed from the perspective of a POSA—


                                                 -12-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 18 of 455 PageID
                                           #: 34288



  which he repeatedly admitted he is not. Id. at ¶¶ 29-33, 35, 47; Ex. 4, 23:9-25:10 (Dr. Thisted

  admitting he is not a POSA). The parties in this case agree that the POSA must have at least two

  years of experience treating patients with PH-ILD, and Dr. Thisted is a biostatistician with zero

  experience treating patients, much less those with PH-ILD. See supra § III.B.

         Yet this does not stop Dr. Thisted from speculating about how a POSA would interpret the

  scope and content of the prior art and, ultimately, reaching the conclusion as to whether a POSA

  would consider the Asserted Claims to be valid in view of the prior art disclosures. His Rebuttal

  Report is replete with opinions regarding what a “POSA” would “understand” and/or “expect[]”

  based on the claim language and/or prior art at the time of invention, leading to his conclusion that

  the Asserted Claims are valid. E.g., Ex. 1, ¶¶ 125, 211, 222, 254, 268-269, 273, 284, 286-288,

  290, 295, 297, 299-300, 302, 311, 315, 317-318, 320. As one example, Dr. Thisted postulates that

  “a POSA would not have a reasonable expectation of success in arriving at the claimed methods”

  based on two prior art references “at least because a POSA would not expect treprostinil to have a

  treatment effect with respect to interstitial lung disease[,]” which “a POSA would understand”

  claims 7-8 to require. Id. at ¶ 297. Such opinions are pure conjecture, not based on any of Dr.

  Thisted’s own expertise, and are therefore irrelevant and unreliable under Rule 702. Kyocera, 22

  F.4th at 1376-77.

         Dr. Thisted stretches even further beyond his expertise by opining about patients’ PH-ILD

  diagnoses, and whether the prior art references’ patient populations were “representative” of PH-

  ILD. See supra § III.B; e.g., Ex. 1, ¶ 197 (“Moreover, these conclusions are necessarily limited to

  the patient population to which the [prior art] chart review was directed: a highly screened sample

  cohort arrived at by applying inclusion criteria indicating severe PH and/or pulmonary vascular

  remodeling and exclusion criteria that appear to have excluded higher risk patients.”). For




                                                  -13-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 19 of 455 PageID
                                           #: 34289



  example, when discussing the prior art reference Faria-Urbina 2018, Dr. Thisted opines that the

  study’s “exclusions eliminated at least 27 [sic; 26] patients who would be expected to have worse

  functional outcomes than the 22 followed patients who did not meet those [exclusion] criteria.”

  Ex. 1, ¶ 250 (emphasis added). During deposition, Dr. Thisted conceded that this opinion is merely

  speculation, as it must be since Dr. Thisted entirely lacks the necessary clinical expertise to form

  any such expectation. Ex. 4, 86:12-88:9; id. at 87:5-6 (“I suppose you could say it is a speculation

  . . .”). Dr. Thisted even goes as far as to disagree with the clinical conclusions in the Agarwal 2015

  and Faria-Urbina 2018 prior art references, which were authored by undisputed POSAs in the PH-

  ILD field, such as Dr. Waxman:

         Q.      You don’t dispute, of course, the express[] teachings of Agarwal, the paper
                 does say that, correct?
         A.      It says that -- the paper – I have accurately quoted and you have accurately
                 stated back to me what the paper says in the conclusion.
                 The – I would dispute the fact that the data in the paper indicate that
                 treprostinil is effective. When they talk about effectively treating they don’t
                 say specifically effectively treating for other purposes.
         Q.      And so that is my next question. Your opinion is that you disagree with the
                 authors’ efficacy conclusion, correct? That is what you wrote in Paragraph
                 178.
                 […]
         A.      Yes, I disagree with the authors’ efficacy.
         Q.      And the authors of Agarwal include Dr. Waxman, correct?
         A.      He is the only other author besides Agarwal.
         Q.      And he is an expert in PH-ILD, correct?
         A.      Yes.
         Q.      And you’re not?
         A.      That is right.

  Ex. 4, 98:15-99:16. These opinions regarding clinical diagnoses and outcomes are particularly

  improper, given that Dr. Thisted has no medical degree and has never treated a patient.


                                                  -14-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 20 of 455 PageID
                                           #: 34290



         As discussed above, the Federal Circuit has made clear that a non-POSA expert should not

  be permitted to testify regarding issues that are analyzed from a POSA’s perspective, such as patent

  validity. E.g., Kyocera, 22 F.4th at 1376-78. Accordingly, Dr. Thisted’s opinions regarding the

  validity of Asserted Claims, including at least those identified in Exhibit 1, should be excluded.

         C.      Dr. Thisted’s Opinions regarding Infringement Should be Excluded

         Dr. Thisted did not submit an opening report regarding infringement, an issue on which

  UTC bears the burden of proof, and instead addressed infringement for the first time on reply in

  his 197-page Reply Report. See generally Ex. 2; D.I. 45, ¶ 9.a (setting opening report deadline for

  issues on which the party “has the initial burden of proof on the subject matter”). Dr. Thisted does

  not rely on, nor does he adopt, any of the opinions in Dr. Nathan’s Opening Report regarding

  infringement. Ex. 4, 16:1-15, 28:10-14. Instead, he undertakes an independent—and highly

  duplicative—assessment of infringement from the perspective of a POSA. 5 This is improper under

  Rule 702 and Federal Circuit case law, as Dr. Thisted is not a POSA. Kyocera, 22 F.4th at 1376-

  78; Sierra Wireless, 130 F.4th at 1024-25.

         Dr. Thisted acknowledges in his Reply Report that “patent infringement is evaluated from

  the perspective of a hypothetical person of ordinary skill in the art (‘POSA’)” and admitted during

  deposition that he is not a POSA in this case. Ex. 2, ¶ 19; Ex. 4, 23:9-25:10. And yet, Dr. Thisted’s

  Reply Report opines at length regarding whether a POSA would consider Liquidia’s YutrepiaTM

  product to infringe the Asserted Claims of the ’327 patent. See generally Ex. 2; e.g., id., at ¶¶ 223,

  228-229, 235, 242, 250-251, 253-254, 275-277, 285-287, 309.


  5
    Liquidia intends to file a motion in limine to exclude portions of Dr. Thisted’s Reply Report that
  are needlessly cumulative of Dr. Nathan’s Opening and Reply Reports under Rule 403. See Sanofi
  v. Glenmark Pharms. Inc., No. 14-264-RFA, 2016 WL 10957311, at *2 (D. Del. May 12, 2016)
  (“[I]t is this Court’s practice not to allow duplicative testimony from experts. I expect that
  Plaintiffs will utilize Dr. Thisted’s testimony as appropriate, and not merely to repeat or buttress
  Dr. Reiffel’s testimony.”).


                                                  -15-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 21 of 455 PageID
                                           #: 34291



         For example, Dr. Thisted asserts that “a POSA would recognize that the results of the

  INCREASE trial provide a reliable guide as to clinical outcomes of inhaled treprostinil, whether

  Tyvaso or Yutrepia.” Id. at ¶ 223. He also repeatedly opines that “a POSA’s reading” of the

  YutrepiaTM label and/or the INCREASE study would not be “so limited” in the manner articulated

  by Liquidia’s POSA expert, Dr. Richard Channick. Id. at ¶¶ 254, 261, 270, 276, 287, 295, 310,

  317, 318; see also id. at ¶¶ 251, 267, 283, 292, 306 (asserting that “there is no scientific basis for

  Dr. Channick’s attempts to disassociate Yutrepia[TM] from the INCREASE study’s outcomes”).

  Additionally, he speculates as to how a POSA would interpret the Asserted Claims, a necessary

  step for determining infringement, including what steps the Asserted Claims require. Id. at ¶¶ 228,

  235 (opining that the Asserted Claims do not require a healthcare provider or patient to “actively

  measure” whether YutrepiaTM administration produces the claimed statistically significant

  outcomes); see also, e.g., id. at ¶¶ 228-229, 237, 252, 285, 293, 308. Based on these and other

  speculative assessments of a POSA’s beliefs and actions, Dr. Thisted reaches his ultimate

  conclusions that Liquidia’s YutrepiaTM product “will infringe” the Asserted Claims. See generally

  Ex. 2, § VII.A-N; see also, e.g., id. at ¶ 309 (opining that “it is more likely than not that PH-ILD

  patients, especially those within the IIP and IPF subpopulations, . . . will experience an inhaled

  treprostinil treatment effect . . .”). Dr. Thisted also impermissibly opines about knowledge he

  believes a POSA would have, and actions he believes a POSA would take, based on the content of

  the YutrepiaTM label, as part of rendering his opinions on induced infringement. E.g., id. at ¶¶ 237,

  239-240, 243, 245, 266, 282, 285, 293, 305; see also generally id. at § VII.A-N.

         Dr. Thisted has no scientific or personal basis to make these assertions regarding the

  POSA’s perspective, rendering his infringement opinions inadmissible under Rule 702. See

  Kyocera, 22 F.4th at 1376-77 (finding that the opinions of a non-POSA expert are “neither relevant




                                                  -16-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 22 of 455 PageID
                                           #: 34292



  nor reliable” and “not [] based on any specialized knowledge, training, or experience that would

  be helpful to the fact-finder”); see also Bausch, 2025 WL 591318, at *2-6 (applying Rule 702 to

  exclude testimony regarding infringement from non-POSA expert); see, e.g., Ex. 2.

         The circumstances here are distinguishable from those in Sanofi v. Glenmark Pharms. Inc.,

  No. 14-264-RFA, 2016 WL 10957311 (D. Del. May 12, 2016), where this Court permitted Dr.

  Thisted to testify regarding “how medical professionals interpret clinical trial data.” Id. at *1.

  There, the Court found that “Dr. Thisted has technical expertise on a relevant aspect of the pertinent

  art,” even though he did not meet the POSA definition. Id. Here, in contrast, Dr. Thisted opines

  on subject matter beyond his technical expertise, including infringement, validity, clinical

  diagnosis of PH-ILD patients, and treatment of PH-ILD. See supra § III.C. Further, since the

  2016 Sanofi v. Glenmark decision, the Federal Circuit in 2022 clarified that an expert witness

  “must at least have ordinary skill in the art” to offer expert testimony regarding patent validity.

  Kyocera, 22 F.4th at 1376-78. Lastly, the Defendants in Sanofi v. Glenmark sought to exclude the

  entirety of Dr. Thisted’s opinions; here, Liquidia only seeks to exclude specifically identified

  opinions of Dr. Thisted where he exceeds his domain of expertise and opines from the perspective

  of a POSA. See Sanofi v. Glenmark Pharms. Inc., No. 14-264-RFA, D.I. 250 at 6 (D. Del.) (stating

  that Dr. Thisted’s “opinions should be entirely excluded”); cf. Ex. 1 and Ex. 2.

         Moreover, Dr. Thisted’s objectionable opinions do not rely on the opinions of UTC’s POSA

  experts in this case, Drs. Nathan and Wertheim, who are both medical doctors with experience

  treating patients. See supra § III.B. Instead, as examination of Dr. Thisted’s Rebuttal and Reply

  Reports reveals, Dr. Thisted offers his opinions without any reliance on the opinions of UTC’s

  clinician experts, but instead offers his views independently. Further, Dr. Thisted admits that he

  did not speak with either Dr. Nathan or Dr. Wertheim in preparing his reports. Ex. 4, 16:1-15,




                                                  -17-
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 23 of 455 PageID
                                           #: 34293



  28:10-14. Thus, any belated attempt by UTC to piggyback Dr. Thisted’s opinions onto those of its

  medical doctor experts cannot save Dr. Thisted’s opinions from exclusion.

         In sum, Dr. Thisted’s opinions regarding validity and infringement should be excluded

  because he does not qualify as a POSA. Kyocera, 22 F.4th at 1376-78.

         D.      Alternatively, Dr. Thisted’s Identified Opinions Should be Excluded under
                 Rules 402 and/or 403

         In the event the Court views the issues presented herein as more appropriate for a motion

  in limine, Liquidia respectfully requests that the Court exclude Dr. Thisted’s identified opinions

  under Rules 402 and/or 403. As explained above, Dr. Thisted purports to provide expert testimony

  regarding whether a POSA would consider the Asserted Claims valid and infringed—but he

  admittedly is not a POSA. See supra §§ III, IV.B-C. His opinions are therefore irrelevant to the

  issues of validity and infringement, and thus inadmissible under Rule 402. Kyocera, 22 F.4th at

  1377 (holding that a non-POSA expert’s opinions regarding validity and infringement are “neither

  relevant nor reliable”); see also Fed. R. Evid. 402.

         Additionally, under Rule 403, Dr. Thisted’s non-POSA opinions regarding a POSA’s

  perspective are unfairly prejudicial to Liquidia, and risk confusing the issues. See Kyocera, 22

  F.4th at 1376-77 (holding that admitting expert testimony regarding infringement or validity from

  a non-POSA “serves only to cause mischief and confuse the factfinder”) (quoting Sundance, 550

  F.3d at 1362); see also Fed. R. Evid. 403. Allowing an expert lacking ordinary skill in the art to

  testify regarding a POSA’s beliefs “would ‘amount[] to nothing more than advocacy from the

  witness stand.’” Id. (quoting Sundance, 550 F.3d at 1364-65). Dr. Thisted’s identified opinions

  would further waste time because they serve “merely to repeat or buttress” the testimony of Dr.

  Nathan, UTC’s POSA expert. See Sanofi, 2016 WL 10957311, at *2; see also Robert S. v. Stetson

  Sch., 256 F.3d 159, 169-71 (3d Cir. 2001) (affirming district court’s limit on expert testimony



                                                  -18-
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 24 of 455 PageID
                                          #: 34294



  regarding the same issues already addressed by another expert). Accordingly, any potential

  relevance of Dr. Thisted’s testimony regarding a POSA’s perspective is substantially outweighed

  by the risk of unfairly prejudicing Liquidia, confusing the issues, and wasting time, and should be

  excluded under Rule 403.

  V.     CONCLUSION

         For the reasons explained above, the Court should grant Liquidia’s motion to exclude

  Dr. Thisted’s opinions regarding infringement and validity under Rule 702 or, alternatively, under

  Rules 402 and/or 403.

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                                                 -19-
Case 1:23-cv-00975-RGA-SRF     Document 422 Filed 07/09/25   Page 25 of 455 PageID
                                    #: 34295



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                                       -20-
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25     Page 26 of 455 PageID
                                          #: 34296



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                                             -21-
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25       Page 27 of 455 PageID
                                  #: 34297



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                                     -22-
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 28 of 455 PageID
                                  #: 34298




                      EXHIBIT 1
Case 1:23-cv-00975-RGA-SRF      Document 422 Filed 07/09/25    Page 29 of 455 PageID
                                     #: 34299



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

  UNITED THERAPEUTICS                    )
  CORPORATION,                           )
                                         )
                   Plaintiff             )
                                         )   C.A. No. 1:23-cv-00975-RGA
              v.                         )
                                         )   HIGHLY CONFIDENTIAL
  LIQUIDIA TECHNOLOGIES, INC.,           )
                                         )
                   Defendant.            )
                                         )

           REBUTTAL EXPERT REPORT OF RONALD A. THISTED, PH.D.
Case 1:23-cv-00975-RGA-SRF                  Document 422 Filed 07/09/25                               Page 30 of 455 PageID
                                                 #: 34300




                                            TABLE OF CONTENTS

       TABLE OF ABBREVIATIONS ...................................................................................... iii
       I.       INTRODUCTION ................................................................................................. 1
       II.      QUALIFICATIONS .............................................................................................. 2
       III.     COMPENSATION ................................................................................................ 5
       IV.      MATERIALS RELIED UPON AND BASES FOR MY OPINIONS................... 5
       V.       ASSIGNMENT AND SUMMARY OF MY OPINIONS ..................................... 6
       VI.      LEGAL PRINCIPLES ........................................................................................... 6
                A.        Validity of Patent Claims ........................................................................... 7
                B.        Person of Ordinary Skill in the Art (POSA) .............................................. 7
                C.        Anticipation.............................................................................................. 10
                D.        Obviousness ............................................................................................. 14
       VII.     SCIENTIFIC BACKGROUND ........................................................................... 16
                A.        Pulmonary Hypertension ......................................................................... 19
                B.        Study Design ............................................................................................ 19
                C.        Single-arm case series .............................................................................. 23
                D.        Retrospective versus prospective clinical studies .................................... 27
                E.        Blinding versus open label ....................................................................... 29
                F.        Sources of bias ......................................................................................... 30
                G.        Randomized clinical trials........................................................................ 32
                H.        Single-site clinical studies versus multi-site clinical studies ................... 33
                I.        Sample size and power............................................................................. 34
                J.        Statistical significance ............................................................................. 35
                K.        Clinicaltrials.gov ...................................................................................... 38
       VIII.    THE ’327 PATENT ............................................................................................. 39
       IX.      ALLEGED PRIOR ART DISCLOSURES REGARDING INHALED
                TREPROSTINIL IN PULMONARY HYPERTENSION SUBJECTS............... 43
                A.        The ’793 Patent ........................................................................................ 43
                B.        Saggar 2014 ............................................................................................. 48
                C.        Parikh 2016 .............................................................................................. 56
                D.        Agarwal 2015 ........................................................................................... 65
                E.        Faria-Urbina 2018 .................................................................................... 72

                                                                i
Case 1:23-cv-00975-RGA-SRF                    Document 422 Filed 07/09/25                                Page 31 of 455 PageID
                                                   #: 34301



       X.        THE INCREASE AND PERFECT STUDIES .................................................... 82
                 A.        The INCREASE Study ............................................................................ 82
                 B.        The Results Of INCREASE and PERFECT Demonstrate Why Dr.
                           Channick’s Cited References Do Not Reliably Predict Inhaled
                           Treprostinil’s Therapeutic Benefit in PH-ILD and PH-COPD
                           Patients ..................................................................................................... 86
       XI.       DR. CHANNICK’S REPORT ............................................................................. 87
                 A.        The INCREASE Study is not merely studying more patients than
                           Agarwal 2015 and Faria-Urbina 2018. .................................................... 87
                 B.        Dr. Channick mischaracterizes or ignores the deficiencies of
                           Saggar 2014, Parikh 2016, Agarwal 2015, and Faria-Urbina 2018. ........ 91
       XII.      DR. HILL’S REPORT ....................................................................................... 114
                 A.        Purported Personal Observations are Subject to Bias ............................ 114
       XIII.     THE ASSERTED CLAIMS OF THE ’327 PATENT ARE NOT
                 ANTICIPATED ................................................................................................. 116
                 A.        Faria-Urbina 2018 Does Not Anticipate Claims 1-3, 6, 11, and 15-
                           19 of the ’327 Patent. ............................................................................. 116
       XIV. THE ASSERTED CLAIMS OF THE ’327 PATENT ARE NOT
            OBVIOUS .......................................................................................................... 125
                 A.        Asserted Claims 9-10 of the ’327 Patent Are Not Rendered
                           Obvious by the February 2020 Press Release in Combination with
                           Saggar 2014 Because the POSA Would Not Have a Reasonable
                           Expectation of Success of Arriving at the Claimed Methods. ............... 125
                 B.        Asserted Claims 1–11 and 14–19 of the ’327 Patent Are Not
                           Rendered Obvious by the ’793 Patent in Combination with Faria-
                           Urbina 2018. .......................................................................................... 127
                 C.        Asserted Claims 4-5, 6, and 9-10 of the ’327 patent are not
                           rendered obvious by Faria-Urbina 2018 in combination with the
                           ’793 patent and Saggar 2014.................................................................. 133
                 D.        Asserted Claims 1–11 and 14–19 of the ’327 Patent Are Not
                           Rendered Obvious by the ’793 Patent in Combination with
                           Agarwal 2015. ........................................................................................ 135
                 E.        Asserted Claims 4-5, 6, and 9-10 of the ’327 patent are not
                           rendered obvious by the ’793 patent in combination with Agarwal
                           2015 and Saggar 2014. ........................................................................... 141
       XV.       CONCLUSIONS................................................................................................ 143




                                                                 ii
Case 1:23-cv-00975-RGA-SRF    Document 422 Filed 07/09/25          Page 32 of 455 PageID
                                   #: 34302



                            TABLE OF ABBREVIATIONS

                                  Patent Documents
  ’327 patent                U.S. Patent No. 11,826,327 (UTC_PH-ILD_005310)
  ’793 patent                U.S. Patent No. 10,716,793 (UTC_PH-ILD_009772)
  ’810 Provisional App.      U.S. Provisional Patent Application No. 63/011,810
                             (UTC_PH-ILD_069472)
  ’611 Provisional App.      U.S. Provisional Patent Application No. 63/160,611
                                    Expert Reports
  Channick Op. Rept.         Redacted Version of 2024-12-20 Expert Report of Dr.
                             Richard Channick
  Hill Op. Rept.             2024-12-20 Expert Report of Dr. Nicholas Hill
  Nathan PI Decl.            2024-03-04 D.I. 035 Redacted Version of 2024-02-26 D.I. 28
                             Declaration of Steven D. Nathan, M.D.
                                 Litigation Materials
  D.I. 127                   Redacted Version of D.I. 123, Joint Claim Construction Brief
  D.I. 155                   Claim Construction Order
  Deng Dep. Tr.              Excerpt of 2024-11-12 Chunqin Deng Deposition Transcript
                                       Literature
  Agarwal 2015               M. Agarwal & A.B. Waxman, Inhaled Treprostinil in Group-
                             3 Pulmonary Hypertension, 34 J. Heart Lung Transplant S343
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  Barnett 2004               Adrian G Barnett et al., Regression to the Mean: What It Is
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                             (2005)
  Echt 1991                  Debra S. Echt et al., Mortality and Morbidity in Patients
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  Faria-Urbina 2018          Mariana Faria-Urbina et al., Inhaled Treprostinil in
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                             with Lung Disease, 196(2) Lung 139 (2018)
  Feb. 2020 Press Release    Press Release, United Therapeutics Announces INCREASE
                             Study of Tyvaso® Meets Primary and All Secondary
                             Endpoints (Feb. 24, 2020) (UTC_LIQ00063612)
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                             Epidemiology in Medicine (Sherry L Mayrent ed., 1987)
  INCREASE Stat. Analysis    United Therapeutics Corp., RIN-PH-201 Statistical Analysis
  Plan                       Plan for “A Multicenter, Randomized, Double-Blinded,
                             Placebo-Controlled Trial to Evaluate the Safety and Efficacy
                             of Inhaled Treprostinil in Subjects with Pulmonary
                             Hypertension due to Parenchymal Lung Disease” (Feb. 27,
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                                          iii
Case 1:23-cv-00975-RGA-SRF    Document 422 Filed 07/09/25            Page 33 of 455 PageID
                                   #: 34303



  Kallmes 2009               Kallmes DF et al., A Randomized Trial of Vertebroplasty for
                             Osteoporotic Spinal Fractures, 361 N. Eng. J. Med. 569
                             (2009)
  Lettieri 2006              Christopher J. Lettieri et al., Prevalence and Outcomes of
                             Pulmonary Arterial Hypertension in Advanced Idiopathic
                             Pulmonary Fibrosis, 129 Chest 746 (2006) (UTC_PH-
                             ILD_020775)
  March 2015 Presentation    Mar. 9, 2015 Tyvaso in WHO Group 3 Proof of Concept
                             Review (UTC_PH-ILD_082484)
  Morganroth 1990            Joel Morganroth et al., Treatment of Ventricular Arrhythmias
                             by United States Cardiologists: A Survey Before the Cardiac
                             Arrhythmia Suppression Trial Results Were Available, 65
                             Am. J. Cardiology 40 (1990)
  Morton & Torgerson 2003    Veronica Morton & David J Torgerson, Effect of Regression
                             to the Mean on Decision Making in Health Care, 326 BMJ
                             1083 (2003)
  Naggie 2022                Susanna Naggie et al., Effect of Ivermectin vs Placebo on
                             Time to Sustained Recovery in Outpatients With Mild to
                             Moderate COVID-19, 328 JAMA 1595 (2022)
  Nathan 2024                Steven D. Nathan et al., Inhaled Treprostinil in Pulmonary
                             Hypertension Associated With COPD: PERFECT Study
                             Results, 63 Eur. Respiratory J. (2024)
  NCT02630316 Version 1      Version 1 of ClinicalTrials.gov Posting for “Safety and
                             Efficacy of Inhaled Treprostinil in Adult PH With ILD
                             Including CPFE” (NCT02630316) (Dec. 15, 2015)
  NCT02630316 Version 24     Version 24 of ClinicalTrials.gov Posting for “Safety and
                             Efficacy of Inhaled Treprostinil in Adult PH With ILD
                             Including CPFE” (NCT02630316) (Mar. 3, 2017)
  NCT02630316 Version 85     Version 85 of ClinicalTrials.gov Posting for “Safety and
                             Efficacy of Inhaled Treprostinil in Adult PH With ILD
                             Including CPFE” (NCT02630316) (Jan. 10, 2020)
  NCT02630316 Version 88     Version 88 of ClinicalTrials.gov Posting for “Safety and
                             Efficacy of Inhaled Treprostinil in Adult PH With ILD
                             Including CPFE” (NCT02630316) (June 2, 2020)
  NCT02630316 Version 89     Version 89 of ClinicalTrials.gov Posting for “Safety and
                             Efficacy of Inhaled Treprostinil in Adult PH With ILD
                             Including CPFE” (NCT02630316) (May 24, 2021)
  NCT03496623 Version 1      Version 1 of ClinicalTrials.gov Posting for “A Phase 3
                             Adaptive Study to Evaluate the Safety and Efficacy of
                             Inhaled Treprostinil in Participants With Pulmonary
                             Hypertension (PH) Due to Chronic Obstructive Pulmonary
                             Disease (COPD) (PERFECT)” (NCT03496623) (Apr. 12,
                             2018)
  Parikh 2016                Kishan S. Parikh et al., Safety and Tolerability of High-dose
                             Inhaled Treprostinil in Pulmonary Hypertension, 67 J.



                                          iv
Case 1:23-cv-00975-RGA-SRF    Document 422 Filed 07/09/25           Page 34 of 455 PageID
                                   #: 34304



                             Cardiovascular Pharmacology 322 (2016) (unpublished
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  Sackett 1989               D. L. Sackett, Rules of Evidence and Clinical
                             Recommendations on the Use of Antithrombotic Agents, 95
                             Chest 2S (1989)
  Sackett 1995               David L. Sackett & William M. C. Rosenberg, On The Need
                             for Evidence-Based Medicine, 4 Health Econ. 249 (1995)
  Saggar 2014                Rajeev Saggar et al., Changes in Right Heart Haemodynamics
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                             of Pulmonary Hypertension and Right Heart Dysfunction
                             Associated With Pulmonary Fibrosis, 69 Thorax 123 (2014)
                             (LIQ_PH-ILD_00000226)
  Torres-Saavedra & Winter   Pedro A. Torres-Saavedra & Kathryn A. Winter, An Overview
  2022                       of Phase 2 Clinical Trial Designs, 112 Int’l J. Radiation
                             Oncology, Biol., Physics 22 (2022)
  Wallace 2022               Sowdhamini S. Wallace et al., Hierarchy of Evidence Within
                             the Medical Literature, 12 Hospital Pediatrics 745 (2022)
  Waxman 2021                Aaron Waxman et al., Inhaled Treprostinil in Pulmonary
                             Hypertension Due to Interstitial Lung Disease, 384 N. Eng. J.
                             Med. 325 (2021) (UTC_PH-ILD_ 010790)
  Xu 2022                    Jiuyang Xu & Bin Cao, Lessons Learnt from
                             Hydroxychloroquine/Azithromycin in Treatment of COVID-
                             19, 59 Eur. Respiratory J. 2102002 (2022)
  2017 INCREASE Study        Version 23 of ClinicalTrials.gov Posting for “Safety and
  Description                Efficacy of Inhaled Treprostinil in Adult PH With ILD
                             Including CPFE” (NCT02630316) (Feb. 10, 2017) (LIQ_PH-
                             ILD_00000185)
  2017 Waxman Tr.            Transcript of 12th Annual John Vane Memorial Symposium,
                             March 17, 2017 (LIQ_PH-ILD_00147328)
  2018 Waxman Tr.            Thomson Reuters Streetevents Edited Transcript UTHR –
                             United Therapeutics Corp to Host Science Day 2018,
                             September 24, 2018 (LIQ_PH-ILD_00140569)




                                          v
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25             Page 35 of 455 PageID
                                             #: 34305



  I.     INTRODUCTION

         1.        I, Ronald A. Thisted, Ph.D., have been asked by Plaintiff United Therapeutics

  Corporation (“UTC”) to provide my expert opinion in the above-captioned litigation concerning

  the validity of certain claims of U.S. Patent No. 11,826,327 (“the ’327 patent”). I understand that

  in the above-captioned litigation, UTC asserts that Defendant Liquidia Technologies, Inc.

  (“Liquidia”) infringes claims 1-11 and 14-19 of the ’327 patent (the “Asserted Claims”). I

  understand that, in response, Liquidia asserts that each of the Asserted Claims is invalid and

  unenforceable.

         2.        UTC has asked me to analyze certain opinions expressed in the Expert Report of

  Dr. Richard Channick (the “Channick Report”) and the Expert Report of Dr. Nicholas Hill (“the

  Hill Report”), both of which were submitted on behalf of Liquidia on December 20, 2024. More

  specifically, UTC has requested that I review and respond to opinions offered by Drs. Hill and

  Channick that the Asserted Claims are invalid. I submit this Rebuttal Expert Report (“Rebuttal

  Report”) to provide my expert opinions regarding the validity of the Asserted Claims of the ’327

  patent and the bases for the opinions.

         3.        As explained below, I disagree with the opinions of both Dr. Channick and Dr. Hill

  that the Asserted Claims are invalid as either anticipated or obvious.

         4.        I understand that I may be expected to testify on these opinions, as set forth in this

  Rebuttal Report, and in any Supplemental Expert Reports that I may prepare for this case in the

  future. I also understand that I may be expected to testify with respect to arguments raised by

  Liquidia in its Opening Report or matters addressed by any expert testifying on behalf of Liquidia

  in response to this Rebuttal Report.

         5.        I reserve the right to supplement or modify the opinions expressed in this Rebuttal

  Report, as well as the basis for my opinions, depending on the nature and content of the proofs

                                                     1
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 36 of 455 PageID
                                           #: 34306



  presented by Liquidia and any other information subsequently provided by Liquidia, Liquidia’s

  expert(s), and/or discovered by UTC. I further reserve the right to use animations, demonstratives,

  enlargements of actual exhibits, and other information in order to illustrate my opinions.

  II.    QUALIFICATIONS

         6.      I have more than fifty years of research, academic, and practical experience in the

  area of biostatistics. My research has focused on biostatistics and epidemiology, study design,

  statistical computation, and the effectiveness of medical interventions.

         7.      I am Professor Emeritus in the Department of Statistics and the Department of

  Public Health Sciences at the University of Chicago. At the time of my retirement in 2018, I also

  held faculty appointments in the Department of Anesthesia & Critical Care and the Committee on

  Clinical Pharmacology and Pharmacogenomics.

         8.      I received a bachelor’s degree (B.A.) in mathematics and philosophy in 1972 from

  Pomona College in Claremont, California. In 1973 and 1977, respectively, I received a master’s

  degree (M.S.) and a Doctor of Philosophy degree (Ph.D.) in statistics at Stanford University in

  Palo Alto, California.

         9.      I have held positions on the faculty of the University of Chicago since 1976. I was

  Co-Director of the Clinical Research Training Program (1999–2012), Chairman of the Department

  of Health Studies [now Public Health Sciences] (1999–2012), Director of Population Sciences for

  the Institute for Translational Medicine (2007–2014), and Scientific Director for the Biostatistics

  Core Facility at the University of Chicago Cancer Research Center (1999–2014).

         10.     From 2014 until my retirement, I was Vice Provost for Academic Affairs at the

  University of Chicago.

         11.     I have taught courses on statistics and biostatistics for over fifty years. I have also

  taught courses on statistical methods, computation, epidemiology, and clinical research methods.

                                                   2
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 37 of 455 PageID
                                           #: 34307



  I have been awarded the Llewellyn John and Harriet Manchester Quantrell Award for Excellence

  in Undergraduate Teaching. For thirteen years I co-taught a year-long course in clinical research

  methods to advanced medical trainees and to junior faculty in the Pritzker School of Medicine.

         12.     Among the courses that I have taught, for fifteen years I taught a course that was

  required for all first-year medical students in the Pritzker School of Medicine at the University of

  Chicago. This course, initially titled “Medical Statistics” and then “Epidemiology and Clinical

  Investigation” focused on assessment of clinical evidence, critical appraisal of the medical

  literature, and the relative merits and drawbacks of the study designs most commonly used in the

  medical literature.

         13.     From 1983 through 1997 (excepting one year during which I was at Stanford

  University on sabbatical leave from the University of Chicago) I served as a member of the

  Institutional Review Board at the University of Chicago, which reviewed all proposed research in

  human subjects, including clinical research, at the University.

         14.     I am an Elected Fellow of the American Association for the Advancement of

  Science (1992) and of the American Statistical Association (1988). I have also been a member of

  several professional societies related to statistics and computation, including the Association for

  Computing Machinery, the International Biometric Society, the Institute of Mathematical

  Statistics, the Royal Statistical Society, and the Society for Industrial and Applied Mathematics.

         15.     I have authored over one hundred publications in the areas of statistics, biostatistics

  and epidemiology in peer-reviewed journals including the New England Journal of Medicine, the

  Journal of the American Medical Association, The Lancet, Annals of Statistics, Journal of the

  American Statistical Association, Biometrika and Statistical Science. I have written a book in the

  field of statistical computation, Elements of Statistical Computing (CRC Press, 1988). I have also



                                                   3
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 38 of 455 PageID
                                            #: 34308



  written over 35 book chapters, comments, reviews and other publications. I served as Associate

  Editor of the Journal of the American Statistical Association (1979–1985, 1987–1988) and of ACM

  Transactions on Mathematical Software (1990–1992).

          16.     I have served as Database Editor (1994), Managing Editor (1995), and Editor

  (1996–1998) for Current Index to Statistics. I sat on the editorial board of SIAM Journal of

  Scientific and Statistical Computing from 1983 to 1985. I have served as a referee for several

  journals on topics related to biostatistics, including Annals of Applied Statistics, Regulatory

  Pharmacology and Toxicology, PLoS One, and Statistics in Medicine. As a journal referee, I

  reviewed submitted articles for scientific quality. I have also acted as a referee for the National

  Institutes of Health (NIH) and the National Science Foundation (NSF). As a referee for NIH and

  NSF, I reviewed grant proposals for potential funding.

          17.     Since 1971 I have collaborated with physicians and other healthcare professionals

  in designing clinical studies, collecting data for those studies, and interpreting the results of their

  studies as well as published studies. Since 1976 many of these close collaborations have led to

  peer-reviewed publications in the clinical literature on which I am co-author.

          18.     Since the late 1970s, I have consulted for the pharmaceutical and medical device

  industries on the design of clinical trials, as well as the statistical analysis of results from clinical

  trials and other clinical and preclinical studies. This work has included consulting regarding the

  design and analysis of Phase I, Phase II, and Phase III clinical trials, designing and implementing

  data collection methods, supervising data coordinating centers, planning and overseeing statistical

  analysis of results, overseeing collection and analysis of adverse experience data, preparing reports

  for use by the U.S. Food and Drug Administration, and meeting with the FDA as part of the drug




                                                     4
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25               Page 39 of 455 PageID
                                             #: 34309



  development process. All of this work has been done in close collaboration with physicians,

  subject-matter experts, and other scientists.

          19.     My qualifications for forming the opinions set forth in this declaration are explained

  in more detail in my curriculum vitae, which is attached as Exhibit A. A list of cases during the

  previous 4 years in which I have testified as an expert at trial or by deposition is attached as Exhibit

  B.

  III.    COMPENSATION

          20.     I am being compensated at my normal rate of $950 per hour in connection with this

  case. My compensation is not contingent on the outcome of this case or on the substance of my

  opinions. I have no personal interest in the outcome of this case.

  IV.     MATERIALS RELIED UPON AND BASES FOR MY OPINIONS

          21.     I have relied upon a number of materials in rendering the opinions in this

  declaration, including the Channick Report, the Hill Report, and materials cited therein. A

  complete list of such materials is provided in Exhibit C.

          22.     I have further relied on my knowledge, education and training and my many years

  of experience in the fields of biostatistics and epidemiology, as reflected in my qualifications and

  credentials set forth above and in my curriculum vitae.

          23.     To the extent I cite to only certain portions of a reference, I reserve the right to rely

  on the entirety of that reference. Where I cite a particular figure or chart, the citation should be

  understood to encompass any text referring or relating to that figure or chart, in addition to the

  figure or chart itself. Similarly, where a cited portion of text refers to a figure or chart, the citation

  should be understood to include the figure or chart as well. I also rely on my knowledge to provide

  context, and to aid in understanding and interpreting the portions of the evidence that are cited.



                                                      5
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 40 of 455 PageID
                                           #: 34310



  V.     ASSIGNMENT AND SUMMARY OF MY OPINIONS

         24.     I have been asked to review references identified and relied-up by Liquidia’s

  experts, analyze them in view of biostatistics principles, and provide my opinion as to the validity

  of the Asserted Claims. As part of that analysis, I have been asked to analyze and respond to

  certain opinions offered by Dr. Channick and Dr. Hill regarding the clinical use of treprostinil prior

  to April 17, 2020, e.g., as described in the Saggar 20141, Agarwal 20152, Parikh 20163, and Faria-

  Urbina 20184 references as well as the testimony of several clinicians that were deposed in

  connection with this case. Below, I will review the accounts of clinical treprostinil use cited by

  Dr. Channick and Dr. Hill and assess what (if any) any conclusions from them would have been

  warranted prior to the completion of the INCREASE trial. Included in this analysis will be an

  examination of the limitations presented by observational, unblinded, uncontrolled, single-center

  human studies as compared to randomized, blinded, placebo-controlled, multi-center phase III

  clinical trials such as the INCREASE Study. Finally, I will apply this analysis to respond to Dr.

  Channick’s and Dr. Hill’s positions on anticipation and obviousness. As I explain in more detail

  below, I disagree with both Dr. Channick and Dr. Hill that the Asserted Claims are invalid.

  VI.    LEGAL PRINCIPLES

         25.     I am not an attorney, and I will offer no opinions on the law. I have, however, been

  instructed by counsel regarding the following legal principles related to my opinions. Based on



  1
    Rajeev Saggar et al., Changes in right heart haemodynamics and echocardiographic function in
  an advanced phenotype of pulmonary hypertension and right heart dysfunction associated with
  pulmonary fibrosis, 69(2) Thorax 123 (2014) (LIQ_PH-ILD_00000226) (“Saggar 2014”).
  2
    Kishan S. Parikh et al., Safety and Tolerability of High-dose Inhaled Treprostinil in Pulmonary
  Hypertension, 67(4) J Cardiovasc Pharmacol (2016) (UTC_PH-ILD_010599) (“Parikh 2016”)).
  3
    M. Agarwal & A.B. Waxman, (959) - Inhaled Treprostinil in Group-3 Pulmonary Hypertension,
  34(4) J Heart Lung Transplant S343 (2015) (UTC_PH-ILD_009828) (“Agarwal 2015”)).
  4
    Mariana Faria-Urbina et al., Inhaled Treprostinil in Pulmonary Hypertension Associated with
  Lung Disease, 196(2) Lung 139 (2018) (UTC_PH-ILD_009936) (“Faria-Urbina 2018”).

                                                    6
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 41 of 455 PageID
                                            #: 34311



  these instructions, I have developed and applied the following understandings in arriving at my

  stated opinions and stated conclusions in this declaration.

         A.      Validity of Patent Claims

         26.     I understand that patents issued by the USPTO are presumed to be valid. I therefore

  understand that Liquidia, as the accused infringer, bears the burden of proving invalidity by “clear

  and convincing evidence.” I am informed that the clear and convincing evidence standard is met

  when the fact finder is left with a clear conviction that invalidity is highly probable.

         27.     I am informed that each claim of a patent is considered to be its own invention, and

  that as a result, validity is determined on a claim-by-claim basis.

         28.     I understand that determining the validity of a patent claim requires a two-step

  analysis. First, the claim language must be properly construed to determine its scope and meaning.

  Second, the claims, as properly construed, must be evaluated under the relevant legal standards,

  discussed below. I understand that, depending on the analysis to be performed, the claims may be

  compared to the “prior art” and/or the disclosures in the patent’s specification. In general, I

  understand from counsel that “prior art” references are public references that pre-date the patent

  and qualify as prior art under certain statutes. Examples include publications available prior to the

  filing of the patent application and certain patents.

         B.      Person of Ordinary Skill in the Art (POSA)

         29.     I understand that the validity of a patent is to be assessed from the perspective of a

  hypothetical person of ordinary skill in the art (“POSA”) as of the effective filing date. I

  understand that factors such as the education level of those working in the field, the sophistication

  of the technology, the types of problems encountered in the art, the prior art solutions to those

  problems, and the speed at which innovations are made inform the relevant level of skill in the art.

  I further understand that in addition to their own knowledge and skill, the POSA may work in

                                                    7
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 42 of 455 PageID
                                            #: 34312



  conjunction with other relevant individuals. Here, that group would have had experience in the

  related fields of, pharmacology, medical imaging, and biostatistics among others. The POSA

  would have had access to and/or consulted with, as needed, one or more members of a team of

  experienced professionals in these related fields.

         30.     As discussed below, the Asserted Claims of the ’327 patent generally relate to

  methods of “improving exercise capacity in a patient having pulmonary hypertension associated

  with interstitial lung disease” by administering treprostinil via oral inhalation.5

         31.     For the purposes of this Rebuttal Report, I have been instructed by counsel to

  assume that the effective filing date of the ’327 patent is April 17, 2020, which corresponds to the

  filing date of the earliest provisional application to which the ’327 patent claims priority.6,7

         32.     I understand that, as part of claim construction in this matter, discussed below, UTC

  and Liquidia each proposed a definition of the POSA for purposes of the ’327 patent. The parties’

  respective positions from their Joint Claim Construction Brief are reproduced below:8




  5
    Infra § VIII.
  6
    Infra § VIII.
  7
    UTC has not asked me to assess the effective filing date of the ’327 patent, and I have not formed
  any opinions in this regard. I understand that Liquidia and Dr. Channick have taken the position
  that the earliest effective filing date to which the ’327 patent is entitled is March 12, 2021, which
  corresponds to the filing date of the second provisional application to which the ’327 patent claims
  priority. See, e.g., Channick Op. Rept. ¶ 95. My opinions as set forth below—which primarily
  concern the conclusions a medical professional could draw from observational studies of
  treprostinil prior to INCREASE—would not change if the Court were to adopt Liquidia’s proposed
  effective filing date.
  8
    Redacted Version of D.I. 123, Joint Claim Construction Brief (“D.I. 127”) at 4.

                                                    8
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 43 of 455 PageID
                                           #: 34313




         33.     I have both formal and practical education in statistics and biostatistics, and have

  taught and consulted in those areas for decades. For more than 50 years I have been involved in

  analyzing data collected from human clinical studies as well as designing clinical trials themselves.

  My experience spans a variety of different functional areas, including cardiovascular health.

  Throughout my career, it has been my regular practice to work closely with practicing physicians

  and advise them as to both the interpretation of clinical study results and the design of the clinical

  investigations, including clinical trials, themselves.9 For example, I have frequently worked with

  physicians to select and design the key parameters associated with a clinical trial (e.g., placebo

  controls, length of treatment, endpoints, exclusion criteria, inclusion criteria, etc.) and then

  subsequently consult with the physicians running the trial while it is in progress. After a trial is

  complete, I typically perform a biostatistical analysis of the resulting data, which includes, for


  9
    I understand that one of the inventors of the ’327 patent, Dr. Chunqin (“C.Q.”) Deng, is a
  biostatistician and fulfilled a similar role in the design and analysis of the INCREASE trial
  described in the ’327 patent. See Excerpt of 2024-11-12 Chunqin Deng Deposition Transcript
  (“Deng Dep. Tr.”) at 53:9-19; 2024-03-04 D.I. 035 Redacted Version of 2024-02-26 D.I. 28
  Declaration of Steven D. Nathan, M.D (“Nathan PI Decl.”) at ¶ 27.

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Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25             Page 44 of 455 PageID
                                              #: 34314



  example, determining whether the data for particular endpoints are statistically significant.

  Throughout my career, I have worked alongside and advised physicians who met the level of skill

  of the POSA under either party’s definition for various diseases, i.e., those with the education and

  experience levels described in the parties’ definitions, including experience with cardiologists and

  pulmonologists on a range of conditions or experience at that level of skill but with other diseases.

  As noted above, I also spent years teaching future MDs about biostatistics and assessment of

  clinical data. I am therefore familiar with the perspective of a POSA in this case, particularly as it

  relates to how a POSA would analyze and understand clinical data. Based on my qualifications

  outlined above, 10 and in this section, I am able to provide opinions reflecting the perspective of a

  hypothetical POSA under either party’s definition. The opinions offered in this report reflect those

  of the POSA. My opinions as set forth below would not change regardless of which above POSA

  definition the Court adopts.

            C.       Anticipation

            34.      I understand from counsel that a patent claim is invalid as “anticipated” if none of

  the elements of that claim, either individually or in combination with each other, is new or novel.

  I understand that a claim may be anticipated in at least three different ways: (1) disclosure in the

  prior art; (2) prior sale; and (3) prior public use.

                     1.     Anticipation By Prior Art Disclosure

            35.      I understand from counsel that a patent claim is anticipated by prior disclosure if

  all of the elements of that claim were disclosed in a single disclosure in the prior art (e.g., in a

  printed publication or a patent). I also understand that anticipation in this context requires an




  10
       Supra § II.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 45 of 455 PageID
                                            #: 34315



  “enabling disclosure” such that a POSA could practice every element of the claimed invention

  without undue experimentation.

         36.      I understand that anticipation may be by express disclosure in the prior art. I also

  understand that if the prior art reference does not expressly set forth a particular claim element, the

  reference may still anticipate a patent claim if that element is “inherent” in its disclosure. With

  respect to method claims, I understand that a result is inherent if it is a necessary and inevitable

  consequence of practicing the claimed method.

         37.     I understand that only a single reference should be relied upon to conclude that a

  claim is anticipated, unless any further references are cited solely to: (a) prove that the primary

  reference contains an “enabling disclosure”; (b) explain the meaning of a term used in the primary

  reference; or (c) show that a characteristic not disclosed in the reference is inherent. I understand

  that to anticipate a claim, the prior art does not need to use the same words as the claim, but all of

  the requirements of the claim must have been disclosed, either stated expressly or implied to a

  person having ordinary skill in the art in the technology of the invention. I also understand that a

  narrower claim is not necessarily anticipated by a broader prior art reference if the claims contain

  additional elements not described by the broader reference.

                 2.      Anticipation By Prior Public Use

         38.     I understand from counsel that a patent claim is anticipated by prior public use if

  every element of the claimed invention was used in public prior to the effective filing date.

         39.     I understand that the use of an invention is considered “public” when that use is

  accessible to the public or where the inventor commercially exploits the use. I understand that a

  use of a claimed invention is accessible to the public if the claimed invention (or an obvious variant

  thereof) is shown to or used by an individual, other than an inventor, without limitation, restriction,

  or obligation of confidentiality. I understand that determining public accessibility considers the

                                                    11
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 46 of 455 PageID
                                           #: 34316



  nature of the use, whether there was public access to that use, and any observers’ confidentiality

  obligations.

          40.     I understand that, for purposes of anticipation, an invention is not considered to

  have been used publicly if the invention is not “ready for patenting” at the time it was used. I am

  informed that an invention is ready for patenting when it is reduced to practice or when the inventor

  has prepared descriptions of the invention that are sufficiently specific to permit the POSA to

  practice the invention. I understand that reduction to practice of a method claim is only met when

  the inventor performs a process that meets all the limitations of the claim and the inventor has

  determined that the claimed method will work for its intended purpose. I understand that a claimed

  method’s intended purpose does not need to be recited in the claim. I understand that the extent of

  testing necessary to verify that an invention works for its intended purpose depends on the claim

  language and the invention’s character, which includes the nature and complexity of the problem

  the invention seeks to solve. I understand that an invention is not ready for patenting when there

  is a probability of failure.

          41.     I understand that prior public use of a claimed invention does not invalidate an

  issued claim if the use was experimental. I understand that experimental use includes testing or

  experimentation performed to perfect the claimed invention. I understand that the primary or

  substantial purpose of testing claimed features (or any features inherent to claimed features) must

  be for the purpose of determining whether the claimed invention works for its intended purpose. I

  understand that determining whether a use was an experimental use considers the totality of

  surrounding circumstances. I further understand that the following are relevant to assessing

  whether a use was experimental: the necessity for public testing; the amount of control over the

  experiment retained by the inventor; the nature of the invention; the length of the test period;



                                                   12
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 47 of 455 PageID
                                            #: 34317



  whether payment was made; whether there was a secrecy obligation; whether records of the

  experiment were kept; who conducted the experiment; the degree of commercial exploitation

  during testing; whether the invention reasonably requires evaluation under actual conditions of

  use; whether testing was systematically performed; whether the inventor continually monitored

  the invention during testing; and the nature of contacts made with potential customers.

                   3.      Anticipation By Prior Sale

            42.    I understand from counsel that a patent claim is anticipated by prior sale if every

  element of the claimed invention was on sale prior to the effective filing date.

            43.    I understand that a claimed invention is considered to be “on sale” when the

  invention is (a) the subject of a bona fide commercial offer for sale, public or secret; and (b) and

  it is ready for patenting. I further understand that the “ready for patenting” standard is the same in

  the context of prior sale as it is in the context of prior public use (discussed above).11

            44.    I understand that the mere existence of a commercial benefit to an inventor does

  not equate to a commercial sale—the claimed invention itself must be sold or offered for sale. I

  understand that merely exchanging technical know-how or providing technical assistance

  regarding an inventive process does not put that inventive process on sale. I also understand that

  potential plans to commercialize an invention does not put that invention on sale.

            45.    I further understand that an inventive method may be on sale when the inventive

  method is commercially exploited, e.g., an inventive process is used to make the subject of a

  commercial sale or the inventive process is performed or offered to be performed for

  compensation. However, I understand that the essential features of the claimed inventive process

  must be substantially embodied in what is sold. I understand that products that have uses apart



  11
       Supra § VI. C. 2.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25            Page 48 of 455 PageID
                                            #: 34318



  from use in an inventive process do not substantially embody the essential features of the inventive

  process. I further understand that agreements to perform a service are insufficient to demonstrate

  a claimed process was on sale unless those agreements require performance of the claimed method.

         46.     I understand a prior sale of the claimed invention will not invalidate an issued claim

  if that sale was for the purpose of experimental use. The same considerations for demonstrating

  prior public use apply to prior public sale.

         D.      Obviousness

         47.     I understand from counsel that a patent claim is invalid if the differences between

  the patented subject matter and the prior art are such that the subject matter, as a whole, would

  have been obvious at the time the invention was made. I also understand that the question of

  obviousness requires consideration of (a) the scope and content of the prior art; (b) the level of

  ordinary skill in the art; (c) the differences between the claimed invention and the prior art; and

  (d) secondary considerations of non-obviousness. I further understand that the scope and content

  of the prior art must be viewed through the perspective of a POSA at the time of the invention.

         48.     Unlike anticipation, I understand that an obviousness analysis can be based on more

  than a single prior art reference. I understand, however, that when multiple references are used in

  combination to argue that a patent claim is obvious, every element (or limitation) of the claim must

  be disclosed, expressly or inherently, in that combination of references.

         49.     I understand that an obviousness analysis must be performed from the perspective

  of a POSA as of the effective filing date. I understand that a POSA is a person of ordinary

  creativity, not an automaton or a person with exceptional or extraordinary knowledge.

         50.     I have been instructed by counsel and understand that demonstrating obviousness

  requires more than merely showing that the prior art includes separate references covering each

  separate limitation in a claim under examination. I understand that a conclusion of obviousness

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 49 of 455 PageID
                                            #: 34319



  requires the additional showing that a person of ordinary skill at the time of the invention would

  have been motivated to select and combine those references, and, in making that combination, a

  person of ordinary skill in the art would have a reasonable expectation of success. I understand

  from counsel that obviousness of patent claims is examined at the time of the effective filing date

  based on the prior art without the benefit of the patent application. That is, the specification of the

  ’327 patent is not available as prior art.

          51.     I understand that analyses that rely on hindsight to establish obviousness are

  improper. Counsel has therefore instructed me that when considering obviousness, I should not

  consider what is known today or what was learned from the asserted patent. Instead, I should put

  myself in the position of a POSA at the time of the claimed invention. In particular, I understand

  that it is improper to use the invention as a roadmap to find its prior art components, because that

  approach discounts the value of combining various existing features or principles in a new way so

  as to achieve a new result.

          52.     Finally, I understand that in forming an opinion regarding obviousness, one must

  consider so-called “objective indicia” of non-obviousness, which include, for example:

                  a.      Whether the invention was commercially successful as a result of the merits

                  of the claimed invention (rather than the result of design needs or market-pressure

                  advertising or similar activities;

                  b.      Whether the invention satisfied a long-felt need;

                  c.      Whether others had tried and failed to make the invention;

                  d.      Whether others invented the invention at roughly the same time;

                  e.      Whether others copied the invention;




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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25             Page 50 of 455 PageID
                                             #: 34320



                 f.        Whether there were changes or related technologies or market needs

                 contemporaneous with the invention;

                 g.        Whether the invention achieved unexpected results;

                 h.        Whether others in the field praised the invention;

                 i.        Whether persons having ordinary skill in the art of the invention expressed

                 surprise or disbelief regarding the invention;

                 j.        Whether others sought or obtained rights to the patent from the patent

                 holder; and

                 k.        Whether the inventor proceeded contrary to accepted wisdom in the field.

  The timeframe for evaluating these factors is not limited to the time of the invention, and post-

  invention evidence may be considered.

         53.     I understand that to be relevant to an obviousness inquiry, evidence of objective

  indicia must be attributable to, or a direct result of, the claimed invention. I am informed that this

  is referred to as the “nexus” requirement.

  VII.   SCIENTIFIC BACKGROUND

         54.     My opinions below rely on basic concepts of statistics such as statistical

  significance, and on fundamental aspects of clinical study design such as the distinction between

  prospective and retrospective clinical studies, randomized clinical trials, and the importance of

  controls to eliminate bias. To assist the court, I provide an overview of these concepts in this

  section. I apply the principles discussed here in forming my opinions concerning the documents I

  was asked to review. If asked to testify, I may provide a tutorial on the background facts and

  scientific opinions that support my opinions. These and other background state-of-the-art concepts

  are described in detail below. I reserve the right to provide additional background information or

  detail as appropriate.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 51 of 455 PageID
                                           #: 34321



         55.     Hierarchy of medical evidence. Evidence-based medicine involves the practice of

  critical appraisal of publications in the medical literature to assess the quality of evidence about a

  given clinical question that each publication provides. Quality of evidence depends critically on

  the study design, and some designs are inherently of higher quality and more reliable than others.

  In 1969, David Sackett (often called the father of evidence-based medicine) outlined the levels of

  evidence associated with general classes of study design, from highest to lowest12:




         56.     Of note, studies of medical treatments at all levels except for the lowest (Level V)

  entail comparisons against an appropriate control treatment. With respect to Level V studies (the

  category into which Saggar 2014,13 Agarwal 2015,14 Parikh 2016,15 and Faria-Urbina 201816 all


  12
     Sackett DL. Rules of evidence and clinical recommendations on the use of antithrombotic
  agents. Chest 1989; 95: 2S-4S. (“Sackett 1989”).
  13
     Saggar 2014.
  14
     Agarwal 2015.
  15
     Parikh 2016.
  16
     Faria-Urbina 2018.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 52 of 455 PageID
                                           #: 34322



  fall), Sackett notes that for case series without controls, “the reader is simply informed about the

  fate of a group of patients. Such series may contain extremely useful information about clinical

  course and prognosis but can only hint at efficacy.”17

          57.     Sackett’s hierarchy has been refined to distinguish different kinds of studies within

  Level    V.18   A    common      extension    is   the   “evidence    pyramid”    shown     below.19




          58.     Here, too, except for non-human studies (which would fall into the category of

  “Basic science and translational research”), case series without controls provide the lowest level

  of evidence. Weber, et al., note that “drawing conclusions from [case reports and case series] to

  answer clinical questions is not advised because of potential biases resulting from the small

  number of patients described and the lack of a comparison group.”20



  17
     Sackett 1989 at 3S.
  18
     Wallace SS, Barak G, Truong G, and Parker MW. Hierarchy of Evidence Within the Medical
  Literature, Hospital Pediatrics 2022. Aug 1;12(8):745-750. doi: 10.1542/hpeds.2022-006690
  (“Wallace 2022”).
  19
     Wallace 2022 at 748.
  20
     Wallace 2022 at 746.

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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25            Page 53 of 455 PageID
                                             #: 34323



           A.      Pulmonary Hypertension

           59.     I reviewed a public, redacted version of a declaration of Dr. Nathan to learn about

  pulmonary hypertension, varieties thereof, and treatment options.21

           B.      Study Design

           60.     The kinds of questions that a study can answer, and the strength and validity of

  those answers, depends upon a number of factors which collectively are referred to as the “study

  design.” I will focus here on the design of clinical studies addressing the effectiveness of a medical

  treatment.

           61.     The conclusions that are warranted from a clinical study will depend upon key

  choices the principal investigators made in carrying out the clinical study. Important examples

  include:

  a) Study population. A clinical study’s inclusion and exclusion criteria identify the broader

        population of patients to whom the clinical study’s results may apply. For example, a clinical

        study conducted only in males cannot tell us about effectiveness in females. Similarly, a

        clinical study of a blood pressure treatment that includes patients either with or without

        diabetes cannot tell us about effectiveness in diabetics unless the clinical study explicitly

        reports results from diabetics separately from the broader population studied.

  b) Treatment selection. What treatment(s) will be studied, at what doses, and at what intervals?

  c) Endpoints. How will the results of treatment be measured (i.e., “outcome measures” or

        “endpoints”)? In particular, what tests, outcomes, or assessments will form the basis for any

        conclusion about effectiveness? How will the clinical study ensure that these assessments are

        carried out in the same way for all participants?



  21
       Nathan PI Decl.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 54 of 455 PageID
                                           #: 34324



  d) Is the study descriptive or comparative? Clinical studies that simply describe outcomes

     observed from patients who receive a particular treatment are called “descriptive” or

     “noncomparative.” Such clinical studies cannot determine whether some or all of the patient

     outcomes observed are the result of the treatment that patients received. That is because these

     clinical studies provide no information on how patients would have done had they not received

     the treatment. By way of contrast, clinical studies in which outcomes of patients receiving one

     treatment are compared to outcomes of patients receiving a control treatment (“comparative

     study”) provide a direct basis for assessing the potential relationship of outcomes to treatment.

     In such clinical studies, effectiveness is measured relative to a control treatment (i.e.,

     effectiveness is measured compared to placebo treatment or to another therapy). As described

     below, if there is only one treatment—and thus, no control treatment—effectiveness cannot be

     determined.

  e) Treatment assignment method. In clinical studies that compare two or more treatments, the

     way in which participants end up receiving one treatment or another is critical. For example,

     patients could be assigned at random to the various treatments, thereby ensuring that no factor

     that could affect the outcome of the clinical study systematically favors one treatment over

     another. By way of contrast, treatment assignment could be at the discretion of the treating

     physician, or patients could choose which treatment to receive, or patients who were already

     on one or the other of the treatments could be maintained on those treatments and observed

     during the clinical study. In cases such as the last three, bias that distorts the ultimate treatment

     comparison can easily arise. A common bias of this sort is called “confounding by indication,”

     in which the factors affecting choice of treatment are also factors that influence the outcome.




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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25                Page 55 of 455 PageID
                                             #: 34325



  f) Time course of the clinical study. Clinical studies in which investigators select patient

       participants, treat them (or observe treatment), and then follow patients forward in time to

       determine their outcomes are called “prospective” studies. Such clinical studies identify

       patients to include before the outcome has been experienced. It is possible to specify criteria

       to identify participants in a unform manner, to prescribe specific procedures by which results

       will be obtained and evaluated, and to account for all patients entering the clinical study. By

       way of contrast, studies based on existing patient data originally collected for other reasons

       (medical records, for example) are described as “retrospective” studies. Retrospective studies

       are dependent on the assessments that are available in the records and are thus subject to several

       limitations. For example, investigators cannot determine whether assessments were carried out

       consistently, cannot adjust for (or even assess) sources of bias that arise from factors that were

       intentionally or unintentionally omitted from the data set (or that were unrecognized), or cannot

       control for extraneous variables that were not measured and thus are not present in the data set.

       Retrospective studies are also subject to a type of selection bias that arises because only some

       patients with the disease of interest are included in the clinical study.

  g) Blinding. In prospective clinical studies comparing two or more treatments, if the treatment

       each patient is on during the clinical study is concealed from the investigators, the clinical

       study is described as being “blinded” or “masked.” 22 Clinical studies in which investigators

       know the treatments for each patient are said to be “unblinded,” “unmasked,“ or “open-label”



  22
     Blinded studies are often further described as single-, double-, or triple-blind. In a single-blind
  study, the identity of their treatment is not revealed to participants but is known to their treating
  physician. In a double-blind study, treatment assignment is concealed from both participants and
  investigators. In a triple-blind study, treatment assignment is concealed from participants,
  investigators, and data analysts. In the latter case, different treatments are distinguished for the
  data analysts using a code (e.g., treatments A and B) rather than the actual description of the
  treatments that those codes represent.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 56 of 455 PageID
                                           #: 34326



     clinical studies. Blinding helps to ensure that a patient’s treatment and evaluation during the

     course of the clinical study will not be influenced by anything the investigator may know about

     the treatment to which a patient is assigned. This is an important method for ensuring that

     differences between treatments are not resulting in part from differential treatment or

     evaluation of patients.

  h) Sample size. The number of participants included in a clinical study is referred to as the “study

     size” or “sample size.” Clinical studies with small sample sizes cannot reliably distinguish

     between actual treatment effects (“signal”) and the natural variation from patient to patient or

     occasion to occasion (“noise”). The reason that the randomized controlled trials that are

     required for showing the safety and effectiveness of drugs typically have large samples is that

     the noise induced by natural variability can be controlled and minimized.

  i) Generalizability. A clinical study may be carried out on the patients of a single investigator, or

     on patients seen at a single medical center, or on patients recruited at many geographically

     separated centers. The broader the patient population, the more generalizable results are likely

     to be and the less those results may be influenced by factors unique to a single investigator or

     a single institution.

  j) Statistical methods. A statistical analysis plan describes in advance of conducting the clinical

     study how the resulting data will be analyzed to answer the questions for which the clinical

     study was carried out. The choice of statistical analysis method can affect both the validity of

     the conclusions drawn and the precision with which effectiveness can be assessed. For

     instance, if patients drop out of a clinical study because their disease worsens and those patients

     are omitted from the clinical study’s final analysis, then those results will be overly optimistic




                                                   22
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 57 of 455 PageID
                                            #: 34327



       because only patients doing relatively well end up being evaluated. Statistical methods that

       take account of dropouts can reduce or eliminate this source of bias.

          62.     In the following sections, I discuss specific elements of study design that affect the

  reliability of findings from the studies described in the articles I was asked to consider: Saggar

  2014,23 Agarwal 2015,24 Parikh 2016,25 and Faria-Urbina 2018.26

          C.      Single-arm case series

          63.     The design of each of the four studies that I was asked to consider (those reported

  by Saggar 2014,27 Agarwal 2015,28 Parikh 2016,29 and Faria-Urbina 201830) is best described as a

  single-arm case series. Each reports only on patients receiving treprostinil and aspects of their

  clinical course are reported for some of those patients. Saggar 2014,31 Agarwal 2015,32 Parikh

  2016, 33and Faria-Urbina 201834 do not report any comparative studies. The reported study and

  chart reviews only involve subjects who were administered treprostinil, and thus these can be

  described as a “single-arm” “descriptive,” or “noncomparative” investigations.35 Single-arm

  studies typically examine the average difference between baseline values of a measurement such

  as six-meter walking distance (“6MWD”) and the same measurement taken at a later point in time,

  with each measure taken in the same patient. The difference between the two measurements is



  23
     Saggar 2014.
  24
     Agarwal 2015.
  25
     Parikh 2016.
  26
     Faria-Urbina 2018.
  27
     Saggar 2014.
  28
     Agarwal 2015.
  29
     Parikh 2016.
  30
     Faria-Urbina 2018.
  31
     Saggar 2014.
  32
     Agarwal 2015.
  33
     Parikh 2016.
  34
     Faria-Urbina 2018.
  35
     Supra § VII. B.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 58 of 455 PageID
                                           #: 34328



  known as a change score. Such noncomparative studies can suggest, but cannot establish, that any

  observed changes were the result of the treprostinil administration rather than due to other, non-

  treprostinil factors.

            64.   Indeed, noncomparative studies that rely on changes from baseline in a clinical

  performance measure, e.g., 6MWD‚ are particularly prone to bias and to potentially misleading

  results for at least two reasons.

            65.   First, the natural course of the disease (or aspects of clinical care other than the

  treatment under investigation) has the potential to cause changes in the outcome measure that are

  unrelated to the treatment being studied but which could wrongly appear to result from the

  treatment’s effectiveness.

            66.   As an example, consider a noncomparative study of a method for treating symptoms

  of the common cold, and one of the study’s endpoints is the change in severity of sneezing after

  ten days of treatment. The treatment method being studied is eating one green M&M daily for ten

  days. At the end of the ten-day period, sneezing would have disappeared in most or all of the

  patients studied, and thus it would appear that the treatment method—eating one green M&M daily

  for ten days—is effective. However, the change in the study’s sneezing endpoint was actually

  attributable to another factor—the natural course of the disease—the common cold. Without some

  means of controlling for this non-M&M factor, the results would be misleading and therefore

  biased.

            67.   Of course, the natural course of disease is only one possible factor that could

  influence how symptoms change over time. Another factor, for instance, is the possibility that one

  or more other treatments are being used simultaneously that also contribute to symptom reduction.




                                                   24
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25            Page 59 of 455 PageID
                                            #: 34329



  If the patients in our hypothetical study were also taking common cold remedies, that too could

  account for the reduction in symptoms seen over ten days.

         68.     A real-life clinical example is the case of treating pain associated with compression

  fractures of the spinal vertebrae caused by osteoporosis. The treatment in question was to inject

  surgical-grade cement into the fractured bone on the unproven theory that doing so would provide

  support for the bone and cushioning of the nerve causing pain. This procedure, called

  vertebroplasty, was reported to be highly successful at alleviating pain in a series of articles

  comprising single-arm case series, as well as small unblinded nonrandomized cohort studies. This

  apparent success led to guidelines that recommended vertebroplasty for painful osteoporotic

  vertebral fractures. Only after a randomized, double-blind, placebo-controlled study was carried

  out did it become apparent that vertebroplasty caused no greater reduction in pain than a sham

  procedure in which nothing was done to the offending vertebra.36 In the case of vertebroplasty, the

  authors of the clinical trial concluded37 that




  36
     Kallmes DF et al., A Randomized Trial of Vertebroplasty for Osteoporotic Spinal Fractures,
  361 N. Eng. J. Med. 569 (2009) (“Kallmes 2009”).
  37
     Id. at 575.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 60 of 455 PageID
                                            #: 34330



         69.     One means to control for these sources of bias would be to compare the results of

  M&M treatment to the results of patients who were otherwise treated in the same manner, but who

  were instructed to eat “placebo” M&Ms for ten days.

         70.     This principle of comparing efficacy results for a studied treatment to

  corresponding results from patients receiving a suitable control treatment is why FDA relies on

  “adequate and well-controlled studies” as the primary basis when it determines whether there is

  “substantial evidence” to support a claim that a drug is effective.38 Moreover, FDA regulations

  state that “[u]ncontrolled studies or partially controlled studies are not acceptable as the sole basis

  for the approval of claims of effectiveness.”39 All studies and chart reviews reported in Saggar

  2014,40 Agarwal 2015,41 Parikh 2016,42 and Faria-Urbina 201843 were uncontrolled.

         71.     A second source of bias associated with change scores is a subtle but important

  phenomenon known as “regression to the mean.” Regression to the mean is well-recognized in the

  art—it was described as early as 1877. “Regression to the mean is a widespread statistical

  phenomenon with potentially serious implications for health care. It can result in wrongly

  concluding that an effect is due to treatment when it is due to chance. Ignorance of the problem

  will lead to errors in decision making.”44 It has been described as “a statistical phenomenon that

  can make natural variation in repeated data look like real change.”45 Regression to the mean occurs




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     21 C.F.R. § 314.126(a).
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     21 C.F.R. § 314.126(e).
  40
     Saggar 2014.
  41
     Agarwal 2015.
  42
     Parikh 2016.
  43
     Faria-Urbina 2018.
  44
     Veronica Morton & David J Torgerson, Effect of Regression to the Mean on Decision Making
  in Health Care, 326 BMJ 1083 (2003) (“Morton & Torgerson 2003”).
  45
     Adrian G Barnett et al., Regression to the Mean: What It Is and How To Deal With It, 34 Int’l J.
  Epidemiology 215 (2005) (“Barnett 2004”).

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25            Page 61 of 455 PageID
                                            #: 34331



  when patients are selected for inclusion in a clinical study because a measure of their disease

  severity is at an extreme. If, for example, the distance patients can walk in six minutes varies

  somewhat from one day to the next, then a population of patients who are selected because their

  6MWD is low will include patients who happen to have a 6MWD lower than their typical average

  value. When those patients are measured again 12 weeks later, their 6MWD is likely to be nearer

  to their typical average value, and that would appear to be an improvement relative to that patient’s

  baseline (even if they do not receive an effective treatment).

            72.    In a noncomparative, single-treatment series of cases, there is no way to know the

  extent to which regression to the mean is determining the extent of any observed effect. The effects

  of regression to the mean can be eliminated, however, by performing a comparative study in which

  changes observed in the active arm are compared to the corresponding changes observed in a

  control arm, e.g., a placebo arm.

            D.     Retrospective versus prospective clinical studies

            73.    Retrospective clinical studies are based on data that has already been acquired

  before the clinical study begins.46 This means that the data were collected for a purpose other than

  answering the questions addressed by the retrospective clinical study. Data sources for such

  clinical studies include existing medical records, billing databases, and so on. Such data are often

  inaccurate or misleading, as patient diagnoses recorded in medical records may be incomplete and

  data that was collected on some patients may not have been collected on other patients. The reasons

  for these omissions are often unknowable but may well be associated with patients’ outcomes.

  These studies cannot take advantage of variables that were not recorded. Relevant variables such

  as smoking history may be absent from the data set, and, if present, may have been collected



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       Supra § VII. B.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 62 of 455 PageID
                                            #: 34332



  sporadically. Certain measures of disease progress may not have been carried out consistently for

  all patients. Referral centers specializing in treating particular diseases may have incomplete

  information on the medical records of patients referred to them from elsewhere. Consequently,

  studies based on such data sources can be subject to bias.47

            74.    As an example, consider a clinical study looking at change in 6WMD from

  initiation of treprostinil treatment to a measurement 12 weeks later. If the medical records being

  mined for data did not have a measurement at 12 weeks for some patients (i.e., a change in 6MWD

  could not be calculated for those patients), a retrospective study might simply include only those

  patients who have both a baseline and 12-week measurement, ignoring those patients for which 12

  week data is unavailable. But there are many reasons why the 12-week measurement might be

  missing from the medical records being mined for data. These reasons include, but are not limited

  to, the following possibilities: the patient deteriorated so much in 12 weeks that they are unable to

  do the test; the patient developed another medical condition for which they were hospitalized at

  the 12-week point; the patient died; the patient was transferred to another institution for specialized

  treatment; the healthcare provider did not perform 6MWD test at 12 weeks; or the patient refused

  to do the 6MWD test at 12 weeks. I note that many of these possible reasons for the medical records

  not containing a patient’s 12-week data could negatively impact that patient’s 6MWD if the

  measurement had actually been taken and recorded. Therefore, only including the patients with

  complete 6MWD data and ignoring patients with incomplete 6MWD could give a misleading

  description of what happened to 6MWD in the patients initially treated with treprostinil.

  Incomplete follow-up in a retrospective study—like that described in the above hypothetical—




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       Supra § VII. B.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 63 of 455 PageID
                                            #: 34333



  introduces a source of bias that cannot be corrected and that can produce substantially misleading

  results.

             75.   Prospective clinical studies—clinical studies in which criteria for inclusion in the

  clinical study and the outcomes to be studied are defined in advance, and patients are followed

  forward in time—are generally considered to produce more reliable assessments than retrospective

  clinical studies.48 Investigators in prospective clinical studies can identify variables that are

  potentially important for interpreting the results, and they can ensure that those variables are

  measured and recorded for use in the data analysis. Because patients in a prospective clinical study

  are typically followed by the investigators according to a pre-specified schedule, reasons for

  patient dropout or the failure to record an outcome assessment can be determined and the impact

  of this missing data can be assessed in the final analysis.

             76.   Prospective clinical studies are subject to fewer types of bias than retrospective

  clinical studies because prospective clinical studies afford greater control over 1) what, how, and

  when variables related to treatment and disease are measured; 2) intensity and uniformity of follow

  up and outcome assessment; and 3) understanding causes of and adjusting for data gaps, e.g.,

  subject dropout or missing data.

             E.    Blinding versus open label

             77.   In comparative clinical studies, blinding patients, healthcare providers, and

  investigators to the treatment assigned to each patient is a powerful guard against biases, conscious

  or unconscious, that arise from knowledge of a patient’s treatment and which can result in favoring

  one treatment over another when assessing outcomes.49 For example, when outcomes are based in

  part on a patient’s self-assessments, blinding ensures that any expectations related to potential


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       Supra § VII. B.
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       Supra § VII. B.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 64 of 455 PageID
                                           #: 34334



  results of treatment are the same in both the active and control groups. As another example, when

  a patient’s condition worsens during a clinical study, healthcare providers or investigators may

  have incentives to choose a course of action that depends upon which treatment the patient is

  receiving, and this choice could affect the ultimate assessment of efficacy. Blinding ensures that

  treatment choices during the clinical study will be unaffected by the treatment under study.

  Unblinded healthcare providers and investigators may also influence the outcome measure, even

  unconsciously, by behaving differently depending on treatment group or patient. For instance, if a

  healthcare provider or investigator knows that a patient is in the treprostinil group, the healthcare

  provider or investigator may offer extra verbal encouragement to the patient during the 6MWD

  test which might not be offered (or offered so vigorously) to a patient in the control group. Blinding

  ensures that the way assessments are carried out are unaffected by knowledge of the treatment to

  which individual patients are assigned.

         78.     Blinding is generally not feasible in single-arm studies. In retrospective studies, the

  investigator has chosen patients from the medical record on the basis of the common treatment

  that they received—in this case, inhaled treprostinil, so the investigators themselves could not be

  blinded. And the treating physicians of the patients in the study at least knew, and probably

  prescribed, the common treatment under study, so these individuals evaluating patient outcomes

  could also not have been blinded. In a prospective single-arm study of a treatment, all patients

  would receive the common treatment of interest by design.

         F.      Sources of bias

         79.     The term “bias,” as used in epidemiology and biostatistics has a technical meaning

  that does not imply a prejudice or preconception is at play, as in common usage.

         80.     In epidemiology, “[b]ias may be defined as any systematic error in an

  epidemiological study that results in an incorrect estimate of the association between exposure and

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 65 of 455 PageID
                                            #: 34335



  risk of disease.”50 More generally, bias results in an incorrect estimate of the relationship between

  an “exposure” (such as treatment with treprostinil) and an “outcome” (such as increase in 6MWD).

  Bias can arise “from a large number of specific sources including the manner in which subjects

  are selected in the study and the way in which information is obtained, reported, or interpreted.”51

         81.     One particular source of bias--selection bias—occurs when the sample of patients

  studied—the study sample—does not fairly represent the population of patients that they are

  intended to represent. Selection bias can be introduced into clinical studies in a variety of ways,

  examples of which I outline below.

         82.     One type of selection bias occurs when the procedures used to identify the study

  sample systematically filter out some or all patients with particular characteristics. For instance, if

  all PH-ILD patients in a study were included because they were referred to a particular center for

  a lung transplant, then PH-ILD patients who were not candidates for lung transplant at that

  particular center would not be represented in the study sample.

         83.     A second type of selection bias occurs when only a subset of an initially

  representative study sample is analyzed. For instance, if some PH-ILD patients in a clinical study

  deteriorate during the clinical study to the extent that they require alternative treatment and these

  patients are then excluded from the analysis of the clinical study, that clinical study’s results will

  no longer represent what happens to PH-ILD patients in general. Rather, that clinical study’s

  results will only reflect those patients who happen to do well enough to complete the clinical study.




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     Hennekens CH, Buring JE. “Analysis of Epidemiologic Studies: Evaluating the Role of Bias,”
  Chapter 11 in Epidemiology in Medicine, Lippincott Williams & Wilkins, 1987, at 272.
  (“Hennekens & Buring 1987”).
  51
     Id. at 272.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 66 of 455 PageID
                                           #: 34336



  This would clearly result in an overly optimistic view of what would happen to PH-ILD patients

  in general.

         84.     A third type of selection bias can occur in comparative clinical studies when the

  patients who receive one treatment differ in a systematic way from those receiving a control

  treatment. For example, consider a nonrandomized comparative clinical study comparing

  outcomes for patients already receiving a pharmaceutical intervention to patients not receiving a

  pharmaceutical intervention. The patients already receiving a pharmaceutical intervention could

  well be on the drug because their disease was more advanced compared to the patients for whom

  it was judged that the pharmaceutical intervention would not be warranted. If one treatment group

  is sicker in some sense at baseline than the other, one could expect worse outcomes for that group,

  quite independent of their treatment.

         85.     Randomized assignment to treatment groups in a prospective comparative clinical

  study eliminates the possibility of selection bias of the third type outlined above.

         G.      Randomized clinical trials

         86.     The gold standard for establishing efficacy of a treatment is the multi-center,

  randomized, double-blind, placebo-controlled clinical trial. Such a clinical study randomly

  allocates participants to one of two treatments, thereby eliminating any systematic selection of

  patients to receive one treatment or the other. Thus, any factor (whether known or unknown) that

  will affect an outcome measurement will tend to be equally distributed between the two treatment

  arms. Moreover, double blinding reduces the possibility of bias that could result from treating

  patients on the active treatment differently from those on the control treatment, and it also

  eliminates possible bias in evaluating outcomes related to what investigators expect for the effects




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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 67 of 455 PageID
                                            #: 34337



  of the active treatment.52 Comparison to placebo controls makes it possible to eliminate any

  possible bias resulting from patients’ or physicians’ expectations and resulting psychological or

  psychosomatic influence on outcomes. Because patients in the active and placebo arms of the study

  otherwise receive the same treatment, follow-up, and evaluation throughout the study, that means

  that any differences in outcomes between the active and placebo arms of the study can be attributed

  to the only systematic difference built into the study—the difference in effectiveness of the active

  and placebo treatments. Finally, a study conducted across multiple institutions increases the

  confidence that results are not being driven by factors specific to a single investigator or an

  individual study site.

            87.    Randomized clinical trials are always prospective, and they always assess effects

  by comparing outcomes between patients receiving the treatment of interest and a control. Such

  clinical studies minimize the possibility of biases.

            H.     Single-site clinical studies versus multi-site clinical studies

            88.    Studies carried out at a single specialty clinic or referral center may not be

  indicative of results obtainable in a broader range of clinical settings. A specialized referral site

  may have standardized treatment protocols that were developed based on their experience. Clinical

  studies done at that site may be more likely to achieve better results than the same studies carried

  out at other institutions with less specialized experience.53 The patients available for study at a

  referral center also may well differ from the patients seen at other hospitals who see patients with

  the disease under study. For example, patients at a referral center may reflect a population with

  more advanced disease.




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       Supra § VII. B.
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       Supra § VII. B.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 68 of 455 PageID
                                            #: 34338



            89.   By way of contrast, a clinical study carried out at multiple study sites provides

  information about how much variability in outcomes are achieved from one location to the next.

  If favorable results are found broadly, that is, at most of the study sites, that fact increases

  confidence that clinical study’s results apply generally and not just to a single, highly experienced

  clinic.

            I.    Sample size and power

            90.   Generally, an estimate for an effect (such as increase in 6MWD) based on a larger

  number of individuals, i.e., a larger sample size, is more precise than one based on a small number

  of individuals. Phase II clinical studies, which are typically the first studies of a drug to determine

  whether there are indications of efficacy, generally involve a few hundred patients.54 Comparative

  randomized trials such as Phase III clinical trials to determine whether a drug treatment is effective

  typically require 100 or more patients per treatment arm. For example, the INCREASE trial

  enrolled 326 patients, with equal numbers assigned to treprostinil and to placebo.55

            91.   Because outcome measures can only be estimated imprecisely with small sample

  sizes, study results based on small samples may not be reliable indicators of results in broader

  populations of patients. The term “power” is a statistical term of art that refers to the ability of a

  particular clinical study design to detect differences (say, between a treatment and a control) of a

  specified size. Roughly speaking, a large clinical study has greater power to detect differences than

  a small clinical study.

            92.   The power of a clinical study depends on several factors:




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     Pedro A. Torres-Saavedra & Kathryn A. Winter, An Overview of Phase 2 Clinical Trial Designs,
  112 Int’l J. Radiation Oncology, Biol., Physics 22 (2022) (“Torres-Saavedra & Winter 2022”).
  55
     Aaron Waxman et al., Inhaled Treprostinil in Pulmonary Hypertension Due to Interstitial Lung
  Disease, 384 N. Eng. J. Med. 325 (2021) (UTC_PH-ILD_010790) (“Waxman 2021”) at 790.

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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25             Page 69 of 455 PageID
                                             #: 34339



                  The sample size,56

                  The degree of variability from one patient to another and from one measurement to

                   another in the quantity being measured,

                  The details of the clinical study design, including what specific comparison will be

                   made,57

                  The specific statistical test to be used,58 and

                  The size of the (average) difference that one seeks to detect.

         93.       Generally, clinical studies with larger samples have greater power. Larger inter-

  patient and inter-measurement variability results in lower power. Certain statistical tests have

  greater power than others for testing the same difference; which tests have greatest power depends

  on characteristics of the sampling method by which observations are taken.

         J.        Statistical significance

         94.       A statistical significance test is a formal comparison of an observed effect against

  a benchmark for comparison. In an uncontrolled single-arm clinical study, for example, a

  significance test could be used to compare the average change in 6MWD in the sample subjects to

  the benchmark of zero, that is, no change. In a randomized clinical trial, for example, a significance

  test could be used to compare the average change in 6MWD in subjects receiving treprostinil to

  the average change in 6MWD in subjects receiving placebo.

         95.       For most statistical tests, the results can be summarized in a quantity called the p-

  value, a numerical quantity ranging between 0 and 1. P-values close to 1 result when the observed




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     Supra § VII. B.
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     Supra § VII. B.
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     Supra § VII. B.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 70 of 455 PageID
                                            #: 34340



  effect is close to the benchmark comparison value, while p-values closer to 0 result when the

  observed effect and the benchmark diverge.

         96.      By convention, when the p-value is less than 0.05, the observed difference in means

  is said to be “statistically significantly different from zero.” This cumbersome phrase is often

  simply abbreviated as “statistically significant.” Note that the terms “statistical significance” and

  “statistically significant” are statistical terms of art that always refer to the results of a specific

  statistical test of a specific comparison carried out on a specific data set derived from a specific

  study design.

         97.      The p-value is the result of a statistical computation that depends upon (a) the size

  of the observed effect (for example, a difference between two treatment regimens), (b) the degree

  of variability in the measurement of those effects, (c) the number of patients involved in the

  comparison, and (d) the specifics of how the data were collected. The p-value is expressed on a

  scale from zero to one. Smaller p-values, that is, those closer to zero, are considered to be “more

  significant.” A statistically significant result comparing the effects of two treatments, one of which

  may be a placebo or control treatment, (i.e., the p-value being <0.05) will occur no more often than

  one time in twenty if there were, in fact, no actual differences in those treatments’ effects.

         98.      The term “statistical significance” is often applied as a descriptive term in

  nonrandomized or noncomparative clinical studies to denote that a statistical calculation resulted

  in a p-value less than 0.05. Because there is no chance mechanism (such as randomization) in such

  studies, the usual interpretation of the p-value in that context is problematic.

         99.      Small p-values are commonly said to indicate that the difference between the

  measured effect and the benchmark are likely not “due to chance.” The role of chance, and the

  interpretation of a statistically significant result, depend upon the design of the clinical study, as



                                                    36
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 71 of 455 PageID
                                            #: 34341



  well as the specific statistical test employed. The paragraphs below discuss significance tests in

  the context of two specific types of clinical study design.

                   1.     Comparisons against baseline in a single-arm clinical
                          study

            100.   In a single-arm clinical study in which the outcome of interest is the difference

  between an endpoint’s baseline value and its value at a later point in time is calculated, the term

  “statistical significance” means that the average difference is sufficiently large that an average

  difference of zero—that is, no change from baseline—cannot plausibly be attributed to inter-

  patient variability.

            101.   If the average change is statistically significantly different from zero, one cannot

  conclude that treatment received by the patients accounts for some or all the change. While such a

  finding would be consistent with such an explanation, the finding is also compatible with many

  other explanations. Indeed, it is possible that comparable changes would have occurred in patients

  who did not receive the treatment.

            102.   One possible alternative explanation is the phenomenon of regression to the mean,

  discussed above.59 Another possible alternate explanation is omission of patients from the study

  who are deemed unlikely to improve. A third possible alternate explanation is the natural course

  of the disease process. A fourth possible alternative explanation is change caused by other aspects

  of treatment received by all patients at the same time as the common treatment of interest.

  Eliminating the possibility of all of these alternative explanations can only begin to be achieved

  by conducting a comparative study.60




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       Supra § VII. C.
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       Supra § VII. B.

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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25               Page 72 of 455 PageID
                                             #: 34342



                   2.     Comparisons against a placebo control in a randomized
                          clinical trial

            103.   When comparing two treatment arms from a randomized clinical trial, the term

  “statistical significance” means that the data used in the test, standing by themselves, exhibit

  differences between the treatments that are sufficiently great that they cannot plausibly be

  attributed to chance.

            104.   As discussed above, the only systematic difference between the two treatment arms

  in a randomized clinical trial is the difference in the treatments—any other possible factors that

  could affect the outcome have been distributed with equal probability to the two groups. Put

  differently, if the role of chance can be ruled out as accounting for an observed difference because

  of the random procedure that assigned some patients to treatment A and others to treatment B, it

  follows that the only other explanation for the observed difference is the single systematic

  difference between the groups, that is, the difference in outcome is due to the difference between

  the two treatments.

            105.   The larger the true difference in average response to the two treatments, the greater

  the chance that a statistical test will attain statistical significance. That is, the statistical test has

  greater power to detect larger differences than smaller ones.61 Similarly, the larger the sample size

  in each group, the greater the power the statistical test will have to detect differences between the

  groups.

            K.     Clinicaltrials.gov

            106.   Clinicaltrials.gov is a searchable registry of clinical studies. The site is maintained

  by the National Library of Medicine. Clinical study sponsors register certain information regarding



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     “Detecting a difference” in this context means producing data which results in a difference that
  is statistically significant, that is, that produces a p-value less than 0.05.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 73 of 455 PageID
                                           #: 34343



  their clinical studies in advance of identifying all study centers, recruiting patients, initiating

  treatments, following patient outcomes, carrying out statistical analyses, and reporting results. As

  the stages in executing the study is carried out, these additional elements are added to the

  ClinicalTrials.gov database and website as date-stamped versions, all of which are publicly

  available as of the date of posting. The information may include the clinical study’s inclusion and

  exclusion criteria, what question(s) the clinical study intends to answer, what outcomes will be

  measured, plans for how the clinical study will be carried out, and the analyses proposed to answer

  the questions of interest. When a clinical study is completed, results of the clinical study can be

  added to the database.

         107.    Pre-registration of a study on clinicaltrials.gov ensures that the outcomes to be

  studied are defined and made public in advance, so that it will be clear how the clinical study will

  go about using the data collected to answer the question of interest. At the pre-registration stage,

  no data have been collected, and no conclusion or prediction about the outcome of the clinical

  study can be made based on the registered clinical study design.

         108.    Modifications to a clinical study, such as adding results or documenting changes to

  the study protocol, are logged and dated in the archive, so the status of what had been posted and

  made public at any given point in time can be identified.

  VIII. THE ’327 PATENT

         109.    The ’327 patent relates to the treatment of PH-ILD using inhaled treprostinil.

  Specifically, the ’327 patent claims methods of improving exercise capacity in a patient suffering

  from PH-ILD by administering an effective amount of inhaled treprostinil. The application for the

  ’327 patent was filed on April 16, 2021, and claims priority to provisional applications 63/011,810

  and 63/160,611, filed on April 17, 2020 and March 12, 2021, respectively.

         110.    The named inventors are Leigh Peterson, Peter Smith, and Chunqin Deng.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 74 of 455 PageID
                                           #: 34344



         111.   The ’327 patent has 19 claims, including 1 independent claim and 18 dependent

  claims, all of which are reproduced below.

         1. A method of improving exercise capacity in a patient having pulmonary
         hypertension associated with interstitial lung disease, comprising administering by
         inhalation to the patient having pulmonary hypertension associated with interstitial
         lung disease an effective amount of at least 15 micrograms up to a maximum
         tolerated dose of treprostinil or a pharmaceutically acceptable salt thereof in a
         single administration event that comprises at least 6 micrograms per breath.

         2. The method of claim 1, wherein said administering provides a statistically
         significant increase of a 6 minutes walk distance in the patient after 8 weeks, 12
         weeks, or 16 weeks of the administering.

         3. The method of claim 1, wherein said administering increases a 6 minutes walk
         distance of the patient by at least 10 m after 8 weeks, 12 weeks, or 16 weeks of the
         administering.

         4. The method of claim 1, wherein said administering provides a statistically
         significant reduction of a plasma concentration of NT-proBNP in the patient after
         8 weeks, 12 weeks, or 16 weeks of the administering.

         5. The method of claim 1, wherein said administering reduces a plasma
         concentration of NT-proBNP in the patient by at least 200 pg/ml after 8 weeks, 12
         weeks, or 16 weeks of the administering.

         6. The method of claim 1, wherein said administering provides a statistically
         significant reduction of at least one exacerbations of the interstitial lung disease.

         7. The method of claim 1, wherein said administering provides a statistically
         significant reduction of clinical worsening events due to the interstitial lung disease.

         8. The method of claim 7, wherein the clinical worsening events comprise at least
         one of hospitalization for cardiopulmonary indication and a decrease in a 6-minute
         walk distance by more than 15% compared a baseline 6-minute walk distance prior
         to the administering.

         9. The method of claim 1, wherein said administering provides a statistically
         significant improvement of forced vital capacity (FVC) in the patient after 8 weeks,
         12, weeks or 16 weeks of the administering.

         10. The method of claim 9, wherein said administering improves the forced vital
         capacity (FVC) in the patient by at least 20 ml after 8 weeks, 12 weeks, or 16 weeks
         of the administering.

         11. The method of claim 1, wherein said administering is performed by a pulsed
         inhalation device.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 75 of 455 PageID
                                           #: 34345



         12. The method of claim 11, wherein the pulsed inhalation device contains an
         inhalation solution comprising treprostinil or a pharmaceutically acceptable salt
         thereof.

         13. The method of claim 11, wherein the pulsed inhalation device is a nebulizer.

         14. The method of claim 11, wherein the pulsed inhalation device is a dry powder
         inhaler comprising a dry powder comprising treprostinil or a pharmaceutically
         acceptable salt thereof.

         15. The method of claim 1, wherein the effective amount of treprostinil or a
         pharmaceutically acceptable salt administered to the patient in a single inhalation
         administration event is from 15 μg to 100 μg.

         16. The method of claim 15, wherein the single inhalation administration event does
         not exceed 15 breaths by the patient.

         17. The method of claim 1, wherein said administering increases a 6 minutes walk
         distance of the patient by at least 10 m after 8 weeks of the administering.

         18. The method of claim 1, wherein said administering increases a 6 minutes walk
         distance of the patient by at least 15 m after 12 weeks of the administering.

         19. The method of claim 1, wherein said administering increases a 6 minutes walk
         distance of the patient by at least 15 m after 16 weeks of the administering.

         112.    Claim 1 describes a method “for improving exercise capacity in a patient having

  pulmonary hypertension associated with interstitial lung disease,” and each of dependent claims

  2–7, 9–10, and 17–19 claims a method that increases, or provides an increase of, or provides a

  reduction, improves, or provides an improvement in a particular clinical outcome. Improvements

  can only be attributed to practicing the claimed method if they exceed any improvements that result

  from not practicing the method.

         113.    In the ’327 patent’s specification, Examples 1 and 3 describe statistically significant

  reduction in number of exacerbations, decrease in risk of exacerbation, improved FVC parameters,

  increased 6MWD, and reduced plasma NT-proBNP, among other clinical outcome measures. All

  of these assessments of statistical significance of improvements are based on comparisons of

  inhaled treprostinil to placebo. This fact, coupled with the fact that the specification describes no


                                                   41
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 76 of 455 PageID
                                           #: 34346



  “statistically significant” changes from baseline based only on PH-ILD patients receiving inhaled

  treprostinil, confirms my assessment that the claims concerning improvements (as well as

  increases or reductions) all refer to improvements relative to a placebo control.

         114.    I understand that the specification of the ’327 patent reports key data from UTC’s

  groundbreaking INCREASE clinical trial, discussed in detail below.62

         115.    The data reported in the specification demonstrates that administration of

  treprostinil according to the claimed methods of treatment resulted in a statistically significant

  improvement in exercise capacity compared to placebo treatment among PH-ILD patients as

  measured by the 6MWD test.63 Figures 3 and 4 of the ’327 patent, reproduced below, depict these

  6MWD results as a function of time.64 In the aggregate, patients receiving inhaled treprostinil

  exhibited an improvement at the very first measurement point in 6MWD that grew steadily over

  the 16-week course of treatment while patients receiving placebo exhibited a gradual and

  continuing decline in 6MWD over the same period.65




  62
     See generally ’327 patent at 26:27–45:20 (Example 3); ’327 patent at 28:10–14 (identifying trial
  as “INCREASE”); ’327 patent at Table 5 (6MWD results), ’327 patent at tbl. 10 (FVC results).
  63
     Id. at 26:57–61; 27:7–10; 32:39–45; 35:42–44; tbl. 5.
  64
     Id. at fig. 3, fig. 4, 4:42–5:9.
  65
     Id.

                                                  42
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 77 of 455 PageID
                                          #: 34347



         116.    Furthermore, the data reported in the specification of the ’327 patent demonstrates

  that the claimed methods resulted in fewer exacerbations due to the interstitial lung disease and

  clinical worsening events due to the interstitial lung disease, improvements for many patients in

  FVC, and reduced NT-proBNP levels in blood plasma.66

         117.    Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of the ’327 patent.67 Because these materials would not have been

  available to the POSA these materials do not support Dr. Channick’s positions.

  IX.    ALLEGED PRIOR ART DISCLOSURES REGARDING INHALED
         TREPROSTINIL IN PULMONARY HYPERTENSION SUBJECTS

         118.    Dr. Channick’s expert report identifies several alleged prior art references to

  support his view that the method of treatment claimed by the ’327 patent would have been obvious

  to a POSA as of the priority date. I have been asked to review those references and opine regarding

  how the POSA would evaluate and view the data disclosed therein and the appropriate conclusions,

  if any, that can be drawn from the data. As explained in more detail on a reference-by-reference

  basis below, it is my opinion that none of the references asserted by Dr. Channick would suggest

  to the POSA as of the priority date that inhaled treprostinil has demonstrated a robust treatment

  effect on exercise capacity in PH-ILD patients.

         A.      The ’793 Patent

         119.    U.S. Patent No. 10,716,793 (“’793 patent”) is titled “Treprostinil Administration

  By Inhalation” and was issued by the Patent and Trademark Office on July 21, 2020. The ’793

  patent is directed to “therapeutic methods involving administering treprostinil using a metered




  66
     Id. at 22:45–50, 26:65–27:3; 33:45–34:36; 35:25–30; 35:47–49; tbl. 5; fig. 1 (exacerbations and
  clinical worsening); 25:24–43; tbls. 1–3 (FVC); 26:61–65; 33:38–45; 35:44–47 (NT-proBNP).
  67
     Channick Op. Rept. ¶¶ 78, 83-84.

                                                    43
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 78 of 455 PageID
                                          #: 34348



  dose inhaler and related kits.”68 I reviewed the ’793 patent and did not see any data reporting

  improved exercise capacity in PH-ILD patients.

         120.    Dr. Channick has asserted that “the ʼ793 patent claims a method of treating PH-

  ILD patients with inhaled treprostinil and improving their exercise capacity.”69 Dr. Channick has

  also asserted that a POSA “would have understood that pulmonary fibrosis as described in the ’793

  patent is a form of PH-ILD, and that PH-ILD patients were treated in the ʼ793 patent examples.”70

  As mentioned above and described in more detail below, I disagree with his conclusions.

         121.    Example 1 of the ’793 patent discloses an “Open Label Study Upon Acute Safety,

  Tolerability and Hemodynamic Effects of Inhaled Treprostinil Delivered in Second.”71 The study

  included 45 patients with moderate to severe precapillary pulmonary hypertension.72 Specifically,

  the disease etiologies that were included in the study were idiopathic PAH (n=13), PAH other

  (n=11), chronic thromboembolic pulmonary hypertension (n=17), and pulmonary fibrosis (n=4).73

  Thus, only 4 of the 45 patients had a pulmonary fibrosis disease etiology. The patient

  characteristics of the various treatment groups that were evaluated in the study are reproduced in

  the table below.




  68
     ’793 patent at 1:21-23.
  69
      Redacted Version of 2024-12-20 Expert Report of Dr. Richard Channick (“Channick Op.
  Rept.”) at ¶ 229.
  70
     Channick Op. Rept. at ¶ 237.
  71
     ’793 patent at 8:56-11:67.
  72
     Id. at 9:36-49.
  73
     Id.

                                                 44
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 79 of 455 PageID
                                           #: 34349



                                        ’793 Patent, Table 174




          122.    The specification of the ’793 patent explains that “[h]eart rate, pulmonary and

  systemic blood pressure and cardiac output were measured and blood gases were taken during each

  pharmacological intervention at defined time points.”75 The study demonstrated that “[t]reprostinil

  is tolerated at high doses with no systemic side effects” and that “[t]he application of an effective

  amount of treprostinil in only few or even one single breath was achieved with a highly

  concentrated treprostinil sodium solution.76 The underlying hemodynamic and gas exchange

  results, which are reproduced in the table below, were reported based on aggregated data for all

  disease etiologies that were evaluated in the study. In other words, Example 1 does not report any

  hemodynamic or gas exchange data that is specific to the subgroup of patients with a pulmonary

  fibrosis disease etiology.




  74
     Id. at 9:50-65.
  75
     Id. at 9:67-10:3.
  76
     Id. at 62-66.

                                                   45
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 80 of 455 PageID
                                           #: 34350



                                        ’793 Patent, Table 277




          123.    In addition, the study described in Example 1 also analyzed 5 patients to determine

  whether the inhalation of highly concentrated aerosol would lead to “increased shunt flow” or

  “increase of low ventilation/perfusion.”78 This analysis only included 1 patient with pulmonary

  fibrosis disease etiology.79 Similar to the results described above, the results here were reported in

  the aggregate and without specific reference to the single patients with pulmonary fibrosis disease

  etiology.

          124.    Example 2 of the ’793 patent discloses an “Investigation of the Effects of Inhaled

  Treprostinil on Pulmonary Hemodynamics and Gas Exchange in Severe Pulmonary

  Hypertension.”80 This investigation details three different studies that were conducted on 123

  patients by means of right heart catheterization: (1) the first study was a randomized crossover-


  77
     Id. at 11:9-28.
  78
     Id. at 11:34-60.
  79
     Id.
  80
     Id. at 12:1-18:20.

                                                   46
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 81 of 455 PageID
                                           #: 34351



  design study with 44 patients, (2) the second was a dose escalation study with 31 patients, and (3)

  the third was a study of reduction of inhalation time while keeping the dose fixed with 48 patients.81

  The primary objectives across the studies were, respectively, “to compare the acute hemodynamic

  effects and the systemic side effects of inhaled treprostinil with inhaled iloprost at comparable

  doses”; “to describe the pharmacodynamic and pharmacokinetic effects of inhaled treprostinil at a

  well tolerated dose (30 μg) and to explore the highest tolerated single dose”; and “to explore the

  shortest possible inhalation time for a 15 μg dose of inhaled treprostinil.”82 The disease etiologies

  of the pulmonary hypertension patients included in the studies, along with the results of various

  pulmonary function testing, are detailed in the table below.

                                        ’793 Patent, Table 383




  81
     Id. at 12:20-27.
  82
     Id. at 12:61-64, 13:52-55, 13:66-14:33.
  83
     Id. at 13:1-14:32.

                                                   47
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 82 of 455 PageID
                                          #: 34352



         125.   Thus, as explained above with respect to Example 1, Example 2 does not make any

  specific reference to the improvement of any hemodynamic parameter on a patient-specific basis,

  let alone for PH-ILD patients. The examples of the ’793 patent specification contain only

  aggregated data for pulmonary hypertension patients with various disease etiologies, and a POSA

  would not understand from such disclosures any specific treatment effect for patients with a

  pulmonary fibrosis disease etiology.

         126.   Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of the ’793 patent.84 Because these materials would not have been

  available to the POSA these materials do not support Dr. Channick’s positions.

         B.     Saggar 2014

         127.   Saggar 2014 reports a prospective, single-center, single-arm, open-label study of

  15 outpatient lung-transplant (LT) candidates purportedly presenting with pulmonary fibrosis and

  advanced pulmonary hypertension, defined as mean pulmonary artery pressure (mPAP) ≥ 35 mm

  Hg, pulmonary artery wedge pressure (PAWP) ≤ 15 mm Hg, and pulmonary vascular resistance

  (PVR) > 240 dyn s/cm (i.e., 3 WU).85 Saggar 2014 reports that the following were excluded from

  the study population: other pulmonary hypertension etiologies; sarcoidosis and systemic sclerosis

  spectrum of disease; and patients requiring >10 L/min of oxygen at baseline.86 Patients with

  combined pulmonary fibrosis emphysema (CPFE) were included.87 Threshold measures of right

  heart size or function were not required for study enrollment.88 Formal pulmonary rehabilitation

  was not prescribed during the study period.89 Subjects were permitted to remain on background


  84
     Channick Op. Rept. ¶¶ 114, 222, 226.
  85
     Saggar 2014 at 00000226 to 00000227, abstract.
  86
     Id. at 00000227.
  87
     Id.
  88
     Id.
  89
     Id.

                                                 48
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 83 of 455 PageID
                                           #: 34353



  pulmonary fibrosis therapy, and it appears that patients were also permitted to remain on their

  background pulmonary-hypertension-targeted therapies.90 Saggar 2014 diagrams disposition as

  follows:91




         128.    Saggar 2014 reports that all patients were administered treprostinil via parenteral

  administration, either intravenously or subcutaneously, at a rate of 2 ng/kg/min initially, with

  subsequent increases in dosage every 12 hours in the hospital, and every 2–3 days after discharge.92

  Dosing was limited by individual adverse reactions.93 The study had no control treatment.94

  Prespecified endpoints were changes (from baseline to 12 weeks) in hemodynamics,

  echocardiography, dyspnea, quality of life assessment, and 6MWD. Measurement procedures for

  the endpoints were detailed in advance and uniformly applied. The open-label study was conducted


  90
     Id.
  91
     Id.
  92
     Id. at 00000237.
  93
     Id.
  94
     Id. at 00000231.

                                                  49
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 84 of 455 PageID
                                           #: 34354



  at a single site, UCLA.95 Saggar 2014 describes this site as a tertiary medical center—which is a

  site that offers high specialized equipment and expertise.96 Subjects were recruited between July

  2008 and January 2011.97

         129.    The authors also explicitly note that arterial blood gas (“ABG”) measurements were

  not taken during the study, and that the absence of ABG testing was a limitation impacting their

  conclusions concerning hypoxaemia.98 Specifically, the Saggar 2014 authors explain that treating

  PF patients with severe PH “raises concern for … hypoxaemia” and that they “surmise that a

  gentler uptitration of parenteral prostanoid, as employed in our study PF population with advanced

  PH, may lessen the potential for … hypoxaemia.”99 Saggar 2014 also concluded that “[t]he

  combined observations of improved right heart function and stable arterial oxygen saturation in

  our PF-PH cohort after chronic parenteral treprostinil suggests the advanced PH phenotype may

  be critical when considering PH-targeted therapy, as it lends itself towards … decreased risk of

  hypoxaemia.”100 However, Saggar 2014 indicates that ABG would have allowed the authors to

  confirm that “pulmonary function (i.e., degree of PH) remained unaltered during the study and

  likely did not confound” their findings that there was not significant hypoxaemia:101




  95
     Id. at 00000227.
  96
      Id. at 00000227; Tertiary Healthcare, NATIONAL LIBRARY OF MEDICINE SUBJECT HEADINGS
  THESAURUS (2024), available at https://meshb-prev.nlm.nih.gov/record/ui?ui=D063128 (“Care of
  a highly technical and specialized nature, provided in a medical center, usually one affiliated with
  a university, for patients with unusually severe, complex, or uncommon health problems.”);
  Tertiary Care Centers, NATIONAL LIBRARY OF MEDICINE SUBJECT HEADINGS THESAURUS (2024),
  available at https://meshb-prev.nlm.nih.gov/record/ui?ui=D062606 (“A medical facility which
  provides a high degree of subspecialty expertise for patients from centers where they
  received SECONDARY CARE”).
  97
      Id. at00000227.
  98
     Id. at 00000230, 00000231.
  99
     Id. at 00000231.
  100
       Id.
  101
       Id. at 00000230.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 85 of 455 PageID
                                           #: 34355



                 The potential for worsening gas exchange with PH-targeted therapy
                 deserves particular attention. We did not appreciate any significant
                 hypoxaemia as assessed by PPO after treprostinil therapy, either at
                 rest or after 6MWD testing. Importantly, pulmonary function (i.e.,
                 degree of PF) remained unaltered during the study and did not likely
                 confound these findings. Although arterial blood gases (ABG) were
                 not obtained to confirm this finding, we can suggest a rationale based
                 on the available literature.

         130.    In other words, the Saggar 2014 authors acknowledge that their conclusion

  concerning a potential negative effect of the treatment—worsening gas exchange or hypoxaemia—

  may have been confounded by pulmonary function, but that this could not be confirmed because

  they did not measure ABG during the study.

         131.    Because the study reported in Saggar 2014 was an open-label, single-arm study,102

  that study is by definition neither randomized, blinded, nor placebo-controlled.103

                 1.     Saggar 2014 study design imposes significant limitations
                        on findings, some of which are explicitly recognized.

         132.    The study reported by Saggar 2014 is subject to numerous limitations discussed in

  Section VII above, including those associated with studies that are single-center; have a single-

  arm and are thus uncontrolled and nonrandomized; have a small sample size; have an

  unrepresentative sample subject to selection bias; include patients on variable background

  therapies; examine change-score outcomes; and are open-label.104

         133.    In particular, all comparisons are made between individual patients’ baseline and

  the 12-week endpoint.105 Such change scores are at least subject to the potential biases outlined

  above.106 Importantly, tests of statistical significance in change scores in patients, all of whom



  102
      Id. at 00000226 to 00000227.
  103
      Supra § VII.
  104
      Supra § VII.
  105
      Saggar 2014 at 00000230, Table 4.
  106
      Supra § VII.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 86 of 455 PageID
                                            #: 34356



  have received the same treatment under study—here, parenteral treprostinil—cannot be used to

  draw inferences about the effectiveness of that treatment.107

         134.    The Saggar 2014 authors identify a number of limitations, including “the

  heterogeneity of the pulmonary fibrosis population, variable background pulmonary-hypertension-

  targeted therapy, and the absence of arterial blood gas testing.”108 The authors expressly identify

  the “absence of a placebo arm [as] a particularly significant limitation.”109 I agree. As I explain in

  Section VII, the absence of a placebo control severely limits a study, as investigators cannot draw

  conclusions about the effectiveness of the treatment without comparison to a suitable control.110

  The authors also expressly acknowledge that their “findings must be confirmed with a randomized,

  placebo-controlled trial” because their study lacks a placebo control.111 I agree, but I also note that

  the authors do not go far enough, overlooking the need to blind their proposed next study and to

  expand to multiple centers.

         135.    Immediately after the authors declare that the absence of a placebo control was a

  particularly significant limitation of their data, they also conclude:

                 At this point, the routine use of PH-targeted therapy in PF-PH is not
                 recommended and should only be cautiously considered at
                 specialized PH centres to avoid the serious potential for worsening
                 cardiopulmonary status in this patient population.112

         136.    Assuming this recommendation reflects the standard of care for these patients when

  this data was reported, I agree that in no way do the reported data demonstrate a treatment effect

  justifying any deviation from this standard of care, especially absent significant further testing,



  107
      Supra § VII.
  108
      Saggar 2014 at 00000231.
  109
      Id.
  110
      Supra § VII.
  111
      Supra § VII.
  112
      Saggar 2014 at 00000231.

                                                    52
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 87 of 455 PageID
                                           #: 34357



  e.g., at least the randomized, placebo-controlled trial the authors expressly recommend (although

  I believe such a study would also need to be blinded and multi-center).

                  2.     Saggar 2014 study suffered from severe selection bias
                         and small sample size.

         137.     Considering that the study reported by Saggar 2014 only involved 15 patients, it is

  subject to limitations associated with low sample size.113 For example, such a small sample in and

  of itself strongly indicates that the data reported by Saggar 2014 may be unrepresentative of PH-

  ILD patients.

         138.     Moreover, the 15-patient cohort appears to represent a very select subset of PH-

  ILD patients, in that all participants had to have been referred to UCLA’s tertiary site for lung

  transplantation evaluation.114 I note that the criteria for referral are not described and could well

  vary from patient to patient. Consequently, at least for these reasons, it is unclear how the data

  reported by Saggar 2014 would apply to the broader population of PH-ILD patients.

         139.     Additionally, the patients studied in Saggar 2014 were required to have “advanced”

  pulmonary hypertension (mPAP ≥ 35 mm Hg; PAWP ≤ 15 mm Hg; and PVR > 240 dyn s/cm). I

  understand that PH-ILD patients with mPAP ≥ 35 mmHg is only a subset of all PH-ILD patients115:




  113
      Id. at 00000227, abstract.
  114
      Id. at 00000230.
  115
      Christopher J. Lettieri et al., Prevalence and Outcomes of Pulmonary Arterial Hypertension in
  Advanced Idiopathic Pulmonary Fibrosis, 129 Chest 746 (2006) (UTC_PH-ILD_020775)
  (“Lettieri 2006”) at -778, Fig. 1. (“Lettieri 2006”).

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Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25             Page 88 of 455 PageID
                                              #: 34358




            140.    Thus, Saggar 2014 does not establish with even a minimal degree of certainty how

  results from this study would apply to the broader population of PH-ILD patients.

            141.    Another limitation of Saggar 2014 is that treprostinil is administered parenterally—

  that is, by intravenous or subcutaneous infusion. This route of administration differs from that

  described in the ’327 patent, in which the method claimed requires administration by inhalation.

  Good biostatistical practices generally require studying a given drug for efficacy in the same route

  of administration about which conclusions are desired.

                    3.     Saggar 2014’s cautionary conclusions in view of its
                           limitations.

            142.    In view of the limitations noted above,116 the authors’ conclusion that their findings

  “are only hypothesis generating and require confirmation in a multi-centre, randomized study


  116
        Supra § IX. B. 1, 2.

                                                     54
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 89 of 455 PageID
                                           #: 34359



  design” is warranted.117 Because the study involved only 15 patients selected from a narrowly-

  defined subset of PH-ILD patients (“an advanced PH phenotype”) and no placebo control for

  comparison, any changes, including those reported for 6MWD and BNP levels, cannot be

  attributed unambiguously to parenteral administration of treprostinil.118

         143.    I note that the authors’ conclusion “that gradual initiation and chronic parenteral

  treprostinil may improve hemodynamics and right heart function without compromising systemic

  oxygenation” is uncertain—“may”—and is restricted to the studied group (patients with an

  advanced PH phenotype and right ventricular disfunction).119 The authors further conclude that the

  reported improvements in hemodynamics and right heart function without compromised systemic

  oxygenation are “only hypothesis generating and require confirmation in a multicentre,

  randomised study design.”120 I agree, but the authors also overlook the need for their “required”

  further study be a blinded one.

         144.    In the “Conclusion” section, the authors do not appear to draw any clinical

  conclusions with respect to the reported 6MWD or BNP findings. Indeed, they admit that the

  findings in the paper are only “hypothesis generating,”121 and I agree. Similarly, the authors do not

  feature any lung function data among their conclusions. Yet, the authors state elsewhere that

  “[t]here were no significant changes in [pulmonary function testing] parameters following 12

  weeks of treprostinil,” and I note that forced vital capacity was one of the assessed parameters.122

  Indeed, the authors explained that it was “[i]mportant [that] pulmonary function (i.e., degree of




  117
      Saggar 2014 at 00000232.
  118
      Id. at 00000230-31, abstract.
  119
      Id. at 00000231-22.
  120
      Id. at 00000232.
  121
      Id.
  122
      Id. at 00000227-28.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 90 of 455 PageID
                                           #: 34360



  PF) remained unaltered during the study and did not likely confound” the reported gas exchange

  findings. Indeed, in these patients “there were no significant changes in [pulmonary function

  testing] parameters following 12 weeks of treprostinil.”123

         145.    In conclusion, because Saggar 2014 reports a single-arm124 chart review, the data

  Saggar 2014 reports fail to demonstrate that parenteral treprostinil treatment is effective with

  respect to improved exercise capacity, 6MWD, plasma concentration of NT-proBNP,

  exacerbations of the interstitial lung disease, clinical worsening events due to the interstitial lung

  disease, or forced vital capacity (absolute or percent predicted). This is especially the case

  considering the study in Saggar 2014 was merely a single-center, open-label, uncontrolled,

  prospective study, and thus subject to the associated limitations and biases as described above—

  many of which the authors expressly acknowledge. This is also the case because of the reported

  study’s small sample size and severe selection biases, which as discussed above, very strongly

  indicate the reported results do not represent PH-ILD patients. Rather the authors conclude that:

  “These findings are only hypothesis generating and require confirmation in a multicentre,

  randomised study design.”

         C.      Parikh 2016

         146.    Parikh 2016 reports a retrospective, single-center, single-arm, open-label chart

  review of 80 patients that was conducted to evaluate the safety and tolerability (not efficacy) of

  high-dose inhaled treprostinil (i.e., > 9 breaths four times daily).125 Followed patients consisted of

  all patients diagnosed with WHO Group 1–5 pulmonary hypertension at the Duke University

  Medical Center PH Clinic that were prescribed high-dose inhaled treprostinil (> 9 breaths four



  123
      Id. at 00000228.
  124
      Supra § VII.
  125
      Parikh 2016 at 010599 to -010600.

                                                   56
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25             Page 91 of 455 PageID
                                             #: 34361



  times daily) prior to August 2012.126 The authors do not provide criteria for why patients were

  initiated on inhaled treprostinil, but the authors state that the chart review “only included patients

  thought to be good candidates for higher dose [inhaled treprostinil].”127 The chart review was

  carried out at the Duke University Medical Center PH Clinic, which is a highly specialized tertiary

  care center.128 Parikh 2016 reports that nearly two-thirds (and perhaps more) of the followed

  subjects were also on at least one additional hypertension therapy (number (percentage)):129




         147.    Parikh 2016 further notes that the authors “did not assess the association of high-

  dose iTRE with the adjustment of other medications such as diuretics.”130

         148.    Parikh 2016 reports that Duke University Medical Center PH Clinic’s “standard

  [inhaled treprostinil] dosing protocol [was] as follows:”

                 3 breaths (18 mcg)/initial session, 6 breaths (36 mcg)/second
                 session, and then titration as tolerated, based on side effects, by 1
                 breath daily until a maximum dosage of 12 breaths (72 mcg) four
                 times daily is achieved (Figure 1). Of note, iTRE initiation (first and
                 second sessions) was performed in clinic under physician
                 supervision with 4 hours in between the sessions.131

         149.    Patient data, if available, was collected at the following three points: 1) baseline: at

  9 breaths four times daily inhaled treprostinil up to 3 months prior to beginning inhaled treprostinil;

  follow-up visit 1: 3–6 months post initiation of high-dose inhaled treprostinil; and 3) follow-up


  126
      Id.
  127
      Id. at 010603.
  128
      Id. at 010600.
  129
      Id. at 010607, Table 1, 010601.
  130
      Id. at 010603.
  131
      Id. at 010600.

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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25             Page 92 of 455 PageID
                                             #: 34362



  visit 2: most recent visit prior to August 2012.132 Median times from start of high-dose inhaled

  treprostinil to follow-up visits 1 and 2 were 5.2 months (Q1-Q3: 4.0–8.7) and 20.3 months (Q1-

  Q3: 14.2–33.2), respectively.133

         150.      Only 78 of the 80 followed patients made it to 12 breaths four times daily, and 20

  of those 78 patients discontinued inhaled treprostinil during follow-up.134 They discontinued for

  the following reasons:

                   9 transitioned to parenteral therapy, 4 stopped due to side effects, 3
                   died, 2 self-discontinued, 1 had worsening [pulmonary
                   hypertension] symptoms on high-dose iTRE (parenteral therapy not
                   appropriate), and 1 had lack of clinical response.135

         151.      Of the 80 followed patients, only 49 patients had data for the follow-up visit 1

  analysis and only 39 of those patients continued until follow-up visit 2.136 If a patient stopped high-

  dose treprostinil prior to follow-up 1 or follow-up 2 (i.e., if the dose was reduced or if treatment

  was stopped altogether), data “were collected from the most recent visit closest to the high-dose

  discontinuation.”137

         152.      Because the chart review reported in Parikh 2016 was an open-label, single-arm

  chart review, that chart review was by definition neither randomized, blinded, nor placebo-

  controlled.138




  132
      Id. at 010601.
  133
      Id.
  134
      Id. at 010602.
  135
      Id.
  136
      Id. at 010609, Table 2.
  137
      Id. at 010601.
  138
      Supra § VII.

                                                    58
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25            Page 93 of 455 PageID
                                            #: 34363



                 1.      Parikh 2016 chart review design imposes significant
                         limitations on findings, some of which were also
                         recognized by the chart reviews authors.

         153.    The chart review reported in Parikh 2016 is at least subject to all the limitations

  associated with single-center studies (particularly those in which the center is highly specialized),

  uncontrolled nonrandomized single-arm studies, open-label studies, and retrospective studies.139

  In fact, The authors expressly and correctly caution that:

                 [Their] study was limited by the retrospective study design and only
                 included patients thought to be good candidates for higher dose
                 iTRE. Because this was an observational study in clinical practice it
                 also suffers from follow-up loss.140

         154.    The authors further and rightly state that “[t]here were insufficient follow-up data

  to analyze efficacy endpoints.”141 This makes sense because the primary endpoints of the chart

  review were safety and tolerability of the treatment, and thus the chart review was not intended to

  or designed to evaluate the efficacy of inhaled treprostinil in the followed patients.142 Moreover,

  all comparisons in Parikh 2016 were made between patients’ baseline and respective follow-up

  visit data, if available.143 Such change scores are at least subject to the potential biases outlined

  above.144 Importantly, tests of statistical significance in change scores in patients, all of whom

  received the same treatment—here inhaled treprostinil—cannot be used to draw inferences about

  the effectiveness of that treatment.145




  139
      Supra § VII.
  140
      Parikh 2016 at 010603.
  141
      Id.
  142
      Id. at 010600 (noting that the authors “aimed to characterize safety and tolerability of higher
  iTRE doses (>9 breaths four times daily and/or greater than 216 mcg/day) from [their] single
  tertiary center experience in treating PH patients”).
  143
      Id. at 010600 to 010601.
  144
      Supra § VII.
  145
      Supra § VII.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 94 of 455 PageID
                                           #: 34364



         155.    The chart review suffers from other shortcomings as well. For example, I cannot be

  sure about the length of treatment on high-dose inhaled treprostinil that the reported change scores

  reflect. That is because Parikh 2016 reports that patients’ follow-up visits occurred at different

  times after initiating high-dose inhaled treprostinil (e.g., the time between initiation of high-dose

  inhaled treprostinil to follow-up visit 1 is reported in one place146 to range from 3 to 6 months but

  it is reported elsewhere that the median time to follow-up visit 1 was 5.2 months (about 21 weeks)

  with the interquartile range being 4.0-8.7 months).147 The data for follow up visit 2 is worse in this

  regard, with a median time to follow-up of 20.3 months (approximately 88 weeks) with an

  interquartile range of 14.2 to 33.2 months. The change scores Parikh 2016 reports therefore reflect

  a shorter period for some patients and a much longer period for others, but information to even

  begin to assess this distribution is not reported. The number of patients for which data was

  available for 16 or fewer weeks on high-dose inhaled treprostinil appears rather low

  (approximately only 12 subjects).148 However, Parikh 2016 also reports that follow-up visit 1 data

  was only available for 49 patients, meaning that about one quarter of patients (25.6%) discontinued

  inhaled treprostinil during follow-up.149 The number of patients who discontinued high-dose

  treprostinil prior to Visit 1 who are reflected in the reported change scores is also not fully or

  clearly disclosed.150




  146
      Parikh 2016 at 010600-600.
  147
      Id. at 010601.
  148
      Id. (The lower quartile for Visit 1 times is 4.0 months. The lower quartile is the time at which
  one-quarter of patients’ visits occur. Since only 49 patients had any data available at Follow-up
  Visit 1, only about a quarter of them, or about 12, had Visit times before 4 months.)
  149
      Id. at 010609, Table 2.
  150
      Parikh 2016 indicates that when a patient discontinued high-dose inhaled treprostinil, that
  patient’s most recent visit relative to the discontinuation would substitute for the follow-up 1 or
  follow-up 2 visit to which the discontinuation was prior.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 95 of 455 PageID
                                           #: 34365



         156.    Likewise, I cannot know what medical condition the reported change scores reflect.

  First, Parikh 2016 reports following patients of all WHO Groups 1–5, and of the 80 followed

  patients, only 6 are reported to have Group 3 interstitial lung disease/fibrosis and only a further 6

  are reported to have Group 3 mixed pattern.151 Second, change scores could only be determined

  based on data that happened to be present in the patients’ medical record, and as a result, there is

  substantial loss to follow-up—only 49 of the 80 followed patients had any data available for

  follow-up visit 1 and it appears that only 39 of those patients continued to follow-up visit 2.152

  Even fewer followed patients had 6MWD and NT-proBNP data available.153 The reported change

  scores for these metrics (6MWD and NT-proBNP) were only available for fewer than half of the

  80 followed patients: 39 and 34 patients for 6MWD and 32 and 23 patients and for NT-proBNP at

  follow-up visits 1 and 2, respectively.154 Parikh 2016 does not report which patients these change

  scores reflect. Therefore, I cannot tell whether these change scores reflect any of the followed

  Group 3 interstitial lung disease/fibrosis or Group 3 mixed pattern patients.

                 2.      Parikh 2016 chart review suffered from severe selection
                         bias and small sample size.

         157.    The chart review reported by Parikh 2016 only followed 6 patients reported to have

  Group 3 interstitial lung disease/fibrosis and only a further 6 patients reported to have Group 3

  mixed pattern.155 With respect to at least these 12 patients, this chart review is at least subject to

  all the limitations associated with low sample size and selection issues. For example, such a small

  sample in and of itself indicates that the data reported by Parikh 2016 are unrepresentative of PH-




  151
      Id. at 010607, Table 1.
  152
      Id. at 010609, Table 2.
  153
      Id. at 010602.
  154
      Id.
  155
      Id. at 010607, Table 1.

                                                   61
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 96 of 455 PageID
                                           #: 34366



  ILD patients—especially given that these patients were being treated at a highly specialized

  tertiary center.156

          158.    Moreover, the reported change scores predominantly reflect data obtained from

  patients who did not have PH-ILD. Only 49/80 patients enrolled had any follow-up data at all, and

  while the number of PH-ILD patients who had data available for follow-up is not reported, it is

  likely a small number given that only 15% of patients originally enrolled had PH-ILD.157 Patients

  do not drop out at random, and reasons for dropping out are often associated with worsening

  disease. As noted above, 20 followed subjects discontinued inhaled treprostinil entirely.158 The

  authors note that “the most common reason for discontinuing inhaled treprostinil entirely was the

  need to transition to parenteral therapy for worsening PH.”159 That was the explanation for 9

  followed patients.160 Parikh 2016 reports that the other 11 followed patients discontinued for the

  following reasons: “4 stopped due to side effects, 3 died, 2 self-discontinued, . . . and 1 had lack

  of clinical response.”161 Systematically removing patients whose disease worsens introduces a

  severe bias.162 And while Parikh 2016 explains that a discontinued patient’s most recent visit

  relative to the discontinuation would substitute for the next follow-up visit,163 it is unclear how

  recent the imputed visit was, if it even occurred, and whether it occurred before or after any

  worsening of symptoms.




  156
      Id. at 010600.
  157
      Id. at 010609, Table 2.
  158
      Id. at 010602.
  159
      Id.
  160
      Id.
  161
      Id.
  162
      Supra § VII.
  163
      Parikh 2016 at 010601.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 97 of 455 PageID
                                            #: 34367



                   3.      Parikh 2016 chart review fails to account for missing
                           data, unclear that any findings reflect PH-ILD subjects.

            159.   As noted above, follow-up visit 1 data was unavailable for at least 31 of 80 followed

  patients, and data were only available for 39 and 34 patients for 6MWD and 32 and 23 patients

  and for NT-proBNP at follow-up visits 1 and 2, respectively.164 Due to the extent of the missing

  data, it is not possible to determine the extent to which data from the 12 followed Group 3

  interstitial lung disease/fibrosis and Group 3 mixed pattern patients are reflected in the 6MWD

  and NT-proBNP change scores reported by Parikh 2016. In fact, because there were only 12

  followed Group 3 interstitial lung disease/fibrosis and Group 3 mixed pattern patients and the

  number of patients with missing data exceeds 12, it is entirely possible that none of the reported

  change scores, including the 6MWD and NT-proBNP changes scores, reflect data collected from

  any of these 12 followed patients.

                   4.      Parikh 2016’s cautionary conclusions in view of its
                           limitations.

            160.   , In the Conclusion section of the report, the authors of Parikh 2016 draw no

  conclusions whatsoever concerning the efficacy of inhaled treprostinil for any purpose, either in

  the overall cohort of patients studied or in any of the WHO subpopulations. I cannot evaluate

  whether the authors’ conclusion that inhaled treprostinil at a dose of >9 breaths four times daily

  “appears to be safe and generally well-tolerated” is justified by the reported findings, but this

  conclusion was made in spite of over half of the followed patients being lost to follow-up in some

  capacity and 20 of the 80 patients discontinuing inhaled treprostinil altogether.165 Moreover, as

  noted above, the chart review’s limited sample size and substantial selection effects strongly

  indicate that the reported data are unrepresentative of PH-ILD patients.


  164
        Id. at 010602, 010609, Table 2.
  165
        Id. at 010602 to -010603, -010609, Table 2.

                                                      63
Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25         Page 98 of 455 PageID
                                              #: 34368



         161.    The statement that “we report a favorable safety and tolerability profile among PH

  WHO group 3 patients in our study for whom there are currently no approved therapies, and iTRE

  may provide benefit in this patient population” is not supported by any sufficient data reported in

  Parikh 2016. The 6MWD data reported was a small increase of 3.9 meters, but that number is

  based on a group of patients that includes a population with a mix of WHO group pulmonary

  hypertension diagnoses, 85 percent of which (68/80) did not have PH-ILD.166 Moreover, there is

  good reason to believe the change scores reported by Parikh 2016 do not in fact reflect any WHO

  Group 3 patients, let alone PH-ILD patients. Not only do I agree with the authors’ statement that

  “[t]here were insufficient follow-up data to analyze efficacy endpoints[,]”167 but it is also my

  opinion there is even less sufficient data to support conclusions concerning PH-ILD patients in

  Parikh 2016.

         162.    I disagree with the authors’ statement that “[t]hese results warrant further

  investigation into the efficacy of high-dose iTRE in PH,” especially regarding PH-ILD patients.168

  The reported change scores show little, if any, clear improvement from baseline, the number of

  PH-ILD patients who did have 6MWD results was small, and no safety or tolerability data is

  reported for PH-ILD patients at all.

         163.    In conclusion, Parikh 2016 is a single-arm chart review, and a single-center, open-

  label, uncontrolled, retrospective study, with small sample size and selection biases, and is

  therefore subject to the associated limitations and biases as described above—many of which the

  authors expressly acknowledge.169 The data Parikh 2016 reports fail to demonstrate that an inhaled



  166
      Id. at - 010603, -010607, Table 1 indicates that only 12 of 80 patients were WHO Group 3 ILD
  or mixed pattern.
  167
      Id. at 010603.
  168
      Id. at 010603.
  169
      Supra § IX. C. 1-3.

                                                  64
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 99 of 455 PageID
                                            #: 34369



  treprostinil treatment is effective with respect to improved exercise capacity, 6MWD, plasma

  concentration of NT-proBNP, exacerbations of the interstitial lung disease, clinical worsening

  events due to the interstitial lung disease, or forced vital capacity (absolute or percent predicted).

  In fact, the authors do not even single out PH-ILD in their conclusions. Rather the authors only

  conclude that: “These results warrant further investigation into the efficacy of high-dose iTRE in

  PH.”170

            D.     Agarwal 2015

            164.   Agarwal 2015 is an abstract reporting on a retrospective, single-center, single-arm,

  open-label chart review following 35 purportedly WHO Group 3 patients that were administered

  inhaled treprostinil.171 The 35 followed patients purportedly consisted of 15 presenting with

  obstructive disease, 15 presenting with restrictive disease, and 5 presenting with mixed

  obstructive/restrictive.172 Thus, I understand that the cohort reported on had at least 15 patients

  who did not have PH-ILD (because I understand that obstructive disease is PH-COPD, a distinct

  category from PH-ILD).

            165.   Agarwal 2015 reports that all followed patients had a diagnostic right heart catheter

  prior to treatment.173 Agarwal 2015 further reports that the baseline hemodynamics, presumably

  mean, for the 35 followed patients was “mPAP 44.37 +/- 9.80, PAOP 9.68 +/- 4.71” and “CO 4.7

  +/- 1.34, and PVR 8.775WU +/- 4.7625,” although CO and PVR data only reflect 34 of the 35




  170
      Parikh 2016 at 010603.
  171
      Agarwal 2015; Mar. 9, 2015 Tyvaso in WHO Group 3 Proof of Concept Review (UTC_PH-
  ILD_082484) (“March 2015 Presentation”) at 082490 (noting that the 35 patients were seen in the
  Brigham and Women’s Hospital PVD clinic). (”March 2015 Presentation”)
  172
      Agarwal 2015. I note that a March 2015 presentation discussing the study published as Agarwal
  2015 reflects 10 obstructed patients, 17 restricted, and 8 mixed. March 2015 Presentation at
  082492.
  173
      Agarwal 2015.

                                                    65
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25                Page 100 of 455 PageID
                                            #: 34370



  followed patients.174 Agarwal 2015 reports that all patients started inhaled treprostinil at 3 breaths

  QID and worked towards a goal of 9 to 12 breaths QID as tolerated.175

         166.    Patients were followed for 6 months (26 weeks), but only 26 of the followed

  patients remained on inhaled treprostinil for 6 months.176 Agarwal 2015 reports that

  discontinuation occurred for the following reasons: “1 death unrelated to therapy, 2 stopped

  because of intolerance, 3 stopped for lack of efficacy, 2 lost to follow up, and 1 who entered

  hospice.”177 Not accounting for these patients reflects a selection bias.178

         167.    The chart review investigated changes in 6MWD, Borg Dyspnea Index (“BDI”),

  WHO functional class, number of breaths, adverse events, and subjective report of

  improvement.179 The chart review 6MWD data only reflects 21 followed patients and also reports

  changes broken out by obstructive vs. restrictive disease for 6MWD, although the sample sized in

  each of these groups is not disclosed.180 The authors report no change in dyspnea or WHO function

  class over a 6-month period.181 Agarwal 2015 reports 30 of the 35 followed patients reported

  “subjective improvement,” but Agarwal 2015 also reports that only 24 of 26 followed patients that

  continued therapy for 6 months reported improvement.182 The method by which subjective

  improvement was measured is not specified nor are the two conflicting reported data points

  reconciled.




  174
      Id.
  175
      Id.
  176
      Id.
  177
      Id.
  178
      Supra § VII.
  179
      Agarwal 2015.
  180
      Id.
  181
      Id.
  182
      Id.

                                                   66
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 101 of 455 PageID
                                           #: 34371



         168.    Additionally, while not noted in Agarwal 2015, a March 2015 presentation given

  by Dr. Waxman (“March 2015 Presentation”), one of the authors of Agarwal 2015, indicates that

  15 patients received dual therapy for at least a portion of the study, and “tolerated the addition of

  a systemic pulmonary vasodilator (PDE5i).”183 It is unclear why this limitation is not

  acknowledged in Agarwal 2015.

         169.    Because the chart review reported in Agarwal 2015 was an open-label, single-arm

  chart review, that chart review was neither randomized, blinded, nor placebo-controlled.184

                 1.      Agarwal 2015 chart review design imposes significant
                         limitations on findings.

         170.    Although the authors of Agarwal 2015 neglect to discuss the limitations of the

  reported chart review, that chart review is at least subject to all the limitations associated with

  single-center studies, uncontrolled nonrandomized single-arm studies, open-label studies, and

  retrospective studies.185 Additionally, Dr. Waxman acknowledged in the March 2015 Presentation

  that the study was subjected to several limitations, including “[s]mall numbers,” “[h]ighly selected

  in terms of lung disease,” and “[n]ot a randomized trial.”186 I agree the study reflects those

  limitations.

         171.    In particular, all comparisons Agarwal 2015 reports were made between individual

  patients’ baselines and respective follow-up data, if available.187 Such change scores are at least

  subject to the potential biases outlined above (e.g., § VII above). Importantly, tests of statistical

  significance in change scores in patients that received the same treatment under study—here

  inhaled treprostinil—cannot be used to draw inferences about the effectiveness of that treatment.


  183
      March 2015 Presentation at 082508.
  184
      Supra § VII.
  185
      Supra § VII.
  186
      March 2015 Presentation at 082510.
  187
      Agarwal 2015

                                                   67
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 102 of 455 PageID
                                           #: 34372



         172.    Agarwal 2015 provides no indication of how patients were selected for (or excluded

  from) inclusion in the retrospective review. However, the March 2015 presentation notes that the

  participants were “newly diagnosed patients … with severe symptoms” and that the study was

  “[h]ighly selected in terms of lung disease,” which suggests that the participants likely are not

  representative of WHO Group 3 PH patients as a whole.188

         173.    Data on 6MWD was available on only 21 of 35 patients—40% of enrolled patients

  did not have both baseline and 6-month data.189 This alone reflects a limitation on this study that

  introduces the possibility of selection bias. While Agarwal 2015 only provides the mean change

  in 6MWD for all 21 patients—60.85m +/- 92.60190—the March 2015 Presentation indicates that

  the mean change was 44.3m for restricted lung disease patients, 114.6m for obstructive lung

  disease patients, and 20.3m for mixed lung disease patients.191 However, the March 2015

  Presentation and Agarwal 2015 are inconsistent as to the number of participants with obstructive

  lung disease, restrictive lung disease, and mixed disease.192 For example, the March 2015

  presentation reflects that 6 mixed patients had 6MWD data, but Agarwal 2015 states that only 5

  mixed patients participated in the study.193 Thus, it is not possible to identify the number of PH-

  ILD patients included in the 6MWD analysis or the mean change in 6MWD for restricted lung

  disease patients.




  188
      March 2015 Presentation at 082490, 082510.
  189
      Agarwal 2015.
  190
      Id.
  191
      March 2015 Presentation at 082503.
  192
      Compare March 2015 Presentation at 082492 (noting 10 obstructive patients, 17 restrictive
  patients, and 8 mixed patients), with Agarwal 2015 (noting 15 obstructive patients, 15 restrictive
  patients, and 5 mixed patients).
  193
      Compare March 2015 Presentation at -082503 (noting mean change in 6MWD for 6 mixed
  patients), with Agarwal 2015 (noting 5 mixed patients participating in study).

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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 103 of 455 PageID
                                           #: 34373



         174.    Although Agarwal 2015 reports subjective improvement data and WHO functional

  class data194, these subjective assessments are subject to bias. Bias applies for several reasons,

  including that clinical settings are fraught with psychological or psychosomatic influences

  impacting all parties, especially with respect to high-risk poor prognosis patient populations like

  the PH-ILD population. For example, patients who are receiving a high level of clinical care and

  attention will often view their disease as improved, even when that may not be supported by

  objective clinical measurements. Patients who believe that they are on a promising experimental

  therapy may expect improvement, and that can color their subjective assessment as to whether

  their condition has improved. Providers can also unintentionally influence these subjective

  measures as well. That is why assessments of subjective improvement can be highly biased.195

  Multi-center, randomized placebo-controlled studies can mitigate this effect by measuring the

  extent to which subjective improvement in patients treated with active drug exceed subjective

  improvement reported by placebo patients and by minimizing the influence any one practitioner

  or group of practitioners may have.196

         175.    I note that all the comparisons reported in Agarwal 2015 are between 6 month (26

  weeks) and baseline data.197 Agarwal 2015 does not report change scores for 8, 12, or 16 weeks.

                 2.       Agarwal 2015 chart review suffered from severe
                          selection bias and small sample size.

         176.    As noted above, only 21 patients had data on change in 6MWD, an unknown

  number of which had PH-ILD.198 Assuming that the PH-CPFE patients count as PH-ILD, we can

  only conclude that the number of PH-ILD patients for which 6MWD changes are reported is


  194
      Agarwal 2015.
  195
      Supra § VII.
  196
      Supra § VII.
  197
      Agarwal 2015.
  198
      Id.; Supra ¶ 172.

                                                  69
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 104 of 455 PageID
                                           #: 34374



  between 6 and 20, either limit being a very small sample size. Sample sizes for other outcome

  measures such as WHO functional class and BDI are also not reported in Agarwal 2015, and the

  sample sizes suggested in the March 2015 presentation for WHO FC and BDI appear to conflict

  with the overall patient breakdown reported in Agarwal 2015.199 With respect to any potential

  sample size for PH-ILD, this chart review is at least subject to all the limitations associated with

  low sample size. For example, such a small sample in and of itself strongly suggests that the data

  reported by Agarwal 2015 cannot be representative of PH-ILD patients. This conclusion is

  bolstered by the March 2015 Presentation, which notes that the participants were “newly diagnosed

  patients … with severe symptoms” and that the study was “[h]ighly selected in terms of lung

  disease,” which indicates that the participants likely are not representative of WHO Group 3 PH

  patients as a whole.200

         177.    Furthermore, Agarwal 2015 reports that ~26% (9/35) of the followed patients were

  not included in the outcome assessments because they were on therapy for less than 6 months.201

  The reasons include death (purportedly unrelated to therapy), intolerance of treatment, lack of

  efficacy, and transfer to hospice.202 All of these suggest that the followed patients excluded from

  analysis were systematically sicker than those ultimately included in the reported results. An

  additional 5 patients did not have 6MWD changes available; the reasons for the missing data are




  199
      Compare March 2015 Presentation at 082500 (noting mean change in WHO FC for 6 mixed
  patients), and March 2015 Presentation at 082506 (noting mean change in BDI for 6 mixed
  patients), with Agarwal 2015 (noting 5 mixed patients participating in study).
  200
      March 2015 Presentation at 082490, 082510.
  201
      Agarwal 2015.
  202
      Id.

                                                  70
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 105 of 455 PageID
                                            #: 34375



  not disclosed,203 but again this could be because of worsening physical status, which would further

  bias the reported results.

                 3.      Agarwal 2015 conclusions in view of its limitations.

         178.    In view of the fact that the authors observed no change in dyspnea or functional

  class in this group of patients, and in view of the fact that changes in 6MWD are not compared to

  placebo results, I disagree with the authors’ efficacy conclusion that “Group-3 PH can be

  effectively … treated with iTre [and that i]nhaled Treprostinil may offer a well-tolerated treatment

  in advanced lung disease patients complicated by pulmonary vascular remodeling.”204 I cannot

  evaluate whether the authors’ conclusion regarding safety and tolerance in those same statements

  is justified. I note that Agarwal 2015 otherwise makes no mention of “pulmonary vascular

  remodeling,” and Agarwal 2015 reports that ~26% (9/35) of the followed patients were not

  included in the outcome assessments because they discontinued therapy for the reasons listed

  above.205 Moreover, as noted above, the chart review’s limited sample size suggests that the

  reported data are unrepresentative of PH-ILD patients in general.

         179.    In view of all of the limitations on this study, to the extent anyone wished to

  evaluate, e.g., efficacy of inhaled treprostinil, a more robust trial would be required. Indeed, the

  authors state that “a prospective clinical trial is indicated.”206 The fact that Agarwal 2015 concludes

  that such a study is needed shows that the Agarwal 2015 authors believed that their study was

  insufficient to establish that the method was effective, and that prospective (a placebo-controlled

  randomized) clinical trial were necessary to do so.



  203
      No explanation is given for the missing data, and the reported statistics do not appear to account
  for missing data.
  204
      Agarwal 2015.
  205
      Id.
  206
      Id.

                                                    71
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25            Page 106 of 455 PageID
                                             #: 34376



            180.   In conclusion, because Agarwal 2015 is a single-arm chart review, the data Agarwal

  2015 reports fail to demonstrate that an inhaled treprostinil treatment is effective with respect to

  improved exercise capacity, 6MWD, plasma concentration of NT-proBNP, exacerbations of the

  interstitial lung disease, clinical worsening events due to the interstitial lung disease, or forced

  vital capacity (absolute or percent predicted). This is especially the case considering the chart

  review reported in Agarwal 2015 was merely a single-center, open-label, uncontrolled,

  retrospective study, and thus subject to the associated limitations and biases as described above.

  This is also the case because of the reported chart review’s small sample size and severe selection

  biases, which as discussed above, very strongly indicate the reported results do not represent PH-

  ILD patients. In fact, the authors do not even single out PH-ILD in their conclusions. Rather the

  authors conclude that: “Group-3 PH can be effectively and safely treated with iTre . . . [and a]

  prospective clinical trial is indicated.”207

            E.     Faria-Urbina 2018

            181.   Faria-Urbina 2018 reports a retrospective, single-site, single-arm, open-label chart

  review that screened 72 patients presenting with pulmonary hypertension that were administered

  inhaled treprostinil at the Pulmonary Vascular Disease Clinic at Brigham and Women’s Hospital

  from December 2009 to November 2016.208 Faria-Urbina 2018 reports that these 72 patients were

  screened for those patients that had “PH with evidence of pulmonary vascular remodeling” per the

  following hemodynamic criteria: mPAP ≥ 35 mmHg (which the authors’ characterize as “severe

  PH”) or a mPAP ≥ 25 mmHg associated with pulmonary vascular resistance (PVR) ≥ 4 Woods




  207
        Id.
  208
        Faria-Urbina 2018 at 009936, 009937, abstract.

                                                    72
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 107 of 455 PageID
                                           #: 34377



  Units.209 Patients with isolated postcapillary PH (i.e., high PAWP and normal PVR) were excluded

  from this cohort.210

          182.    This population was purportedly further screened for lung disease as follows:

                  Lung disease was defined by as follows: (1) COPD:
                  postbronchodilator FEVl/FVC < 0.7 [l9] and/or evidence of
                  emphysema on HRCT; (2) ILD: presence of fibrosis, defined as
                  reticular septal thickening associated with architectural distortion
                  with traction bronchiectasis, or honeycombing on HRCT [20, 21];
                  (3) CPFE: presence of emphysema and diffuse parenchymal lung
                  disease with significant pulmonary fibrosis on HRCT [22]. 211

          183.    The remaining 61 subjects were then further screened to exclude the following:

                  Exclusion criteria included the following: identification of another
                  known cause of PH (such as chronic thromboembolic disease);
                  follow-up < 3 months; treatment with another PH-specific drug
                  added in a period < 3 months from iTre initiation; lung
                  transplantation during follow-up (< 3 months); recent
                  hospitalization due to unstable lung disease (~ 1 month),
                  extemporaneous RHC, and/or inability to review baseline PFT or
                  RHC data. 212

          184.    This left 22 purportedly “Group 3 PH” patients for the chart review. Faria-Urbina

  2018 diagrams this screening process as follows:213




  209
      Id. at 009938, abstract.
  210
      Id. at 009938.
  211
      Id. at 009937.
  212
      Id.
  213
      Id. at 009938, Fig. 1.

                                                  73
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 108 of 455 PageID
                                            #: 34378




         185.    Faria-Urbina 2018 reports that the 22 followed patients consisted of 8 patients

  presenting with COPD, 9 patients presenting with ILD, and 5 patients presenting with combined

  disease (CPFE).214 Faria-Urbina 2018 reports that these patients were administered inhaled

  treprostinil (“iTre”) as follows:

                 All patients consented to receive treatment based on medical
                 judgment [23] after being informed of the potential risks and
                 benefits of iTre. Patients received iTre at three breaths (18 μg) four
                 times daily (72 μg/day). iTre doses were increased as tolerated by
                 three additional breaths ( 18 μg) per dosing session every 3-7 days
                 to achieve a dose of at least 9-12 breaths or more (~54 μg) four times
                 daily (~216 μg/day) unless limited by side effects. If patients had
                 dose-limiting side effects, then either a slower dose titration or a
                 lower goal dose was prescribed. 215

         186.    The authors note that all the followed patients “were on optimized therapies for the

  treatment of baseline lung disease prior to consideration for iTre treatment, were followed for at

  least 3 months, and were compliant with the medication.”216 The authors also confirmed that the

  “[t]herapies related to the underlying lung disease were continued throughout the observation




  214
      Id. at 009938.
  215
      Id. at 009937.
  216
      Id.

                                                  74
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 109 of 455 PageID
                                            #: 34379



  period.”217 The chart review followed the 22 patients for at least 3 months.218 However, follow-up

  timing and the specific follow-up tests conducted were at the discretion of the treating physician

  and were not uniform across patients in the study.219 Notably, at least four of the patients who

  completed the 6MWD test at baseline and follow-up were treated with dual therapy consisting of

  treprostinil and either sildenafil or tadalafil during the study.220 It is unclear whether any other

  patients also received dual therapy.

          187.    Because the chart review reported in Faria-Urbina 2018 was an open-label, single-

  arm chart review, that chart review was by definition neither randomized, blinded, nor placebo-

  controlled.

                  1.      Faria-Urbina 2018 chart review design imposes
                          significant limitations on findings.
          188.
                  I note that the authors expressly acknowledge that their chart review is “limited by

  its retrospective, single-center, observational, uncontrolled design.”221 I agree. The chart review

  reported in Faria-Urbina 2018 is subject to all the limitations associated with single-center studies

  (particularly those whether the center is highly specialized), uncontrolled nonrandomized single-

  arm studies, open-label studies, and retrospective studies discussed in Section VII.222 For example,

  Faria-Urbina 2018 only reports differences between patients’ baseline and follow-up visit data.223

  Such change scores are subject to the potential biases outlined above.224 Importantly, tests of

  statistical significance in change scores in patients that received the same treatment under study—



  217
      Id.
  218
      Id. at 009937, abstract.
  219
      Id. at 009937-39, Fig. 1, abstract.
  220
      Id. at 009940, Fig. 3.
  221
      Id. at 009941.
  222
      Supra § VII.
  223
      Faria-Urbina 2018 at 009940.
  224
      Supra § VII

                                                   75
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 110 of 455 PageID
                                           #: 34380



  here, inhaled treprostinil—cannot be used to draw inferences about the effectiveness of that

  treatment.225

         189.     Faria-Urbina 2018 is also subject to limitations associated with studies that have

  small sample sizes, a heterogenous patient cohort, and an unrepresentative patient cohort (i.e.,

  comprising only patients who meet certain criteria of disease severity).226 In fact, the authors

  expressly state that their chart review’s “[r]esults should be interpreted carefully in view of the

  small sample size and the heterogeneity of the population (COPD, ILD, and CPFE).” I agree. Thus,

  Dr. Channick’s reliance on the Faria-Urbina 2018 paper is misplaced. There is supplemental data

  available for Faria-Urbina 2018, and according to that data (which is available separately from the

  paper itself), the data on change in 6MWD were available on only 11 of 22 followed patients, and

  the change score reflects a heterogenous population with these 11 followed patients consisting

  purportedly of 5 patients presenting with COPD, 3 patients presenting with ILD, and 3 patients

  presenting with CPFE.227 With respect to the authors’ express concerns regarding heterogeneity,

  the authors appear to offer the following counterpoint: “a subanalysis of each subgroup (Tables

  S2-S4) demonstrated the tendency for improved functional class and 6-min walking distance,

  without significant deleterious effect on SpO2 that was observed in the entire study population

  was maintained when analyzing each subcohort.”228 First, I note that the authors acknowledge that




  225
      Id.
  226
      Supra § IX. B
  227
      Supplementary Material for Mariana Faria-Urbina et al., Inhaled Treprostinil in Pulmonary
  Hypertension Associated with Lung Disease, 196(2) Lung 139 (2018) (“Faria-Urbina 2018
  Supplementary Material”) at Tables S2-S4. I note that Faria-Urbina 2018 inconsistently reports
  the number of followed patients for which follow-up 6MWD data exists. Figure 1, the legend of
  Figure 3, Table 2, and Tables S2-S4 purport that the data reflects 11 followed patients with 6MWD
  data, but the text of the “Follow-up assessment” section purports that the data only reflects 10
  followed patients.
  228
      Faria-Urbina 2018 at 009941.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 111 of 455 PageID
                                             #: 34381



  these subanalyses at most indicate a “tendency” with respect to improved functional class and

  6MWD. Second, the authors fail to explain why less skepticism should be directed towards these

  even smaller sample sizes (e.g., the 6MWD subanalysis change scores reflect 5 followed patients

  presenting with COPD, 3 followed patients presenting ILD, and 3 followed patients presenting

  CPFE, respectively) than the authors expressly instruct should be directed to an 22- or 11-patient

  population.229 Notably, in view of all these limitations, the authors single out the followed COPD

  patients—not the followed ILD or CPFE patients—as those who “tended to have greater benefit

  from iTre treatment by the aforementioned parameters.”230 Regardless, conclusions about efficacy

  in terms of 6MWD or otherwise cannot be appropriately drawn about PH-ILD in a sample size of

  only n=3.

          190.    Another significant limitation is that some of the patients received other drugs in

  addition to inhaled treprostinil. For example, of the 11 patients for whom 6MWD data was

  available, 4 of the patients were also on sildenafil or tadalafil.231 Each patient was also on an

  “optimized therap[y] for treatment of baseline lung disease,” which continued throughout the

  observation period.232 This limits the ability to discern effects attributable to treprostinil.

          191.    The authors also note that their findings could be limited by “the intrinsically

  subjective nature of FC assessment, and the lack of a control group.”233 I agree as discussed

  above.234 The authors note that “All patients [...] were compliant with the medication.” Sackett

  notes, however, that “[b]ecause high compliance is therefore a marker for better outcomes, even




  229
      Faria-Urbina 2018 Supplementary Material at Tables S2-S4.
  230
      Faria-Urbina 2018 at 009941.
  231
      Id. at 009940, Fig. 3.
  232
      Id. at 009937.
  233
      Id. at 009941.
  234
      Supra § IX.

                                                     77
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 112 of 455 PageID
                                           #: 34382



  when treatment is useless, our controlled clinical experiences often will cause us to conclude that

  compliant patients must have been receiving efficacious therapy.”235 Assessments of subjective

  improvement can be highly biased. Multi-center, randomized placebo-controlled studies can

  mitigate this effect by measuring the extent to which subjective improvement in patients treated

  with active drug exceed subjective improvement reported by placebo patients and by minimizing

  the influence any one practitioner or group of practitioners may have.

         192.    I note that all the comparisons reported in Faria-Urbina 2018 are between at least 3

  months (about ~12-13 weeks) and baseline data.236 Faria-Urbina 2018 does not report change

  scores for 8 weeks and may not report change scores reflecting 12 weeks or even 16.

                 2.      Faria-Urbina 2018 chart review suffered from severe
                         selection bias and small sample size.

         193.    The chart review reported within the Faria-Urbina 2018 paper only followed 22

  patients, of which 9 purportedly presented with ILD and 5 with CPFE.237 To the extent one looks

  beyond the reference cited by Dr. Channick to the data supplement, even fewer of these patients

  had 6MWD data available at follow-up (3 patients purportedly presenting with ILD and 3 patients

  presenting with CPFE).238 Whether 9 or 3, either way this chart review is subject to all the

  limitations associated with low sample size.239 For example, such small samples in and of

  themselves indicate that the data reported by Faria-Urbina 2018 are not representative of PH-ILD

  patients in general.

         194.    This small patient cohort is also likely to be unrepresentative of PH-ILD patients

  due to the study’s PVD inclusion criteria (i.e., the hemodynamic requirements), which generally


  235
      Sackett 1989 at 2S.
  236
      Faria-Urbina 2018 at 009937 (noting “follow-up ≤ 3 months” as exclusion criteria).
  237
      Id. at 009938.
  238
      Faria-Urbina 2018 Supplementary Material at Tables S2-S4.
  239
      Supra § VII.I.

                                                  78
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 113 of 455 PageID
                                            #: 34383



  required severe PH or an indication that pulmonary vascular disease was “the predominant

  physiopathologic mechanism for PH.”240          Indeed, the authors expressly acknowledge the

  “possibl[ity] that [their] results favoring the potential use of iTRe in Group 3-PH might have been

  influenced by the presence of pulmonary vascular disease.”241 The authors further acknowledge

  that this selection bias was “by study design.”242

         195.    In addition, the chart review excluded patients with less than 3 months follow-up;

  those for whom it was necessary to add another PH drug during the follow-up period; those who

  needed a lung transplantation during follow-up; and those with recent hospitalization due to

  unstable lung disease.243 These exclusions eliminated 27 patients who would be expected to have

  worse functional outcomes than the 22 patients studied who did not meet those criteria. This

  introduces an optimistic bias into any assessment of efficacy.

                 3.      Faria-Urbina 2018 chart review fails to account for
                         missing data.

         196.    Although the chart review followed 22 patients, only half of them had 6MWD data

  available in their records after the follow-up period.244 The reasons for half of the study sample

  missing follow-up 6MWD data are not disclosed. The statistical methods do not account for

  missing data, and no clear explanation is offered in the article. The article suggests that whether to

  perform the 6MWD assessment was based on the treating physicians’ judgments for each

  patient.245 A physician’s judgment that a patient’s condition was too severe to safely and

  successfully perform or complete the 6MWD test could be one reason for not performing the test;



  240
      Faria-Urbina 2018 at 009938.
  241
      Id. at 009941.
  242
      Id.
  243
      Id. at 009937.
  244
      Id. at 009940, Fig. 3.
  245
      Id. at 009937.

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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 114 of 455 PageID
                                           #: 34384



  such a reason would tend to remove patients who could not or would not perform well from the

  set of patients analyzed, thereby introducing this bias along with others into the reported 6MWD

  change scores.

                   4.    Faria-Urbina 2018 conclusions in view of its limitations.

         197.      The conclusion section of Faria-Urbina 2018 begins with the authors again

  acknowledging that the reported chart review was retrospective.246 The authors then conclude that

  the chart review demonstrated that inhaled treprostinil sodium (iTre) was safe in patients with

  Group 3 PH and evidence of pulmonary vascular remodeling.247 The authors similarly conclude

  that “iTre was well tolerated, with no serious adverse events reported.”248 However, these

  conclusions are apparently based on the 22 non-excluded patients, and must therefore assume that

  none of the reasons for exclusion (such as 17 patients who required additional PH drugs, or 8 who

  developed unstable lung disease) could possibly be attributed to inhaled treprostinil. Moreover,

  these conclusions are necessarily limited to the patient population to which the chart review was

  directed: a highly screened sample cohort arrived at by applying inclusion criteria indicating severe

  PH and/or pulmonary vascular remodeling and exclusion criteria that appear to have excluded

  higher risk patients.249 Moreover, as noted above, the chart review’s limited sample size indicates

  that the reported data are unlikely to be representative of PH-ILD patients.250

         198.      The authors also conclude that “iTre improved WHO-FC and 6MWT distance,

  without deleterious effects on resting SpO2.”251 This conclusion, however, runs contrary to the




  246
      Id. at 009941.
  247
      Id. at 009941, abstract.
  248
      Id.
  249
      Id. at 009937.
  250
      Supra § VII.I.
  251
      Faria-Urbina 2018 at 009938.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 115 of 455 PageID
                                             #: 34385



  limitations the authors expressly raised and that I discuss, above.252 Moreover, as discussed above,

  tests of statistical significance in change scores in patients that receive the same treatment under

  study—here, inhaled treprostinil—cannot be used to draw inferences about the effectiveness of

  that treatment.

         199.       The authors also conclude that “the potential role of inhaled PH-specific drugs in

  Group 3 PH should be further assessed in large prospective studies.”253 I am not convinced that

  the data in this retrospective chart review actually do suggest a further study was warranted, but it

  is true that a larger, prospective, well-controlled, randomized, and blinded study would be

  necessary to arrive at conclusions regarding efficacy concerning such measures as o6MWD. A

  more robust study would be required to inquire into “the potential role of inhaled PH-specific drugs

  in Group 3 PH,” in view of the significant limitations of the present study. In my opinion, the

  authors do not go far enough in merely recommending “large prospective studies,” as they

  overlook the need to blind and randomize their proposed next study and to expand it to multiple

  centers. The authors further conclude that, absent their “large prospective studies,” inhaled

  treprostinil’s “use in Group 3 PH should be cautiously evaluated in specialized PH Centers, after

  an individualized assessment and risk-benefit consideration.”254 Assuming this recommendation

  reflects the standard of care for these patients when this data was reported, I agree that the reported

  data do not demonstrate a treatment effect that would justify any deviation from this standard of

  care, especially absent significant further testing, for example, in a multi-center, double-blinded,

  randomized, placebo-controlled trial.

         200.       Notably, the authors do not single out PH-ILD in their conclusions.



  252
      Id. at 009941.
  253
      Id.
  254
      Id.

                                                    81
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 116 of 455 PageID
                                           #: 34386



           201.   In conclusion, because Faria-Urbina 2018 is a single-arm chart review, the data that

  Faria-Urbina 2018 reports fail to demonstrate an inhaled treprostinil treatment effect with respect

  to improved exercise capacity, 6MWD, plasma concentration of NT-proBNP, exacerbations of the

  interstitial lung disease, clinical worsening events due to the interstitial lung disease, or forced

  vital capacity (absolute or percent predicted). This is especially the case considering the chart

  review reported in Faria-Urbina 2018 was merely a single-arm, single-center, open-label,

  uncontrolled, retrospective chart review, and thus subject to the associated limitations and biases

  as described above—many of which the author’s expressly acknowledge. This is also the case

  because of the reported chart review’s small sample size and severe selection biases, which as

  discussed above very strongly indicate the reported results do not represent PH-ILD patients. In

  fact, the authors do not even single out PH-ILD in their conclusions. Rather the authors conclude

  that “[t]he potential role of inhaled PH-specific drugs in Group 3 PH should be further assessed in

  larger prospective studies. Until then, its use in Group 3 PH should be cautiously evaluated in

  specialized PH Centers, after an individualized assessment and risk-benefit consideration.”

  X.       THE INCREASE AND PERFECT STUDIES

           202.   The INCREASE and PERFECT studies were multi-center, randomized, double-

  blind, placebo-controlled studies of inhaled treprostinil vs. placebo in patients with PH-ILD and

  PH-COPD, respectively.

           A.     The INCREASE Study

           203.   The INCREASE trial was a multi-center, randomized, double-blind, placebo-

  controlled study of inhaled treprostinil vs. placebo in patients with PH-ILD.255 The study enrolled

  326 patients, half of whom were randomized to receive inhaled treprostinil and half to receive



  255
        Waxman 2021.

                                                   82
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 117 of 455 PageID
                                           #: 34387



  placebo inhalation.256 The primary endpoint was change in peak 6MWD from baseline to week

  16; secondary endpoints included change in plasma NT-proBNP, time to clinical worsening, and

  changes in peak and trough 6MWD from baseline to weeks 12 and 15, respectively.257 Endpoints

  were specified, and protocols for measuring them were detailed in advance in a detailed study

  protocol document.258 Statistical methods were also pre-defined in a statistical analysis plan and

  were posted to ClinicalTrials.gov in advance of carrying out the study.259 The statistical analysis

  plan included methods for taking account of the effects of any missing data.260

                 1.      The 2017 INCREASE Study Description

         204.    The INCREASE trial, entitled “A Multicenter, Randomized, Double-Blinded,

  Placebo-Controlled Trial to Evaluate the Safety and Efficacy of Inhaled Treprostinil in Subjects

  With Pulmonary Hypertension Due to Parenchymal Lung Disease,” was pre-registered with

  ClinicalTrials.gov prior to conducting the trial and was assigned study number NCT02630316.261

  Version 23 was posted to ClinicalTrials.gov on February 10, 2017.262 That update describes the

  proposed study to be carried out, including the basic elements of study design, the interventions to

  be studied, the outcome measures, and patient eligibility.263 Version 24, which was posted on

  March 3, 2017, updated and clarified the study description, secondary outcomes measures, and


  256
      Id.
  257
      Id. at 010809.
  258
       United Therapeutics Corp., RIN-PH-201 Statistical Analysis Plan for “A Multicenter,
  Randomized, Double-Blinded, Placebo-Controlled Trial to Evaluate the Safety and Efficacy of
  Inhaled Treprostinil in Subjects with Pulmonary Hypertension due to Parenchymal Lung Disease”
  (Feb. 27, 2019) (UTC_PH-ILD_057509) (“INCREASE Stat. Analysis Plan”) at 057514 - 057515.
  259
      Id. at 057514 - 057515.
  260
      Id. at 057514 - 057515.
  261
      Version 1 of ClinicalTrials.gov Posting for “Safety and Efficacy of Inhaled Treprostinil in Adult
  PH With ILD Including CPFE” (NCT02630316) (Dec. 15, 2015) (“NCT02630316 Version 1”).
  262
      Version 23 of ClinicalTrials.gov Posting for “Safety and Efficacy of Inhaled Treprostinil in
  Adult PH With ILD Including CPFE” (NCT02630316) (Feb. 10, 2017) (LIQ_PH-ILD_00000185)
  (“2017 INCREASE Study Description”).
  263
      Id.

                                                   83
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25            Page 118 of 455 PageID
                                          #: 34388



  participant eligibility criteria.264 Version 85, which was posted on January 10, 2020, updated the

  study recruitment status from “recruiting” to “completed.”265 Version 88, which was posted on

  June 6, 2020, updated the secondary outcome measures to add “Time to Clinical Worsening.”266

  Study results were first submitted to ClinicalTrials.gov on April 29, 2021, and were first posted

  on May 24, 2021.267 At no time prior to April 17, 2020—indeed, at no time prior to May 24,

  2021—were any INCREASE study results or findings reported on ClinicalTrials.gov.

                 2.     The INCREASE Study Publication

         205.    The results of the study were published in the New England Journal of Medicine

  on January 13, 2021.268 Dr. Aaron Waxman was the principal author and Steven D. Nathan was

  the senior author of the paper. Many elements of the study, including disclosure of its design,

  methods, execution, analysis, and results are also disclosed in the Examples of U.S. Provisional

  Patent Application No. 63/011,810, U.S. Provisional Patent Application No. 63/160,611, and the

  ’327 patent.




  264
      Version 24 of ClinicalTrials.gov Posting for “Safety and Efficacy of Inhaled Treprostinil in
  Adult PH With ILD Including CPFE” (NCT02630316) (Mar. 3, 2017) (“NCT02630316 Version
  24”) (limiting secondary outcome measures to “Change in Peak 6-minute Walk Distance (6MWD)
  from Baseline to Week 12,” “Change in Trough 6-minute Walk Distance (6MWD) from Baseline
  to Week 15,” and “Change in plasma concentration of N-terminal pro-Brain Natriuretic Peptide
  (NT-proBNP) from Baseline to Week 16.”).
  265
      Version 85 of ClinicalTrials.gov Posting for “Safety and Efficacy of Inhaled Treprostinil in
  Adult PH With ILD Including CPFE” (NCT02630316) (Jan. 10, 2020) (“NCT02630316 Version
  85”).
  266
      Version 88 of ClinicalTrials.gov Posting for “Safety and Efficacy of Inhaled Treprostinil in
  Adult PH With ILD Including CPFE” (NCT02630316) (June 2, 2020) (“NCT02630316 Version
  88”).
  267
      Version 89 of ClinicalTrials.gov Posting for “Safety and Efficacy of Inhaled Treprostinil in
  Adult PH With ILD Including CPFE” (NCT02630316) (May 24, 2021) (“NCT02630316 Version
  89”).
  268
      Waxman 2021 at 010790.

                                                 84
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25            Page 119 of 455 PageID
                                          #: 34389



                3.      The PERFECT Study

         206.   The PERFECT study was a multi-center, randomized, double-blind, placebo-

  controlled, 12-week crossover trial of inhaled treprostinil to treat PH-COPD.269 The results were

  published in the European Respiratory Journal in April 2024.270 The principal author was Steven

  D. Nathan and the senior author was Aaron Waxman. The study was pre-registered on

  ClinicalTrials.gov (NCT03496623) in April 2018, entitled, “A Phase 3, Randomized, Placebo-

  controlled, Double-blind, Adaptive Study to Evaluate the Safety and Efficacy of Inhaled

  Treprostinil in Patients With Pulmonary Hypertension Due to Chronic Obstructive Pulmonary

  Disease (PH-COPD).”271 The primary endpoint was change from baseline in 6MWD after 12

  weeks of active treatment compared to change from baseline in 6MWD after placebo treatment.272

         207.   The study was terminated before its planned completion after the Data and Safety

  Monitoring Committee (DSMC) determined that patients on the active treatment (inhaled

  treprostinil) experienced serious adverse events at a greater rate compared to patients receiving

  placebo treatment.273 These serious adverse events included those leading to hospitalization.274

  Five deaths occurred while on treprostinil and no deaths occurred while on placebo. The DSMC

  also “noted that the changes in 6MWD … were numerically worse with iTRE exposure than with

  placebo exposure … .”275



  269
      Steven D. Nathan et al., Inhaled Treprostinil in Pulmonary Hypertension Associated With
  COPD: PERFECT Study Results, 63 Eur. Respiratory J. (2024) (“Nathan 2024”) at 2-3.
  270
      Id.
  271
       Version 1 of ClinicalTrials.gov Posting for “A Phase 3 Adaptive Study to Evaluate the Safety
  and Efficacy of Inhaled Treprostinil in Participants With Pulmonary Hypertension (PH) Due to
  Chronic Obstructive Pulmonary Disease (COPD) (PERFECT)” (NCT03496623) (Apr. 12, 2018)
  (“NCT03496623 Version 1”).
  272
      Nathan 2024 at 5.
  273
      Id. at 5, Table 3.
  274
      Id. at 5.
  275
      Id.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 120 of 455 PageID
                                            #: 34390



         208.    The authors concluded that “the results of this study indicated that patients

  receiving iTRE experienced numerically more events for AEs, SAEs, deaths, treatment

  discontinuations and study discontinuations compared with placebo. In addition, patients treated

  with iTRE showed no improvement in 6MWD when compared with placebo. Overall, this study

  showed that the risks in treating PH-COPD patients with iTRE outweighed the potential positive

  benefits, thereby justifying its early termination.”276

         209.    The authors identified several limitations to the study having to do with the pace of

  study recruitment and the effects of the COVID-19 epidemic in obtaining study measurements.

  Nonetheless, the study failed to show efficacy or safety in PH-COPD patients.

         B.      The Results Of INCREASE and PERFECT Demonstrate Why Dr. Channick’s
                 Cited References Do Not Reliably Predict Inhaled Treprostinil’s Therapeutic
                 Benefit in PH-ILD and PH-COPD Patients

         210.    Agarwal 2015’s retrospective study reports numerical average changes from

  baseline in 6MWD in the selected patients studied, such as patients with restrictive, obstructive,

  or mixed restrictive/obstructive WHO Group 3 pulmonary hypertension.277 Similarly, Faria-

  Urbina 2018’s retrospective study also reports numerical changes from baseline in 6MWD in PH

  patients with COPD, ILD, and CPFE.278 Dr. Channick has rendered the opinion that a POSA as of

  the priority date would have interpreted these results to mean that inhaled treprostinil is safe and

  would improve 6MWD in Group 3 PH patients, without regard to the obstructive or restrictive

  character of the disease.279 I disagree with Dr. Channick’s analysis.

         211.    The prospective, randomized, double-blind, multi-center INCREASE and

  PERFECT studies reached differing conclusions. The INCREASE study demonstrated that


  276
      Id. at 10.
  277
      Agarwal 2015.
  278
      Faria-Urbina 2018.
  279
      Channick Op. Rept. at ¶¶ 119-127, ¶¶ 217-221.

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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25            Page 121 of 455 PageID
                                              #: 34391



  inhaled treprostinil was safe and effective in improving 6MWD in PH-ILD patients receiving

  placebo.280 By contrast, the PERFECT study demonstrated that administering inhaled treprostinil

  to PH-ILD patients with PH-COPD was not safe and showed no evidence of efficacy in improving

  6MWD as compared to patients receiving placebo.281 These opposite conclusions for inhaled

  treprostinil treatment of PH-ILD (restrictive WHO Group 3) and PH-COPD (obstructive WHO

  Group 3) patients illustrate why the studies Dr. Channick and Liquidia rely on do not stand for the

  principles claimed in this litigation. Liquidia and Dr. Channick cite small, single-arm, retrospective

  studies such as Agarwal 2015 and Faria-Urbina 2018 and assert that the data in them demonstrates

  improved exercise capacity, 6MWD, and other measures. I disagree for the reasons above but if

  we assume for the sake of argument that the data points in that direction, it would also equally

  point in that direction for PH-COPD (if not more strongly). The opposite results of INCREASE

  and PERFECT show why the conclusions in small, limited, pilot studies with all of the limitations

  above do not support the conclusions Liquidia and Dr. Channick read into them. The POSA would

  understand that results of studies, particularly chart reviews evaluating patients with restrictive

  and/or obstructive WHO Group 3 PH in single-arm retrospective studies cannot reliably predict

  outcomes from well-conducted, definitive randomized controlled clinical trials.

  XI.       DR. CHANNICK’S REPORT

            212.     Dr. Channick’s report relies on the references above and I therefore disagree with

  his opinions for the reasons I have explained above regarding the limitations and biases in the

  studies and patent he cites. Here I will further address Dr. Channick’s Opening Expert Report and

  offer opinions on matters of statistics and study design related to his opinions.

            A.       The INCREASE Study is not merely studying more patients than Agarwal


  280
        Supra § X.
  281
        Supra § X.

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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 122 of 455 PageID
                                           #: 34392



                 2015 and Faria-Urbina 2018.

         213.    Dr. Channick asserts that the INCREASE study is merely a retelling of the chart

  reviews reported in Agarwal 2015 and Faria-Urbina 2018 but with a larger number of patients, and

  thus, greater power to obtain a significant result.282 For example, Dr. Channick asserts:

         Statistical significance is a matter of adequately powering a study with a sufficient
         number patients. In fact, the ʼ327 patent did nothing more than evaluate the same
         drug, administered by the same route of administration, using the same dosing as
         Faria-Urbina 2018 and, as Dr. Waxman admitted, in the same PH-ILD population.
         The ʼ327 patent simply studied more PH-ILD patients than Faria-Urbina 2018, but
         reached the identical conclusion.283

  Dr. Channick further asserts:

         To the extent UTC contends that the results are unexpected because a statistically
         significant result was achieved, I disagree. Theʼ327 patent simply studies more PH-
         ILD patients than Agarwal 2015 and Faria-Urbina 2018, but used the identical route
         of administration and identical dosing.284

  Dr. Channick is wrong, for multiple reasons.

         214.    First, Dr Channick’s is wrong that “[s]tatistical significance is a matter of

  adequately powering a study with a sufficient number patients.” As noted above, statistical power

  (and hence the likelihood of obtaining a statistically significant result) depends on much more than

  just sample size.285 Crucially, statistical power depends upon the specific question that the

  statistical test is designed to answer.286 Here, Faria-Urbina 2018 and Agarwal 2015 report chart

  reviews posing questions that their significance tests address that are entirely different from the

  ones that the INCREASE study posed.287 The significance tests in the two single-arm chart reviews


  282
      Channick Op. Rept. at ¶¶ 303-306, 403, and 423.
  283
      Channick Op. Rept. at ¶ 303.
  284
      Channick Op. Rept. at ¶ 403; id at ¶ 423 (“As I explained above, treating PH-ILD with inhaled
  treprostinil was well known in the art long before April 17, 2020, and the ʼ327 patent merely
  studied inhaled treprostinil in a larger patient population”).
  285
      Supra § VII.
  286
      Supra § VII.
  287
      Supra § VII; compare supra § IX.D, and § IX.E, with § X.A.

                                                  88
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 123 of 455 PageID
                                            #: 34393



  address the question as to whether the particular patients in those studies saw a change, e.g., in

  6MWD, on average over time (6 months and 3 months for Agarwal 2015 and Faria-Urbina 2018,

  respectively).288 The significance tests reported in the INCREASE study address the question as

  to whether a certain effect (such as change in 6MWD) was greater in patients receiving inhaled

  treprostinil as opposed to patients who did not receive treprostinil but who were otherwise treated

  in the same manner, that is, was inhaled treprostinil effective.289 Thus, while p-values and the

  notion of statistical significance were used in both the chart reviews and in the INCREASE study,

  they were addressing to completely different questions. Achieving statistical significance in the

  former context is completely unrelated to and uninformative about achieving statistical

  significance in the latter. Because no patients who did not receive treprostinil were included in the

  retrospective studies cited by Dr. Channick, those studies could not possibly answer the question

  addressed in the INCREASE study, no matter how large the sample size.290 Dr. Channick’s

  position is based on hindsight, not statistical principles.

         215.    Dr. Channick also asserts:

         Given that statistical significance is a matter of mathematical power, and Dr.
         Waxman was seeing benefits in treating PH-ILD patients with inhaled treprostinil,
         a statistically significant change in any metric is obvious in light of the prior art.291

  This position is also erroneous and a reflection of hindsight, not statistical principles.292 As noted

  above, statistical significance is not simply a matter of mathematical power.293 Moreover, the

  purported “benefits” Dr. Waxman reported in Faria-Urbina 2018 and purportedly observed in his




  288
      Supra §§ VII, IX.D, IX.E.
  289
      Supra §§ VII, X.A.
  290
      Supra § VII; compare supra § IX.D, and § IX.E, with § X.A.
  291
      Channick Op. Rept. at ¶ 304.
  292
      Supra § VII.
  293
      Supra § VII.

                                                    89
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 124 of 455 PageID
                                            #: 34394



  patients may or may not have been a consequence of that treatment as discussed above.294 As

  described above, the measurements for 6MWD reported in Faria-Urbina 2018 were only compared

  to each individual patients’ baseline 6MWD. Because the 6MWD data reported in Faria-Urbina

  2018 were not subjected to, e.g., a comparison between treprostinil-treated patients’ change from

  baseline in 6MWD and placebo-treated patients’ change from baseline in 6MWD, there is no way

  to know if the purportedly observed treatment effect was due to treprostinil, to or chance, or to

  some other cause. By Dr. Channick’s reasoning, the purported “benefits” that Agarwal 2015 and

  Faria-Urbina 2018 report in PH-COPD patients would similarly imply a significant positive

  change in any metric—something we know from the PERFECT study is not the case.295

          216.    Moreover, anecdotal data collected in a non-systematic manner with no control

  over what data are included and with no scope for comparison to a standard are less reliable than

  the retrospective single-arm studies discussed above.296 Combining such data and performing

  statistical calculations cannot produce results of higher quality or reliability than the underlying

  data on which they are based.297 Yet reliance on anecdote is precisely the flawed position that Dr.

  Channick advances.298 In other words, Dr. Channick’s unsupported assertion that it is “clear that

  if a statistical analysis were conducted on all the patients being treated, there would be statistically

  significant improvements in 6MWD and other metrics” is incorrect.299 For the reasons I have

  identified in this report, the POSA would not interpret Dr. Channick’s cited references as

  sufficiently showing, e.g., that inhaled treprostinil improves exercise capacity.




  294
      Channick Op. Rept. at ¶ 304; supra §§ VII, IX.E.
  295
      Supra §§ VII, IX.D, IX.E, X.
  296
      Supra § VII.
  297
      Supra § VII.
  298
      Channick Op. Rept. at ¶¶ 304-305 (citing alleged use by physicians “since 2009”).
  299
      Channick Op. Rept. at ¶ 305.

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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 125 of 455 PageID
                                           #: 34395



         217.    Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of this subject matter.300 Because these materials would not have been

  available to the POSA these materials do not support Dr. Channick’s positions.

         B.      Dr. Channick mischaracterizes or ignores the deficiencies of Saggar 2014,
                 Parikh 2016, Agarwal 2015, and Faria-Urbina 2018.

         218.    Dr. Channick mischaracterizes aspects of Saggar 2014, Parikh 2016, Agarwal 2015,

  and Faria-Urbina 2018. I discuss these issues below.

                 1.     Saggar 2014

         219.    Dr. Channick fails to acknowledge that that Saggar 2014 merely reports a single-

  arm study.301 However, because Saggar 2014 merely reports a single-arm study, that means that

  Saggar 2014 only reports change scores when reporting comparisons—i.e., differences between

  patients’ baseline and follow-up visits.302 Tests of statistical significance in change scores in

  patients that received the same treatment under study—here, parenteral treprostinil—cannot be

  used to draw inferences about the effectiveness of that treatment.303 This applies to the 6MWD,

  FVC, BNP, BDI, UCSD SOB, and SF-36 change scores that Dr. Channick’s Report references.304

  For example, Dr. Channick’s Report states that:

         Patients showed ‘significant improvements in right heart haemodynamics’ as well
         as ‘6MWD improvements following 12 weeks of parenteral treprostinil therapy
         (mean 59 m; p<0.001)’305

         220.    Dr. Channick and his report failed to account for the limitations of a single-arm

  study—like that reported in Saggar 2014—and the change scores they produce.306 These are not


  300
      Channick Op. Rept. ¶¶ 248, 263-264.
  301
      Supra §§ VII, IX.B; Saggar 2014 at 123-24; Channick Op. Rept. at ¶¶ 30, 114-18, 308-16.
  302
      Supra §§ VII, IX.B; Saggar 2014 at 123-29.
  303
      Supra §§ VII, IX.B.
  304
      Supra § VII; Channick Op. Rept. at ¶¶ 30, 117, 309-310, 312-313.
  305
      Channick Op. Rept. at ¶ at 309.
  306
      Supra §§ VII, IX.B; Saggar 2014 at 123-24; Channick Op. Rept. at ¶¶ 30, 114-18, 308-16.

                                                  91
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 126 of 455 PageID
                                            #: 34396



  equivalent to demonstrating that treprostinil has a treatment effect with respect to any of these

  metrics.307 In fact, the authors of Saggar 2014 expressly acknowledge “[t]he absence of a placebo

  arm [as] a particularly significant limitation.308 Critically, Dr. Channick’s report ignores this.309

         221.    As discussed above, because Saggar 2014 is a single-arm study, the data Saggar

  2014 reports fail to demonstrate an inhaled treprostinil treatment effect with respect to improved

  exercise capacity, 6MWD, plasma concentration of NT-proBNP, exacerbations of the interstitial

  lung disease, clinical worsening events due to the interstitial lung disease, or forced vital capacity

  (absolute or percent predicted).310 This is especially the case considering the study reported in

  Saggar 2014 was merely a single-arm, single-center, open-label, uncontrolled, prospective, and

  thus subject to the associated limitations and biases as described above—many of which the

  author’s expressly acknowledge.311 This is also the case because of the reported study’s small

  sample size and severe selection biases, which as discussed above strongly indicate the reported

  results do not represent PH-ILD patients.312

         222.    Dr. Channick does, however, acknowledge that the authors of Saggar 2014

  concluded that their findings “require confirmation in a multicentre, randomised study design.”313

  The POSA would understand that that is the authors’ acknowledging of the limitations of their

  study—that the data generated could not demonstrate a parental treprostinil treatment effect and

  could at most produce “hypothesis generating” data.314 In my opinion this is consistent with the




  307
      Supra §§ VII, IX.B.
  308
      Saggar 2014 at 128.
  309
      Channick Op. Rept. at ¶¶ 30, 114-18, 308-16.
  310
      Supra §§ VII, IX.B; Saggar 2014 at 123-29.
  311
      Supra §§ VII, IX.B; Saggar 2014 at 123-29.
  312
      Supra §§ VII, IX.B; Saggar 2014 at 123-25.
  313
      Channick Op. Rept. at ¶ 314.
  314
      Supra §§ VII, IX.B; Saggar 2014 at 128-29.

                                                    92
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 127 of 455 PageID
                                            #: 34397



  express limitations that Saggar 2014 report.315 In particular, the authors’ expressly state “[a]t this

  point, the routine use of PH-targeted therapy in PF-PH is not recommended and should only be

  cautiously considered at specialized PH centres to avoid the serious potential for worsening

  cardiopulmonary status in this patient population.”316 Dr. Channick’s report does not address

  this.317 Yet this statement is a further recognition that there was still significant unknowns and

  concerns and that the data Saggar 2014 reported was not convincing.318

         223.    Dr. Channick further neglects potential bias impacting the reported data. For

  example, the reported study was open label and many of the assessments were subjective, e.g.,

  BDI, UCSD SOB, and SF-36.319 As noted above, these subjective assessments are typically highly

  sensitive to bias unless performed in a multi-center, randomized, double-blinded, placebo-

  controlled study.320 Also, as discussed above, the reported study reflects a limited sample size (15

  subjects) that is likely unrepresentative of PH-ILD patients.321 This may be due to selection bias

  arising from the study site.322

         224.    In reference to the percent predicted FVC results that Saggar 2014 reports, Dr.

  Channick asserts that:

         This 1% change is comparable to the 1.1% change described in the INCREASE
         Study whose results were published in 2021 in the New England Journal of
         Medicine article titled Inhaled Treprostinil in Pulmonary Hypertension Due to
         Interstitial Lung Disease (“NEJM Publication”) which reports it as a significant
         improvement in FVC. Thus, to the extent the INCREASE Study and the ’327 patent




  315
      Supra §§ VII, IX.B; Saggar 2014 at 128.
  316
      Supra § IX.B; Saggar 2014 at 128.
  317
      Channick Op. Rept. at ¶¶ 30, 114-18, 308-16.
  318
      Supra § IX.B; Saggar 2014 at 123-26.
  319
      Supra § VII, IX.B; Saggar 2014 at 128.
  320
      Supra § VII, IX.B.
  321
      Supra § VII, IX.B; Saggar 2014 at 123-29.
  322
      Supra § VII, IX.B; Saggar 2014 at 123-29.

                                                   93
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 128 of 455 PageID
                                            #: 34398



         report that a 1.1% effect is significant, so too is the improvement reported in Saggar
         2014.323

  Dr. Channick makes a number of errors, including a pretty fundamental statistical error. First, Dr.

  Channick is clearly incorrect when he argues that the Saggar 2014 FVC findings are statistically

  significant even though Saggar 2014 clearly reports that the observed 1% increase over individual

  patient baselines was not statistically significant—Table 2 reports a p-value of 0.687, which is far

  from the benchmark for statistical significance of 0.05.324 In fact, Saggar 2014 states that “[t]here

  were no significant changes in PFT parameters following 12 weeks of treprostinil.”325 Second,

  simply because a difference of a particular magnitude was found to be a statistically significant

  difference in one study has no bearing whatsoever on whether the same magnitude of difference

  would be statistically significant in another study.

         225.    Moreover, Dr. Channick mischaracterizes the results of the INCREASE study.326

  The “1.1% effect” to which Dr. Channick refers is the average increase over individual baseline in

  the treprostinil group of patients at 16 weeks.327 But this is not what the statistical analysis (and

  statistical significance) reported in INCREASE refers to.328 The calculation of statistical

  significance is based on the difference between the change seen in the treprostinil group (+1.07%)

  and the corresponding change seen in the placebo group (-0.72%).329 This difference of 1.80% is

  what the INCREASE study reports to be statistically significant (p=0.03).330 Thus, even if his




  323
      Channick Op. Rept. at ¶ 332; id. at ¶ 117.
  324
      Compare Channick Op. Rept. at ¶¶ 117, 332, with Saggar 2014 at 125; supra § IX.B.
  325
      Saggar 2014 at 125; supra § IX.B.
  326
      Channick Op. Rept. at ¶¶ 117, 332.
  327
      Compare Channick Op. Rept. at ¶¶ 117, 332, with Waxman 2021 at 010825.
  328
      Waxman 2021 at 010825.
  329
      Waxman 2021 at 010825; supra § VII.
  330
      Waxman 2021 at 010792 - 010793, 010825; supra § VII.

                                                   94
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 129 of 455 PageID
                                           #: 34399



  assertions about statistical significance in one setting automatically carries over to another

  setting—which it does not—he would still have equated apples to oranges.

          226.   Dr. Channick further asserts that a POSA would have been motivated to combine

  the “improvements in FVC” reported in Saggar 2014.331 I disagree. As would the Saggar 2014

  publication that expressly stated “[t]here were no significant changes in PFT parameters following

  12 weeks of treprostinil.”332 Saggar 2014 also states “[i]mportantly, pulmonary function (i.e.,

  degree of PF) remained unaltered during the study and did not likely confound these findings.”333

  Interestingly, Dr. Channick quotes presumably recent deposition testimony of the principal author

  of Saggar 2014, Dr. Rajan Saggar, who—according to Dr. Channick—now asserts Saggar 2014

  “shows that 10 out of the 15 patients had significant improvements in their FVCs.”334 There are

  several problematic issues to note here. First, either Dr. Channick or Dr. Saggar appears to be using

  the term “significant” to mean “clinically important,” which is a concept completely unrelated to

  statistical significance.335 Second, seeing 10 of 15 patients show increases while 5 of 15 show

  decreases in FVC is consistent with increasing being equally likely as decreasing, that is, could

  easily be due to chance. Third, the clinical observation that some patients saw an improvement and

  others saw decline when treated using the same regimen is hardly supportive of a treatment

  effect.336




  331
      Channick Op. Rept. at ¶¶ 30, 114-18, 308-16..
  332
      Supra § IX.B; Saggar 2014 at 125.
  333
      Supra § IX.B; Saggar 2014 at 127.
  334
      Channick Op. Rept. at ¶ 311; Saggar 2014 at 123 (listing Dr. Rajan Saggar as the principal
  author of Saggar 2014).
  335
      Compare supra § VII, with Channick Op. Rept. at ¶ 311.
  336
      Supra § VII.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 130 of 455 PageID
                                            #: 34400



         227.    Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of Saggar 2014.337 Because these materials would not have been

  available to the POSA these materials do not support Dr. Channick’s positions.

                 2.      Parikh 2016

         228.    Dr. Channick fails to acknowledge that Parikh 2016 merely reports a single-arm

  chart review.338 However, because Parikh 2016 merely reports a single-arm chart review, that

  means that Parikh 2016 only reports change scores when reporting comparisons—i.e., differences

  between patients’ baseline and follow-up visits.339 Tests of statistical significance in change scores

  in patients that received the same treatment under study—here, inhaled treprostinil—cannot be

  used to draw inferences about the effectiveness of that treatment.340 This applies to the 6MWD

  and NT-proBNP change scores that Dr. Channick’s Report references:

          The study found that the average increase in the 6-minute walk distance was 3.9
          meters from Baseline to Followup Visit 1, and 31.6 meters from Baseline to
          Follow-up Visit 2.443 Additionally, NT-proBNP decreased by 39 ng/L at Follow-
          up Visit 1 and 630 ng/L at Follow-up 2.341

  Dr. Channick and his report failed to account for the limitations of a single-arm chart review—like

  that reported in Parikh 2016—and the change scores they produce.342 These are not equivalent to

  demonstrating that treprostinil has a treatment effect with respect to any of these metrics such as

  through a robust randomized and controlled clinical trial.343

         229.    Dr. Channick also asserts “the successful results disclosed in Parikh 2016 provide

  a POSA with a reasonable expectation of successfully treating PH-ILD with inhaled


  337
      See, e.g., Channick Op. Rept. ¶¶ 311, 314-316.
  338
      Supra §§ VII, IX.C; Parikh 2016 at 1-5; Channick Op. Rept. at ¶¶ 34, 256-259.
  339
      Supra §§ VII, IX.C; Parikh 2016 at 1-5.
  340
      Supra §§ VII, IX.C; Parikh 2016 at 1-5.
  341
      Channick Op. Rept. at ¶¶ 34, 256-259.
  342
      Supra §§ VII, IX.C; Parikh 2016 at 1-5; Channick Op. Rept. at ¶¶ 34, 256-259.
  343
      Supra §§ VII, IX.C.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 131 of 455 PageID
                                            #: 34401



  treprostinil.”344 I disagree. Parikh 2016 does not disclose any successful efficacy results.345 None

  of the change of the 6MWD or NT-proBNP change scores achieved statistical significance, i.e.,

  these change scores were not statistically significantly different from zero.346 Moreover, Parikh

  2016, expressly states that “[t]here were insufficient follow-up data to analyze efficacy

  endpoints.”347

         230.      Additionally, Dr. Channick mischaracterizes the results that Parikh 2016 reported.

  First, Parikh 2016 did not find (or report) that PH-ILD patients showed an improvement in the

  6MWD.348 Instead, patients diagnosed with PH-ILD were probably among the collection of the

  patients with PH of a wide variety of etiologies (WHO Groups 1–5) for whom, in aggregate,

  increased 6MWD was observed.349 Parikh 2016 reports no findings related specifically to PH-ILD

  patients.350 I say “probably” here because of the 80 followed patients only 6 patients were reported

  to have Group 3 interstitial lung disease/fibrosis and only a further 6 patients were reported to have

  Group 3 mixed pattern.351 However, less than half of the original patients were evaluated for

  changes in 6MWD at follow-up visit 1, so it is unknown how many of 6 Group 3 interstitial lung

  disease/fibrosis patients and 6 Group 3 mixed pattern patients, if any, are reflected in the results

  reported by Parikh 2016.352




  344
      Supra §§ VII, IX.C; Channick Op. Rept. at ¶ 259.
  345
      Supra §§ VII, IX.C; Parikh 2016 at 1-5.
  346
      Supra §§ VII, IX.C; Parikh 2016 at 4.
  347
      Supra §§ VII, IX.C; Parikh 2016 at 5.
  348
      Supra §§ VII, IX.C; compare Channick Op. Rept. at ¶¶ 34, 256-259, with Parikh 2016 at 1-5.
  349
      Supra § IX.C; Parikh 2016 at 1-5.
  350
      Supra § IX.C; Parikh 2016 at 1-5.
  351
      Supra §§ VII, IX.C; Parikh 2016 at 9.
  352
      Supra §§ VII, IX.C; Parikh 2016 at 1-5, 8-12.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25           Page 132 of 455 PageID
                                             #: 34402



          231.       Second, Dr. Channick’s Report omits key caveats regarding the data that were

  available for the chart review reported in Parikh 2016.353 Critically, it is impossible to tell when

  patients’ follow up visits occurred as discussed above.354 That is because follow-up visits were

  permitted to have occurred with a wide range of time intervals.355 Parikh reports that the median

  times from start of high-dose inhaled treprostinil to follow-up visits 1 and 2 were 5.2 months (Q1-

  Q3: 4.0–8.7) and 20.3 months (Q1-Q3: 14.2–33.2), respectively.356 As explained above these

  numbers raise questions as to whether any of the reported data reflect Group 3 interstitial lung

  disease/fibrosis patients and Group 3 measured sooner than 16 weeks after initiation of inhaled

  treprostinil.357

          232.       Dr. Channick also asserts that Parikh 2016 concludes that “Group-3 PH can be

  effectively and safely treated with iTre [and that i]nhaled Treprostinil may offer a well-tolerated

  treatment in advanced lung disease patients complicated by pulmonary vascular remodeling.”358

  As discussed above, I disagree with these conclusions to the extent they pertain to efficacy.359 As

  mentioned above, Parikh 2016 reported a single-arm chart review.360 Because Parikh 2016 is a

  single-arm chart review, the data Parikh 2016 reports fail to demonstrate an inhaled treprostinil

  treatment effect with respect to improved exercise capacity, 6MWD, plasma concentration of NT-

  proBNP, exacerbations of the interstitial lung disease, clinical worsening events due to the




  353
      Supra §§ VII, IX.C; compare Channick Op. Rept. at ¶¶ 34, 256-259, with Parikh 2016 at 1-5,
  8-12.
  354
      Supra §§ VII, IX.C; Parikh 2016 at 2-3.
  355
      Supra §§ VII, IX.C; Parikh 2016 at 2-3.
  356
      Supra §§ VII, IX.C; Parikh 2016 at 3.
  357
      Supra §§ VII, IX.C; Parikh 2016 at 2-3.
  358
      Channick Op. Rept. at ¶ 258.
  359
      Supra §§ VII, IX.C.
  360
      Supra §§ VII, IX.C; Parikh 2016 at 1-5.

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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 133 of 455 PageID
                                           #: 34403



  interstitial lung disease, or forced vital capacity (absolute or percent predicted).361 This is

  especially the case considering that the chart review reported in Parikh 2016 was merely a single-

  center, open-label, uncontrolled, retrospective chart review, and thus subject to the associated

  limitations and biases as described above.362 This is also the case because of the reported chart

  review’s small sample size and severe selection biases, which as discussed above strongly indicate

  the reported results do not represent PH-ILD patients.363

         233.    Dr. Channick also mischaracterizes Parikh 2016’s findings in terms of PH-ILD

  patients:

                 In 2016, researchers from Duke University, in a UTC funded study
                 reviewed 6MWD data from WHO Group 1–5 patients treated with
                 inhaled treprostinil and reported an improvement in the 6MWD in
                 the retrospective study, including in patients with PH-ILD.364

  Dr. Channick also states that Parikh 2016 reported that the average increase in 6MWD was 3.9

  meters at Follow-up Visit 1 and 31.6 m at Follow-up Visit 2.365 There are several problems with

  these statements. First, this is only based on the 39 and 34 patients who had follow-up Visits 1 and

  2, respectively.366 Indeed, Parikh 2016 notes “follow-up loss” as a limitation of the reported chart

  review. 367 Moreover, Parikh 2016 reports that the “the most common reason for discontinuation

  was the need to transition to parenteral therapy for worsening PH.”368 It therefore follows that

  those who dropped out due to poor results—e.g., need for more aggressive therapy, death—were




  361
      Supra §§ VII, IX.C; Parikh 2016 at 1-5.
  362
      Supra §§ VII, IX.C; Parikh 2016 at 1-5.
  363
      Supra §§ VII, IX.C; Parikh 2016 at 1-5.
  364
      Channick Op. Rept. at ¶ 34.
  365
      Id. at ¶ 258.
  366
      Supra §§ VII, IX.C; Parikh 2016 at 3-4.
  367
      Supra §§ VII, IX.C; Parikh 2016 at 5.
  368
      Supra §§ VII, IX.C; Parikh 2016 at 4.

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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 134 of 455 PageID
                                            #: 34404



  removed or treated differently for study purposes.369 This artificially increased the average increase

  in 6MWD among those who were left.370

         234.    I also disagree with Dr. Channick’s statement that “the successful results disclosed

  in Parikh 2016 provide a POSA with a reasonable expectation of successfully treating PH-ILD

  with inhaled treprostinil.”371 The “successful results” refer to observations of a heterogeneous

  cohort of PH patients.372 The report provides no separate results for PH-ILD patients, which in any

  case could only be based on at most 6 patients.373 The report provides no indication as to whether

  the results seen in the broad population making up the bulk of the data on which the results are

  based is at all consistent with the results in the subset of patients with ILD.374 Consequently, it is

  hard to see how such a paper would be at all informative about the likelihood of successfully

  treating PH-ILD with inhaled treprostinil.

         235.    Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of Parikh 2016.375 Because these materials would not have been available

  to the POSA these materials do not support Dr. Channick’s positions.

                 3.      Agarwal 2015

         236.    Dr. Channick asserts that “Agarwal 2015 discloses patients who were prospectively

  treated with inhaled treprostinil but retrospectively analyzed.”376 I disagree with that

  characterization as detailed above.377 Agarwal 2015 does not describe anything about



  369
      Supra §§ VII, IX.C; Parikh 2016 at 2-4.
  370
      Supra §§ VII, IX.C.
  371
      Channick Op. Rept. at ¶ 259.
  372
      Supra §§ VII, IX.C; Parikh 2016 at 1-5, 9.
  373
      Supra §§ VII, IX.C; Parikh 2016 at 1-5, 9.
  374
      Supra §§ VII, IX.C; Parikh 2016 at 1-12.
  375
      See, e.g., Channick Op. Rept. ¶¶ 257, 259, 282.
  376
      Channick Op. Rept. at ¶ 219.
  377
      Supra §§ VII, IX.D.

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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25          Page 135 of 455 PageID
                                              #: 34405



  “prospectively treat[ing]” patients with inhaled treprostinil.378 However, as detailed above,

  Agarwal 2015 does report a retrospective, single-center, single-arm, open-label chart review.379

  Because Agarwal 2015 merely reports a single-arm chart review, Agarwal 2015 only reports

  change scores when reporting comparisons—i.e., differences between patients’ baseline and

  follow-up visit.380 Tests of statistical significance in change scores in patients that received the

  same treatment under study—here, inhaled treprostinil—cannot be used to draw inferences about

  the effectiveness of that treatment.381 This applies to the 6MWD change scores that Dr. Channick’s

  Report references, e.g., “Agarwal 2015 further reports that the mean change in 6MWD as

  ‘+60.85m +/- 92.60 (median change +45m, p = 0.0019),’ which demonstrated a statistically

  significant improvement.”382 Dr. Channick and his report failed to account for the limitations of a

  single-arm chart review—like that reported in Agarwal 2015—and the change scores they

  produce.383 These are not equivalent to demonstrating that treprostinil has a treatment effect with

  respect to any of these metrics.384

         237.    Dr. Channick notes that Agarwal 2015 concludes that “Group-3 PH can be

  effectively and safely treated with iTre [and that i]nhaled Treprostinil may offer a well-tolerated

  treatment in advanced lung disease patients complicated by pulmonary vascular remodeling.”385




  378
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  379
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  380
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  381
      Supra §§ VII.
  382
      Supra §§ VII, IX.D; Agarwal 2015 at 009828; Channick Op. Rept. at ¶¶ 188, 221, 371; id. at
  ¶¶ 221, 371 (cites the change score that Agarwal 2015 reports for the restrictive patients that were
  followed and have 6 month 6MWD data available: an improvement 50m ± 57 (median +61m). I
  note that the change score did not even achieve statistical significance. Agarwal 2015 at 009828.
  383
      Supra §§ VII, IX.D; Agarwal 2015 at 009828; Channick Op. Rept. at ¶¶ 188, 221, 371.
  384
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  385
      Channick Op. Rept. at ¶¶ 33, 188, 221.

                                                  101
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 136 of 455 PageID
                                            #: 34406



  As discussed above, I disagree with these conclusions to the extent they pertain to efficacy.386 This

  is at least because Agarwal 2015 reported a single-arm chart review.387 Because Agarwal 2015 is

  a single-arm chart review, the data Agarwal 2015 reports fail to demonstrate an inhaled treprostinil

  treatment effect with respect to improved exercise capacity, 6MWD, plasma concentration of NT-

  proBNP, exacerbations of the interstitial lung disease, clinical worsening events due to the

  interstitial lung disease, or forced vital capacity (absolute or percent predicted).388 This is

  especially the case considering that the chart review reported in Agarwal 2015 was merely a single-

  center, open-label, uncontrolled, retrospective study, and thus subject to the associated limitations

  and biases as described above.389 This is also the case because of the reported chart review’s small

  sample size and severe selection biases, which as discussed above, strongly indicate the reported

  results do not represent PH-ILD patients.390

         238.    Indeed, as Dr. Channick’s report notes, the authors of Agarwal 2015 conclude that

  “[a] prospective clinical trial is indicated.”391 As noted above, I in part agree with that assessment

  in that Agarwal 2015 has failed to demonstrate that inhaled treprostinil has a treatment effect in

  Group 3 PH patients and demonstrating this would require further clinical study.392 The fact that

  Agarwal 2015 asserts that such a study is needed shows that the Agarwal 2015 authors believed

  that their study was insufficient to establish that the method was effective, and that a placebo-

  controlled randomized study was necessary to do so.393 I also, believe the authors’ conclusions




  386
      Supra §§ VII, IX.D.
  387
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  388
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  389
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  390
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  391
      Supra §§ VII, IX.D; Agarwal 2015 at 009828; Channick Op. Rept. at ¶ 221.
  392
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  393
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.

                                                   102
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 137 of 455 PageID
                                           #: 34407



  concern a trial in Group 3 PH, not a trial focused on PH-ILD.394 That is consistent with the focus

  of Agarwal 2015,395 although Dr. Channick’s report appears to ignore that fact.396

         239.    As for the authors’ conclusions regarding safety and tolerability this is discussed

  above.397 I cannot evaluate whether those statements of clinical opinion are justified. Yet I again

  note that Agarwal 2015 reports that ~26% (9/35) of the followed patients were not included in the

  outcome assessments because they discontinued therapy for the reasons detailed above.398 The

  discontinued patients appear not to have figured in the safety of tolerability assessments. Those

  patients that were excluded appear to have been systematically sicker than those ultimately

  included in the reported results, suggesting the reported change scores are too optimistic.

         240.    Dr. Channick’s report also begins to reveal how exceedingly few patients are

  reflected by the change scores reported by Agarwal 2015.399 As noted above, only 21 patients had

  data on change in 6MWD, an unknown number of whom had PH-ILD.400 Sample sizes for other

  outcome measures such as WHO functional class and BDI were not reported.401 With respect to

  any potential sample size for PH-ILD, this chart review is at least subject to all the limitations

  associated with low sample size.402 As noted above, such a small sample in and of itself strongly

  indicates that the data reported by Agarwal 2015 are not representative of PH-ILD patients.403




  394
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  395
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  396
      Channick Op. Rept. at ¶¶ 33, 185-188, 217-221.
  397
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  398
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  399
      Channick Op. Rept. at ¶¶ 186, 219; supra §§ VII, IX.D; Agarwal 2015 at 009828.
  400
      Supra §§ VII, IX.D; Agarwal 2015 at 009828
  401
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  402
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  403
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.

                                                  103
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25              Page 138 of 455 PageID
                                              #: 34408



             241.   Dr. Channick’s report is otherwise silent with respect to the limitations of the chart

  review reported in Agarwal 2015 merely being a single-center, open-label, uncontrolled,

  retrospective study that are discussed above.404 Each of these limitations is associated with biases

  that further prevent any conclusion that Agarwal 2015 demonstrates an inhaled treprostinil

  treatment effect in Group 3 PH patients let alone PH-ILD.405 For example, Dr. Channick’s report

  references that Agarwal 2015 reported that 24 of the 26 patients who remained on inhaled

  treprostinil for 6 months reported subjective improvement.406 As discussed above, these subjective

  assessments are typically highly sensitive to bias, especially in unblinded studies.407

             242.   Additionally, while not noted in Agarwal 2015, the March 2015 Presentation given

  by Dr. Waxman, one of the authors of Agarwal 2015, indicates that 15 patients received dual

  therapy for at least a portion of the study, and “tolerated the addition of a systemic pulmonary

  vasodilator (PDE5i).”408 It is unclear why this limitation is not acknowledged in Agarwal 2015.
  409
        Dr. Channick’s report does not address this.410

             243.   Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of Agarwal 2015.411 Because these materials would not have been

  available to the POSA these materials do not support Dr. Channick’s positions.




  404
      Channick Op. Rept. at ¶¶ 33, 185-188, 217-221; supra §§ VII, IX.D; Agarwal 2015 at 009828.
  405
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  406
      Channick Op. Rept. at ¶¶ 188, 221; supra §§ VII, IX.D; Agarwal 2015 at 009828.
  407
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  408
      March 2015 Presentation at 082508; Agarwal 2015 at 009828 (listing Dr. Waxman as an
  Agarwal 2015 author).
  409
      Supra §§ VII, IX.D; Agarwal 2015 at 009828.
  410
      Channick Op. Rept. at ¶¶ 33, 185-188, 217-221; supra §§ VII, IX.D; Agarwal 2015 at 009828.
  411
      Channick Op. Rept. ¶¶ 37, 186-187, 366.

                                                     104
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 139 of 455 PageID
                                            #: 34409



                 4.      Faria-Urbina 2018

         244.    Dr. Channick fails to acknowledge that that Faria-Urbina 2018 merely reports a

  single-arm (“uncontrolled”) chart review, and thus Faria-Urbina 2018 only reports change

  scores—differences between patients’ respective baselines and follow-up visits.412 Tests of

  statistical significance in change scores in patients that received the same treatment under study

  (inhaled treprostinil in this chart review) cannot be used to draw inferences about the effectiveness

  of that treatment.413 This applies to the WHO functional class, SpO2, and 6MWD change scores

  that Dr. Channick’s Report references.414 Although Dr. Channick’s Report references the Faria-

  Urbina 2018 authors’ statements that “therapy with iTre significantly improved WHO-FC and

  6MWT distance, with no significant changes in resting SpO2 and supplemental oxygen therapy

  requirement during follow-up”; that the reported “results suggest that iTre is . . . evidence of

  pulmonary vascular remodeling in terms of functional class, gas exchange, and exercise capacity”;

  and that Faria-Urbina 2018 saw significant improvements in the 6MWD,415 Dr. Channick fails to

  account for the limitations of a single-arm chart review—like those reported in Faria-Urbina

  2018—and the change scores the author reports produce.416 Those change scores are not equivalent

  to demonstrating that treprostinil has a treatment effect with respect to any of these metrics.417

  Indeed the Faria-Urbina 2018 authors flag that their chart review is “uncontrolled” and “the lack

  of a control group,”418 and they state this first among their chart review’s limitations.419 Critically,

  Dr. Channick’s report ignores this.


  412
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009941.
  413
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009941.
  414
      Supra §§ VII, IX.E; Channick Op. Rept. at ¶¶ 35, 123.
  415
      Channick Op Rept. at ¶¶ 35, 123; Faria-Urbina 2018 at 009936, 009939.
  416
      Supra §§ VII, IX.E.
  417
      Supra §§ VII, IX.E.
  418
      Faria-Urbina 2018 at 009941.
  419
      Faria-Urbina 2018 at 009941.

                                                   105
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 140 of 455 PageID
                                            #: 34410



         245.    As discussed above, because Faria-Urbina 2018 is a single-arm chart review, the

  data Faria-Urbina 2018 reports fail to demonstrate an inhaled treprostinil treatment effect with

  respect to improved exercise capacity, 6MWD, plasma concentration of NT-proBNP,

  exacerbations of the interstitial lung disease, clinical worsening events due to the interstitial lung

  disease, or forced vital capacity (absolute or percent predicted).420 This is especially the case

  considering the chart review reported in Faria-Urbina 2018 was merely a single-arm, single-center,

  open-label, uncontrolled, retrospective chart review, and thus subject to the associated limitations

  and biases as described above—many of which the author’s expressly acknowledge.421 This is also

  the case because of the reported chart review’s small sample size and severe selection biases, which

  as discussed above strongly indicate the reported results do not represent PH-ILD patients.422

         246.    Indeed, as discussed above, the Faria-Urbina 2018 authors not only identify their

  chart review’s “uncontrolled” nature as a limitation they also state that their chart review was

  “limited by its retrospective, single-center, observational . . . design.”423 I also note that the chart

  review is unblinded and non-randomized.424 Therefore, as discussed above, this chart review is at

  least subject to all the limitations associated with single-center studies, uncontrolled

  nonrandomized single-arm studies, open-label studies, and retrospective studies.425 Again,

  limitations that Dr. Channick’s report critically ignores.




  420
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009941.
  421
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009941.
  422
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009938.
  423
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  424
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009938.
  425
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009938.

                                                   106
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 141 of 455 PageID
                                           #: 34411



         247.    Dr. Channick’s report also has to reveal how exceedingly few patients are reflected

  by the change scores reported by Faria-Urbina 2018.426 For example, the 6MWD change score at

  most reflects 11 patients, only 6 of whom have PH-ILD.427 Again, as noted above, the authors

  expressly instruct that their “[r]esults should be interpreted carefully in view of the small sample

  size and the heterogeneity of the population (COPD, ILD, and CPFE).”428 Accordingly, this chart

  review is at least subject to all the limitations associated with low sample size, especially with

  respect to any potential sample size for PH-ILD.429 For example, such a small sample and the

  selection effects that led to it in and of themselves strongly indicates that the data reported by

  Faria-Urbina 2018 are not representative of Waxman PH-ILD patients.430 Dr. Channick’s report

  omits this.

         248.    Moreover, Dr. Channick’s report asserts that Faria-Urbina 2018 reported

  improvements in WHO functional class,431 but Dr. Channick neglects to address that the authors

  of Faria-Urbina 2018 also note that their findings could be limited by “the intrinsically subjective

  nature of FC assessment, and the lack of a control group.”432 The authors’ recognition of yet

  another limitation of their chart review is appropriate.433 Yet Faria-Urbina 2018 also reports that

  whether to perform the 6MWD assessment was based on the treating physicians’ judgments for

  each patient. A physician’s judgment that a patient lacked the exercise capacity to successfully



  426
      Supra §§ VII, IX.E; Channick Op. Rept. at ¶¶ 121, 123; Faria-Urbina 2018 at 009936 to 009941;
  Faria-Urbina 2018 Supplementary Material.
  427
      Supra § IX.E; Faria-Urbina 2018 at 009938 to 009940; Faria-Urbina 2018 Supplementary
  Material.
  428
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  429
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009941.
  430
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009941; Faria-Urbina 2018 Supplementary
  Material.
  431
      Channick Op. Rept. at ¶ 123.
  432
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  433
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.

                                                  107
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 142 of 455 PageID
                                            #: 34412



  complete the 6MWD test could be one reason for not performing the test; such a reason would

  tend to remove patients who would not perform well from the set of patients analyzed, thereby

  introducing at least this bias into the reported 6MWD change scores.

         249.    As discussed above, assessments of subjective improvement can be highly biased,

  especially in single-center chart reviews like Faria-Urbina 2018.434 Dr. Channick’s report makes

  it clear that Dr. Waxman was a strong advocate of his hypotheses.435 For example, Dr. Channick’s

  report remarks on Dr. Waxman’s reasoning for conducting the chart review reported in Faria-

  Urbina 2018, which appears to only have been based on biological plausibility and reasoning by

  analogy:

         During his presentation, Dr. Waxman stated that ‘treatment directed at pulmonary
         remodeling should potentially benefit any patient with a form of pulmonary
         vascular disease’ and that ‘pathways that are active in patients with PAH are also
         active in patients with Group 3 and even Group 2 and Group 3 and even Group 5
         [patients].’”436

  Dr. Channick’s report purports that it was this belief that led to Dr. Waxman “prospectively”

  treating patients.437 If true, this information is consistent with the severe selection bias evident in

  Faria-Urbina 2018 that I discuss above.438 The authors even expressly recognized such bias,

  cautioning that the “possibl[ity] that [their] results favoring the potential use of iTRe in Group 3-

  PH might have been influenced by the presence of pulmonary vascular disease.”439 The authors

  further acknowledge that this selection bias was “by study design.”440 Dr. Channick’s report does

  not address this.



  434
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009937.
  435
      Channick Op. Rept. at ¶120.
  436
      Channick Op. Rept. at ¶120.
  437
      Channick Op. Rept. at ¶120.
  438
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009938.
  439
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  440
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.

                                                   108
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 143 of 455 PageID
                                           #: 34413



         250.    Moreover, as discussed above, the initial screening that the authors applied to arrive

  at the 22 followed patients excluded over twenty patients based on criteria that excluded patients

  with less than 3 months follow-up; those for whom it was necessary to add another PH drug during

  the follow-up period; those who needed a lung transplantation during follow-up; and those with

  recent hospitalization due to unstable lung disease.441 These exclusions eliminated at least 27

  patients who would be expected to have worse functional outcomes than the 22 followed patients

  who did not meet those criteria.442 As noted, this introduces an optimistic bias into the results

  Faria-Urbina 2018 reports.443 Dr. Channick’s report ignores this as well.

         251.    Multi-center, randomized, placebo-controlled studies are necessary to mitigate this

  effect by measuring the extent to which subjective improvement in patients treated with active

  drug exceed subjective improvement reported by placebo patients and by minimizing the influence

  any one practitioner—like Dr. Waxman (—or group of practitioners—like Dr. Waxman’s)—may

  have.444

         252.    Critically, as noted above, the authors expressly instruct that “the potential role of

  inhaled PH-specific drugs in Group 3 PH should be further assessed in larger prospective

  studies.”445 Since the purpose of such prospective clinical trials is to determine whether, and if to

  what extent, inhaled treprostinil was an effective method for improving exercise capacity, it is

  clear that the authors, including Dr. Waxman, felt that there was insufficient information to draw

  such a conclusion absent the prospective clinical trials.446 It is not surprising that Dr. Channick




  441
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009938.
  442
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009938.
  443
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009938.
  444
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009938.
  445
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  446
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.

                                                  109
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 144 of 455 PageID
                                            #: 34414



  overlooks these critical details, in view of the misguided misunderstanding of clinical trial study

  design and statistical principles that are reflected in his report and that I addressed above.447

         253.    Moreover, Dr. Channick ignores that the authors of Faria-Urbina 2018 are almost

  exclusively focused on Group 3 PH, not PH-ILD.448 The authors report that “a subanalysis of each

  subgroup (Tables S2-S4) demonstrated the tendency for improved functional class and 6-min

  walking distance, without significant deleterious effect on SpO2 that was observed in the entire

  study population was maintained when analyzing each subcohort.”449 As I note above, this

  demonstrates that the authors acknowledged that these subanalyses at most indicate a “tendency”

  with respect to improved functional class and 6MWD.450 In view of these subanalyses, the authors

  also only single out the followed COPD patients for note—not the ILD or CPFE patients—stating

  that these COPD patients “tended to have greater benefit from iTre treatment by the

  aforementioned parameters.”451

         254.    Dr. Channick’s report also raises the transcripts of two Dr. Waxman presentations.

  One was Dr. Waxman’s presentation in 2017 at the 12th Annual John Vane Memorial Symposium

  and the other occurred in 2018 at UTC’s Science Day.452 Dr. Channick’s report indicates that on

  both occasions Dr. Waxman was presenting the data reported in Faria-Urbina 2018.453

  Accordingly, all the limitations and biases discussed in this section and above that apply to the




  447
      Supra § VII, XI.A; Channick Op. Rept. at ¶¶ 303-306, 403, and 423.
  448
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936, 009941.
  449
       Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941(emphasis added); Faria-Urbina 2018
  Supplementary Material.
  450
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  451
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  452
      Channick Op. Rept. at ¶¶ 120 (John Vane Memorial Symposium), 124 (John Vane Memorial
  Symposium), 125 (UTC Science Day).
  453
      Channick Op. Rept. at ¶¶ 120 (John Vane Memorial Symposium), 124 (John Vane Memorial
  Symposium), 125 (UTC Science Day).

                                                   110
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 145 of 455 PageID
                                           #: 34415



  data reported by Faria-Urbina 2018 necessarily would apply to the data Dr. Waxman presented.454

  Moreover, portions of each presentation that Dr. Channick’s report cite are consistent with Dr.

  Waxman understanding the limited nature of the chart review reported by Faria-Urbina 2018.455

  For example, at the 12th Annual John Vane Memorial Symposium, Dr. Waxman states:

         And so to finish up, hopefully, you'll agree that at least these pilot findings do
         provide some support -- additional support that the treatment of precapillary
         pulmonary arterial hypertension in patients with advanced lung disease ought to be
         considered. And that these findings also provide additional evidence supporting
         more at – larger clinical trials in patients with this form of pulmonary vascular
         disease.456

  This clearly is a limited statement, and Dr. Waxman merely views the chart review data reported

  in Faria-Urbina 2018 as supporting “more” or “larger” clinical trials.457 But a POSA would

  understand Dr. Waxman’s use of the term “clinical trial” to refer to a prospective randomized

  controlled study,458 which would be necessary to identify a treprostinil treatment effect with

  respect to improved exercise capacity.459 By so recommending, it appears to me that he is

  acknowledging that his group’s chart review reflects an extremely low number of subjects, that it

  only reflects a single center, and that it cannot be relied on to make an assessment of efficacy.460

         255.    At UTC’s Science Day, Dr. Waxman stated:

         So we felt that this pilot study, again, retrospective, gave us preliminary evidence
         that there was good reason to consider treating patients with pre-capillary
         pulmonary hypertension in the setting of advanced lung disease, and this led to




  454
      Supra §§ VII, IX.E; Channick Op. Rept. at ¶¶ 120 (John Vane Memorial Symposium), 124
  (John Vane Memorial Symposium), 125 (UTC Science Day).
  455
      Supra §§ VII, IX.E.
  456
       Transcript of 12th Annual John Vane Memorial Symposium, March 17, 2017 (LIQ_PH-
  ILD_00147328) (“2017 Waxman Tr.”) at -00147344.
  457
      Id.
  458
      Id.
  459
      Supra §§ VII, IX.E.
  460
      Supra §§ VII, IX.E.

                                                  111
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 146 of 455 PageID
                                           #: 34416



         discussions with United Therapeutics and development of 2 clinical trials, the
         INCREASE study and the PERFECT study.461

  Dr. Waxman clearly acknowledges that Faria-Urbina 2018 merely reported a retrospective chart

  review.462 Dr. Waxman also states that it only provided “preliminary evidence that there was good

  reason to consider treating patients with pre-capillary pulmonary hypertension in the setting of

  advanced lung disease.”463 Dr. Waxman’s statement suggests that Faria-Urbina 2018 was not

  immediately persuasive to United Therapeutics, who as the statement indicates needed to develop

  not one but two clinical trials—the INCREASE study directed to PH-ILD and the PERFECT study

  directed to PH-COPD.464 As discussed above, Faria-Urbina 2018 expressly emphasizes that PH-

  COPD patients tended to have greater benefit from inhaled treprostinil.465 Yet it is the PERFECT

  study of PH-COPD patients that failed.466

         256.    Another significant limitation is that some of the patients received other drugs in

  addition to inhaled treprostinil. For example, of the 11 patients for whom 6MWD data was

  available, 4 of the patients were also on sildenafil or tadalafil.467 Each patient was also on an

  “optimized therap[y] for treatment of baseline lung disease,” which continued throughout the

  observation period.468 This limits the ability to discern effects attributable to treprostinil. Dr.

  Channick’s report ignores this.




  461
      Thomson Reuters Streetevents Edited Transcript UTHR – United Therapeutics Corp to Host
  Science Day 2018, September 24, 2018 (LIQ_PH-ILD_00140569) (“2018 Waxman Tr.”) at -
  00140611.
  462
      Id.
  463
      Id.
  464
      Id.
  465
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009941.
  466
      Supra § X.
  467
      Faria-Urbina 2018 at -009940, Fig. 3.
  468
      Id. at 009937.

                                                 112
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 147 of 455 PageID
                                            #: 34417



         257.    I note that all the comparisons reported in Faria-Urbina 2018 are between at least 3

  months (~12 weeks) and baseline data.469 Faria-Urbina 2018 does not report change scores for 8

  weeks and may not report change scores reflecting 12 weeks or even 16 weeks.

         258.    Finally, Dr. Channick’s Report, notes that the Faria-Urbina 2018 “results suggest

  that ‘iTRE is safe in patients with Group 3 PH and evidence of pulmonary vascular remodeling,”

  and that “[t]he authors further concluded that inhaled treprostinil was safe in Group 3 PH

  patients.”470 As noted above, I cannot evaluate whether the authors’ conclusions regarding safety

  and tolerability are justified by the reported findings.471 However, unlike Dr. Channick, the authors

  conclusions are expressly and necessarily limited to the patient population to which the chart

  review was directed: a highly screened sample cohort arrived at by applying inclusion criteria

  indicating severe PH and/or pulmonary vascular remodeling and exclusion criteria that appear to

  have excluded higher risk patients.472 Moreover, as noted above, the chart review’s limited sample

  size and the selection effects leading to that sample size strongly suggest that the reported data are

  not representative of PH-ILD patients.473

         259.    Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of Faria-Urbina 2018.474 Because these materials would not have been

  available to the POSA, these materials do not support Dr. Channick’s positions.




  469
      Id. (noting “follow-up ≤ 3 months” as exclusion criteria).
  470
      Channick Op. Rept. at ¶ 123.
  471
      Channick Op. Rept. at ¶ 123; supra §§ VII, IX.E.
  472
      Faria-Urbina 2018 at -009937.
  473
      Supra §§ VII, IX.E; Faria-Urbina 2018 at 009936 to 009938.
  474
      Channick Op. Rept. ¶¶ 120-123, 125.

                                                   113
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 148 of 455 PageID
                                             #: 34418



  XII.    DR. HILL’S REPORT

          A.      Purported Personal Observations are Subject to Bias

          260.    Section VI of Dr. Hill’s report is a catalog of instances of physicians allegedly using

  inhaled treprostinil off-label in Group 3 PH patients after approval of Tyvaso® in 2009.475 In

  support of these clinical decisions, the cited physicians refer to their belief that inhaled treprostinil

  would improve exercise capacity, or that there were biological reasons to think that it would work

  in Group 3 patients as well as Group 1 patients, or that patients for whom they had prescribed

  inhaled treprostinil did better in their experience.476 Unfortunately, belief, personal experience,

  and biological plausibility are unreliable guides as to whether, keeping all other aspects of

  treatment the same, using a drug produces better outcomes than not using it.

          261.    Medical history is replete with examples of drugs which were widely believed to

  be effective, with a biologically plausible explanation, and that seemed to be borne out by

  individual experience that ultimately turned out not to produce better outcomes—or even worse

  outcomes.

          262.    Firm belief by some physicians that ivermectin (an anti-parasite drug) or

  hydroxychloroquine (and anti-malaria drug) effectively prevented or treated COVID-19 led many

  patients to be treated with those drugs.477 There was a biological basis to try ivermectin, as it



  475
      2024-12-20 Expert Report of Dr. Nicholas Hill (“Hill Op. Rept.”) at Section VI.
  476
      Id.
  477
      Susanna Naggie et al., Effect of Ivermectin vs Placebo on Time to Sustained Recovery in
  Outpatients With Mild to Moderate COVID-19, 328 JAMA 1595 (2022) (“Naggie 2022”) at 1596,
  1601-02; Jiuyang Xu & Bin Cao, Lessons Learnt from Hydroxychloroquine/Azithromycin in
  Treatment of COVID-19, 59 Eur. Respiratory J. 2102002 (2022) (“Xu 2022”) at 2 (“Retrospective
  analysis and observational studies may provide timely and useful information, but care must be
  taken when evaluating such evidence and cross validation from multiple cohorts/studies is optimal.
  Conclusions drawn from a few or a single cohort, especially when the sample number is limited,
  may be biased. High level evidence from well-designed, strictly adhered to, and preferably large-
  scale randomised clinical trials is important for making clinical decisions.”).

                                                    114
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 149 of 455 PageID
                                            #: 34419



  inhibited growth of the Sars-Cov-2 virus in laboratory experiments.478 But the “success” of these

  drugs in the anecdotal experience of individual physicians was refuted in carefully controlled trials,

  which showed that ivermectin was ineffective at treating or preventing COVID-19.479 Indeed, both

  ivermectin and hydroxychloroquine can produce serious side effects.

         263.    Another example is the case of flecainide (and related drugs) for prevention of

  sudden cardiac death in patients with certain unstable arrythmias called premature ventricular

  contractions (PVCs). It was well established that recurrent PVCs were a risk factor for sudden

  cardiac death, and the more PVCs, the greater the chance of dying.480 Flecainide rapidly suppressed

  PVCs and restored a normal heart rhythm.481 It became the standard of care for treating patients

  with these unstable arrythmias.482 Doctors believed in the efficacy of flecainide to such an extent

  that when a randomized clinical trial was being planned to test the efficacy of flecainide, many

  would not allow their patients to participate on the theory that flecainide was highly effective and

  that it would be unethical to allow the possibility that their patients might be randomized to receive

  placebo. In fact, the Cardiac Arrythmia Suppression Trial (CAST) definitively showed not only

  that flecainide was not effective at preventing sudden cardiac death, but it also actually increased

  the chance of cardiac death—and by a substantial margin—over placebo.483 (The same result was

  found for the related drugs.)




  478
      Naggie 2022 at 1596.
  479
      Id. at 1601-02; Xu 2022 at 2.
  480
      Debra S. Echt et al., Mortality and Morbidity in Patients Receiving Encainide, Flecainide, or
  Placebo, 324 N. Eng. J. Med. 781 (1991) (“Echt 1991”) at 781.
  481
      Id. at 785.
  482
      Joel Morganroth et al., Treatment of Ventricular Arrhythmias by United States Cardiologists:
  A Survey Before the Cardiac Arrhythmia Suppression Trial Results Were Available, 65 Am. J.
  Cardiology 40 (1990) (“Morganroth 1990”) at 42-43.
  483
      Id. at 44; Echt 1991 at 785-86; David L. Sackett & William M. C. Rosenberg, On The Need for
  Evidence-Based Medicine, 4 Health Econ. 249 (1995) (“Sackett 1995”) at 249.

                                                   115
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 150 of 455 PageID
                                            #: 34420



         264.    Indeed, the strongly-held belief that inhaled treprostinil was safe and effective in

  increasing exercise capacity in Group 3 patients was shown not to be the case for Group 3 patients

  with PH-COPD by the PERFECT study, which showed an increase in serious adverse events as

  compared to placebo treatment with no indication of improvement in 6MWD.484

         265.    In conclusion, it is my opinion that the purported off-label use of inhaled treprostinil

  for the treatment of WHO Group 3 PH described in Section VI of Dr. Hill’s report would not

  reasonably convey as of the priority date that the claimed method of treatment works for its

  intended purpose by improving exercise capacity in PH-ILD patients, and thus it is further my

  opinion that the alleged off-label use would not render the claimed method ready for patenting or

  anticipated.

         266.    Moreover, Dr. Hill’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of this subject matter.485 Because these materials would not have been

  available to the POSA, these materials do not support Dr. Channick’s positions.

  XIII. THE ASSERTED CLAIMS OF THE ’327 PATENT ARE NOT ANTICIPATED

         A.      Faria-Urbina 2018 Does Not Anticipate Claims 1-3, 6, 11, and 15-19 of the
                 ’327 Patent.

         267.    Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of anticipation.486 Because these materials would not have been available

  to the POSA, these materials do not support Dr. Channick’s positions.

                 1.      Claims 1, 11, and 15-16 of the ’327 Patent is Not
                         Anticipated by Faria-Urbina 2018.

                         a.      Claim 1: “A method of improving exercise capacity in a patient
                                 having pulmonary hypertension associated with interstitial lung
                                 disease, comprising administering by inhalation to the patient

  484
      Supra § X.
  485
      Hill Op. Rpt. Section VI.
  486
      Channick Op. Rept. at ¶¶ 159-160, 163-164.

                                                   116
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 151 of 455 PageID
                                           #: 34421



                                having pulmonary hypertension associated with interstitial lung
                                disease an effective amount of at least 15 micrograms up to a
                                maximum tolerated dose of treprostinil or a pharmaceutically
                                acceptable salt thereof in a single administration event that
                                comprises at least 6 micrograms per breath.”

         268.    Counsel has informed me that the preamble of claim 1 is limiting.487 Accordingly,

  a POSA would view claim 1 limited to a “method of improving exercise capacity in a patient

  having pulmonary hypertension associated with interstitial lung disease by administering inhaled

  treprostinil.”488 I further understand that this limiting preamble is the purpose for which the

  claimed method must be performed.489 Claim 1 further requires administering an “effective”

  amount.490 This “effective” amount must refer to being effective at improving exercise capacity.491

  The POSA, however, could not perform the claimed method or expect it to be successful without

  sufficient reliable data.492 For the reasons explained above, none of the references cited by Dr.

  Channick alone or combined would provide sufficient data for the POSA to satisfy these

  requirements of claim 1.493

         269.    As detailed above, Faria-Urbina 2018 fails to disclose any inhaled treprostinil

  treatment effect.494 That is, Faria-Urbina 2018 cannot disclose an inhaled treprostinil treatment

  effect because it reports data generated by a single-arm, single-center, open-label, retrospective

  chart review.495 A POSA would understand or a biostatistician like myself would inform a POSA


  487
      Redacted Version of D.I. 123, Joint Claim Construction Brief (“D.I. 127”).
  488
      Supra § VIII; ’327 Patent; Claim Construction Order (“D.I. 155”).
  489
      Supra § VIII; ’327 Patent; D.I. 155.
  490
      Supra § VIII; ’327 Patent; D.I. 155.
  491
      Supra §§ VII, VIII, IX ,X, XI; ’327 Patent; D.I. 155.
  492
      Supra §§ VII, VIII, IX ,X, XI; ’327 Patent; D.I. 155.
  493
      Supra §§ VII, VIII, IX ,X, XI; ’327 Patent; D.I. 155; ’793 Patent; Saggar 2014; Parikh 2016;
  Agarwal 2015; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary Material.
  494
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  495
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.

                                                 117
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 152 of 455 PageID
                                            #: 34422



  that is one of the critical limitations of a single-arm chart review.496 Comparisons in single-arm

  studies can only be in the form of change scores—i.e., the differences between patients’ respective

  baselines and follow-up visits.497 Tests of statistical significance in change scores in patients that

  received the same treatment under study (inhaled treprostinil in this chart review) cannot be used

  to draw inferences about the effectiveness of that treatment. Therefore, a POSA would know or be

  informed that Faria-Urbina 2018 does not disclose an inhaled treprostinil treatment effect.498

  Accordingly, Faria-Urbina 2018 does not disclose administering inhaled treprostinil to a patient

  having pulmonary hypertension associated with interstitial lung disease intending to improve

  exercise capacity.499

         270.    As detailed above, the fact that the chart review Faria-Urbina 2018 reports is also a

  single-center, open label, retrospective chart review introduces further limitations that a POSA

  would recognize as further support that Faria-Urbina 2018 does not disclose an inhaled treprostinil

  treatment effect.500 The issues arising from these limitations cast doubt on whether, had all the PH-

  ILD and PH-CPFE patients been evaluated for exercise capacity, there would have been any

  positive changes at all in exercise capacity.501 For example, because the study was retrospective

  and unblinded, the decision whether to conduct a follow-up 6MWD was left to the discretion of




  496
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  497
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  498
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  499
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  500
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  501
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.

                                                   118
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 153 of 455 PageID
                                            #: 34423



  the treating physician.502 Because no account is given as to why half of the study population was

  excluded from this evaluation, we cannot rule out reasons such as not doing the 6MWD test in

  patients who were judged unlikely to be able to complete the test, a practice that would skew the

  results in a favorable direction.503 Additional bias can result from the practices and motivations of

  those physicians at the chart review’s single site. 504

         271.    As detailed above, the POSA would also have reason to believe that Faria-Urbina

  2018 suffered from selection bias.505 For example, 26 of 61 followed patients were omitted from

  consideration because after initiation of treprostinil therapy they were hospitalized, had a lung

  transplant, or their condition deteriorated to the extent they required treatment with additional

  drugs.506 The reduced exercise capacity of these patients was not taken into account in the analysis,

  and their omission suggests the reported data is misleadingly optimistic.507

         272.    Similarly, it appears that a substantial fraction of subjects were not on

  monotherapy.508 Of the 11 patients with 6MWD data, 4 of them also received a second drug

  (sildenafil or tadalafil).509 So any changes seen in 6MWD in this group could have resulted in part




  502
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  503
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  504
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  505
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  506
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  507
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  508
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  509
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.

                                                   119
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 154 of 455 PageID
                                           #: 34424



  from the additional treatment as opposed to treprostinil.510 For this reason, too, the effects on

  6MWD in PH-ILD patients treated with inhaled treprostinil reported in the Faria-Urbina 2018

  publication cannot be relied upon by a POSA.511

         273.    Also, as noted above, the number of patients assessed that had PH-ILD or CPFE

  was exceedingly small—only six patients (only 3 had ILD and another 3 had CPFE).512 A POSA

  would know or be informed that this population is unrepresentative of the PH-ILD population.513

         274.    For these reasons, Faria-Urbina 2018 does not teach performing a method

  improving exercise capacity in a patient having pulmonary hypertension associated with interstitial

  lung disease by administering inhaled treprostinil.514 Similarly, Faria-Urbina 2018 fails to report

  or disclose an inhaled treprostinil treatment effect. Consequently, claim 1 of the ’327 patent is not

  anticipated by Faria-Urbina 2018, and claims 11, and 15-16 are not anticipated as they depend

  from claim 1.515

                 2.      Dependent Claims 2-3, 6, and 17–19 Are Not
                         Anticipated by Faria-Urbina 2018

                         a.      Claim 2: “The method of claim 1, wherein said administering
                                 provides a statistically significant increase of a 6 minutes walk




  510
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  511
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  512
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  513
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  514
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.
  515
      Supra §§ VII, VIII, IX.E, XI.B.4; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material.

                                                  120
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25          Page 155 of 455 PageID
                                             #: 34425



                                   distance in the patient after 8 weeks, 12 weeks, or 16 weeks of
                                   the administering.”

         275.    Claims 2-3 and 17-19 are not anticipated as they depend from claim 1, and claim 1

  is not anticipated by Faria-Urbina 2018 as detailed above.516

         276.    Claims 2-3 and 17-19 also recite the following:

                Claim 2: “said administering provides a statistically significant increase of a 6

                 minutes walk distance”;

                Claim 3: “said administering increases a 6 minutes walk distance of the patient by

                 at least 10 m”;

                Claim 17: “said administering increases a 6 minutes walk distance of the patient by

                 at least 10 m” ;

                Claim 18: “wherein said administering increases a 6 minutes walk distance of the

                 patient by at least 15 m”; and

         277.    Claim 19: “said administering increases a 6 minutes walk distance of the patient by

  at least 15 m.”517

         278.    Each of these claims requires that the claimed method’s “administering” step

  “provide[]” or “increase[]” a parameter.518 The claims thus do not merely require an increase, they

  require that the administering cause that increase.519 Because Faria-Urbina 2018 has limitations




  516
       Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  517
      Supra § VIII; ’327 Patent; D.I. 155.
  518
      Supra § VIII; ’327 Patent; D.I. 155.
  519
      Supra § VIII; ’327 Patent; D.I. 155.

                                                   121
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 156 of 455 PageID
                                            #: 34426



  preventing a conclusion that the methods described in that article cause the increases, it cannot

  meet these claims either.520

         279.    That is because, as detailed above, Faria-Urbina 2018 failed to demonstrate any

  inhaled treprostinil treatment effect, including 6MWD.521 Faria-Urbina 2018 reported change

  scores for 6MWD, which achieved statistical significance as detailed above. Yet that analysis

  cannot demonstrate a treatment effect.522 As detailed above, observed change scores can arise

  entirely from other causes beyond the inhaled treprostinil administration.523 For instance, Faria-

  Urbina 2018 reports that “[t]herapies related to the underlying lung disease were continued

  throughout the observation period” and the reported changes could be due to these other treatments

  instead of due to treprostinil.524 As detailed above, other possible factors contributing to favorable

  changes in 6MWD that are unrelated to treprostinil administration include favorable patient

  selection, other PH drugs added to treprostinil during treatment such as sildenafil or tadalafil,

  placebo effects, physician or patient expectation, natural disease course, and systematic selection

  of which treprostinil patients to analyze and which to discard. As a result, Faria-Urbina 2018 fails

  to teach that the observed changes in 6MWD are provided by administering inhaled treprostinil

  and thus fails to teach that element of claims 2-3 and 17-19.525




  520
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  521
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  522
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  523
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  524
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  525
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.

                                                   122
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 157 of 455 PageID
                                            #: 34427



         280.    Second, statistical comparison of changes in 6MWD among highly selected

  patients all of whom received inhaled treprostinil may establish that those patients likely had real

  changes but cannot establish that those changes were a consequence of their common treatment,

  or that those changes were different from what comparably selected patients not treated with

  inhaled treprostinil would incur.526 Consequently, any statistical significance of changes in 6MWD

  in the selected patients reported by Faria-Urbina 2018 is addressing a different question—and is

  thus, irrelevant—to a determination whether inhaled treprostinil provides increases in 6MWD as

  compared to patients not receiving inhaled treprostinil.527

         281.    Third, Faria-Urbina 2018 reports no information about changes in 6MWD after 8

  weeks or 12 weeks of administering inhaled treprostinil, as all follow-up assessments of 6MWD

  were done only in patients with ≥ 3 months (13 weeks) follow-up.528 Moreover, the follow-up

  period varied from patient-to-patient at the discretion of the treating physician, so the interval from

  treatment to follow-up could have been as little as 13 weeks in some patients or substantially longer

  than 16 weeks.529 As a result, Faria-Urbina 2018 teaches nothing concerning 6MWD after 8, 12,

  or 16 weeks of treatment, and thus cannot anticipate claims 2-3 and 17-19.530




  526
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material. A randomized, double-blind, placebo-controlled, multi-center study
  based on substantially more than half a dozen patients would have the ability to determine that
  question, as the Faria-Urbina 2018 authors recognize in their call for large prospective trials to be
  conducted.
  527
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  528
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  529
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  530
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.

                                                   123
Case 1:23-cv-00975-RGA-SRF                Document 422 Filed 07/09/25            Page 158 of 455 PageID
                                                #: 34428



          282.    For these reasons, Faria-Urbina 2018 does not teach that administering inhaled

  treprostinil   according    to    the    method   of    claim   1   provides    “said   administering

  provides/increases.”531 As a result, Faria-Urbina 2018 fails to teach that a statistically significant

  increase in 6MWD is provided by administering inhaled treprostinil and thus fails to teach that

  element of claims 2-3 and 17-19.532

          283.    Claims 2-3, 17-19 of the ’327 patent are not anticipated by Faria-Urbina 2018.533

                         b.        Claim 6: “The method of claim 1, wherein said administering
                                   provides a statistically significant reduction of at least one
                                   exacerbations of the interstitial lung disease.”

          284.    Claim 6 is not anticipated by Faria-Urbina 2018 as it depends from claim 1, and

  claim 1 is not anticipated by Faria-Urbina 2018 as detailed above.534 As detailed above, a POSA

  would understand that the “said administering provides” claim language reflects that the

  “significant reduction of at least one exacerbations of the interstitial lung disease” outcome is also

  an inhaled treprostinil treatment effect.535 In this regard, Faria-Urbina 2018 teaches nothing

  concerning exacerbations and provides no information whatever about “reduction of at least one

  exacerbations of the interstitial lung disease.”536 Consequently, Claim 6 of the ’327 patent is not

  anticipated by Faria-Urbina 2018.537


  531
       Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  532
       Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  533
       Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  534
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1, XIII.A.2.a; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  535
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1, XIII.A.2.a; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  536
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1, XIII.A.2.a; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.
  537
      Supra §§ VII, VIII, IX.E, XI.B.4, XIII.A.1, XIII.A.2.a; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material.

                                                    124
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 159 of 455 PageID
                                           #: 34429



  XIV. THE ASSERTED CLAIMS OF THE ’327 PATENT ARE NOT OBVIOUS

         285.    Dr. Channick’s report frequently cites to materials, e.g., depositions from this

  litigation, in its treatment of obviousness.538 Because these materials would not have been available

  to the POSA, these materials do not support Dr. Channick’s positions.

         A.      Asserted Claims 9-10 of the ’327 Patent Are Not Rendered Obvious by the
                 February 2020 Press Release in Combination with Saggar 2014 Because the
                 POSA Would Not Have a Reasonable Expectation of Success of Arriving at
                 the Claimed Methods.

         286.    Saggar 2014 and the February 2020 Press Release fail to teach claims 9 and 10 and

  a POSA would not have had a reasonable expectation of success of arriving at the claimed methods

  in view of Saggar 2014 in combination with the February 2020 Press Release.539 As detailed above,

  the “said administering provides” and “said administering improves” claim language reflect that

  the FVC outcomes are also inhaled treprostinil treatment effects.540 Accordingly, an inhaled

  treprostinil treatment effect is required by claims 9 and 10.541 As detailed above, Saggar 2014 fails

  to disclose this, and the February 2020 Press Release discloses no results covering FVC.542 As

  detailed above, Dr. Channick argues that Saggar 2014 and the ’327 patent is an apples-to-apples

  comparison with respect to reported FVC results.543 Yet the difference between the data reported

  by Saggar 2014 and the study disclosed in the ’327 patent is vast as detailed above.544 In short, one

  provides information regarding a change score—that is Saggar 2014 because it is a single-arm

  study—and one provides data regarding an inhaled treprostinil treatment effect—the ’327


  538
      Channick Op. Rep. ¶¶ 218-221.
  539
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Press Release, United Therapeutics
  Announces INCREASE Study of Tyvaso® Meets Primary and All Secondary Endpoints (Feb. 24,
  2020) (UTC_LIQ00063612) (“Feb. 2020 Press Release”).
  540
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  541
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  542
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  543
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  544
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.

                                                  125
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 160 of 455 PageID
                                            #: 34430



  patent.545 So, the inhaled treprostinil treatment effect with respect to FVC is absent from both

  Saggar 2014 and the February 2020 Press Release.546 For at least that reason, claims 9 and 10 are

  nonobvious over Saggar 2014 and the February 2020 Press Release.547

         287.    Moreover, a POSA would not have had a reasonable expectation of success of

  arriving at the claimed methods.548 That is because there would not have been a motivation to

  combine or reasonable expectation of success at arriving at the claimed methods.549 As explained

  above, Saggar 2014 expressly informs the POSA not to rely on the reported FVC data.550 Saggar

  2014 states that “[t]here were no significant changes in PFT parameters following 12 weeks of

  treprostinil.”551 Saggar 2014 also states “[i]mportantly, pulmonary function (i.e., degree of PF)

  remained unaltered during the study and did not likely confound these findings.”552 These

  statements from Saggar 2014 speak for themselves.553 Additionally, there would be no expectation

  that a clinical trial investigating the impact of a vasodilator on lung function would succeed.554 In

  fact, even the INCREASE inventors relegated FVC to a safety outcome measure.555

         288.    In view of the limitations of the Saggar 2014 study detailed above, and the fact that

  the February 2020 Press Release does not and cannot fill in the deficiencies of Saggar 2014, an

  inhaled treprostinil treatment effect with respect to FVC is not in the art that Liquidia cites.556 The




  545
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  546
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  547
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  548
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  549
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  550
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  551
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  552
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  553
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  554
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  555
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  556
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.

                                                   126
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 161 of 455 PageID
                                           #: 34431



  POSA would not have been motivated to combine Saggar 2014 with the February 2020 Press

  Release, and there would not have been a reasonable expectation of success at arriving at the

  claimed methods.557 Consequently, the POSA would conclude that Claim 9 and 10 of the ’327

  patent are nonobvious.558

         B.      Asserted Claims 1–11 and 14–19 of the ’327 Patent Are Not Rendered
                 Obvious by the ’793 Patent in Combination with Faria-Urbina 2018.

                 1.      Claim 1, 11, and 14-16 of the ’327 Patent Is Not Obvious
                         Over the ’793 Patent in Combination with Faria-Urbina
                         2018.

         289.    The limitations of Faria-Urbina 2018 are discussed in detail above.559 As discussed

  above, the ’793 patent does not disclose improved exercise capacity or any of the other claim

  outcomes, and the ’793 patent does not disclose any data concerning exercise capacity in PH-ILD

  patients.560 Moreover, the studies disclosed in the ’793 patent are entirely distinct from the multi-

  center, double-blind, randomized, prospective trial that is the INCREASE study.561

         290.    As discussed above, an inhaled treprostinil treatment effect is absent from Faria-

  Urbina 2018, and an inhaled treprostinil treatment effect is absent from the ’793 patent.562

  Accordingly, Claim 1 is not obvious over Faria-Urbina 2018 in combination with the ’793

  patent.563 This is at least because improving exercise capacity with inhaled treprostinil is missing



  557
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  558
      Supra §§ VII, VIII, IX.B, XI.B.1, X, XIII; Saggar 2014; Feb. 2020 Press Release.
  559
       Supra §§ VII, VIII, IX, XI.B, X, XIII285; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  560
       Supra §§ VII, VIII, IX, XI.B, X, XIII285; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  561
       Supra §§ VII, VIII, IX, XI.B, X, XIII285; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  562
       Supra §§ VII, VIII, IX, XI.B, X, XIII285; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  563
       Supra §§ VII, VIII, IX, XI.B, X, XIII285; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.

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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 162 of 455 PageID
                                           #: 34432



  from the cited art, and claims 2-11 and 14-19 should be nonobvious because they depend from

  claim 1.564 Yet the treatment effects that correspond to claims 2-10 and 17-19 are not in the art as

  detailed above either, and thus these claims should be individually nonobvious.565 The POSA

  would not have had a reasonable expectation of success in arriving at the claimed methods.566 In

  particular there would not have been a reasonable expectation of success conducting the clinical

  trial required to discover a treatment effect with respect to improved exercise capacity or any of

  the other claimed out comes.567 As noted above, Faria-Urbina 2018 appropriately voiced the

  limitations of its chart review, advising that the “[r]esults should be interpreted carefully in view

  of the small sample size.”568 As I have discussed above, the authors concluded that a “potential

  role of inhaled PH-specific drugs in Group 3 PH should be further assessed in large prospective

  studies.”569 A POSA would also be aware of the very next sentence in which the authors warn:

  “[u]ntil then, [inhaled treprostinil’s] use in Group 3 PH should be cautiously evaluated in

  specialized PH Centers, after an individualized assessment and risk-benefit consideration.”570 A

  POSA would know or be informed that the next step forward does not come with a reasonable




  564
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  565
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  566
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  567
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  568
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  569
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  570
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.

                                                  128
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 163 of 455 PageID
                                           #: 34433



  expectation of success.571 A POSA would not be buoyed by the ’793 patent as that patent does not

  address exercise capacity (or any other claimed outcome) at all and masks PH-ILD data amongst

  data reported in aggregate.572 Additionally, the ’793 patent only reflects one dose administered

  during a right heart catheter, offering no relevant guidance to the POSA in that regard.573

         291.    As detailed above, Faria-Urbina 2018 has a number of limitations that render

  conclusions concerning the results of administering inhaled treprostinil in patients with PH-ILD

  potentially misleading and speculative at best.574 Among these limitations are: no comparison to

  comparable patients who could have been but were not prescribed inhaled treprostinil; conclusions

  based on an extremely small sample size of only 3 ILD patients and 3 CPFE patients; conclusions

  concerning exercise capacity (6MWD) are based on only half of the patients considered for data

  analysis; the authors draw no conclusion concerning any outcomes in PH-ILD patients; and

  patients that were considered for data analysis had been highly selected from a broader group of

  PH patients treated with inhaled treprostinil in a manner that would predispose to favorable

  outcomes.575 No results are reported on the combined results from the ILD and CPFE patients.576

  Thus, Faria-Urbina 2018 does not disclose a method that, when practiced, improves exercise




  571
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  572
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  573
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  574
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  575
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  576
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;            Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.

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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 164 of 455 PageID
                                             #: 34434



  capacity as compared to not practicing the method.577 Nor does it do so specifically in patients

  “having pulmonary hypertension associated with interstitial lung disease” as opposed to

  pulmonary hypertension of other etiologies such as COPD.578

          292.    The ’793 patent does not remedy this deficiency.579 By a large margin, the majority

  of patients included in the studies disclosed in the ’793 patent were not patients with PH-ILD, and

  that patent discloses no information whatsoever about exercise capacity in any group of patients,

  much less PH-ILD patients.580 Indeed, all the measurements on study subjects disclosed in the ’793

  patent are taken within 3 hours of a single administration of inhaled treprostinil.581 Also, all clinical

  improvements related to exercise capacity cited in the specification of the ’327 Patent concern

  improvements over a period of weeks.582

          293.    The ’793 patent discloses no information specifically about PH-ILD patients, and

  it discloses no information that would address the failings of the 6MWD data disclosed Faria-

  Urbina 2018.583 For these reasons, neither reference, alone or in combination, discloses the

  elements of (a) improving exercise capacity in (b) PH-ILD patients.584 Consequently, Claim 1 of




  577
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  578
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  579
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  580
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  581
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  582
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  583
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  584
      Supra §§ VII, VIII, IX, XI.B, X, XIII285;               Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.

                                                    130
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 165 of 455 PageID
                                           #: 34435



  the ’327 patent is nonobvious over Faria-Urbina 2018 and the ’793 patent. Claims 11 and 14-16

  are nonobvious because they depend from claim 1.585

                 2.      Claims 2-3, 7-8, and 17-19 Are Not Obvious Over ’793
                         Patent in Combination with Faria-Urbina 2018.

         294.    Claims 2-3 and 17-19. Claims 2-3 and 17-19 are not obvious over Faria-Urbina

  2018 and the ’793 patent because they depend from claim 1, and claim 1 is not obvious over Faria-

  Urbina 2018 and the ’793 patent.586 Nonetheless, these claims are individually nonobvious. As

  discussed above, all of these claims require that the claimed methods’ “administering” step

  “provide[]” or “increase[]” a parameter.587 The claims thus do not merely require an increase, they

  require that the administering cause that increase.588 As also discussed above, Faria-Urbina 2018

  has limitations preventing a conclusion that any methods disclosed therein cause the increases.589

  That is because, as detailed above, Faria-Urbina 2018 failed to demonstrate any inhaled treprostinil

  treatment effect, including 6MWD; any statistical significance of changes in 6MWD in the

  reported by Faria-Urbina 2018 is addressing a different question than claims 2-3 and 17-19; and

  Faria-Urbina 2018 teaches nothing concerning 6MWD after 8, 12, or 16 weeks of treatment.590

         295.    As discussed above, the ’793 patent masks any PH-ILD data by presenting results

  in aggregate, discloses no information beyond 180 minutes, and discloses nothing concerning



  585
       Supra §§ VII, VIII, IX, XI.B, X, XIII285; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  586
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  587
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  588
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  589
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  590
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.

                                                  131
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 166 of 455 PageID
                                            #: 34436



  6MWD.591 Therefore, the ’793 patent does not remedy the deficiencies in Faria-Urbina 2018.592

  As discussed above, Faria-Urbina 2018 would not provide a POSA a reasonable expectation of

  success at obtaining the claimed methods, and the ’793 patent does not cure this deficiency.593

         296.    Consequently, Claims 2-3 and 17-19 of the ’327 patent are not rendered obvious by

  Faria-Urbina 2018 in combination with the ’793 patent.594

         297.    Claims 7-8. Claims 7-8 are not obvious over Faria-Urbina 2018 and the ’793 patent

  because they depend from claim 1, and claim 1 is not obvious over Faria-Urbina 2018 and the ’793

  patent. Nonetheless, these claims are individually nonobvious.595 As detailed above, a POSA

  would understand that the “said administering provides” claim language reflects that the

  “statistically significant reduction of clinical worsening events due to the interstitial lung disease”

  outcome is also an inhaled treprostinil treatment effect.596 As discussed above, neither Faria-

  Urbina 2018 nor the ’793 patent teach clinical worsening events due to the interstitial lung

  disease.597 As detailed above, neither reference teaches an inhaled treprostinil treatment effect with

  respect to clinical worsening events due to the interstitial lung disease.598 As detailed above, a




  591
      Supra §§ VII, VIII, IX, XI.B, X, XIII, XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  592
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  593
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  594
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  595
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  596
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  597
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  598
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.

                                                   132
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 167 of 455 PageID
                                            #: 34437



  POSA would not have a reasonable expectation of success of arriving at the claimed methods.599

  That is at least because a POSA would not expect treprostinil to have a treatment effect with respect

  to interstitial lung disease.600 Consequently, claims 7 and 8 of the ’327 patent are not rendered

  obvious by Faria-Urbina 2018 in combination with the ’793 patent.601

          C.      Asserted Claims 4-5, 6, and 9-10 of the ’327 patent are not rendered obvious
                  by Faria-Urbina 2018 in combination with the ’793 patent and Saggar 2014.

          298.    Claims 4 and 5. Claims 4-5 are not obvious over Faria-Urbina 2018, Saggar 2014,

  and the ’793 patent as they depend from claim 1, and claim 1 is not obvious over Faria-Urbina

  2018, Saggar 2014, and the ’793 patent.602 Claim 1 is not obvious over Faria-Urbina 2018, Saggar

  2014, and the ’793 patent because Saggar 2014 does not cure the deficiencies Faria-Urbina 2018,

  and the ’793 patent combination.603 For example, Saggar 2014 does not disclose inhaled

  treprostinil.604 Moreover, as detailed above, Saggar 2014 fails to disclose a parenteral treprostinil

  treatment effect because it too is a single-arm analysis and the study’s other features—open label,

  single-center, small sample size—further evidence that Saggar 2014 does not disclose a parenteral

  treprostinil treatment effect.605




  599
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  600
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  601
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B.1; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016.
  602
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  603
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  604
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  605
      Supra §§ VII, VIII, IX, XI.B, X, XIII, XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.

                                                  133
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 168 of 455 PageID
                                           #: 34438



         299.    Yet claims 4 and 5 are individually nonobvious.606 As detailed above, a POSA

  would understand that the “said administering provides” and “said administering reduces” claim

  language reflects that the “plasma concentration of NT-proBNP” outcome is also an inhaled

  treprostinil treatment effect.607 In this regard, neither Faria-Urbina 2018 nor the ’793 patent teach

  anything regarding NT-proBNP.608 Saggar 2014 is also deficient, failing to teach inhaled

  treprostinil and NT-proBNP.609 Moreover, Saggar 2014 as detailed above does not teach a

  parenteral treprostinil treatment effect.610 Accordingly, neither Faria-Urbina 2018, the ’793 patent,

  nor Saggar 2014 teach all limitations of claim 4-5.611 Moreover there would not be a reasonable

  expectation of success that combining these three references would permit a POSA to arrive at the

  claimed methods.612

         300.    Claim 6. None of Faria-Urbina 2018, the ’793 patent, or Saggar 2014 disclose any

  information about exacerbations of the interstitial lung disease.613 Moreover, a POSA would not




  606
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  607
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  608
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  609
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  610
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  611
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  612
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  613
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.

                                                  134
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 169 of 455 PageID
                                           #: 34439



  have a reasonable expectation of success in combining Faria-Urbina 2018, the ’793 patent, and

  Saggar 2014 to arrive at the methods of Claim 6 of the ’327 patent.614

         301.    Claims 9 and 10. Saggar 2014 discloses no statistically significant change in FVC

  nor any specific volume change in FVC, which teaches away from claims 9-10.615 In addition,

  Faria-Urbina 2018 reports reduced percent predicted FVC, which also teaches away from claims

  9-10. Also, as detailed above, there would be no reasonable expectation of success to achieve an

  inhaled treprostinil treatment effect with respect to the interstitial lung disease.616 Dependent

  claims 4, 5, 6, 9, and 10 are not obvious over Faria-Urbina 2018 in combination with the ’793

  patent and Saggar 2014.617

         D.      Asserted Claims 1–11 and 14–19 of the ’327 Patent Are Not Rendered
                 Obvious by the ’793 Patent in Combination with Agarwal 2015.

                 1.     Claim 1, 11, and 14–16 of the ’327 Patent Is Not
                        Obvious Over the ’793 Patent in Combination with
                        Agarwal 2015.

         302.    As detailed above, Agarwal 2015 fails to disclose an inhaled treprostinil treatment

  effect.618 That is Agarwal 2015 cannot disclose an inhaled treprostinil treatment effect because it

  reports data generated by single-arm, single-center, open-label, retrospective chart review.619 A

  POSA would understand or a biostatistician like myself would inform a POSA that this is one of



  614
       Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  615
       Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  616
       Supra §§ VII, VIII, IX, XI.B, X, XIII285, XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Parikh 2016; Saggar 2014.
  617
       Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.B; Faria-Urbina 2018; Faria-Urbina 2018
  Supplementary Material; ’793 Patent; Saggar 2014; ’327 patent at 54:23-33, 54:42-49.617 Supra
  §§ VII-VIII, IX, XI.B, X, XIII, 285-XIV.B; Faria-Urbina 2018; Faria-Urbina 2018 Supplementary
  Material; ’793 Patent; Saggar 2014; ’327 patent at 54:23-33, 54:42-49.
  618
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285-XIV.C; see Agarwal 2015 at _009828.
  619
      Id.

                                                 135
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 170 of 455 PageID
                                            #: 34440



  the critical limitations of a single-arm chart review.620 A single-arm study can only produce change

  scores—i.e., the differences between patients’ respective baselines and follow-up visits.621 Tests

  of statistical significance in change scores in patients that received the same treatment under study

  (inhaled treprostinil in this chart review) cannot be used to draw inferences about the effectiveness

  of that treatment.622 Therefore a POSA would know or be informed that Agarwal 2015 does not

  disclose an inhaled treprostinil treatment effect.623 Accordingly, Agarwal 2015 does not disclose

  administering inhaled treprostinil to a patient having pulmonary hypertension associated with

  interstitial lung disease intending to improve exercise capacity.624

            303.   As detailed above, the fact that the chart review Agarwal 2015 reports is also a

  single-center, open label, retrospective chart review introduces further limitations that a POSA

  would recognize as further support that Agarwal 2015 does not disclose an inhaled treprostinil

  treatment effect.625 The issues arising from these limitations cast doubt on whether, had all the PH-

  ILD and PH-CPFE patients been evaluated for exercise capacity, there would have been any

  positive changes at all in exercise capacity.626

            304.   For example, about 26% (9/35) of the followed patients were not included in the

  outcome assessments because they discontinued therapy for the reasons detailed above.627 Those

  patients that were excluded appear to have been systematically sicker than those ultimately

  included in the reported results, suggesting that the reported change scores are too optimistic.628



  620
      Id.
  621
      Id.
  622
      Id.
  623
      Id.
  624
      Id.
  625
      Id.
  626
      Id.
  627
      Id.
  628
      Id.

                                                     136
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25                Page 171 of 455 PageID
                                            #: 34441



  As noted above, only 21 patients had data on change in 6MWD, an unknown number of which had

  PH-ILD.629 Sample sizes for other outcome measures such as WHO functional class and BDI were

  not reported.630 As noted above, such a small sample in and of itself strongly suggests that the data

  reported by Agarwal 2015 are not representative of PH-ILD patients.631

         305.    There’s also concern that the chart review’s open label design impacted the reported

  data, especially since the chart review was carried out at a single site.632

         306.    Additionally, while not noted in Agarwal 2015, a March 2015 presentation given

  by Dr. Waxman, one of the authors of Agarwal 2015, indicates that 15 patients received dual

  therapy for at least a portion of the study, and “tolerated the addition of a systemic pulmonary

  vasodilator (PDE5i).”633

         307.    Agarwal 2015 does not disclose improved exercise capacity as compared to

  placebo.634 Even the 6MWD data that Agarwal 2015 reports cannot be reliably said to represent

  the results in PH-ILD patients.635 This is partly because the PH-ILD patients were not clearly

  broken out in the report, and this is in part because patients in whom the drug was ineffective were

  never measured for changes in 6MWD and were not included in the reported results.636

         308.    For these reasons, Agarwal 2015 does not teach performing a method of improving

  exercise capacity in a patient having pulmonary hypertension associated with interstitial lung




  629
      Id.
  630
      Id.
  631
      Id.
  632
      Id.
  633
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; March 2015 Presentation at 082508.
  634
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; Agarwal 2015 at 009828.
  635
      Id.
  636
      Id.; Agarwal 2015; ’793 patent; Parikh 2016.

                                                   137
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 172 of 455 PageID
                                            #: 34442



  disease by administering inhaled treprostinil.637 Similarly, Agarwal 2015 fails to report or disclose

  an inhaled treprostinil treatment effect.638

         309.    As detailed above, the ’793 patent does not disclose any data concerning exercise

  capacity in PH-ILD patients.639 Moreover, the studies disclosed in the ’793 patent are entirely

  distinct from the multi-center, double-blind, randomized, prospective trial that is in the

  INCREASE study.640

         310.    As discussed above, an inhaled treprostinil treatment effect is absent from Agarwal

  2015.641 And, as discussed above an inhaled treprostinil treatment effect is absent from the ’793

  patent.642 Accordingly, Claim 1 is not obvious over Agarwal 2015 and the ’793 patent.643 This is

  at least because improving exercise capacity with inhaled treprostinil is missing from the cited art,

  and claims 2-11 and 14-19 should be nonobvious because they depend from claim 1.644 Yet inhaled

  treprostinil treatment effects corresponding to claims 2-10 and 17-19 are not in the art either as

  detailed above, and thus these claims are individually nonobvious.645

         311.    The POSA would not have had a reasonable expectation of success in arriving at

  the claimed methods.646 There was no expectation of success that the clinical trial required to

  demonstrate an inhaled treprostinil treatment effect with respect to improved exercise capacity or




  637
      Id.
  638
      Id.
  639
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; ’793 patent at 009772-009796.
  640
      Id.
  641
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; Agarwal 2015 at 009828.
  642
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; see also ’793 patent at 009772-009796.
  643
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; Agarwal 2015 at 009828; ’793 patent at
  009772-009796; ’327 patent at 54:6-14.
  644
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; ’327 patent at 54:15-49, 54:57-55:9.
  645
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; ’327 patent at 54:15-49, 55:1-9.
  646
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C.

                                                  138
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 173 of 455 PageID
                                           #: 34443



  any of the other claimed outcomes.647 Agarwal 2015, which a POSA would recognize a merely an

  abstract, concludes “[a] prospective trial is indicated.”648 A POSA would know or be informed that

  this step does not come with a reasonable expectation of success.649 Moreover, a POSA would not

  be buoyed by the ’793 patent—a patent that does not address exercise capacity (or any other

  claimed outcome) at all and for which any PH-ILD data is masked amongst data reported in

  aggregate.650 A POSA would also understand that the ’793 patent only reflects data from one dose

  administered during a right heart catheter. Therefore, a POSA would find no guidance relevant or

  otherwise in the ’793 patent.651

         312.    As detailed above, claim 1 of the ’327 patent is not obvious over Agarwal 2015 in

  combination with the ’793 patent, and claims 11 and 15-16 are not obvious as they depend from

  claim 1.652

                 2.      Dependent Claims 2-3, 7-8, and 17-19 Are Not Obvious
                         Over the ’793 Patent in Combination with Agarwal
                         2015.

         313.    Claims 2-3 and 17–19. Claims 2-3 and 17-19 are not obvious over Agarwal 2015

  and the ’793 patent because they depend from claim 1, and claim 1 is not obvious over Agarwal

  2015 and the ’793 patent.653 Nonetheless, these claims are individually nonobvious. As discussed

  above, all of these claims require that the claimed methods’ “administering” step “provide[]” or




  647
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; see also Agarwal 2015 at 009828.
  648
      Id.
  649
      Supra §§ VII, VIII, IX, XI.B, X, XIII,285 XIV.B, XIV.C.
  650
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; ’793 patent at 009772-009796.
  651
      Id.
  652
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C; Agarwal 2015 at 009828; ’793 patent at
  009772-009796; ’327 patent at 54:6-14, 54:50-51, 54:61-67.
  653
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; Agarwal 2015 at 009828; ’793
  patent at 009772-009796; ’327 patent at 54:15-22, 55:1-9.

                                                 139
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 174 of 455 PageID
                                            #: 34444



  “increase[]” a parameter.654 The claims thus do not merely require an increase, they require that

  the administering cause that increase.655 As also discussed above, Agarwal 2015 has limitations

  preventing a conclusion that the methods described in that abstract cause the increases.656 That is

  because, as detailed above, Agarwal 2015 failed to demonstrate any inhaled treprostinil treatment

  effect, including 6MWD.657 Therefore any statistical significance of changes in 6MWD in the

  selected patients reported by Agarwal 2015 is addressing a different question than claims 2-3 and

  17-19; and Agarwal 2015 teaches nothing concerning 6MWD after 8, 12, or 16 weeks of

  treatment.658

         314.     Consequently, Claims 2-3, and 17–19 of the ’327 patent are not obvious over

  Agarwal 2015 in combination with the ’793 patent.659

         315.     Claims 7-8. Claims 7-8 are not obvious over Agarwal 2015 and the ’793 patent

  because they depend from claim 1, and claim 1 is not obvious over Agrawal 2015 and the ’793

  patent.660 Nonetheless, these claims are individually nonobvious. As detailed above, a POSA

  would understand that the “said administering provides” claim language reflects that the

  “statistically significant reduction of clinical worsening events due to the interstitial lung disease”

  outcome is also an inhaled treprostinil treatment effect.661 As discussed above, neither Agarwal



  654
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B, XIV.C, XIV.D.1; ’327 patent at 54:15-22,
  55:1-9.
  655
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B, XIV.C, XIV.D.1; ’327 patent at 54:15-22,
  55:1-9.
  656
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; Agarwal 2015 at 009828.
  657
      Id.
  658
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; see also Agarwal 2015 at 009828;
  ’327 patent at 54:15-22, 55:1-9.
  659
       Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B, XIV.C, XIV.D.1; Agarwal 2015 at
  009828;’793 patent at 009772-009796; ’327 patent at 54:15-22, 55:1-9.
  660
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; Agarwal 2015 at 009828; ’793
  patent at 009772-009796; ’327 patent at 54:34-41.
  661
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; ’327 patent at 54:34-36.

                                                   140
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 175 of 455 PageID
                                           #: 34445



  2015 nor the ’793 patent teach clinical worsening events due to the interstitial lung disease.662 As

  detailed above, neither reference teaches an inhaled treprostinil treatment effect with respect to

  clinical worsening events due to the interstitial lung disease.663 As detailed above, a POSA would

  not have had a reasonable expectation of success of arriving at the claimed methods.664 That is at

  least because a POSA would not expect treprostinil to have a treatment effect with respect to

  interstitial lung disease.665 Consequently, claims 7 and 8 of the ’327 patent are not rendered

  obvious by Agarwal 2015 in combination with the ’793 patent.666

         E.      Asserted Claims 4-5, 6, and 9-10 of the ’327 patent are not rendered obvious
                 by the ’793 patent in combination with Agarwal 2015 and Saggar 2014.

         316.    Claims 4 and 5. Claims 4-5 are not obvious over Agarwal 2015, Saggar 2014, and

  the ’793 patent as they depend from claim 1, and claim 1 is not obvious over Agarwal 2015, Saggar

  2014, and the ’793 patent.667 Claim 1 is not obvious over Agarwal 2015, Saggar 2014, and the

  ’793 patent because Saggar 2014 does not cure the deficiencies Agarwal 2015, and the ’793 patent

  combination.668 For example, Saggar 2014 does not disclose inhaled treprostinil.669 Moreover, as

  detailed above, Saggar 2014 fails to disclose a parenteral treprostinil treatment effect because it

  too is a single-arm analysis and the study’s other features—open label, single-center, small sample


  662
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; Agarwal 2015 at 009828; ’793
  patent at 009772-009796.
  663
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; Agarwal 2015 at 009828; ’793
  patent at 009772-009796; Parikh 2016 at 010599-010610.
  664
      Id.
  665
      Id.
  666
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.C, XIV.D.1; Agarwal 2015 at 009828; ’793
  patent at 009772-009796; ’327 patent at 54:34-41.
  667
      Supra §§ VII, VIII, IX, XI.B, X, XIII, 285XIV.B, XIV.C, XIV.D; Agarwal 2015 at 009828;
  ’793 patent at 009772-009796; Parikh 2016 at 010599-010610; Saggar 2014 at 00000226-
  00000246; ’327 patent at 54:6-14, 54:23-30.
  668
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.D; Agarwal 2015 at 009828; ’793 patent at
  009772-009796; Parikh 2016 at 010599-010610; Saggar 2014 at 00000226-00000246; ’327 patent
  at 54:6-14.
  669
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285-XIV.D; Saggar 2014 at 00000226-00000246.

                                                  141
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 176 of 455 PageID
                                           #: 34446



  size—further evidence that Saggar 2014 does not disclose a parenteral treprostinil treatment

  effect.670

          317.   Yet claims 4 and 5 are individually nonobvious. As detailed above, a POSA would

  understand that the “said administering provides” and “said administering reduces” claim language

  reflects that the “plasma concentration of NT-proBNP” outcome is also an inhaled treprostinil

  treatment effect.671 In this regard, neither Agarwal 2015 nor the ’793 patent teach anything

  regarding NT-proBNP.672 Saggar 2014 is also deficient, failing to teach inhaled treprostinil and

  NT-proBNP.673 Moreover, Saggar 2014 as detailed above does not teach a parenteral treprostinil

  treatment effect.674 Accordingly, neither Agarwal 2015, the ’793 patent, nor Saggar 2014 teach all

  limitations of claim 4-5.675 Moreover, there would not be a reasonable expectation of success that

  combining these three references would permit a POSA to arrive at the claimed methods.676

          318.   Claim 6. None of Agarwal 2015, the ’793 patent, or Saggar 2014 disclose any

  information about exacerbations of the interstitial lung disease.677 Moreover, a POSA would not

  have a reasonable expectation of success in combining Agarwal 2015, the ’793 Patent, and Saggar

  2014 to arrive at the methods of Claim 6 of the ’327 patent.678




  670
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285-XIV.D; Saggar 2014 at 00000226-00000246.
  671
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285-XIV.D; Agarwal 2015 at 009828; ’793 patent at
  009772-009796; ’327 patent at 54:23-25, 54:27-28.
  672
      Supra §§ VII-VIII, IX, XI.B, X, XIII, XIV.D285; Agarwal 2015 at 009828; ’793 patent at
  009772-009796.
  673
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.D; Saggar 2014 at 00000226-00000246.
  674
      Id.
  675
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.D; Agarwal 2015 at UTC_PH-ILD_009828;
  ’793 patent at 009772-009796; Parikh 2016 at 010599-010610; Saggar 2014 at 00000226-
  00000246; ’327 patent at 54:23-30.
  676
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285XIV.D; see also Agarwal 2015 at 009828; ’793 patent
  at 009772-009796; Parikh 2016 at 010599-010610; Saggar 2014 at 00000226-00000246.
  677
      Id.
  678
      Id.; ’327 patent at 54:31-33.

                                                 142
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 177 of 455 PageID
                                           #: 34447



         319.    Claims 9 and 10. As detailed above, Saggar 2014 teaches away from claims 9-10.

  In addition, Agarwal 2015 discloses nothing concerning changes in FVC, over its 6-month follow-

  up period.679 Also as detailed above, there would be no reasonable expectation of success to

  achieve an inhaled treprostinil treatment effect with respect to the interstitial lung disease.680

  Dependent claims 4, 5, 6, 9, and 10 are not obvious over Agarwal 2015 in combination with the

  ’793 patent and Saggar 2014.681

  XV.    CONCLUSIONS

         320.    As set forth above, it is my opinion that:

                Dr. Channick’s conclusions concerning what the prior art teaches are based on a
                 severe misunderstanding of clinical study design that ignores fundamental
                 limitations to what the prior art can demonstrate to a POSA. Based on the POSA’s
                 medical education and training the POSA would understand that these limitations
                 prevent the hindsight driven conclusions that Dr. Channick reaches.

                Faria-Urbina 2018, Agarwal 2015, Saggar 2014, and Parikh 2016 each only report
                 uncontrolled, i.e., single-arm, analyses, and thus are statistically unable to
                 demonstrate any treatment effect resulting from administering inhaled treprostinil.

                A POSA would know or be informed by a biostatistician that the respective single-
                 arm studies reported by Faria-Urbina 2018, Agarwal 2015, Saggar 2014, and Parikh
                 2016 suffer from severe undersampling, and thus the data and results generated by
                 each study lacks generalizability to the analyzed patient populations, which was
                 expressly not even the pulmonary hypertension associated with interstitial lung
                 disease population in the respective studies reported by Faria-Urbina 2018,
                 Agarwal 2015, and Parikh 2016.

                A POSA would know or be informed by a biostatistician that the respective single-
                 arm studies reported by Faria-Urbina 2018, Agarwal 2015, Saggar 2014, and Parikh
                 2016 suffered from bias, especially selection bias, and thus the data produced from
                 these studies lack reliability and generate overstated results.




  679
      Agarwal 2015 at 009828.
  680
      Supra §§ VII-VIII, IX, XI.B, X, XIII, 285-XIV.D; Agarwal 2015 at 009828; ’793 patent at
  009772-009796; Parikh 2016 at 010599-010610; Saggar 2014 at 0000226-00000246.
  681
      Id.; ’327 patent at 54:23-33, 54:42-49.

                                                  143
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25               Page 178 of 455 PageID
                                          #: 34448



              Faria-Urbina 2018, Agarwal 2015, Saggar 2014, and Parikh 2016 would not have
               demonstrated to prescribing physicians as of the priority date that inhaled
               treprostinil improves exercise capacity in patients with PH-ILD.

              Faria-Urbina 2018 does not anticipate claims 1-3, 6, 11, and 15-19 of the ’327
               patent at least because it is not statistically possible and because the data and results
               it produced lack generalizability and reliability and are overstated due at least to
               selection bias.

              The February 2020 Press Release in combination with Saggar 2014 does not render
               claims 9-10 of the ’327 patent obvious at least because it is not statistically possible
               for Saggar 2014 to demonstrate an inhaled treprostinil treatment effect with respect
               to FVC, and because the data and results it produced lack generalizability and
               reliability, and are overstated due at least to selection bias, and because the ’793
               patent cannot cure these deficiencies, and because a POSA would not have a
               reasonable expectation of success that the type of studies necessary to demonstrate
               an inhaled treprostinil treatment effect would do so.

              The ’793 patent in combination with Faria-Urbina 2018 does not render claims 1-
               11 and 14-19 of the ’327 patent obvious at least because it is not statistically
               possible for Faria-Urbina 2018 to demonstrate an inhaled treprostinil treatment
               effect and because the data and results it produced lack generalizability and
               reliability, and are overstated due at least to selection bias, and because the ’793
               patent cannot cure these deficiencies, and because a POSA would not have a
               reasonable expectation of success that the type of studies necessary to demonstrate
               an inhaled treprostinil treatment effect would do so.

              Faria-Urbina 2018 in combination with the ’793 patent and Saggar 2014 does not
               render claims 4, 5, 6, 9, and 10 of the ’327 patent obvious at least because it is not
               statistically possible for Faria-Urbina 2018 or Saggar 2014 to demonstrate an
               inhaled treprostinil treatment effect and because the data and results each produced
               lack generalizability and reliability, and are overstated due at least to selection bias,
               and because the ’793 patent cannot cure these deficiencies, and because a POSA
               would not have a reasonable expectation of success that the type of studies
               necessary to demonstrate an inhaled treprostinil treatment effect would do so.

              The ’793 patent in combination with Agarwal 2015 does not render claims 1-11
               and 14-19 of the ’327 patent obvious at least because it is not statistically possible
               for Agarwal to demonstrate an inhaled treprostinil treatment effect and because the
               data and results it produced lack generalizability and reliability, and are overstated
               due at least to selection bias, and because the ’793 patent cannot cure these
               deficiencies, and because a POSA would not have a reasonable expectation of
               success that the type of studies necessary to demonstrate an inhaled treprostinil
               treatment effect would do so.

              The ’793 patent in combination with Agarwal 2015 and Saggar 2014 does not
               render claims 4, 5, 6, 9, and 10 of the ’327 patent obvious at least because it is not

                                                 144
Case 1:23-cv-00975-RGA-SRF       Document 422 Filed 07/09/25               Page 179 of 455 PageID
                                       #: 34449



             statistically possible for Agarwal 2015 or Saggar 2014 to demonstrate an inhaled
             treprostinil treatment effect and because the data and results each produced lack
             generalizability and reliability, and are overstated due at least to selection bias, and
             because the ’793 patent cannot cure these deficiencies, and because a POSA would
             not have a reasonable expectation of success that the type of studies necessary to
             demonstrate an inhaled treprostinil treatment effect would do so.




                                              145
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25               Page 180 of 455 PageID
                                           #: 34450



  I declare under penalty of perjury that the foregoing is true and correct.




                                                        Ronald A. Thisted, Ph.D.




                                                  146
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 181 of 455 PageID
                                   #: 34451




                    EXHIBIT A
    Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25               Page 182 of 455 PageID
                                                   #: 34452


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                 2014–2018 Vice-Provost, Academic Affairs
                 2009–2018 Member, Committee on Clinical and Translational Science
                 2007–2014 Director, Population Sciences, Institute for Translational Medicine
                 2005–2018 Member, Center for Cognitive and Social Neuroscience
                 2001–2008 Member, Institute for Mind and Biology
                 2000–2014 Director, Biostatistics Core Facility, University of Chicago Cancer Research Center
                 1999–2012 Chairman, Department of Health Studies (now Public Health Sciences)
                 1999–2012 Co-Director, Clinical Research Training Program
                 1996–2018 Professor, Department of Public Health Sciences (Health Studies until 2014)
                 1993–1998 Co-Director, Robert Wood Johnson Clinical Scholars Program
                 1993–2018 Professor, Committee on Clinical Pharmacology and Pharmacogenomics
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Professional Societies:
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                        1994–1997 Electorate Nominating Committee, Section on Statistics
                  American Statistical Association (Elected Fellow, 1988)
                        1987–1989 Section on Statistical Graphics, Chair (1988)
                  Association for Computing Machinery
                  International Biometric Society, ENAR
                  Institute of Mathematical Statistics
                        1989–1993, 1999–2002 Management Committee, Current Index to Statistics
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                                                       7
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25               Page 189 of 455 PageID
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                                                       8
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25                Page 190 of 455 PageID
                                             #: 34460


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                                                      9
Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25                Page 191 of 455 PageID
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                                                       10
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 192 of 455 PageID
                                            #: 34462


                                    Selected Grants and Contracts
       R01 HD069500 Lauderdale, D (PI) 7/1/2011–8/31/2014 (NIH/NIA)
       Social Relationships, Economic Shocks, Sleep and Wellbeing Among Older Adults
       Role: Co-Investigator, Biostatistician
       P30 CA14599 Le Beau, M. (PI) 05/1/08–03/31/18 (NIH/NCI)
       UCCRC-Cancer Center Support Grant; Subproject: Biostatistics Facility
       Role: Scientific Director of Biostatistics
       UL1 TR000430 Solway, J. (PI) 9/17/07–05/31/17 (NIH)
       Clinical and Translational Science Award
       Roles: Population Sciences Cluster Director, Clinical Research Training Program Co-Director
       U01 DK62429 Cho, J (PI) 9/30/02–8/31/21 (NIH/NIDDK)
       IBD Genetics Consortium Data Coordinating Center
       Role: Director, Data Management Core (Site PI)
       HHSA 290-2007-10058 Meltzer, D (PI) 10/26/09–10/25/12 (AHRQ/ARRA/BCBS)
       American Recovery and Reinvestment Act of 2009: Comprehensive EPC Comparative Effec-
       tiveness Reviews for Effective Health Care
       Role: Statistical consultant
       R34 AI080962 Solway, J (PI) 9/4/08–8/31/09 (NIH/NIAID)
       Evaluation of Lovastatin in Severe Persistent Asthma (ELiSPA)
       Role: Co-Investigator, Biostatistician
       5K30 HL04093-02 Coe, F. (PI) 6/1/99–9/27/07 (NIH)
       Clinical Research Training Program
       Roles: Program Co-Director, Seminar Director
       P01 AG18911 Cacioppo, J. (PI) 7/1/01–6/30/06 (NIH)
       Social Isolation, Health and the Aging Process; Biostatistical Core B
       Role: Director, Biostatistics Core
       R01 CA92443-01 Meltzer, D. (PI) 9/1/01–8/31/04 (NIH)
       Cost-Effectiveness of Prostate Cancer Screen/Treatment
       Role: Advisory Panel
       R01 HS09982 Thisted, R. (PI) 9/15/99–8/31/03 (AHRQ)
       Patient Preferences for Disclosure: A National Survey
       Role: Principal Investigator (vice Levinson), Statistician
       R01 NS40229 Frank (PI) 9/18/99–6/30/03 (NIH)
       Hemicraniectomy for Swelling from Cerebral Infarction
       Role: Director, Data Coordinating Center
       Cassell, C. (PI) 7/1/93–6/30/95
       Thisted, R. (PI) 7/1/95–6/30/98
       Levinson, W. (PI) 7/1/98–6/30/01
       Lantos, J. (PI) 7/1/02–6/30/06 (Robert Wood Johnson Foundation)
       Clinical Scholars Program
       Role: Co-PI to 1998, Co-Director to 1999; Core-Faculty; Advisory Board




                                                     11
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25                 Page 193 of 455 PageID
                                            #: 34463


                                                 Teaching

       Recent Courses Taught
       2014 Health Studies 310: Epidemiologic Methods
            Health Studies 333: Longitudinal Data Analysis
            Health Studies 307: Clinical Epidemiology (Lecture: Meta-Analysis)
            Essentials of Patient-Oriented Research (Lecture: Study Design)
       2013 Health Studies 307: Clinical Epidemiology (Lecture: Experimental Study Design)
            Essentials of Patient-Oriented Research (Lecture: Study Design)
            Health Studies 333: Longitudinal Data Analysis
       2012 Health Studies 307: Clinical Epidemiology
            Health Studies 333: Longitudinal Data Analysis
            Seminar in Clinical Research Methods (20 weeks)
            Medicine 777: Advanced Clinical Pharmacology (Lecture: Pharmacoepidemiology)
       2011 Health Studies 329: Introduction to Clinical Trials
            Health Studies 333: Longitudinal Data Analysis
            Seminar in Clinical Research Methods (30 weeks)
            Medicine 777: Advanced Clinical Pharmacology (Lecture: Pharmacoepidemiology)
       2010 Health Studies 327: Biostatistical Methods
            Health Studies 333: Longitudinal Data Analysis
            Seminar in Clinical Research Methods (30 weeks)
            Medicine 777: Advanced Clinical Pharmacology (Lecture: Pharmacoepidemiology)
       2009 Health Studies 327: Biostatistical Methods
            Seminar in Clinical Research Methods (30 weeks)
            Medicine 777: Advanced Clinical Pharmacology (Lecture: Pharmacoepidemiology)
            Family Medicine 304: Epidemiology and Clinical Investigation (Lecture: Screening Tests)
       2008 Health Studies 327: Biostatistical Methods
            Seminar in Clinical Research Methods (30 weeks)
            Statistics 307/Computer Science 378: Numerical Computation
       2007 Health Studies 327: Biostatistical Methods
            Seminar in Clinical Research Methods (30 weeks)
            Medicine 777: Advanced Clinical Pharmacology (Lecture: Pharmacoepidemiology)
            Statistics 307/Computer Science 378: Numerical Computation
       2006 Health Studies 327: Biostatistical Methods
            Seminar in Clinical Research Methods (30 weeks)
            Medicine 777: Advanced Clinical Pharmacology (Lecture: Pharmacoepidemiology)
       2005 Statistics 307: Numerical Computation
            Seminar in Clinical Research Methods (30 weeks)
       2004 Health Studies 327: Biostatistical Methods
            Health Studies 541: Epidemiology and Clinical Investigation
                (Lecture: Chronic Disease Epidemiology)
            Medicine 777: Advanced Clinical Pharmacology (Lecture: Pharmacoepidemiology)
            Medicine 603: Critical Appraisal of Medical Literature (Lecture: Statistical issues)
            Seminar in Clinical Research Methods (30 weeks)
       2003 Health Studies 541: Epidemiology and Clinical Investigation
            Health Studies 327: Biostatistical Methods
            Medicine 777: Advanced Clinical Pharmacology (Lecture on Pharmacoepidemiology)

                                                     12
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25                 Page 194 of 455 PageID
                                            #: 34464


            Medicine 603: Critical Appraisal of Medical Literature (Lecture: Statistical issues)
            Seminar in Clinical Research Methods (30 weeks)
       2002 Health Studies 541: Epidemiology and Clinical Investigation
            Medicine 777: Advanced Clinical Pharmacology (Lecture on Pharmacoepidemiology)
            Medicine 603: Critical Appraisal of Medical Literature (Lecture: Statistical issues)
            Seminar in Clinical Research Methods (30 weeks)
       2001 Health Studies 541: Epidemiology and Clinical Investigation
            Statistics 224: Applied Regression Analysis
            Medicine 777: Advanced Clinical Pharmacology (Lecture on Pharmacoepidemiology)
            Medicine 603: Critical Appraisal of Medical Literature (Lecture: Statistical issues)
            Seminar in Clinical Research Methods (30 weeks)
       2000 Health Studies 541: Epidemiology and Clinical Investigation
            Statistics 224: Applied Regression Analysis
            Medicine 777: Advanced Clinical Pharmacology (Lecture on Pharmacoepidemiology)
            Seminar in Clinical Research Methods (30 weeks)
       1999 Statistics 307: Numerical Computation
            Statistics 226: Categorical Data Analysis
            Seminar in Clinical Research Methods (15 weeks)

                                            Refereeing, 2005–

       Annals of Statistics
       Annals of Applied Statistics
       Regulatory Pharmacology and Toxicology
       JAMA Oncology
       JAMA Psychiatry
       Journal of Clinical Oncology
       Journal of Surgical Research
       Neuropsychopharmacology
       Perspectives in Biology and Medicine
       PLoS ONE
       Statistics in Medicine
       NIH, Center for Scientific Review (Surgery, Anesthesiology and Trauma study section)
       NIH, Center for Scientific Review (Challenge Grant Editorial Panel HDM-P)
       NSF, Division of Mathematical Sciences
       Research Grants Council of Hong Kong




                                                     13
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 195 of 455 PageID
                                            #: 34465


                                        University Committees

       Current appointments:
       Emeriti Faculty Steering Committee, 2019–.
       University Benefits Committee, 2019–.

       Previous appointments (since 1982):
       Working Group on Innovation, Transparency, Conflict of Interest, 2015–2018.
       Compliance Committee, 2014–2018.
       Standing Committee on Academic Fraud, 2014–2018.
       Standing Committee on Individual Conflict of Interest 2015–2018.
       Steering Committee, Spring 2016 Climate Survey on Diversity and Inclusion, 2015–2016.
       ad hoc Committee for the Spring 2015 Climate Survey on Sexual Misconduct, 2015.
       Executive Committee, Center for Cognitive and Social Neuroscience, 2007–2015.
       Executive Committee, Institute of Translational Medicine (CTSA), 2007–2015.
       Committee on Appointments and Promotions, Biological Sciences Division, 2014.
       Data Stewardship Committee, University of Chicago Medicine, 2013–2014.
       Health Professions Faculty Advisory Committee, 2013–2014.
       Center for Research Informatics Oversight Committee, 2011–2014.
       Research Advisory Committee, University of Chicago Medicine, 2010–2014.
       Research Planning Review Committee, University of Chicago Medicine, 2012–2013.
       Committee of Basic Science Chairs, Biological Sciences Division, 1999–2012.
       Executive Committee, Clinical Research Training Program, 1999–2012.
       University of Chicago Medical Center, Budget Oversight Committee, 2007–2010.
       Executive Committee, Division of Biological Sciences, 2000–2009.
       ad hoc Faculty Science Review Committee, 2009.
       Committee of Clinical Chairs, Biological Sciences Division, 1999–2006.
       Advisory Committee, Robert Wood Johnson Clinical Scholars Program, 1999–2006.
       Executive Committee, University of Chicago Cancer Research Center, 2000–2005.
       Search Committee (Chair), Chairman of Department of Psychiatry, 2003–2004.
       Committee to Review Appointment and Promotion Criteria (BSD), 2003–2004.
       Tenure and Tracks Committee (BSD), 2003–2004.
       Committee to Advise the Provost on Federal Wide Assurance (Chair), 2003.
       Research Aims Committee, Division of Biological Sciences, 2002–2003.
       Search Committee, Chairman of Department of Obstetrics & Gynecology, 2000–2003.
       Committee to Advise the President on the Dean of the Biological Sciences Division, 2001–2002.
       Search Committee (Chair), Chairman of Department of Family Medicine, 2000–2002.
       Provost’s Committee on Medical Informatics, 2000–2001.
       Clinical Translational Advisory Group, Biological Sciences Division, 1999–2001.
       Co-chair, Committee on Law and Medicine, BSD and Law School, 1999–2000.
       Working Group on Clinical Data Sharing, 1999–2001.
       Executive Committee, Department of Anesthesia & Critical Care, 1994–1998.
       Institutional Review Board, Division of Biological Sciences, 1983–1986, 1987–1997.
       Faculty Campus Planning Committee, 1993–1996.
       College Curriculum Committee, 1990–1996.
       Board of Computing Activities and Services 1981–1986, 1991–1994.
       Physical Sciences Division, Space/Facilities Committee, 1992–1994.
       Committee on Family Practice (BSD), 1993.
       Provost’s Committee on Health Studies, 1993.

                                                    14
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25   Page 196 of 455 PageID
                                           #: 34466


       Health Studies Committee (BSD), 1991–1992.
       College Council, 1979–1982, 1983-1986, 1989–1992.




                                                   15
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 197 of 455 PageID
                                   #: 34467




                    EXHIBIT B
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25          Page 198 of 455 PageID
                                          #: 34468


  1) My full name is Ronald Aaron Thisted. I reside at 5729 South Woodlawn Avenue, Chicago,
     Illinois 60637 USA.

  2) Since December 2018, I have been self employed as a statistical consultant, and have also
     served part time as Professor Emeritus at the University of Chicago.

  3) Since January 2020 I have provided deposition, cross-examination, and/or trial testimony as
     an expert witness in the following cases:

     a) Bayer Inc. and Bayer Intellectual Property GMBH v. Teva Canada Limited and Apotex
        Inc., Federal Court of Canada Court Files T-1960-18 and T-2093-18,
     b) Biodelivery Sciences International, Inc., and Arius Two, Inc., v. Alvogen PB Research &
        Development LLC, Alvogen Malta Operations Ltd., Alvogen Pine Brook LLC, Alvogen,
        Inc., and Alvogen Group, Inc. C. A. No. 1:18-1395-CFC; and Biodelivery Sciences
        International, Inc., and Arius Two, Inc., v. Chemo Research, S.L., Intelgenx Corp., and
        Intelgenx Technologies Corp., C. A. No. 1:19-cv-00444-CFC, (District of Delaware),
     c) AstraZeneca AB v. Zydus Pharmaceuticals (USA) Inc., 1:18-cv-00664-RGA (D. Del.),
     d) Allergan Sales, LLC et al. v. Sandoz, Inc. et al., 2:17-cv-10129-CCC-MF (D. New
        Jersey),
     e) Amgen Inc. v. Sandoz Inc., C.A. No. 18-11026(MAS)(DEA) (D. NJ),
     f) Craig Couturier v. C. R. Bard, Inc, et al., 2:19-cv-12497-ILRL-DPC (E. Dist. Louisiana),
     g) Astellas Pharma Inc., et al., v. Sandoz Inc., et al., 1:20-cv-01589-JFB-CJB (D. Del.),
     h) Neuraxpharm Sweden AB v Biogen MA Inc., Case number PMT 11833-22, filed on 12
        August 2022; Sandoz A/S v Biogen MA Inc., Case number PMT 387-23, filed on 10
        January 2023; and Viatris AB v Biogen MA Inc., Case number PMT 402-23, filed on 10
        January 2023; all in the Patent and Market Court, Stockholm, Sweden.

  Party on behalf of whom testimony was offered is in italics above.


  Ronald A. Thisted, PhD
  12 January 2025
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 199 of 455 PageID
                                   #: 34469




                    EXHIBIT C
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 200 of 455 PageID
                                          #: 34470



                                  MATERIALS CONSIDERED

                                           Patent Documents
   U.S. Patent No. 11,826,327 (UTC_PH-ILD_005310)
   U.S. Patent No. 10,716,793 (UTC_PH-ILD_009772)
   U.S. Provisional Patent Application No. 63/011,810 (UTC_PH-ILD_069472)
   U.S. Provisional Patent Application No. 63/160,611
                                            Expert Reports
   Redacted Version of 2024-12-20 Expert Report of Dr. Richard Channick
   2024-12-20 Expert Report of Dr. Nicholas Hill
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                                           #: 34471



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   Adult PH With ILD Including CPFE” (NCT02630316) (Mar. 3, 2017)
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   Adult PH With ILD Including CPFE” (NCT02630316) (Jan. 10, 2020)
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   Adult PH With ILD Including CPFE” (NCT02630316) (June 2, 2020)
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                                          #: 34472



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Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 203 of 455 PageID
                                   #: 34473




                       EXHIBIT 2
Case 1:23-cv-00975-RGA-SRF      Document 422 Filed 07/09/25     Page 204 of 455 PageID
                                      #: 34474



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

   UNITED THERAPEUTICS                    )
   CORPORATION,                           )
                                          )
                    Plaintiff             )
                                          )   C.A. No. 1:23-cv-00975-RGA
              v.                          )
                                          )
   LIQUIDIA TECHNOLOGIES, INC.,           )
                                          )
                    Defendant.            )
                                          )

            REPLY EXPERT REPORT OF RONALD A. THISTED, PH.D.
           REGARDING INFRINGEMENT OF U.S. PATENT NO. 11,826,327
Case 1:23-cv-00975-RGA-SRF                       Document 422 Filed 07/09/25                                 Page 205 of 455 PageID
                                                       #: 34475



                                                  TABLE OF CONTENTS

  I.     INTRODUCTION .............................................................................................................. 1
         A.        Qualifications, Prior Testimony, and Compensation .............................................. 2
         B.        Materials Considered and Bases for My Opinions ................................................. 3
         C.        Assignment and Summary of My Opinions............................................................ 4
  II.    LEGAL PRINCIPLES ........................................................................................................ 5
         A.        Person of Ordinary Skill in the Art and Claim Construction .................................. 5
         B.        Patent Infringement ................................................................................................. 6
         C.        The § 271(e)(1) Safe Harbor ................................................................................... 8
  III.   SCIENTIFIC AND TECHNICAL BACKGROUND ........................................................ 9
         A.        Pulmonary Hypertension ...................................................................................... 10
         B.        Principles of Study Design and Statistics ............................................................. 10
         C.        Drug Approval ...................................................................................................... 12
         D.        United Therapeutics’ Tyvaso products indicated for PH-ILD to improve
                   exercise ability ...................................................................................................... 18
                   1.         United Therapeutics’ Tyvaso products ..................................................... 18
                   2.         The INCREASE Study ............................................................................. 19
                              a.          Study design .................................................................................. 20
                              b.          INCREASE study results .............................................................. 26
                                          (1)        6MWD .............................................................................. 26
                                          (2)        Plasma NT-proBNP concentrations .................................. 32
                                          (3)        Clinical worsening events ................................................. 37
                                          (4)        Exacerbations due to ILD ................................................. 39
                                          (5)        Forced vital capacity ......................................................... 42
                              c.          Impact of INCREASE results ....................................................... 44
  IV.    LIQUIDIA’S ACCUSED YUTREPIA PRODUCT ......................................................... 50
         A.        Liquidia’s Yutrepia product indicated for PH-ILD to improve exercise
                   ability. ................................................................................................................... 50
                   1.         Liquidia’s Yutrepia product ...................................................................... 50
                   2.         Liquidia relies on Tyvaso data for regulatory approval of Yutrepia
                              indicated for pulmonary hypertension associated with interstitial
                              lung disease (PH-ILD; WHO Group 3) to improve exercise ability ........ 56
                              a.          Liquidia pursued approval for Yutrepia via the 505(b)(2)
                                          pathway, including for the PH-ILD indication ............................. 56


                                                                      i
Case 1:23-cv-00975-RGA-SRF                       Document 422 Filed 07/09/25                                Page 206 of 455 PageID
                                                       #: 34476



                               b.         Liquidia relies on its comparative pharmacokinetic study as
                                          its bridge to Tyvaso safety and efficacy data ................................ 63
                               c.         Liquidia relies on UTC’s INCREASE Study to evidence
                                          efficacy .......................................................................................... 73
                    3.         The Yutrepia label explicitly references the INCREASE study ............... 82
                               a.         6MWD .......................................................................................... 85
                               b.         Clinical worsening events ............................................................. 87
         B.         Liquidia’s statements regarding Yutrepia’s performance in PH-ILD
                    subjects invoke INCREASE data.......................................................................... 89
         C.         Liquidia’s ASCENT clinical trial is informed by INCREASE ............................ 94
  V.     THE ’327 Patent ............................................................................................................. 105
  VI.    ERRORS IN DR. CHANNICK’S REBUTTAL REPORT ............................................ 107
         A.         Dr. Channick mischaracterizes what was “already in the public domain,”
                    including the disclosure of Faria-Urbina 2018 ................................................... 107
         B.         Dr. Channick’s attempts to disassociate Yutrepia from INCREASE’s
                    findings is misguided, ignores the Yutrepia label, and disregards the
                    INCREASE clinical study results that Liquidia has relied upon for
                    Yutrepia’s tentative approval .............................................................................. 127
                    1.         Yutrepia’s label only relies on the INCREASE Study to support
                               clinical efficacy and safety of its tentatively approved pulmonary
                               hypertension associated with interstitial lung disease (PH-ILD;
                               WHO Group 3) to improve exercise ability indication ........................... 127
                    2.         Dr. Channick ignores the scientific results on which Liquidia relied
                               to achieve tentative approval for Yutrepia. ............................................. 130
         C.         Dr. Channick overlooks how the INCREASE study, and Liquidia’s
                    reliance on UTC’s Tyvaso label, satisfies limitations of dependent claims
                    2, 4, and 6-10 ...................................................................................................... 139
  VII.   DR. CHANNICK IS WRONG REGARDING INFRINGEMENT OF THE ASSERTED
         CLAIMS ......................................................................................................................... 151
         A.         Liquidia’s Yutrepia Will Infringe Claim 1. ........................................................ 152
                    1.         “A method of improving exercise capacity in a patient having
                               pulmonary hypertension associated with interstitial lung disease,
                               comprising” ............................................................................................. 152
                    2.         “administering by inhalation to the patient having pulmonary
                               hypertension associated with interstitial lung disease,” .......................... 152
                    3.         “an effective amount of at least 15 micrograms up to a maximum
                               tolerated dose of treprostinil or a pharmaceutically acceptable salt
                               thereof” ................................................................................................... 153



                                                                     ii
Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25                             Page 207 of 455 PageID
                                               #: 34477



             4.        “in a single administration event that comprises at least 6
                       micrograms per breath.”.......................................................................... 154
        B.   Liquidia’s Yutrepia Will Infringe Claim 2. ........................................................ 154
             1.        “The method of claim 1, wherein said administering provides a
                       statistically significant increase of a 6 minutes walk distance in the
                       patient after 8 weeks, 12 weeks, or 16 weeks.” ...................................... 154
        C.   Liquidia’s Yutrepia Will Infringe Claims 3 and 17 through 19.......................... 161
             1.        Claim 3: “The method of claim 1, wherein said administering
                       increases a 6 minutes walk distance of the patient by at least 10 m
                       after 8 weeks, 12 weeks, or 16 weeks.” .................................................. 161
             Claim 17: “The method of claim 1, wherein said administering increases a
                    6 minutes walk distance of the patient by at least 10 m after 8
                    weeks.” .................................................................................................... 161
             Claim 18: “The method of claim 1, wherein said administering increases a
                    6 minutes walk distance of the patient by at least 15 m after 12
                    weeks.” .................................................................................................... 161
             Claim 19: “The method of claim 1, wherein said administering increases a
                    6 minutes walk distance of the patient by at least 15 m after 16
                    weeks.” .................................................................................................... 161
        D.   Liquidia’s Yutrepia Will Infringe Claim 4 ......................................................... 163
             1.        “The method of claim 1, wherein said administering provides a
                       statistically significant reduction of a plasma concentration of NT-
                       proBNP in the patient after 8 weeks, 12 weeks, or 16 weeks.” .............. 163
        E.   Liquidia’s Yutrepia Will Infringe Claim 5 ......................................................... 169
             1.        “The method of claim 1, wherein said administering reduces a
                       plasma concentration of NT-proBNP in the patient by at least 200
                       pg/ml after 8 weeks, 12 weeks, or 16 weeks.” ........................................ 169
        F.   Liquidia’s Yutrepia Will Infringe Claim 6 ......................................................... 171
             1.        “The method of claim 1, wherein said administering provides a
                       statistically significant reduction of at least one exacerbations of
                       the interstitial lung disease.” ................................................................... 171
        G.   Liquidia’s Yutrepia Will Infringe Claim 7 ......................................................... 176
             1.        “The method of claim 1, wherein said administering provides a
                       statistically significant reduction of clinical worsening events due
                       to the interstitial lung disease.” ............................................................... 176
        H.   Liquidia’s Yutrepia Will Infringe Claim 8 ......................................................... 182
             1.        “The method of claim 7, wherein the clinical worsening events
                       comprise at least one of hospitalization for cardiopulmonary



                                                            iii
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25                               Page 208 of 455 PageID
                                             #: 34478



                      indication and a decrease in a 6-minute walk distance by more than
                      15% compared a baseline.” ..................................................................... 182
        I.   Liquidia’s Yutrepia Will Infringe Claim 9 ......................................................... 184
             1.       “The method of claim 1, wherein said administering provides a
                      statistically significant improves of forced vital capacity (FVC) in
                      the patient after 8 weeks, 12 weeks or 16 weeks.” ................................. 184
        J.   Liquidia’s Yutrepia Will Infringe Claim 10 ....................................................... 189
             1.       “The method of claim 9, wherein said administering improves the
                      forced vital capacity (FVC) in the patient by at least 20 ml after 8
                      weeks, 12 weeks, or 16 weeks.” ............................................................. 189
        K.   Liquidia’s Yutrepia Will Infringe Claim 11 ....................................................... 192
             1.       “The method of claim 1, wherein said administering is performed
                      by a pulsed inhalation device.” ............................................................... 192
        L.   Liquidia’s Yutrepia Will Infringe Claim 14 ....................................................... 192
             1.       “The method of claim 11, wherein the pulsed inhalation device is a
                      dry powder inhaler comprising a dry powder comprising
                      treprostinil or a pharmaceutically acceptable salt thereof.” .................... 192
        M.   Liquidia’s Yutrepia Will Infringe Claim 15 ....................................................... 193
             1.       “The method of claim 1, wherein the effective amount of
                      treprostinil or a pharmaceutically acceptable salt administered to
                      the patient in a single inhalation administration event is from 15 μg
                      to 100 μg.” .............................................................................................. 193
        N.   Liquidia’s Yutrepia Will Infringe Claim 16 ....................................................... 193
             1.       “The method of claim 15, wherein the single inhalation
                      administration event does not exceed 15 breaths by the patient.” .......... 193
        O.   The ASCENT Study Infringes the Asserted Claims ........................................... 194




                                                           iv
Case 1:23-cv-00975-RGA-SRF        Document 422 Filed 07/09/25           Page 209 of 455 PageID
                                        #: 34479



                                TABLE OF ABBREVIATIONS

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   ’327 patent                             U.S. Patent No. 11,826,327 (UTC_PH-ILD_005310)
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   Channick Reb. Rpt.                      2025-01-23 Rebuttal Expert Report of Dr. Richard
                                           Channick
   Nathan PI Decl.                         2024-02-26 D.I. 28 Declaration of Steven D. Nathan,
                                           M.D.
   Nathan Op. Rpt.                         2024-12-20 Expert Report of Steven D. Nathan, M.D.
   Thisted Reb. Rpt.                       2025-01-23 Rebuttal Report of Ronald A. Thisted,
                                           Ph.D.
                                       Litigation Materials
   Deng Dep. Tr.                           2024-11-12 Chunqin Deng Deposition Transcript
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   announcing INCREASE results


                                               v
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25   Page 210 of 455 PageID
                                          #: 34480



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   Committee Meeting
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   Original NDA 213005 § 2.5                LIQ_PH-ILD_00045509
   Original NDA 213005 § 2.6.1              LIQ_PH-ILD_00045498
   Original NDA 213005 § 2.7.1              LIQ_PH-ILD_00045396
   Original NDA 213005 § 3.2.P.4.6          LIQ_PH-ILD_00062236
   Original NDA Cover Letter                LIQ_PH-ILD_00045978
   Pre-IND meeting                          LIQ_PH-ILD_00046114
   Pre-NDA meeting                          LIQ_PH-ILD_00046156
   Pre-sNDA Meeting Request                 LIQ_PH-ILD_00134026
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   NDAs or INDs – General
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   for Industry: Clinical Studies Section



                                                vi
Case 1:23-cv-00975-RGA-SRF       Document 422 Filed 07/09/25   Page 211 of 455 PageID
                                       #: 34481



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   Yutrepia Marketing Diagram           LIQ_PH-ILD_00147156
   Yutrepia Marketing Handout           LIQ_PH-ILD_00147141
   Yutrepia PH-ILD sNDA                 LIQ_PH-ILD_00091023
   Yutrepia Presentation                LIQ_PH-ILD_00147196




                                           vii
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 212 of 455 PageID
                                           #: 34482



  I.     INTRODUCTION

         1.      My name is Ronald A. Thisted, Ph.D. I previously submitted the January 23, 2025

  Rebuttal Report of Ronald A. Thisted, Ph.D. (“Rebuttal Report” or “Thisted Reb. Rpt.”) in the

  above-captioned litigation. That document is herein incorporated by reference in its entirety. 1

         2.      As I explained in my Rebuttal Report, UTC has asserted that Defendant Liquidia

  Technologies, Inc. (“Liquidia”) infringes several claims of U.S. Patent No. 11,826,327 (“the ’327

  patent”).2 I understand that UTC has asserted infringement of claims 1-11 and 14-19 of the ’327

  patent (“Asserted Claims”) based on Liquidia’s submission of an application to the U.S. Food and

  Drug Administration (FDA) to commercially manufacture, use, market, and/or sell Yutrepia in the

  United States “for the treatment of pulmonary hypertension associated with interstitial lung disease

  (PH-ILD; WHO Group 3) to improve exercise ability”3 (“PH-ILD”). I further understand that UTC

  has asserted infringement based on Liquidia’s conduct in conducting a clinical trial known as “An

  Open-Label Prospective Multicenter Study to Evaluate Safety and Tolerability of Dry Powder

  Inhaled Treprostinil in Pulmonary Hypertension” (“ASCENT”).

         3.      I have reviewed the Opening Expert Report of Steven D. Nathan, M.D. Regarding

  Infringement of U.S. Patent No. 11,826,327, dated December 20, 2024 (“Dr. Nathan’s Opening

  Report” or “Nathan Opening Rpt.”). I have also reviewed the Rebuttal Expert Report of Dr.

  Richard Channick in Response to the Initial Expert Report of Dr. Steven Nathan, dated January

  23, 2025 (“Dr. Channick’s Rebuttal Report” or “Channick Rep. Rpt.”). In Dr. Channick’s Rebuttal

  Report, he explained that, in his opinion, Liquidia has not and will not induce or directly infringe,


  1
    For clarity, I refer to my Rebuttal Report along with this Reply Report as “my Reports,”
  collectively.
  2
    Thisted Reb. Rpt. ¶ 1.
  3
    Yutrepia Label at 126021, for clarity I may interchangeably refer to “Yutrepia’s tentatively
  approved label” or o “Yutrepia’s proposed label” or “the tentatively approved Yutrepia Label” or
  “the proposed Yutrepia label” or just as the “Yutrepia Label.”


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 213 of 455 PageID
                                            #: 34483



  and that neither healthcare providers nor patients will directly infringe, any of the Asserted

  Claims.4 I have been asked by UTC to provide my expert opinion in reply to Dr. Channick’s

  Rebuttal Report regarding whether Liquidia’s Yutrepia product infringes and, if approved by FDA

  for commercial manufacture, use, marketing, and/or sale in the United States, will infringe the

  Asserted Claims of the ’327 patent. As explained in greater detail below, I disagree with the

  opinions expressed in Dr. Channick’s Rebuttal Report and I believe that each Asserted Claim has

  been infringed, is currently infringed, and will be infringed by Liquidia, healthcare providers,

  and/or patients.

           4.     I understand that I may be expected to testify on these opinions, as set forth in this

  Reply Report, and in any Supplemental Expert Reports that I may prepare for this case in the future.

  I also understand that I may be expected to testify with respect to arguments raised by Liquidia in

  its Opening or Rebuttal Reports or matters addressed by any expert testifying on behalf of Liquidia,

  for example in response to this Reply Report.

           5.     I reserve the right to supplement or modify the opinions expressed in this Reply

  Report, as well as the basis for my opinions, depending on the nature and content of the proofs

  presented by Liquidia and any other information subsequently provided by Liquidia, Liquidia’s

  expert(s), and/or discovered by UTC. I further reserve the right to use animations, demonstratives

  (including, for example, a graphical representation of information otherwise disclosed in my

  Reports), enlargements of actual exhibits, and other information in order to illustrate my opinions.

           A.     Qualifications, Prior Testimony, and Compensation

           6.     My qualifications, a list of cases in which I provided expert testimony at trial or by

  deposition, and my compensation are set forth in or attached to my Rebuttal Report. 5 This


  4
      Channick Reb. Rpt. § V (¶¶ 46-165).
  5
      Thisted Reb. Rpt. ¶¶ 6-20, Ex. B.


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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25              Page 214 of 455 PageID
                                              #: 34484



  information has not changed since I submitted my Rebuttal Report and are incorporated by

  reference here.

           7.       In addition to my qualifications detailed in my Rebuttal Report, I add that my

  experience consulting with the pharmaceutical and medical device industries since the late 1970s

  has included interacting with FDA biostatisticians and medical reviewing officers to ensure that

  FDA’s regulatory requirements could be met, participating in pre-NDA and pre-Phase III meetings

  with FDA as part of the drug sponsor’s team, and participating in conference calls with FDA

  Divisional leadership in responding to non-approvable letters. 6 I have also conducted analyses of

  bioavailability and bioequivalence studies submitted for regulatory approval in the United States

  (Food and Drug Administration), Europe (European Medicines Agency), and Australia

  (Therapeutic Goods Agency).

           B.       Materials Considered and Bases for My Opinions

           8.       In conducting my analysis and reaching the conclusions described in this report, I

  have considered the materials cited in this report, my Rebuttal Report and the materials cited

  therein, which are listed in Exhibit C of my Rebuttal Report, as well as Dr. Nathan’s Opening

  Report, Dr. Channick’s Rebuttal Report, and the materials cited in those reports. A complete list

  of all documents and materials that I have considered in preparing this report are attached here as

  Exhibit D. In addition, I have further relied on my knowledge, education and training and my

  many years of experience in the fields of biostatistics and epidemiology, as reflected in my

  qualifications and credentials set forth in my Rebuttal Report and in my curriculum vitae.

           9.       I intend the full page range of all documents and materials cited in this report to be

  part of this report. To the extent I cite to only certain portions of a reference, I reserve the right to



  6
      Thisted Reb. Rpt. ¶¶ 6-19.


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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25                Page 215 of 455 PageID
                                             #: 34485



  rely on the entirety of that reference. Where I cite a particular figure or chart, the citation should

  be understood to encompass any text referring or relating to that figure or chart, in addition to the

  figure or chart itself. Similarly, where a cited portion of text refers to a figure or chart, the citation

  should be understood to include the figure or chart as well. I also rely on my knowledge to provide

  context, and to aid in understanding and interpreting the portions of the evidence that are cited.

          C.      Assignment and Summary of My Opinions

          10.     UTC has asked me to analyze and respond to the opinions offered in Dr. Channick’s

  Rebuttal Report regarding infringement of the ’327 patent. As explained in greater detail below

  and throughout this report, I disagree with Dr. Channick’s opinions and analysis. In summary, it

  is my opinion that:

          11.     Dr. Channick is wrong that healthcare providers and patients will not directly

  infringe of each of the Asserted Claims of the ’327 patent by administering Yutrepia to PH-ILD

  patients according to the Yutrepia label.

          12.     Dr. Channick is wrong that Liquidia will not induce infringement of each of the

  Asserted Claims of the ’327 patent by instructing or otherwise encouraging healthcare providers

  and patients to administer Yutrepia to PH-ILD patients according to the Yutrepia label.

          13.     Dr. Channick is wrong that healthcare providers and patients involved in the

  ASCENT trial have not infringed and will not continue to infringe each of the Asserted Claims of

  the ’327 patent by administering Yutrepia to PH-ILD patients according to the ASCENT Protocols.

          14.     Dr. Channick is wrong that Liquidia has not induced and will not continue to induce

  infringement of each of the Asserted Claims of the ’327 patent by instructing or otherwise

  encouraging healthcare providers and patients to administer Yutrepia according to the ASCENT

  Protocols.




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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 216 of 455 PageID
                                            #: 34486



           15.     Dr. Channick continues to mischaracterize what was in the public domain and

  ignores that INCREASE was the first randomized, well-controlled clinical trial showing a

  definitive treatment effect in PH-ILD patients administered inhaled treprostinil.

           16.     Dr. Channick’s opinion that the findings of the INCREASE study do not apply to

  PH-ILD patients administered Yutrepia ignores the Yutrepia label itself, contradicts Liquidia’s

  representations to the FDA, devalues the comparative pharmacokinetic study between Tyvaso and

  Yutrepia, and misunderstands the statistical impact of the INCREASE study results.

           17.     Dr. Channick’s opinion that in order to infringe each of the Asserted Claims of

  the ’327 patent, a physician would need to measure and assess statistical and clinical outcomes is

  not consistent with the plain language of the Asserted Claims, which are satisfied by the

  administration of Yutrepia to PH-ILD patients in view of the INCREASE trial results that

  Yutrepia’s approval for its PH-ILD indication relies upon.

  II.      LEGAL PRINCIPLES

           18.     As mentioned in my Rebuttal Report, I am not a lawyer nor an expert in patent law.7

  Therefore, I offer no legal opinion in this report. Counsel have advised me as to various legal

  standards applicable to the issues I address in this report, and I have applied those standards in

  conducting my analysis and in reaching my conclusions.

           A.      Person of Ordinary Skill in the Art and Claim Construction

           19.     Counsel have advised me that patent infringement is evaluated from the perspective

  of a hypothetical person of ordinary skill in the art (“POSA”). In conducting my analysis and

  reaching my conclusions herein, I have applied the definition of a POSA that I have set forth in




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      Thisted Reb. Rpt. ¶ 25.


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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 217 of 455 PageID
                                             #: 34487



  my Rebuttal Report.8 I incorporate my discussion of the POSA from my Rebuttal Report as if fully

  set forth here.

          20.       Counsel have also explained that patent infringement is assessed under a two-step

  inquiry. The first step is to construe the language of the claims to establish their scope and meaning.

  I provided a discussion of the claim construction from this case in my Rebuttal Report and thus

  incorporate that discussion by reference here. 9 Then, each construed claim asserted by the patentee

  is compared to the product or method accused of patent infringement to determine whether it

  practices (and thus infringes) the claim.

          B.        Patent Infringement

          21.       I understand from counsel that patent infringement is assessed at the time when the

  alleged infringement occurs. I understand that this is a different frame of reference from patent

  validity, which as discussed in my Rebuttal Report, is evaluated as of the filing date of the patent. 10

          22.       I am informed by counsel that UTC must prove infringement by a preponderance

  of the evidence. I understand that the preponderance of the evidence standard means that UTC

  must show that it is more likely than not that Liquidia has infringed the ’327 patent. Counsel has

  also explained that my opinions regarding infringement should be based on the proposed drug

  product for which Liquidia has sought FDA approval to commercially market and sell in the United

  States, i.e., Yutrepia™. In evaluating Liquidia’s proposed Yutrepia™ product for infringement, I

  understand that I should conduct my analysis on a claim-by-claim basis and primarily consider the

  new drug application submitted by Liquidia for review by FDA, including the proposed

  prescribing information (i.e., label), along with any other proposed or actual marketing information.



  8
    Thisted Reb. Rpt. ¶¶ 29-33.
  9
    Thisted Reb. Rpt. ¶¶ 32, 268.
  10
     Thisted Reb. Rpt. § VI.A.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 218 of 455 PageID
                                            #: 34488



         23.     I also understand that patent claims may be infringed “directly” or “indirectly.” I

  will address each in turn. First, to prove “direct infringement” of a patented method, UTC must

  show that Liquidia practices (or will practice) each step of the patent claim in the United States.

  However, counsel has explained that a patentee may successfully demonstrate direct infringement

  of a method claim even if the method accused of infringement does not practice each step of the

  claimed method all the time. Instead, I understand that I may find infringement if the method

  accused of infringement practices the steps of the claimed method only some of the time.

         24.     For example, I am informed that I may find that a healthcare provider is liable for

  direct infringement if he or she prescribed a medication to a patient based on the drug’s approved

  prescribing information, and then that patient self-administered the medication in a manner that

  practices the steps of a claimed method of treatment. I understand that this means, in other words,

  that where a physician directs the manner and timing in which a patient administers a medication,

  any direct infringement of the patient can be attributed to the healthcare provider.

         25.     Second, counsel has explained that a party “indirectly infringes” a patented method

  when it acts in a particular manner that encourages a third party to infringe. I am told that there are

  several types of indirect infringement, one of which is known as “induced infringement.” In the

  context of induced infringement, I understand that a party is liable when it “induces” (or will

  “induce”) a third party to directly infringe (i.e., perform) the steps of the patented method. For

  example, I am told that a pharmaceutical company may be liable for induced infringement for

  manufacturing or marketing a drug that directly infringes a claimed method of treatment when a

  physician instructs a patient to administer the drug or when a patient administers the drug to

  themself. I am also informed that I may find induced infringement even if the accused infringer

  held a subjective belief that the asserted patent claim is invalid. In other words, a patent claim may




                                                    7
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25               Page 219 of 455 PageID
                                           #: 34489



  be infringed regardless of whether the same claim is later proven to be invalid in a court of law. I

  understand this to be the case because, as counsel has explained, patent infringement and patent

  invalidity require separate analyses and demand different levels of proof.

         26.     To find induced infringement, I must find that each of the following requirements

  are satisfied: (1) a third party committed an act of direct infringement; (2) Liquidia, at some point

  after the ’327 patent issued, acted with the intent to cause, and in a manner that led to, the third

  party’s act of direct infringement; and (3) Liquidia took such action despite its awareness of

  the ’327 patent and notwithstanding its knowledge that the third party’s actions, if carried out,

  would directly infringe the methods claimed by the ’327 patent.

         27.     However, I am informed that I may find induced infringement even if there is no

  direct evidence of Liquidia’s intent to induce the direct infringement of another. In other words, I

  am told that I may form my opinions based on circumstantial evidence of intent to induce

  infringement such as proposed prescribing information that encourages, recommends, or promotes

  the infringement of another. I am also told that I may consider marketing materials and press

  releases when analyzing whether there is circumstantial evidence of intent to induce infringement.

  For example, I understand these requirements to mean that a pharmaceutical company could be

  liable for induced infringement if it encourages, recommends, or promotes physicians or patients

  to administer a drug product in a way that infringes a claimed invention.

         C.      The § 271(e)(1) Safe Harbor

         28.     Notwithstanding the legal framework for patent infringement that has been

  explained to me and that which I have summarized above, I have also been informed that some

  activities related to pharmaceutical development that would otherwise count as infringement (e.g.,

  because they involve the commercial manufacture, use, or sale of a product or method claimed in

  a patent), are protected by a “safe harbor” law. Counsel has explained that the definition of “safe


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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 220 of 455 PageID
                                           #: 34490



  harbor” is defined in Title 35, section 271(e)(1) of the United States Code, which I have reproduced

  below:

                 It shall not be an act of infringement to make, use, offer to sell, or
                 sell within the United States or import into the United States a
                 patented invention (other than a new animal drug or veterinary
                 biological product (as those terms are used in the Federal Food,
                 Drug, and Cosmetic Act and the Act of March 4, 1913) which is
                 primarily manufactured using recombinant DNA, recombinant
                 RNA, hybridoma technology, or other processes involving site
                 specific genetic manipulation techniques) solely for uses reasonably
                 related to the development and submission of information under a
                 Federal law which regulates the manufacture, use, or sale of drugs
                 or veterinary biological products.

           29.   Counsel has also explained that the safe harbor described in the paragraph above

  protects conduct that would otherwise count as patent infringement if the conduct was, for example,

  undertaken solely for uses that are reasonably related to submitting information to FDA for

  obtaining regulatory approval of a drug product (such as in a new drug application or abbreviated

  new drug application). I also understand from counsel that the safe harbor would not protect

  infringing conduct that is not reasonably related to obtaining regulatory approval of a drug product,

  but merely related to the routine collection and reporting of information to FDA. For example, I

  have learned from counsel that collecting and reporting information related to a drug product’s

  safety, without more, would not satisfy the safe harbor’s requirements. Ultimately, as counsel has

  explained, the application of the safe harbor depends on the extent to which the conduct is

  reasonably related to obtaining regulatory approval of a drug product.

  III.     SCIENTIFIC AND TECHNICAL BACKGROUND

           30.   If asked to testify, I may provide a tutorial on the background facts and scientific

  opinions that support my opinions. I reserve the right to provide additional background information

  or detail as appropriate.




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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25           Page 221 of 455 PageID
                                             #: 34491



         A.      Pulmonary Hypertension

         31.     I reviewed a public, redacted version of a declaration of Dr. Nathan to learn about

  pulmonary hypertension, varieties thereof, and treatment options. 11

         B.      Principles of Study Design and Statistics

         32.     I discussed principles of study design and statistics in my Rebuttal Report, which I

  incorporate herein by reference.12

         33.     Dr. Nathan discusses the interpretation of the terms “statistical significance” and

  “p-value” in his opening report, opining:

                 Statistical significance helps determine whether an observed effect
                 or pattern in data is likely caused by the intervention rather than
                 random chance. This is often assessed using a p-value, which
                 measures the probability of seeing the observed results if there were
                 no real effect. A p-value less than 0.05 is generally understood to be
                 statistically significant, meaning the effect is unlikely to be due to
                 chance. A p-value greater than 0.05 means there is not enough
                 evidence to confidently say the result is significant—it could be due
                 to random variation.13

  Dr. Nathan’s interpretation is discussed in the context of results from the INCREASE study—a

  multicenter, randomized (1:1 inhaled treprostinil:placebo), double-blinded, placebo-controlled

  clinical trial—that enrolled PH-ILD patients and compared the effects of treatment with inhaled

  treprostinil to the effects of treatment with a placebo, which I discussed in my Rebuttal Report and

  in further detail below.14 In this context (and in all of Dr. Nathan’s subsequent discussions of

  statistical significance and p-values), Dr. Nathan’s interpretation of determining whether an

  observed pattern or effect is likely caused by the intervention as opposed to random chance is



  11
     Nathan PI Decl.
  12
     Thisted Reb. Rpt. § VII.
  13
     Nathan Op. Rpt. ¶ 68.
  14
     Infra § III.D.2; Thisted Reb. Rpt. §§ X.A, XI.A; e.g., INCREASE publication (UTC_PH-
  ILD_010790) at -790.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 222 of 455 PageID
                                            #: 34492



  appropriate and correct.15 Moreover, Dr. Nathan’s interpretation is consistent with the discussion

  of statistical significance in my Rebuttal Report. 16

         34.     Dr. Channick’s Rebuttal Report also offers interpretations of “statistical

  significance” and “p-value.” Dr. Channick states:

                 As Dr. Nathan acknowledges, a statistically significant result is one
                 that is unlikely to have occurred by chance alone. To determine if
                 the result of a particular intervention is statistically significant, a
                 person must select a parameter to measure, apply the intervention to
                 a sufficiently large group to detect a meaningful difference, measure
                 the selected parameter in each group member, aggregate the
                 collected data, and perform statistical analysis on the data. I
                 understand that the Court agrees that finding “statistical significance
                 requires data from multiple patients.” Part of conducting a statistical
                 significance analysis includes calculating a p-value, which indicates
                 the probability of obtaining the observed results by chance. A low
                 p-value, generally one less than 0.05, suggests that the results are
                 unlikely to have happened by random chance and are more likely
                 due to the intervention taken. In general, statistical significance
                 indicates that the result is reliable, reproducible, and attributable to
                 the intervention’s effects. [footnotes omitted]17

  Dr. Channick’s interpretations of p-values and statistical significance cannot be applied—and are

  incorrect—in the context of nonrandomized or noncomparative clinical studies, which appears to

  be what Dr. Channick’s Rebuttal Report does, and thus Dr. Channick’s statements also appear to

  mischaracterize Dr. Nathan’s statements. 18 As I explained in my Rebuttal Report, p-values

  generated when analyzing nonrandomized or noncomparative clinical studies are merely

  descriptive measures that have no necessary relationship to the role of chance as a possible




  15
     See Thisted Reb. Rpt. § VII.
  16
     See Thisted Reb. Rpt. § VII.
  17
     Channick Reb. Rpt. ¶ 60.
  18
     Channick Reb. Rpt. § V.B.1; see Thisted Reb. Rpt. § VII. To obtain a p-value in a randomized
  clinical trial, one must apply both the intervention of interest and a suitable control intervention
  to a sufficiently large group. In the context of a randomized clinical trial, the p-value indicates the
  probability of obtaining a result at least as large as those observed purely by random chance.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 223 of 455 PageID
                                            #: 34493



  explanation of observed effects.19 That is because the design of those studies does not explicitly

  include any chance mechanism that could account for observed study effects.20 Consequently, any

  statements of statistical significance of effects observed in such studies are merely statements that

  the p-value, when computed, fell below the customary threshold of 0.05. 21

         35.     As discussed in detail below, in the context of nonrandomized noncomparative

  studies, Dr. Channick’s opinion that “statistical significance indicates that the result is reliable,

  reproducible, and attributable to the intervention’s effects,”22 is simply not true.23

         C.      Drug Approval

         36.     To receive approval from the U.S. Food and Drug Administration (“FDA”) to

  commercially market a drug product in the United States, a sponsor must demonstrate substantial

  evidence that the drug is safe and effective for its intended use. Further, to establish substantial

  evidence of safety and effectiveness, the sponsor may rely on one of several drug approval

  pathways. The sponsor may submit a new drug application (“NDA”), known as a “stand-alone

  NDA” under section 505(b)(1) of the Federal Food, Drug, and Cosmetic Act (“FDCA”), an

  abbreviated NDA (“ANDA”) under section 505(j) of the FDCA, or a hybrid version that borrows

  aspects from both the 505(b)(1) and 505(j) approval pathways, known as the section 505(b)(2)

  NDA.24

         37.     Drug sponsors seeking approval to market a new, never previously approved drug

  product typically submit a full “stand-alone NDA” under the section 505(b)(1) approval pathway.



  19
     Thisted Reb. Rpt. §§ VII, IX.B-E, XI, XV.
  20
     Id.
  21
     Id.
  22
     Channick Reb. Rpt. ¶ 60 (emphasis added).
  23
     Thisted Reb. Rpt. §§ VII, IX.B-E, XI, XV.
  24
      U.S. Food & Drug Admin., Determining Whether to Submit an ANDA or a 505(b)(2)
  Application: Guidance for Industry (2019) (UTC_PH-ILD_227401) at -404, -405.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 224 of 455 PageID
                                            #: 34494



  To successfully file a 505(b)(1) NDA, the sponsor must include full reports of investigations

  conducted or licensed by the sponsor to establish the substantial evidence of safety and

  effectiveness requirement. Such reports of investigations typically include nonclinical toxicology

  and carcinogenicity data, clinical pharmacology data, clinical safety and effectiveness data, and

  reports relating to chemistry, manufacturing, and controls. In addition, among other things, the

  505(b)(1) drug sponsor must submit a proposed version of the prescribing information (i.e., “label”

  or “package insert” or “PI”) for review and approval by FDA.

         38.     In contrast to the section 505(b)(1) approval pathway, drug applicants seeking

  approval to market a drug product that has been previously approved in the United States (i.e., a

  generic drug product) typically file an ANDA under the section 505(j) of the FDCA. An ANDA

  applicant is permitted to rely entirely on reports of investigations submitted by another drug

  sponsor for the approval of another drug product (i.e., “reference listed drug”) that is bioequivalent

  and therapeutically equivalent to the proposed generic drug product. This means that the generic

  drug applicant essentially relies on FDA’s prior determination that the reference listed drug is safe

  and effective for its approved use. Among other things, the generic drug applicant must also

  demonstrate that the proposed label is the same as the label that was previously approved for the

  reference listed drug.

         39.     As mentioned above, the section 505(b)(2) approval pathway is “hybrid” in that it

  does not require full reports of investigations like the 505(b)(1) approval pathway, but, unlike the

  505(j) approval pathway, requires some reports of investigations beyond a showing of

  bioequivalence. An applicant would consider submitting a 505(b)(2) application if it does not wish

  to conduct sufficient investigations to satisfy the requirements of the 505(b)(1) approval pathway

  but seeks to introduce a drug product that has intentional differences from a reference listed drug




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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25            Page 225 of 455 PageID
                                              #: 34495



  such that the applicant would be ineligible to submit an ANDA. 25 For example, an applicant

  seeking to rely on prior reports of investigations to seek approval of a proposed drug product with

  a different formulation than the reference listed drug would be ineligible for the 505(j) pathway

  and thus would likely seek approval by way of a section 505(b)(2) application. 26

          40.     A sponsor seeking approval via the 505(b)(2) pathway for a drug product that shares

  certain features with a previously FDA-approved drug must still demonstrate that the proposed

  drug product is safe and effective for its intended use and provide a proposed version of the drug

  label for review by FDA. However, unlike the 505(b)(1) NDA, at least some of the reports of

  investigations are studies that were conducted and submitted for a different, previously FDA-

  approved drug product (known as the “reference listed drug” or “RLD”). 27 In other words,

  505(b)(2) applicants may rely on FDA’s prior finding(s) of safety and/or effectiveness for one (or

  more) listed drug(s), if doing so is scientifically appropriate. 28 Sponsors of 505(b)(2) drug products

  may “reference” (in other words, rely on) studies concerning, for example, clinical pharmacology,

  clinical safety, and/or clinical efficacy. 29

          41.     To support the scientific appropriateness of relying on FDA’s prior finding(s) of

  safety and/or efficacy for a listed drug, 505(b)(2) applicants must demonstrate, to FDA’s

  satisfaction, an adequate “bridge” between the proposed drug product and the previously approved

  drug.30 Further, the “bridge” may be established through a finding that the proposed and previously




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     See U.S. Food & Drug Admin., Determining Whether to Submit an ANDA or a 505(b)(2)
  Application: Guidance for Industry (2019) (UTC_PH-ILD_227401) at -413.
  26
     See id.
  27
     FDA Response (LIQ_PH-ILD_00120424) at -430.
  28
     FDA Response (LIQ_PH-ILD_00120424) at -429.
  29
     Beth Goldstein, Sci. Pol’y Analyst, U.S. Food & Drug Admin., Overview of the 505(b)(2)
  Regulatory Pathway for New Drug Applications (UTC_PH-ILD_227379) at -385, -386.
  30
     FDA Response (LIQ_PH-ILD_00120424) at -429, -430.


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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 226 of 455 PageID
                                           #: 34496



  approved drug products share similar bioavailability (i.e., through a comparative bioavailability

  study).31 I am also aware that a sponsor seeking approval via the 505(b)(2) pathway must also

  include—in addition to establishing the bridge—sufficient data to support any modifications to the

  listed drug (i.e., differences between the proposed drug product and the reference listed drug such

  as changes in dosage form).32

         42.     Demonstrating biocomparability or bioequivalence entails comparing the two drug

  products’ respective bioavailability—the amount of a drug product’s active ingredient that gets

  absorbed into the blood stream and the timing of absorption when administered. Bioavailability is

  ordinarily assessed using healthy subjects and is ordinarily evaluated by measuring certain

  pharmacokinetic parameters, specifically Cmax (the maximum concentration in the blood achieved

  after a single administration) and AUC∞ (roughly, the total amount of drug in the blood stream

  over time). According to FDA, bioequivalence can be established for ANDAs when the

  bioavailability of a generic drug is demonstrated not to fall below 80% nor exceed 125% the

  bioavailability of the RLD. The same principle applies to products FDA approves by the 505(b)(2)

  mechanism, in which the applicant seeking approval of a new proposed product is permitted to

  rely on some data (such as clinical outcomes) demonstrated by a reference listed drug, but only if

  the applicant first demonstrates a sufficient “bridge” between its new product and the RLD, e.g.,

  with a biocomparability study.




  31
     Beth Goldstein, Sci. Pol’y Analyst, U.S. Food & Drug Admin., Overview of the 505(b)(2)
  Regulatory Pathway for New Drug Applications (UTC_PH-ILD_227379) at -384; FDA Response
  (LIQ_PH-ILD_00120424) at -429.
  32
     U.S. Food & Drug Admin., Determining Whether to Submit an ANDA or a 505(b)(2)
  Application: Guidance for Industry (2019) (UTC_PH-ILD_227401) at -407, -408; FDA Response
  (LIQ_PH-ILD_00120424) at -429.


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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 227 of 455 PageID
                                             #: 34497



          43.     As mentioned above, 505(j) and 505(b)(2) applicants must submit to FDA and

  obtain approval with respect to the label for its proposed drug product. The product label which is

  approved for a drug product provides the information that clinicians need to know in order to

  prescribe the product, and that patients need to know to use the product. In other words, the purpose

  of the labelling requirement as it relates to FDA approval of drug products is to facilitate the

  prescribing decisions of physicians or other healthcare providers. 33 The “principal objective of

  labeling is to provide the information that is most useful to prescribers in treating their patients.” 34

  An approved drug label typically includes information such as, for example, the drug’s indication

  of use, dosage and administration, dosage forms and strengths, contraindications, warnings and

  precautions, and adverse reactions. 35 In addition, the drug label must discuss the clinical

  investigations that were conducted to establish the drug’s efficacy for its approved indication. 36

  “This is usually accomplished by providing concise, accurate summaries of information from

  studies concerning [the] drug’s effectiveness (and sometimes safety) that practitioners [would]

  consider important to clinical decision making.” 37

          44.     The indications listed in a drug product’s label are the only indications for which

  the sponsor is legally permitted to market the drug product. In the case of an applicant seeking



  33
     U.S. Food & Drug Admin., Guidance for Industry: Labeling for Human Prescription Drug and
  Biological Products – Implementing the PLR Content and Format Requirements (2013)
  (UTC_PH-ILD_227418) at -423.
  34
     U.S. Food & Drug Admin., Guidance for Industry: Clinical Studies Section of Labeling for
  Human Prescription Drug and Biological Products – Content and Format (2006) (UTC_PH-
  ILD_227354) at -357.
  35
     U.S. Food & Drug Admin., Guidance for Industry: Labeling for Human Prescription Drug and
  Biological Products – Implementing the PLR Content and Format Requirements (2013)
  (UTC_PH-ILD_227418) at -448.
  36
     U.S. Food & Drug Admin., Guidance for Industry: Clinical Studies Section of Labeling for
  Human Prescription Drug and Biological Products – Content and Format (2006) (UTC_PH-
  ILD_227354) at -358.
  37
     Id.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 228 of 455 PageID
                                            #: 34498



  approval for a drug product through the 505(j) or 505(b)(2) approval pathway, the proposed

  product’s label may recite the RLD’s indications for which the applicant is fully or partially relying

  on FDA’s finding that the RLD is safe and effective, i.e., the applicant may rely fully or in part on

  the clinical data that were generated for (and submitted to FDA with respect to) the RLD. When

  an applicant seeks approval for a drug product by relying on the RLD’s clinical efficacy or safety

  data, that applicant is acknowledging that its product will also provide the same clinical efficacy

  and safety when administered according to the label, i.e., the applicant attaches the RLD’s results

  to its proposed product to the extent the applicant relies on the RLD’s clinical data for approval. 38

  This reliance is also reflected in the proposed drug product’s label, e.g., the language of the listed

  indications, the dosage and administration information, the clinical trials summarized, and so on.

  In particular, this reliance indicates that—were clinical trials conducted with the proposed new

  drug product that were similar in design and conduct to those reported by the RLD sponsor—these

  hypothetical clinical trials would be expected to produce results identical to (or nearly identical to)

  those generated from the relied upon RLD studies, including the statistically significant treatment

  effects that the RLD studies identify as well as the magnitude of those effects. It is for this reason

  that FDA does not require a new product’s applicant to reproduce the already approved RLD’s



  38
     See U.S. Food & Drug Admin., Guidance for Industry: Applications Covered by Section
  505(b)(2): Draft Guidance (1999) (UTC_PH-ILD_227310)at -314, -315 (“[R]el[ying] on the
  Agency’s previous finding of safety and/or effectiveness for a drug … essentially makes the
  Agency’s conclusions that would support the approval of a 505(j) application available to an
  applicant who develops a modification of a drug. Section 314.54 permits a 505(b)(2) applicant to
  rely on the Agency’s finding of safety and effectiveness for an approved drug to the extent such
  reliance would be permitted under the generic drug approval provisions at section 505(j). This
  approach is intended to encourage innovation in drug development without requiring duplicative
  studies to demonstrate what is already known about a drug while protecting the patent and
  exclusivity rights for the approved drug.”); see also 21 C.F.R. § 314.54(a)(1)(iii)(A) (“The listed
  drug(s) identified as relied upon must include a drug product approved in an NDA that[] [i]s
  pharmaceutically equivalent to the drug product for which the original 505(b)(2) application is
  submitted[.]”).


                                                    17
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25           Page 229 of 455 PageID
                                             #: 34499



  clinical data—assuming that bioequivalence is demonstrated in the case of the 505(j) pathway or

  appropriate bridges including comparable bioavailability are established in the case of the

  505(b)(2) pathway—it would be a redundant and unnecessary exercise.

            D.      United Therapeutics’ Tyvaso products indicated for PH-ILD to improve
                    exercise ability

                    1.     United Therapeutics’ Tyvaso products

            45.     United Therapeutics currently offers two inhaled treprostinil products—Tyvaso and

  Tyvaso DPI. Tyvaso is formulated as a liquid solution and is delivered to patients with an

  ultrasonic, pulsed-delivery nebulizer. Tyvaso DPI is formulated as a dry powder and is delivered

  to patients with a dry powder inhaler. Scientific studies submitted to the FDA have shown that

  Tyvaso and Tyvaso DPI have comparable pharmacokinetic profiles. Treprostinil is a prostacyclin

  mimetic with the following chemical structure:




            46.     Tyvaso was approved in July 2009 for the treatment of PAH following the

  TRIUMPH study. The PH-ILD indication was added to the Tyvaso label in 2021 following the

  INCREASE study, which is discussed in further detail below. 39




  39
       Infra § III.D.2.


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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 230 of 455 PageID
                                           #: 34500



         47.     Tyvaso DPI was approved in both the PAH and PH-ILD indications following the

  BREEZE study. The Breeze study evaluated the safety and tolerability of Tyvaso DPI during a 3-

  week treatment phase in patients previously treated with Tyvaso. 40 The study (including the long-

  term extension phase) concluded that the safety profile of Tyvaso DPI “was consistent with the

  expected known safety profile of Tyvaso.” 41

                 2.     The INCREASE Study

         48.     I incorporate by reference my description of the INCREASE study and related

  opinions from my Rebuttal Report submitted in this matter dated January 23, 2025. 42

         49.     The INCREASE study, sponsored by United Therapeutics and assigned

  ClinicalTrials.gov. number NCT02630316, was conducted with the objective of “evaluat[ing] the

  safety and efficacy of inhaled treprostinil in patients with pulmonary hypertension due to

  interstitial lung disease.”43 The study was initiated on February 3, 2017, completed on December

  26, 2019, and the results were published in the New England Journal of Medicine on January 13,

  2021. 44 It was the first randomized controlled clinical trial to evaluate the use of inhaled

  treprostinil in PH-ILD patients.

         50.     The study randomly assigned patients to treatment with Tyvaso or placebo and

  followed them through the 16-week treatment period.45 A number of parameters were measured

  on a fixed schedule throughout the duration of the study. These parameters included 6MWD,




  40
      2022 Tyvaso DPI Label (UTC_PH-ILD_010709) at -712.
  41
     Id.
  42
      Thisted Reb. Rpt. § X, XI.
  43
      INCREASE publication (UTC_PH-ILD_010790) at -791.
  44
       INCREASE CSR (UTC_PH-ILD_055371) at -371; INCREASE publication (UTC_PH-
  ILD_010790) at -790.
  45
      INCREASE publication (UTC_PH-ILD_010790) at -792.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 231 of 455 PageID
                                            #: 34501



  plasma concentration of NT-proBNP, FVC, occurrence of clinical worsening events due to

  interstitial lung disease, and occurrence of exacerbations due to interstitial lung disease.

                             a. Study design

         51.     The trial population of the INCREASE study consisted of patients diagnosed with

  pulmonary hypertension associated with interstitial lung disease. 46 Interstitial lung disease was

  determined based on evidence of diffuse parenchymal lung disease on computed tomography of

  the chest performed within 6 months before randomization.47 The hemodynamic inclusion criteria

  were as follows: PVR > 3 Wood units, wedge pressure ≤ 15 mm Hg, and mPAP ≥ 25 mm Hg as

  measured by right heart catheterization within one year of randomization. 48 Patients with a 6MWD

  less 100m were excluded, and patients with connective tissue disease were excluded unless they

  had a percent predicted forced vital capacity less than 70%. 49

         52.      Any patients receiving an approved therapy for pulmonary arterial hypertension

  within 60 days before randomization were excluded.50 Also, any patients who were taking drug

  treatments for their underlying lung disease were excluded if they were not receiving a stable dose

  for at least 30 days before randomization.51

         53.     Subject disposition is summarized as follows:




  46
     Id. at -791.
  47
     Id.
  48
     Id.
  49
     Id.
  50
     Id. at -791-792.
  51
     Id. at -791.


                                                   20
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25           Page 232 of 455 PageID
                                          #: 34502




           54.   Following randomization, patients in the treatment arm were administered inhaled

  treprostinil at a concentration of 0.6 mg/mL corresponding to 6 µg per breath. 52 These subjects

  were dosed as follows:53




  52
       Id. at -792.
  53
       INCREASE Protocol (UTC_PH-ILD_145360) at -470-471.


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Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 233 of 455 PageID
                                   #: 34503




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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 234 of 455 PageID
                                           #: 34504



         55.     6MWD data were obtained at baseline and after 8, 12, and 16 weeks. 54 NT-proBNP

  and FVC data were obtained at baseline and after 8 and 16 weeks. 55 Time to clinical worsening

  and investigator-reported exacerbations of underlying lung disease were also observed. 56

         56.     The measurement procedures and statistical analyses to be conducted are described

  at a high level in section 10.3 of the final version of the INCREASE study’s clinical research

  protocol.57 The INCREASE study also had a statistical analysis plan (SAP), which provides a

  detailed description of the INCREASE study’s statistical methodology.

         57.     The final version of the clinical research protocol specified that “[a] separate

  statistical analysis plan will document further details of the statistical methods to be employed,

  including any changes to planned analyses specified within this protocol. The analysis plan will

  be finalized prior to any unblinding of study data by the Sponsor” 58 and that all statistical tests

  were to be two-sided tests using an alpha level of 0.05. All analyses of efficacy were to be based

  on the intention-to-treat principle, in which all patients randomized into the study are analyzed

  according to the treatment group to which they were assigned by the randomization process. These

  specifications for the analysis are best practices for the analysis of results from a randomized

  clinical trial comparing an active treatment to a control. Efficacy endpoints were categorized as

  primary, secondary, or exploratory.

         58.     Safety analyses were to be conducted using all patients who received at least one

  dose of study drug, with analyses to be based on study drug actually received.




  54
     INCREASE publication (UTC_PH-ILD_010790) at -792.
  55
     Id.
  56
     Id.
  57
     INCREASE Protocol (UTC_PH-ILD_145360) at -485-487.
  58
     Id. at -485.


                                                  23
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25               Page 235 of 455 PageID
                                           #: 34505



           59.   A statistical analysis plan (SAP), finalized on 12 December 2019, describes in

  detail how each efficacy measure will be constructed from the data recorded on each patient’s

  electronic case report form (eCRF) and the specific statistical analysis to be carried out for each

  efficacy measure. The SAP also details how the statistical analyses relate to study objectives,

  characteristics of the study design, the sequence of planned analyses, sample size considerations,

  the populations to be analyzed, any interim analyses to be conducted, and general considerations

  for data analysis.

           60.   The general considerations for data analysis specified in the SAP include the plan

  to include baseline values of efficacy variables as a covariate in individual analyses, specification

  of subgroups in which efficacy will be separately evaluated, plans for handling of discontinuation

  and missing data, and plans for treating multiple statistical comparisons.

           61.   The statistical analysis of each efficacy measure is discussed in detail, including

  primary, sensitivity, and subgroup analyses of the primary efficacy variable, change from baseline

  in six-minute walking distance (6MWD).

           62.   Measurements recorded to assess safety are outlined, as well as plans for tabulation

  and descriptive analyses of those measurements.

           63.   The INCREASE study protocol prespecified FVC (to be measured at baseline, 8

  weeks, and 16 weeks) and incidence of acute exacerbation of disease as safety endpoints. The

  statistical analysis plan required only tabulation and descriptive statistics for these endpoints. A

  more detailed analysis of these endpoints was conducted. 59

           64.   The final prespecified efficacy and safety endpoints were as follows: 60




  59
       Nathan 2021 (UTC_PH-ILD_147114).
  60
       INCREASE publication (UTC_PH-ILD_010790) at -809-810.


                                                   24
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 236 of 455 PageID
                                            #: 34506




         65.     Because the detailed statistical analyses of FVC and incidence of acute

  exacerbation of the underlying lung disease were not prespecified in the study protocol or

  statistical analysis plan, these analyses carried out are described as “post hoc.” Still these post hoc

  analyses closely followed the analytical approach that had been adopted for the prespecified

  efficacy variables in the INCREASE study’s statistical analysis plan. Specifically, the FVC post-


                                                    25
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25          Page 237 of 455 PageID
                                             #: 34507



  hoc analyses were carried out using the intent-to-treat population, changes from baseline were used

  as the assessment variable, and baseline FVC was used as a covariate. Mixed-model repeated

  measures analysis was used for the analysis. “Only observed data were included in the analysis;

  no data were imputed.”61 For incidence of exacerbation of the underlying lung disease, the intent-

  to-treat population was also used; comparison between inhaled treprostinil and placebo was

  assessed using Fisher’s exact test, and time to exacerbation of the underlying lung disease was

  displayed using the Kaplan-Meier method and compared using the Cox proportional hazards

  model.62

                             b. INCREASE study results

                                 (1)     6MWD
         66.     The results of the INCREASE study reported statistically significant improvements

  in 6MWD after 8 weeks, 12 weeks, and 16 weeks compared to baseline for PH-ILD patients treated

  with inhaled treprostinil. The INCREASE study results also reported improvements in 6MWD of

  at least 15 meters after 8 weeks, 12 weeks, and/or 16 weeks compared to baseline for PH-ILD

  patients treated with inhaled treprostinil.

         67.     The INCREASE publication indicates a statistically significant improvement in

  6MWD after 16 weeks using mixed-model repeated-measures (MMRM) analysis when it reports

  that “[m]ixed-model repeated-measures analysis showed that the least squares mean difference

  between the treprostinil group and the placebo group in the change from baseline in peak 6-minute

  walk distance was 31.12 m (95% confidence interval [CI], 16.85 to 45.39; P<0.001) (Table 2 and

  Fig. S1).”63


  61
     Nathan 2021 (UTC_PH-ILD_147114) at -117.
  62
     Nathan 2021 Supplement (UTC_PH-ILD_112161).
  63
     INCREASE publication (UTC_PH-ILD_010790) at -793, -813. The same MMRM data for
  6MWD is reported in Figure 4 of the ’327 patent.


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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 238 of 455 PageID
                                           #: 34508



         68.     The Mixed-Model Repeated Measures (MMRM) statistical methods were used to

  analyze treatment differences between treatments in the change in 6MWD from baseline to Week

  16. The method takes into account the fact that the measurements for each patients (baseline, Week

  8, Week 12, and Week 16) are correlated, and it allows for all data available for each patient to be

  used without the need for imputation of missing values. The specific model used, the steps taken

  to ensure that the model assumptions were satisfied, and the sensitivity analyses to check the

  robustness of the results are described in INCREASE Supplementary Appendix of Waxman

  (2021).64 The INCREASE publication indicates a statistically significant improvement in 6MWD

  after 12 weeks using MMRM analysis when it reports that “[t]he least-squares mean change from

  baseline to week 12 in peak 6-minute walk distance was 31.29 m greater in the treprostinil group

  than in the placebo group (P<0.001).”65

         69.     The results of the MMRM analysis for improvements in 6MWD at 12 weeks and

  16 weeks are also provided in Table 2 of the INCREASE publication: 66




  64
     Id. at -811-812.
  65
     Id. at -794, -813.
  66
     Id. at -797. The same MMRM data for 6MWD is reported in Figure 4 of the ’327 patent.



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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 239 of 455 PageID
                                            #: 34509



         70.     The INCREASE publication also indicates a statistically significant improvement

  in 6MWD after 16 weeks using the Markov chain Monte Carlo (MCMC) method when it reports

  that “between-group difference in the change from baseline in peak 6-minute walk distance at

  week 16 was significant when analyzed with multiple imputation according to the Markov chain

  Monte Carlo method (30.97 m; 95% CI, 16.53 to 45.41; P<0.001) (Fig. S3).” 67

         71.     Like MMRM, the Markov Chain Monte Carlo method is a statistical method for

  estimating the difference in average change in 6MWD for inhaled treprostinil compared to placebo.

  The INCREASE protocol prespecified that MCMC multiple imputation would be carried out as a

  sensitivity analysis of the primary efficacy variable, change in 6MWD. MMRM and MCMC differ

  primarily in their handling of missing data.

         72.     The purpose of sensitivity analyses is to evaluate the robustness of findings to

  alternative statistical methods. When alternative statistical approaches to the same question

  produce similar answers—as they do in the INCREASE study—it increases confidence in the

  accuracy, reliability, and robustness of the results reported from the primary analysis. 68

         73.     Figure 2 of the INCREASE publication reports MMRM and MCMC analysis for

  the mean change from baseline in 6MWD at 8 weeks, 12 weeks, and 16 weeks: 69




  67
     Id. at -793, -815. The same MCMC data for 6MWD is reported in Figure 6 of the ’327 patent.
  68
     Thabane 2013 (UTC_PH-ILD_227534).
  69
     INCREASE publication (UTC_PH-ILD_010790) at -796. The same 6MWD MMRM and
  MCMC data is reported in Figure 3 of the ’327 patent.



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Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 240 of 455 PageID
                                   #: 34510




                                      29
Case 1:23-cv-00975-RGA-SRF         Document 422 Filed 07/09/25          Page 241 of 455 PageID
                                         #: 34511



         74.    Figure S6 of the INCREASE publication also provides a Hodges-Lehmann estimate

  of treatment effect for 6MWD as 8 weeks, 12 weeks, and 16 weeks: 70




         75.    Figure S2 of the INCREASE publication also reports subgroup data for 6MWD at

  week 1671:




  70
     INCREASE publication (UTC_PH-ILD_010790) at -818. The same Hodges-Lehmann estimate
  data for 6MWD is reported in Figure 8 of the ’327 patent and Figure 3 of the Yutrepia label.
  Yutrepia Label (LIQ_PH-ILD_00126017) at -032.
  71
     INCREASE publication (UTC_PH-ILD_010790) at -814. The same 6MWD forest plot data are
  included in Figure 4 of the Yutrepia label. Yutrepia Label (LIQ_PH-ILD_00126017) at -032.


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Case 1:23-cv-00975-RGA-SRF         Document 422 Filed 07/09/25         Page 242 of 455 PageID
                                         #: 34512




  The INCREASE CSR also reports that “[s]ubjects receiving inhaled treprostinil experienced a

  significant improvement in peak 6MWD compared to placebo beginning at Week 8 and continuing

  to Week 16” and that “[t]reatment increases in peak 6MWD were observed at Week 8 (15.0 m;

  p=0.0104), Week 12 (20.0 m; p=0.0041), and Week 16 (21.0 m; p=0.0043).” 72

           76.    Table 11-9 of the INCREASE CSR further reports statistically significant

  improvements in 6MWD after 8 weeks (p=0.0002) and 12 weeks (p<0.0001) using MMRM

  analysis:73




  72
       INCREASE CSR (UTC_PH-ILD_055371) at -376, see also id. at -432-433.
  73
       Id. at -444.


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Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25               Page 243 of 455 PageID
                                              #: 34513




                                  (2)      Plasma NT-proBNP concentrations
           77.    The results of the INCREASE study reported statistically significant reductions of

  plasma concentration of NT-proBNP after 8 weeks and 16 weeks compared to baseline for PH-

  ILD patients treated with inhaled treprostinil.          The INCREASE study results also reported

  reductions in plasma concentration of NT-proBNP by at least 200 pg/ml after 8 weeks and 16

  weeks compared to baseline for PH-ILD patients treated with inhaled treprostinil.

           78.    The INCREASE publication indicates a statistically significant reduction of plasma

  concentration of NT-proBNP when it reports that “[t]he NT-proBNP level decreased 15% from

  baseline with inhaled treprostinil and increased 46% from baseline with placebo, as assessed by

  the least-squares mean for the log-transformed ratio to the baseline level at week 16 (treatment

  ratio, 0.58; 95% CI, 0.47 to 0.72; P<0.001) (Fig. S4).” 74

           79.    The statistical methods in the INCREASE study all included baseline values as

  covariates, recognizing the fact that patients with higher values at baseline also tend to have higher

  values at later time points, regardless of treatment. So the statistical analysis controls for this effect,



  74
       INCREASE publication (UTC_PH-ILD_010790) at -793-794.


                                                      32
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 244 of 455 PageID
                                           #: 34514



  ensuring that it won’t interfere with assessment of the treatment effect. Least-squares means are

  the group means after controlling for baseline, and are expressed as the estimated group mean for

  individuals whose baseline is at the average baseline value.

         80.     Many biological measurements have highly skewed distributions, with much more

  variability in high values than in low values. Typically, by taking the logarithm of such values

  (the log-transformed data), the resulting distribution is much better described by a normal

  (Gaussian) bell-shaped distribution, a context in which many statistical methods work well. For

  this reason, the analysis of such variables is often carried out on the log-transformed data, and the

  results then transformed back to the original scale for purposes of description of the results.

         81.     These data are also reported in Table 2 of the INCREASE publication: 75




  75
    INCREASE publication (UTC_PH-ILD_010790) at -797. The same NT-proBNP data are
  reported in Table 5 of the ’327 patent.



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Case 1:23-cv-00975-RGA-SRF         Document 422 Filed 07/09/25           Page 245 of 455 PageID
                                         #: 34515



  As shown above, Table 2 of the INCREASE publication also reports that the mean change in NT-

  proBNP levels from baseline after 16 weeks for the inhaled treprostinil group was -396.35 pg/ml

  while the mean change in NT-proBNP levels from baseline after 16 weeks for the placebo group

  was 1453.95 pg/ml.

           82.   The same 16 week NT-proBNP data regarding treatment ratio are provided in

  Figure S4 of the INCREASE publication along with 8 week NT-proBNP data: 76




  76
       INCREASE publication (UTC_PH-ILD_010790) at -816.



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Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25          Page 246 of 455 PageID
                                          #: 34516




           83.   Table 11-6 of the INCREASE Clinical Study Report includes the same statistically

  significant NT-proBNP reduction data at week 8 and week 16: 77



  77
       INCREASE CSR (UTC_PH-ILD_055371) at -438.


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Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25          Page 247 of 455 PageID
                                          #: 34517




           84.   Table 11-5 of the INCREASE Clinical Study Report also reports statistically

  significant (p=0.0005) NT-proBNP data at Week 878 using ANCOVA and LOCF imputation79:




  As shown above, Table 11-5 of the INCREASE Clinical Study Report also reports that the mean

  change in NT-proBNP levels from baseline after 8 weeks for the inhaled treprostinil group was -

  480.81 pg/ml while the mean change in NT-proBNP levels from baseline after 8 weeks for the

  placebo group was 604.05 pg/ml.




  78
       INCREASE CSR (UTC_PH-ILD_055371) at -437.
  79
       INCREASE CSR (UTC_PH-ILD_055371) at -436.


                                                36
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25               Page 248 of 455 PageID
                                           #: 34518



                                  (3)   Clinical worsening events
          85.     The results of the INCREASE study reported statistically significant reductions of

  clinical worsening events due to ILD including hospitalization for cardio-pulmonary indication or

  to decrease in 6MWD by more than 15% compared to baseline or to death or to lung transplantation.

          86.     The INCREASE publication indicated a statistically significant reduction of

  clinical worsening events due to ILD using a log-rank test when it reported that “[c]linical

  worsening occurred in 37 patients (22.7%) in the treprostinil group, as compared with 54 patients

  (33.1%) in the placebo group (hazard ratio, 0.61; 95% CI, 0.40 to 0.92; P = 0.04 by the log-rank

  test) (Fig. S5).”80

          87.     The same data is also reported in Table 2 of the INCREASE publication which also

  includes a further breakdown of the types of clinical worsening events: 81




  80
    INCREASE publication (UTC_PH-ILD_010790) at -794.
  81
    Id. at -797. The same clinical worsening event data are also included in Table 3 (and the
  immediately preceding text) of the Yutrepia label. Yutrepia Label (LIQ_PH-ILD_00126017) at -
  032-033.


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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25          Page 249 of 455 PageID
                                             #: 34519



            88.    The data reported in Table 2 of the INCREASE publication also indicate that 31 of

  163 patients treated with inhaled treprostinil and 50 of 163 patients treated with placebo

  experienced at least one of hospitalization for cardiopulmonary indication and a decrease in a 6-

  minute walk distance by more than 15% compared to a baseline 6-minute walk distance prior to

  administration of the study treatment. This difference is statistically significant (p=0.021, by

  Fisher’s exact test).82

            89.    The INCREASE publication also reported the data relating to clinical worsening

  events in a Kaplan-Meier plot:83




  82
       Calculation of Fisher Exact Test using Stata version 18.5:
         . // Clinical worsening: hospitalization and/or 6MWD decrease of >15%
         . tabi 31 132 \ 50 113, exact

                    |           col
                row |         1          2 |     Total
         -----------+----------------------+----------
                  1 |        31        132 |       163
                  2 |        50        113 |       163
         -----------+----------------------+----------
              Total |        81        245 |       326

                     Fisher's exact =                           0.021
             1-sided Fisher's exact =                           0.010
  83
    INCREASE publication (UTC_PH-ILD_010790) at -817. The same Kaplan-Meyer plot of time
  to first clinical worsening event is reported in Figure 1 of the ’327 patent and Figure 5 of the
  Yutrepia label. Yutrepia Label (LIQ_PH-ILD_00126017) at -033.


                                                    38
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 250 of 455 PageID
                                             #: 34520




                                 (4)     Exacerbations due to ILD
         90.     The results of the INCREASE study reported statistically significant reductions of

  exacerbations of ILD.

         91.     The INCREASE publication indicated a statistically significant reduction in

  exacerbations of ILD using a Fisher’s exact test when it reported that “[s]ignificantly fewer patients

  in the treprostinil group than in the placebo group had exacerbations of underlying lung disease

  (43 [26.4%] vs. 63 [38.7%]; P = 0.02 by Fisher’s exact test).” 84

         92.     Fisher’s exact test is a standard method for assessing the statistical significance of

  differences between counts of an outcome in one group as compared to counts of the same outcome

  in a comparison group, where each subject experiences the outcome either once or not at all.



  84
    INCREASE publication (UTC_PH-ILD_010790) at -796. The same information is reported in
  the ’327 patent. ’327 patent (UTC_PH-ILD_005310) at 35:25-28.


                                                   39
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 251 of 455 PageID
                                           #: 34521



         93.     A post-hoc analysis of the INCREASE study reports the same conclusion regarding

  the statistical significance of the exacerbation data85 and further includes a Kaplan-Meier plot of

  time to exacerbation of lung disease indicating “[a] significant treatment effect in favor of inhaled

  treprostinil versus placebo”:86




  85
     Nathan 2021 (UTC_PH-ILD_147114) at -119 (“43 (26%) of 163 patients in the treatment group
  had an exacerbation of underlying lung disease compared with 63 (39%) of 163 patients in the
  placebo group (p=0.02 by Fisher's exact test)”).
  86
     Nathan 2021 Supplement (UTC_PH-ILD_112161) at -169.


                                                   40
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 252 of 455 PageID
                                            #: 34522



            94.   The Kaplan-Meier curve is a widely-used statistical method used to show how the

  fraction of individuals who have not (yet) experienced a particular event (such as an exacerbation

  of ILD) varies as a function of time since initiation of treatment. Such figures are also called

  “survival curves.” Roughly speaking, the curve shows the probability over time of surviving

  without experiencing the event. The method correctly takes account of all information available

  from each individual in the case that some individuals have incomplete information.

            95.   The log-rank test is a statistical method for assessing whether two survival curves

  differ.

            96.   The hazard ratio is a measure comparing two survival curves. As defined by the

  National Cancer Institute, the hazard ratio is:

                  A measure of how often a particular event happens in one group
                  compared to how often it happens in another group, over time. In
                  cancer research, hazard ratios are often used in clinical trials to
                  measure survival at any point in time in a group of patients who have
                  been given a specific treatment compared to a control group given
                  another treatment or a placebo. A hazard ratio of one means that
                  there is no difference in survival between the two groups. A hazard
                  ratio of greater than one or less than one means that survival was
                  better in one of the groups.87

            97.   The INCREASE CSR also reports that “[t]he reduction in exacerbations in the

  inhaled treprostinil group was statistically significant using a Chi-square test (p=0.0180),

  representing a 34% reduction in risk.”88

            98.   The chi-square(d) test is an alternative to the Fisher’s exact test for assessing the

  difference between two groups in the fraction of individuals experiencing an event. When the total

  number of events observed is quite small, the p-value calculated using the chi-squared method can



  87
      National Cancer Institute 2025. https://www.cancer.gov/publications/dictionaries/cancer-
  terms/def/hazard-ratio, accessed 10 February 2025 (UTC_PH-ILD_227452).
  88
     INCREASE CSR (UTC_PH-ILD_055371) at -469.


                                                    41
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 253 of 455 PageID
                                            #: 34523



  be unreliable, so in that case many statistics texts recommend the Fisher test. However, when the

  number of events is modest (say more than 10), the results from the two tests are generally in close

  agreement. For example, in the case of exacerbation rates cited above, the p-value from the chi-

  square test is p=0.018 and the p-value from Fisher’s exact test is 0.024.

                                (5)     Forced vital capacity
          99.     The results of the INCREASE study reported statistically significant improvements

  in FVC after 8 weeks and 16 weeks compared to baseline for PH-ILD patients treated with inhaled

  treprostinil. The INCREASE study results also reported improvements in FVC of at least 20 ml

  after 8 weeks and 16 weeks compared to baseline for PH-ILD patients treated with inhaled

  treprostinil.

          100.    The INCREASE publication indicates a statistically significant improvement in %

  predicted FVC using MMRM analysis after 8 weeks (p=0.01) and 16 weeks (p=0.03) in Table

  S6:89




  89
    INCREASE publication (UTC_PH-ILD_010790) at -825. The same FVC MMRM data are
  reported in Table 1 of the ’327 patent.


                                                  42
Case 1:23-cv-00975-RGA-SRF         Document 422 Filed 07/09/25           Page 254 of 455 PageID
                                         #: 34524




         101.   A post-hoc analysis of the INCREASE study indicated a statistically significant

  improvement in absolute FVC for the idiopathic interstitial pneumonia (IIP) subpopulation after

  16 weeks using MMRM when it reported that “[a] subgroup analysis of patients with idiopathic

  interstitial pneumonia showed significant FVC differences at week 16 (108.2 mL; SE 46.9; 95%

  CI 15.3 to 201.1; p=0.023).”90

         102.   A post-hoc analysis of the INCREASE study indicated a statistically significant

  improvement in absolute FVC for the idiopathic pulmonary fibrosis (IPF) subpopulation after 16

  weeks using MMRM when it reported that “analysis of patients with idiopathic pulmonary fibrosis




  90
    Nathan 2021 (UTC_PH-ILD_147114) at -118. The same FVC MMRM analysis for the IIP
  subgroup is reported in Table 2 of the ’327 patent.


                                                43
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25          Page 255 of 455 PageID
                                             #: 34525



  showed… significant [FVC] differences of 168.5 mL (64.5; 40.1 to 297.0; p=0.011) at week 16

  (figure 3A).”91

         103.       The INCREASE post hoc analysis also reported statistically significant treatment

  effects with respect to % predicted FVC in the IIP and IPF subpopulations after 8 and 16 weeks.

  Regarding the IIP subpopulation, the resulting analysis reported a p-value of p=0.037 after 8 weeks

  and p=0.0096 after 16 weeks.92 Regarding the IPF subpopulation, the resulting analysis reported

  a p-value of p=0.038 after 8 weeks and p=0.015 after 16 weeks. 93

                              c. Impact of INCREASE results

         104.       In contrast to the under-sampled, nonrandomized, noncomparative, uncontrolled,

  single-arm, single-center studies on which Dr. Channick relies in his Opening Report—Saggar

  2014, Parikh 2016, Agarwal 2015, and Faria-Urbina 2018 (the “Uncontrolled Studies”)—the

  INCREASE study was a large, well-designed, and well-executed prospective, comparative,

  multicenter, randomized (1:1 inhaled treprostinil:placebo), double-blinded, placebo-controlled

  clinical trial in which inhaled treprostinil treatment was compared to placebo treatment in 326 PH-

  ILD patients over 16 weeks.

         105.       I have also exhaustively detailed (in my Rebuttal Report) how the mere fact that

  the Uncontrolled Studies lack meaningful controls prevents the Uncontrolled Studies from

  demonstrating an inhaled treprostinil treatment effect in PH-ILD patients. 94 By contrast, the

  INCREASE study’s randomized placebo-controlled design permits the identification of inhaled



  91
     Nathan 2021 (UTC_PH-ILD_147114) at -118-119. The same FVC MMRM analysis for the IPF
  subgroup is reported in Table 3 of the ’327 patent.
  92
     Nathan 2021 (UTC_PH-ILD_147114) at -118. The same FVC MMRM analysis for the IIP
  subgroup is reported in Table 2 of the ’327 patent.
  93
     Nathan 2021 (UTC_PH-ILD_147114) at -118-119. The same FVC MMRM analysis for the IPF
  subgroup is reported in Table 3 of the ’327 patent.
  94
     Thisted Reb. Rpt. §§ VII, IX.B-E, XI, XV.


                                                   44
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25           Page 256 of 455 PageID
                                              #: 34526



  treprostinil treatment effects in PH-ILD patients, for the reasons I detail above and in my Rebuttal

  Report. 95 Moreover, the INCREASE Study’s randomized placebo-controlled design and well-

  sampled, prospective, multi-center, and double-blinded characteristics eliminate multiple sources

  of bias that I identified in my Rebuttal Report that apply to the Uncontrolled Studies. 96 As detailed

  in my Rebuttal Report, these biases render the Uncontrolled Studies’ overstated and lacking

  generalizability and reliability.97

          106.    I note that the INCREASE study incorporated the following features that the

  Uncontrolled Studies lack:

                      a. The INCREASE study had a large sample size. 326 patients underwent

                          randomization, and 130 and 128 patients who were respectively assigned to

                          the treatment and placebo arms completed the week 16. The INCREASE

                          study’s large sample size i) ensured that the INCREASE study was

                          adequately powered to detect clinically important differences in effects on

                          exercise capacity and ii) provided a large base of patients to represent the

                          population of PH-ILD patients.

                      b. The INCREASE study specified patient inclusion and exclusion criteria in

                          advance of patient recruitment, ensuring a well-defined patient population

                          prior to randomization.

                      c. The INCREASE study included a placebo control arm against which

                          efficacy of inhaled treprostinil in the treatment arm could be assessed.




  95
     Thisted Reb. Rpt. §§ X, XI.
  96
     Thisted Reb. Rpt. §§ IX.B-E, X, XI.
  97
     Thisted Reb. Rpt. §§ IX.B-E, XI, XV.


                                                    45
Case 1:23-cv-00975-RGA-SRF      Document 422 Filed 07/09/25            Page 257 of 455 PageID
                                      #: 34527



                d. The INCREASE study defined the primary, secondary, and exploratory

                   efficacy and safety endpoints, defined a schedule of visits at which each was

                   assessed in every patient, and defined clear protocols for conducting each

                   assessment. This ensured that data were collected in a consistent manner,

                   maximizing data quality and interpretability of results.

                e. The INCREASE study randomized allocation of treatment (inhaled

                   treprostinil or placebo), ensuring that no factor other than treatment

                   assignment could systematically affect the measured effects of each

                   treatment arm.

                f. The INCREASE study blinded all parties—patients, investigators, steering

                   committee, and sponsors—ensuring that assessments could not be

                   influenced, consciously or unconsciously, by knowledge of the treatment to

                   which each patient was assigned.

                g. The INCREASE study established a well-defined plan for statistical

                   analysis of the data, and that plan was finalized before any data were

                   unblinded.

                h. The INCREASE study’s analyses compare the changes between inhaled

                   treprostinil and placebo treatment arms, thereby ensuring that any possible

                   effects of regression to the mean would be present in both treatment groups

                   and so would cancel out in any statistical comparison.

                i. The INCREASE study’s statistical methods fully account for all

                   randomized patients, not just those whose disease did not worsen, or who

                   died, or who required lung transplantation. For example, the INCREASE




                                            46
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 258 of 455 PageID
                                            #: 34528



                          study’s protocol specifically describes that patients whose 6MWD could not

                          be obtained due to inability to perform the test, death, or lung

                          transplantation would be recorded as having a 0 meter 6MWD; and any

                          patient whose 6MWD was missing for any other reason (such as patient

                          deciding not to continue with the study) would have the most recent 6MWD

                          entered (this is known as the “last observation carried forward” (LOCF)

                          method of imputing missing values). This ensured that adverse post hoc

                          selection due to patient status would not affect the assessment of the

                          INCREASE study’s outcomes.

                      j. The INCREASE study included planned sensitivity analyses to examine the

                          effects of different statistical assumptions concerning missing data

                          (MMRM and MCMC) and to verify that the INCREASE study’s findings

                          did not depend on a particular method of analysis.

                      k. The INCREASE study was conducted at 93 geographically scattered study

                          centers, ensuring wide generalizability of INCREASE study’s results.

           107.    As noted in detail in my Rebuttal Report, none of the Uncontrolled Studies were

  capable of identifying treatment effects of inhaled treprostinil in PH-ILD patients. 98 In contrast to

  the Uncontrolled Studies, the INCREASE study randomized a well-defined cohort of PH-ILD

  patients; carefully monitored outcomes and obtained data in a well-defined, blinded, and uniform

  way over a scheduled and fixed period of treatment; and rigorously compared outcomes in patients

  treated with inhaled treprostinil to those receiving placebo treatment. Therefore, the INCREASE




  98
       Thisted Reb. Rpt. §§ IX.B-E, XI, XV.


                                                   47
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25             Page 259 of 455 PageID
                                              #: 34529



  study was the first study that was capable of identifying whether inhaled treprostinil was an

  effective and safe treatment in PH-ILD patients.

           108.   However, the INCREASE study’s findings were not a foregone conclusion. The

  Uncontrolled Studies that involved inhaled treprostinil all concerned mixed groups of pulmonary

  hypertension patients that included WHO Group 3 PH, e.g., these sample populations contained

  PH-ILD, PH-CPFE, and PH-COPD patients. For example, the Agarwal 2015 authors concluded

  that “Group 3 PH can be effectively and safely treated with [inhaled treprostinil],” making no

  distinction between PH-COPD and PH-ILD patients. The chart review reported in Faria-Urbina

  2018 was similar in this regard. In fact, both Agarwal 2015 and Faria-Urbina 2018 report data

  suggesting that PH-COPD patients appeared to fare better on inhaled treprostinil than PH-ILD

  patients. The authors of Faria-Urbina 2018 even emphasized that “COPD patients tended to have

  greater benefit from iTre treatment . . . .”99 However, if either of Agarwal 2015 or Faria-Urbina

  2018 were truly predictive of the results that would be obtained in a properly conducted

  prospective randomized clinical trial (that is, the “prospective clinical trial” and “larger prospective

  studies” the authors respectively called for), one would predict that inhaled treprostinil would be

  more effective in PH-COPD than PH-ILD, if it was effective at all in the latter. That was not the

  case, as detailed in my Rebuttal Report.100 The prospective, multicenter, randomized, double-blind,

  placebo-controlled clinical trial of inhaled treprostinil in PH-COPD—the PERFECT trial—which

  enrolled 188 subjects, yielded no evidence of effectiveness for inhaled treprostinil, and

  demonstrated more serious adverse events, deaths, and treatment discontinuations than placebo—

  leading to the study’s termination.




  99
       Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941.
  100
        Thisted Reb. Rpt. §§ IX.B-E, X, XI.


                                                    48
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 260 of 455 PageID
                                            #: 34530



            109.   With the INCREASE study completed, its findings demonstrate the outcomes that

  can be expected when patients with PH-ILD are administered inhaled treprostinil for multiple

  weeks. Unlike the single-center studies that comprise the Uncontrolled Studies, the INCREASE

  study findings informing efficacy and safety are pooled from 93 study centers spread throughout

  the United States. This indicates that the INCREASE study’s findings are not driven by data

  generated from one, two, or even a handful of specialty centers but instead typify results from a

  broad range of clinical settings as well as patient demographics.

            110.   With the INCREASE study completed, its findings also demonstrate that

  administering Tyvaso to PH-ILD patients in a manner consistent with the dosing regimen used in

  INCREASE provides the statistically significant treatment effects that I detailed above. Therefore,

  PH-ILD patients administered Tyvaso in this manner, would be more likely than not to exhibit

  treprostinil treatment effects consistent with those I detail above.

            111.   Likewise, I note that the INCREASE study’s findings inform the efficacy and safety

  of other inhaled products with treprostinil as their only active ingredient. If such a product

  administers treprostinil to PH-ILD patients in an amount consistent with the amounts delivered in

  the INCREASE study, and if administering that product provides comparable bioavailability, I

  would expect that product to produce efficacy results consistent with those I detail above, provided

  that the product did not introduce additional safety or tolerability issues not present with Tyvaso.

  In fact, as described above, this is the principle behind FDA permitting product sponsors to rely

  on FDA’s clinical efficacy and safety findings of the sponsor-selected RLD if the product sponsors

  establish the requisite biocomparability or bioequivalence of their product with respect to the

  RLD.101



  101
        Supra Section III.C.


                                                   49
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25           Page 261 of 455 PageID
                                             #: 34531



          112.       I also note that inhaled products comprising treprostinil as their only active

  ingredient and that exhibit comparable bioavailability, safety, and tolerability to Tyvaso, and that

  are administered consistent with the INCREASE study dosing regimen, would be expected to

  replicate the INCREASE study’s prespecified efficacy and safety endpoints. I would also expect

  that endpoints which were examined after unblinding but not prespecified in the study protocol

  would be more likely than not to be replicated. This would be true whether or not a particular

  endpoint was included among those listed on those products’ labels.

  IV.     LIQUIDIA’S ACCUSED YUTREPIA PRODUCT

          A.         Liquidia’s Yutrepia product indicated for PH-ILD to improve exercise
                     ability.

                     1.     Liquidia’s Yutrepia product

          113.       Liquidia’s Yutrepia product is an inhalable dry powder that—like Tyvaso and

  Tyvaso DPI—uses treprostinil as the active ingredient. 102 Yutrepia uses a sodium salt of

  treprostinil:103




  102
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020, -022, -026-027, -034, -036-054; compare
  Yutrepia Label (LIQ_PH-ILD_00126017) at -020, -026 with 2022 Tyvaso Label (UTC_PH-
  ILD_005268) at -268, -274 and 2022 Tyvaso DPI Label (UTC_PH-ILD_010709) at -709, -715-
  716; see supra § III.D.1.
  103
      See Yutrepia Label (LIQ_PH-ILD_00126017) at -026.


                                                   50
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 262 of 455 PageID
                                            #: 34532



  Liquidia elected to pursue the 505(b)(2) approval pathway for its Yutrepia product as detailed

  below and has been tentatively approved for the PAH and PH-ILD indications: 104




         114.    Yutrepia further consists of the following inactive ingredients: L-leucine,

  polysorbate 80, sodium citrate, sodium chloride, and trehalose. 105 Every 5mg of Yutrepia consists

  of 28µg of treprostinil sodium salt, which is equivalent to 26.5µg of treprostinil. Yutrepia’s

  tentatively approved label, instructions for use, and packaging confirm that Yutrepia “should only

  be delivered using the capsule-based inhaler.” 106 Yutrepia’s tentatively approved label and

  instructions for use describe and illustrate this dry powder inhaler. 107

         115.    The Yutrepia label, instructions for use, and packaging indicates that capsules will

  come in the following four strengths:108




  104
      Yutrepia Label (LIQ_PH-ILD_00126017) at -017-021, -055; infra § IV.A.2.
  105
      Yutrepia Label (LIQ_PH-ILD_00126017) at -026.
  106
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-027, -034, -036-054.
  107
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -034, -036-046.
  108
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020, -022, -027, -034, -036, -048-054.


                                                    51
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 263 of 455 PageID
                                           #: 34533




  Yutrepia’s tentatively approved label and instructions for use instruct patients to take two breaths

  per capsule, and the second breath ensures that the patient receives the full dose that a particular

  capsule strength provides.109 Yutrepia’s tentatively approved label nonetheless indicates that the

  four capsule strengths do not deliver the entire amount of active ingredient available within a

  capsule, providing in vitro data estimating the dose of treprostinil delivered from each of the

  available capsule strengths:110




  109
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -042-043; see also Product Dossier
  (LIQ_PH-ILD_00146984) at -6999-7000.
  110
      Yutrepia Label (LIQ_PH-ILD_00126017) at 027; infra § IV.A.2.b.


                                                  52
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 264 of 455 PageID
                                           #: 34534



  As noted in the table, the smallest amount of treprostinil delivered from a capsule for patients

  administered Yutrepia will be approximately 15.1 mcg.111

         116.    The tentatively approved Yutrepia label instructs how to administer Yutrepia in

  terms of Tyvaso breaths.112 Table 1 of the Yutrepia label correlates Tyvaso dosing with Yutrepia

  dosing:113




         117.    The tentatively approved Yutrepia label instructs treprostinil-naïve patients to

  “begin with 26.5 mcg [of Yutrepia] 3 to 5 times per day, in 2 breaths.” 114 This dosing, when

  converted to delivered dosage, is nearly identical to the recommended initial dose in the

  INCREASE study.115 This delivered dose also corresponds to the initial dosage on the Tyvaso and

  Tyvaso DPI labels.116 The tentatively approved Yutrepia label further instructs those transitioning



  111
      Yutrepia Label at LIQ_PH-ILD_00126027.
  112
      Yutrepia Label at LIQ_PH-ILD_00126021-00126022; infra § IV.A.2.b.
  113
      Yutrepia Label at LIQ_PH-ILD_00126021-00126022; infra § IV.A.2.b.
  114
      Yutrepia Label at LIQ_PH-ILD_00126021.
  115
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022, -027 with INCREASE
  Protocol (UTC_PH-ILD_145360) at -470-471; supra § III.D.2.a; infra § IV.A.2.b.
  116
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022, -027 with 2022 Tyvaso Label
  (UTC_PH-ILD_005268) at -269 and 2022 Tyvaso DPI Label (UTC_PH-ILD_010709) at -710-
  711; see also Rajeev Saggar Dep. Tr. at 90:11-22 (Q. What’s the starting dose of Yutrepia? A.
  26.5 micrograms. A. I said 26.5 micrograms. Q. And both Tyvaso and Tyvaso DPI can offer
  doses of -- similar doses of treprostinil, correct? A. Yes, similar doses. That is correct. Q. And
  both Tyvaso and Tyvaso DPI doses and Yutrepia doses can be increased above 26.5 micrograms
  per administration, correct? A. Yes, that is correct.); infra § IV.A.2.bb.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 265 of 455 PageID
                                            #: 34535



  from the Tyvaso inhalation solution to follow the conversion table reproduced just above at “3 to

  5 times per day,” i.e., corresponding to Tyvaso’s QID instructions, and “in 2 breaths.” 117

  Accordingly, the tentatively approved Yutrepia label instructs that both treprostinil-naïve patients

  and patients transitioning from Tyvaso take 2 breaths per treatment session, i.e., per capsule, and

  thus a single administration event does not exceed 15 breaths by the patient. 118 Yet, as noted above,

  the tentatively approved label and instructions for use provide this two-breath-per-capsule

  instruction to ensure that patients completely inhale a capsule’s contents. 119

         118.    The tentatively approved Yutrepia label instructs that “dose increases of 26.5 mcg

  per dose each week may be implemented, as tolerated[,]” for all patients and that the “target

  maintenance dosage is 79.5-106 mcg, 4 times daily.” 120 When these doses are converted to

  delivered dosages, again, they align with the dosing regimen used in the INCREASE study. 121

  Likewise the delivered dose amounts correspond to dosages on the Tyvaso and Tyvaso DPI

  labels.122 Accordingly, the tentatively approved Yutrepia label instructs targeting administering a

  single inhalation event with a delivered dose of 15-100 µg of treprostinil or a pharmaceutically

  acceptable salt thereof.123 Yet the tentatively approved Yutrepia label acknowledges greater doses



  117
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021.
  118
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021.
  119
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -042-043.
  120
      Yutrepia Label (LIQ_PH-ILD_00126017) at -022; Rajeev Saggar Dep. Tr. 220:6-15 (A. Well,
  we have – we’re a capsule-based formulation, so our -- we are titrated based on 26.5-microgram
  increments. Tyvaso is titrated on-- Tyvaso nebulizer is titrated on 6 micrograms breath-to-breath
  equivalence. And Tyvaso DPI uses -- I believe it's 16 micrograms. So there’s subtle differences
  between how much breath by breath is being delivered, but these are -- Yutrepia has comparable
  bioavailability relative to Tyvaso nebulizers.).
  121
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022, -027 with INCREASE
  Protocol (UTC_PH-ILD_145360) at -470-471; supra § III.D.2.a; infra § IV.A.2.b.
  122
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022, -027 with 2022 Tyvaso Label
  (UTC_PH-ILD_005268) at -269 and 2022 Tyvaso DPI Label (UTC_PH-ILD_010709) at -710--
  711; infra § IV.A.2.b.
  123
      Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022, -027; infra § IV.A.2.b.


                                                   54
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 266 of 455 PageID
                                           #: 34536



  may be administered at least in view of its conversion table instructing that 132.5µg and 159µg of

  “YUTREPIA Dose” corresponds to “≥15 and ≤17” and “≥18” Tyvaso breaths. 124

         119.    As noted above, the tentatively approved Yutrepia label provides tables converting

  its capsule dosage into estimated delivered dosage and correlating Tyvaso breaths with Yutrepia

  capsules.125 These conversion tables reveal that the dosing instructions provided by Yutrepia’s

  tentatively approved label’s “2 Dosage AND ADMINISTRATION” section of the “FULL

  PRESCRIBING INFORMATION” and “DOSAGE AND ADMINISTRATION” section of the

  “HIGHLIGHTS OF PRESCRIBING INFORMATION” align with the dosing regimen of the

  INCREASE study. 126 The “26.5 mcg 3 to 5 times per day” initial dose for patients naïve to

  treprostinil aligns with the initial dosages administered during the INCREASE study. 127 Yutrepia’s

  tentatively approved label’s instruction to increase doses by 26.5µg per dose each week as tolerated,

  aligns with the rate at which Tyvaso dosing was titrated upward during the INCREASE study. 128

  Moreover, Yutrepia’s target maintenance dosage (79.5µg to 106µg) correspond to the INCREASE

  study’s target and maximum doses respectively.129 Accordingly the tentatively approved Yutrepia

  label twice instructs administering Yutrepia to PH-ILD patients consistent with the INCREASE

  study.130




  124
      Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022; infra § IV.A.2.b.
  125
      Yutrepia Label (LIQ_PH-ILD_00126017) at -021-032, -027; infra § IV.A.2.b.
  126
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021-032, -027 with INCREASE
  Protocol (UTC_PH-ILD_145360) at -470-471; supra §§ III.D.2, IV.A.1; infra § IV.A.2.b.
  127
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021-032, -027 with INCREASE
  Protocol (UTC_PH-ILD_145360) at -470-471; supra §§ III.D.2, IV.A.1; infra § IV.A.2.b.
  128
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021-032, -027 with INCREASE
  Protocol (UTC_PH-ILD_145360) at -470-471; supra §§ III.D.2, IV.A.1; infra § IV.A.2.b.
  129
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021-032, -027 with INCREASE
  Protocol (UTC_PH-ILD_145360) at -470-471; supra §§ III.D.2, IV.A.1; infra § IV.A.2.b.
  130
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021-032, -027 with INCREASE
  Protocol (UTC_PH-ILD_145360) at -470-471; supra §§ III.D.2, IV.A.1; infra § IV.A.2.b.


                                                  55
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 267 of 455 PageID
                                            #: 34537



                 2.      Liquidia relies on Tyvaso data for regulatory approval of Yutrepia
                         indicated for pulmonary hypertension associated with interstitial lung
                         disease (PH-ILD; WHO Group 3) to improve exercise ability

                             a. Liquidia pursued approval for Yutrepia via the 505(b)(2)
                                pathway, including for the PH-ILD indication

         120.    Liquidia’s internal reference for its Yutrepia product is LIQ861. 131 Liquidia

  submitted the original IND for LIQ861 on September 30, 2016 (IND 129819). 132 However, in a

  May 9, 2016 Pre-IND meeting, Liquidia discussed the prospects of pursuing the above-recited

  PAH indication for its Yutrepia product via that 505(b)(2) pathway and electing to use Tyvaso as

  the reference list drug.133 Liquidia admitted that its product had that same active ingredient as

  Tyvaso and would be administered by the same inhaled route, but Liquidia proposed that its

  product’s “different dosage form (inhalation powder versus liquid aerosol), includes differences

  in excipients, and requires a different inhalation device (DPI versus nebulizer)” justified the

  505(b)(2) pathway. 134 FDA indicated that Liquidia’s proposal “appear[ed] acceptable, at th[at]

  time, based on the available information,” but expressly noticed Liquidia of the implications of

  pursuing 505(b)(2) approval:135




  131
      IND 129819 SN0001 Cover Letter (LIQ_PH-ILD_00022878) at -878; IND 129819 Application
  (LIQ_PH-ILD_00022883) at -883.
  132
      E.g., Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -026.
  133
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -115-118; see also Rajeev Saggar Dep. Tr. at
  68:14-69:4 (Q. You say that, at the time you did a Yutrepia and Tyvaso comparative bioavailability
  study in healthy volunteers -- at that time, Liquidia was already intending to use the results of that
  study to seek an indication for PH-ILD for Yutrepia? A. Well, at that time, the regulatory pathway
  was a 505(b)(2) strategy, with the referenced drug using Tyvaso. That -- the regulatory agreement
  with the agency was to conduct a specific set of studies that would then, if agreed upon that it was
  safe, and have comparable bioavailability, that it can be reviewed for effectively approval for PAH
  at that time. At that time that you’re alluding to, the approval -- Tyvaso's approval for PH-ILD
  had not been granted.); see supra §§ III.C, IV.A.1.
  134
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -115-118; see supra §§ III.C, IV.A.1.
  135
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -118; see supra §§ III.C, IV.A.1.


                                                   56
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 268 of 455 PageID
                                            #: 34538




  Of particular relevance to Liquidia, who indicated their intention to rely on Tyvaso, are the

  instructions that “applicant[s] should establish a ‘bridge’ . . . between the proposed product and

  each listed drug on which the applicant proposes to rely to demonstrate that such reliance is

  scientifically justified.”136 The further instruction recommends, among other things, that sponsors

  “consult the Agency’s regulations at 21 CFR 314.54, and the draft guidance for industry

  Applications Covered by Section 505(b)(2) (October 1999).” 137 These instructions further

  emphasize that sponsors must submit data to support the reliance on the RLD. 138 It also instructs:139




  136
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -115-118; see supra §§ III.C, IV.A.1.
  137
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -132-134; see supra § III.C.
  138
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -132; see supra § III.C
  139
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -132-134; see supra § III.C.


                                                   57
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 269 of 455 PageID
                                           #: 34539



  This is not the only time Liquidia received this notice, as it was included in both May 11, 2017

  and June 6, 2017 correspondence regarding a May 17, 2017 Type B End of Phase 1 meeting. 140 It

  was also included in correspondence arising from Liquidia’s November 19, 2019 Pre-NDA

  meeting submission.141

         121.    In that November 2019 Pre-NDA meeting request, Liquidia inquired whether FDA

  “agree[d] that a PK bridge ha[d] been established between [Yutrepia] and the reference listed drug,

  Tyvaso, to support a 505(b)(2) NDA for [Yutrepia] relying on the FDA’s previous finding of safety

  and effectiveness for Tyvaso, the RLD[.]” 142 Liquidia was expressly referencing the data it had

  generated from its LTI-102 study—a comparative bioavailability study that I discuss in greater

  detail below.143 FDA agreed, stating that the “presented exposure comparisons are reasonable.” 144

  Less than three months later (January 24, 2020), Liquidia submitted an original 505(b)(2)

  application for LIQ861 (NDA 213005) listing Tyvaso as the reference listed drug (RLD; NDA

  022387) and seeking approval for Tyvaso’s PAH indication.145

         122.    Liquidia’s 505(b)(2) application admits that “Tyvaso shares the same active

  ingredient (treprostinil), route of administration (oral inhalation), and indication (PAH) with

  [Yutrepia],” but continues to assert the 505(b)(2) pathway is appropriate because Yutrepia’s




  140
      May 11, 2017 Correspondence (LIQ_PH-ILD_00046101) at -103, -110-113; June 6, 2017
  Correspondence (LIQ_PH-ILD_00046141) at -142, -152-155.
  141
      Pre-NDA meeting (LIQ_PH-ILD_00046156) at -158, -171-172.
  142
      Pre-NDA meeting (LIQ_PH-ILD_00046156) at -163; see supra §§ III.C, IV.A.1; infra §
  IV.A.2.b.
  143
      Pre-NDA meeting (LIQ_PH-ILD_00046156) at -163; infra § IV.A.2.b.
  144
      Pre-NDA meeting (LIQ_PH-ILD_00046156) at -163l see supra §§ III.C, IV.A.1; infra §
  IV.A.2.b.
  145
      Original NDA Cover Letter (LIQ_PH-ILD_00045978) at -978-979; Original 505(b)(2)
  Application (LIQ_PH-ILD_00046054) at -054-058; see supra §§ III.C, IV.A.1.


                                                  58
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 270 of 455 PageID
                                            #: 34540



  “dosage form and formulation of LIQ861 differ from that of Tyvaso.” 146 Yet the application

  describes the formulation merely differing as follows: 147




  And the application’s nonclinical studies established that these excipients are safe to inhale. 148

          123.    In view of these so-called differences, Liquidia’s application states that:

                  The NDA for LIQ861 inhalation powder is submitted in accordance
                  with Section 505(b)(2) of the Federal Food, Drug, and Cosmetic Act,
                  relying on the FDA’s previous finding of safety and effectiveness
                  for Tyvaso, the selected reference listed drug (RLD) for
                  demonstration of the effectiveness of treprostinil in the treatment of
                  PAH. Studies to demonstrate the efficacy of treprostinil were
                  performed by the manufacturer of Tyvaso and are referenced via the
                  505(b)(2) pathway and FDA’s previous finding of safety and
                  effectiveness for Tyvaso to meet the regulatory requirements for that
                  information. Accordingly, the Applicant did not repeat efficacy
                  studies with LIQ861 (treprostinil) inhalation powder. 149

  Liquidia’s 505(b)(2) application also lists the clinical information that it is relying on for approval,

  stating that “[t]he clinical information used to support this submission is displayed in Table 2.5-

  1[,]” which is reproduced immediately below:150




  146
      Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -500-503; see supra §§ III.C,
  IV.A.1.
  147
      Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -503; see supra §§ III.C, IV.A.1.
  148
      Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -503-504; Original NDA 213005
  § 3.2.P.4.6 (LIQ_PH-ILD_00062236) at -236-244.
  149
      Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-516 (emphasis added); see
  supra §§ III.C, IV.A.1.
  150
      Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; see also Original NDA
  213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-362; see supra §§ III.C, IV.A.1.


                                                    59
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 271 of 455 PageID
                                           #: 34541




         124.    Table 2.5-1 makes clear that Liquidia is relying on FDA’s previous findings of

  safety and effectiveness for Tyvaso with respect to both clinical safety and effectiveness. 151 This

  table also expressly identifies LTI-102 as the “PK Bridge to RLD.” 152 I also note that Liquidia


  151
      Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -518; see also Original NDA 213005
  § 2.2 (LIQ_PH-ILD_00046359) at -360-362; see also Rajeev Saggar Dep. Tr. 70:11-72:16; see
  supra §§ III.C.
  152
      Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -518; see also, e.g., Original NDA
  213005 § 2.7.1 (LIQ_PH-ILD_00045396) at -402 (characterizes LTI-102 as the “[d]efinitive PK
  bridge between Tyvaso and LIQ861 using the intended commercial formulation of LIQ861 in
  healthy volunteers.”); see supra §§ III.C, IV.A.2.b.


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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 272 of 455 PageID
                                           #: 34542



  submitted the results of its Phase 3 study (LTI-301, INSPIRE)—a study that FDA required to

  demonstrate Yutrepia’s safety and tolerability specifically in PAH patients. 153

         125.    On July 24, 2023, Liquidia amended its NDA, adding the PH-ILD indication recited

  above to Yutrepia’s proposed label. 154 Liquidia reasoned that because Yutrepia “provides for a

  new dosage form of treprostinil, [and is] relying on Tyvaso . . . as the listed drug” that the

  amendment was warranted in view of Tyvaso receiving supplemental approval for the above-

  recited PH-ILD indication in March 2021.155 Liquidia described the amendment as “afford[ing]

  alignment with Tyvaso labeling by expanding the [Yutrepia] indication statement to include” the

  above-recited PH-ILD indication. 156 However, Liquidia amended more than just Yutrepia’s

  proposed label’s indication statement. 157 This amendment further revised Yutrepia’s proposed

  label to also refer to the INCREASE study’s patient population and include a summary of the

  INCREASE study to “CLINICAL STUDIES” section of the “FULL PRESCRIBING

  INFORMATION,” which expressly recites the INCREASE study’s 6MWD and clinical

  worsening event due to interstitial lung disease findings. 158 Notably, Liquidia did not otherwise

  adjust course with respect to pursuing the 505(b)(2) pathway for Yutrepia’s approval. 159



  153
      Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; see also Original NDA
  213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-362; Pre-IND meeting (LIQ_PH-ILD_00046114)
  at -128-129; see supra § III.C.
  154
      Yutrepia PH-ILD sNDA (LIQ_PH-ILD_00091023) at -023-024; Amendment Cover Letter
  (LIQ_PH-ILD_00091022) at -022; Amended Proposed Label (LIQ_PH-ILD_00091129) at -129-
  130, -139-142; supra § IV.A.1; infra § IV.A.3.
  155
      Amendment Cover Letter (LIQ_PH-ILD_00091022) at -022; supra § IV.A.1; supra § IV.A.1;
  infra § IV.A.3.
  156
      Amendment Cover Letter (LIQ_PH-ILD_00091022) at -022; supra § IV.A.1; infra § IV.A.3.
  157
      Amended Proposed Label (LIQ_PH-ILD_00091129) at -129-130, -139-142; supra § IV.A.1;
  infra § IV.A.3.
  158
      Amended Proposed Label (LIQ_PH-ILD_00091129) at -129-130, -139-142; supra § IV.A.1;
  infra § IV.A.3.
  159
      Yutrepia PH-ILD sNDA (LIQ_PH-ILD_00091023) at -023; Amendment Cover Letter
  (LIQ_PH-ILD_00091022) at -022; supra § IV.A.1.


                                                  61
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 273 of 455 PageID
                                           #: 34543



         126.    On August 16, 2024, FDA tentatively approved Yutrepia for both Tyvaso’s PAH

  and PH-ILD indications.160 Notably FDA took this action on a 505(b)(2) application in the absence

  of any clinical data reflecting Yutrepia administration to PH-ILD patients, e.g., the regulatory logs

  that Liquidia supplied for NDA 213005 indicate that Liquidia has yet to provide to FDA any data

  reflecting Yutrepia in PH-ILD patients.161 Liquidia’s CMO, Dr. Rajeev Saggar,162 confirmed this




  160
      Yutrepia label (LIQ_PH-ILD_00126017) at -017-018, -055; supra § IV.A.1.
  161
      LIQ_PH-ILD_00130687; LIQ_PH-ILD_00130689; supra § IV.A.1; infra § IV.A.2.c.
  162
      D.I. 136; I understand that Rajeev Saggar was designated as a Rule 30(b)(6) corporate
  representative for Liquidia on corporate topic numbers 1 (Liquidia’s research and development
  activities related to the development of treatment regimens to improve exercise capacity in patients
  with PH-ILD, including any Liquidia NDA Product.), 2 (Research and development activities
  performed by or on behalf of Liquidia regarding the administration of Yutrepia to patients having
  PH-ILD including all relevant pre-clinical or clinical studies or trials.), 3 (Liquidia’s
  communications, collaborations, contracts, and consultations with consultants, experts, clinicians
  or other third parties regarding the research and development of Yutrepia for PH-ILD.), 6
  (Liquidia’s knowledge regarding any comparative studies relating the safety and efficacy of
  TYVASO®, TYVASO DPI®, or any Treprostinil Product to Yutrepia.), 7 (The bases for
  Liquidia’s decision to represent to the FDA that Yutrepia is safe and effective for PH-ILD patients
  in Liquidia’s NDA Amendment.), 8 (How Yutrepia compares to or differs from Tyvaso®, Tyvaso
  DPI®, or any Treprostinil Product including with respect to patient population, target market,
  delivery device, dosage, efficacy, safety, and product quality.), 9 (Liquidia’s regulatory
  submissions for Yutrepia including: (1) Liquidia’s NDA, Liquidia’s NDA Amendment, and any
  subsequent amendments or supplemental NDAs for Yutrepia; (2) All correspondence with FDA
  relating to Liquidia’s NDA and Liquidia’s NDA Amendment, and any subsequent amendments or
  supplemental NDAs for Yutrepia; (3) Liquidia’s current regulatory tracking logs, including
  Liquidia’s IND Sequence Tracker, Liquidia’s NDA Sequence Tracker, and Liquidia’s NDA
  Regulatory Chronology log; (4) Any IND submitted by or on behalf of Liquidia to FDA concerning
  the administration of treprostinil to PH-ILD patients; and (5) Any DMF submitted to FDA in
  connection with or referenced by Liquidia’s NDA.), 11 (Any consideration or decision by Liquidia
  regarding whether or not to modify the proposed package insert or labeling of any Liquidia NDA
  Product including any analysis, evaluation, investigation, or discussion concerning those
  considerations and decisions, such as Liquidia’s consideration and decision to (or not to)
  incorporate portions of the INCREASE or ASCENT study results.), 13 (The factual basis for Roger
  Jeffs’s May 14, 2024 statements regarding the existence of “encouraging initial data from our
  ASCENT trial of YUTREPIA in PH-ILD,” as well as that “the expanded PH-ILD market . . . is
  only marginally penetrated at this time . . . .”), 14, 16, and 17 (Any communications between
  Liquidia and key opinion leaders (“KOLs”) and/or Scientific Advisory Board members between
  2009 and 2024 related to the use of any Treprostinil Product for the treatment of PH-ILD.) Rajeev
  Saggar Dep. Tr. at 12:10-20, 65:22-67:19; Rajeev Saggar Dep. Ex. 3 at 5-8.


                                                   62
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 274 of 455 PageID
                                           #: 34544



  at his deposition, stating “[w]e have not done any additional studies outside of the studies [listed

  in Liquidia’s original NDA], with the exception of LTI 302, which is an ongoing local safety

  study.”163 Additionally, Liquidia’s CMO confirmed that Liquidia’s ASCENT study did not begin

  until after Liquidia amended Yutrepia’s label to include the PH-ILD indication, and the CMO

  confirmed that “ASCENT has no regulatory status in regards to the FDA's consideration for

  approval or [sic] indication of PH-ILD for Yutrepia.” 164 Accordingly, Liquidia’s tentative

  approval for a PH-ILD indication relies entirely on UTC’s INCREASE data for safety and efficacy

  and LTI-102 for the bridge that the 505(b)(2) pathway requires. 165

                             b. Liquidia relies on its comparative pharmacokinetic study as its
                                bridge to Tyvaso safety and efficacy data

         127.    Liquidia’s 505(b)(2) application for Yutrepia requires a pharmacokinetic bridge to

  the RLD: Tyvaso.166 Liquidia relies on the data generated from its LTI-102 study for that bridge. 167


  163
      Rajeev Saggar Dep. Tr. at 78:3-6; see id. at 43:13-17 (Q. How involved were you in the
  regulatory submissions relating to Liquidia's request to add a PH-ILD indication for Yutrepia? A.
  So as long as there was -- since I joined, I was involved in those discussions.), 67:20-68:13 (Q.
  Let's look at [30(b)(6) ] Topic No. 1. It’s Liquidia's research and development activities related to
  the development of treatment regimens to improve exercise capacity in patients with PH-ILD,
  including any Liquidia NDA product. Do you see that? A. Yes, I do. Q. What research and
  development has Liquidia done regarding treatment regimens to improve exercise capacity in
  patients with PH-ILD with respect to Yutrepia? A. So we have done studies in humans. Phase 1,
  healthy volunteer study, that is a comparable bioavailability study that shows comparable
  bioavailability between Yutrepia and Tyvaso. We have conducted an open-label safety study called
  INSPIRE. And those two studies, along with our preclinical work, was done to submit an NDA
  for both indications, for PAH and PH-ILD.), 77:3-79:9; supra § IV.A.1; infra § IV.A.2.c.
  164
      Rajeev Saggar Dep. Tr. at 79:22-80:13 (Q. Are you familiar with Liquidia's ASCENT study?
  A. Yes, I am. Q. And that study began after Liquidia submitted a request to FDA seeking a PH-
  ILD indication, correct? A. That is correct. Q. And so, as a result of that, the ASCENT study
  does not really play any role in supporting Liquidia's request for a PH-ILD indication, correct? A.
  That is correct. ASCENT has no regulatory status in regards to the FDA’s consideration for
  approval or indication of PH-ILD for Yutrepia.); infra §§ IV.A.2.c, IV.C.
  165
      See, e.g., Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; infra §§
  IV.A.2.b-c.
  166
      E.g., Pre-NDA meeting (LIQ_PH-ILD_00046156) at -171; supra §§ III.C, IV.A.1, IV.A.2.a.
  167
      E.g., Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; supra §§ III.C,
  IV.A.1, IV.A.2.a.


                                                   63
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 275 of 455 PageID
                                            #: 34545



  LTI-102 evaluated the bioavailability and safety of Yutrepia relative to Tyvaso using healthy

  subjects, and the results were published in Roscigno et al. (“Roscigno 2021”). 168 Roscigno 2021

  asserts that doses for dry powder formulations—like Yutrepia—are provided in terms of capsule

  strength, which refers to the amount of active ingredient within a capsule (“total capsule fill”), not

  the output available when inhaled (“target delivered dose”). 169 Roscigno 2021 also explains that

  target delivered dose is less than the total capsule fill. According to Roscigno 2021, nebulized

  solutions are, by contrast, dosed based on the target delivered dose. 170

         128.    Although Roscigno 2021 purports these two labeling paradigms “are not

  interchangeable,” Roscigno 2021 then explains that Yutrepia’s 79.5µg capsule strength achieves

  a 58.1µg target dose that corresponds to the 54µg delivered dose achieved with 9 breaths of Tyvaso

  (which was Tyvaso’s maintenance dose when LTI-102 was conducted, i.e., before Tyvaso was

  indicated for PH-ILD). 171 Moreover, the Roscigno 2021 authors are clear that “the dose for

  LIQ861 (capsule strength 79.5 μg) . . . was chosen because it has a similar target delivered dose

  (58.1 μg) as the chosen Tyvaso® dose (labeled dose strength same as target delivered dose) of 54

  μg.”172 It therefore appears to be no coincidence that the tentatively approved Yutrepia label sets

  the 79.5μg capsule strength as the lower limit of the recited target maintenance dose. 173

  Nonetheless, Roscigno 2021 states that the primary objective of LTI-102 was to assess the

  comparative bioavailability of these respective doses of Yutrepia and Tyvaso. 174




  168
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  169
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  170
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  171
      Roscigno 2021 (UTC_PH-ILD_010665) at -666; 2009 Tyvaso Label (UTC_PH-ILD_010692)
  at -694; supra § III.D.1.
  172
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  173
      Yutrepia label (LIQ_PH-ILD_00126017) at -022.
  174
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.


                                                   64
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 276 of 455 PageID
                                            #: 34546



          129.    Roscigno 2021 reports that LTI-102 was “a single-center, randomized, open-label,

  replicate . . . , and crossover . . . study in healthy adults.”175 Subjects were randomized 4:1:1 to the

  “Replicate Group, Comparative Bioavailability Group 1, and Comparative Bioavailability Group

  2,” respectively.176 Subjects in the Replicate Group received two Yutrepia treatments.177 Subjects

  in Comparative Bioavailability Group 1 and Comparative Bioavailability Group 2 received a

  Yutrepia dose and a Tyvaso dose with the order inversed between the two groups. 178 Doses were

  provided on consecutive days, with data collected before dosing and throughout the 6 hours

  following dosing.179 Subjects remained at the clinical site overnight.180 Samples were collected

  before dosing and at 5, 10, 15, 20, 30, 45, 60, 120, 180, 240, and 360 minutes after the dose. 181

  Some variability was permitted: ± 1 minute for the 5, 10, 15, and 20-minute timepoints; ± 5 minutes

  for the 30, 45, and 60-minute timepoints; and ± 10 minutes for the remainder. 182

          130.    The study enrolled healthy male and female subjects between 18 and 45 years of

  age (inclusive), with a body mass index (BMI) of 18 to 32 kg/m 2, who abstained from tobacco and

  nicotine use for at least 2 months prior to screening.183 Subjects were instructed not to take any

  prescription medication for 14 days or any dietary supplements or over-the-counter drugs for at

  least 3 days prior to CRU admission through completion of the study. 184 The study excluded those

  who: “had a history of asthma or other respiratory condition; a history of illicit drug or alcohol




  175
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  176
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  177
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  178
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  179
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  180
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  181
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  182
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  183
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  184
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 277 of 455 PageID
                                            #: 34547



  abuse or positive urine drug screen; were positive for human immunodeficiency virus, hepatitis B,

  and/or hepatitis C; were pregnant or lactating females; had clinically significant medical or

  psychiatric history that, in the Investigator’s judgment, would compromise the subject’s safety or

  the collection of data; had donated plasma or blood within 7 or 30 days prior to [the clinical site]

  admission, respectively; had participated in another investigational drug study within 30 days prior

  to [the clinical site] admission; or had surgery within 6 months prior to screening.” 185

         131.    In total, 24 subjects enrolled, and 23 subjects completed the study. 186 One subject

  in the Replicate Group discontinued after receiving their first Yutrepia treatments. 187 The mean

  data for the Replicate Group and Comparative Bioavailability Groups are reproduced below: 188




  The plasma treprostinil concentration curves are reproduced below for these groups: 189




  185
      Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  186
      Roscigno 2021 (UTC_PH-ILD_010665) at -667.
  187
      Roscigno 2021 (UTC_PH-ILD_010665) at -667.
  188
      Roscigno 2021 (UTC_PH-ILD_010665) at -667.
  189
      Roscigno 2021 (UTC_PH-ILD_010665) at -668.


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Case 1:23-cv-00975-RGA-SRF         Document 422 Filed 07/09/25           Page 278 of 455 PageID
                                         #: 34548




  These curves show when inhaled treprostinil is administered; the maximum amount to enter the

  bloodstream (the height of the peak concentration-time curve); the time it takes to reach the

  maximum amount (the time at which the maximum is achieved); and the total amount in the blood

  (the area beneath the concentration-time curve) is essentially the same for Tyvaso and Yutrepia

  (LIQ861).

         132.   The pharmacokinetic data from Comparative Bioavailability Groups were

  processed according to standard statistical approach for calculating bioequivalence—average

  bioequivalence.190 The Least Squares Geometric Mean ratios of LIQ861 (79.5 μg): Tyvaso® (54




  190
     Roscigno 2021 (UTC_PH-ILD_010665) at -667-668; FDA GFI 2001 Statistical Approaches to
  Establishing BE (UTC_PH-ILD_227453) at -456-460; FDA Draft GFI 2022 Statistical
  Approaches to Establishing BE (UTC_PH-ILD_227501) at -504-506, -514-516.


                                                67
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 279 of 455 PageID
                                           #: 34549



  μg) for each pharmacokinetic parameter (Cmax, AUCinf, and AUClast) expressing the relative

  bioavailability are reproduced below along with the 90% confidence intervals for those ratios: 191




  The full range of the confidence intervals for each pharmacokinetic parameter is within the range

  FDA considers bioequivalent (80%-125%), and thus would otherwise be considered

  bioequivalent.192 Although Roscigno 2021 does not use the term bioequivalent, it acknowledges

  that the corresponding 90% confidence intervals were entirely within the 80%-125% range, and

  thus implicitly acknowledges bioequivalence. 193 Otherwise, Roscigno 2021 concludes that

  Yutrepia and Tyvaso “exposure” and “bioavailability” were “comparable.” 194




  191
      Roscigno 2021 (UTC_PH-ILD_010665) at -668.
  192
      FDA GFI 2001 Statistical Approaches to Establishing BE (UTC_PH-ILD_227453) at -456-
  460; FDA Draft GFI 2022 Statistical Approaches to Establishing BE (UTC_PH-ILD_227501) at
  -504-506, -514-516.
  193
      Roscigno 2021 (UTC_PH-ILD_010665) at -669 (“For AUC inf, AUClast, and Cmax, the LS GMRs
  (LIQ861: Tyvaso®) were between 0.9 and 1.0 with corresponding 90% CIs contained entirely
  within 0.8 to 1.25.”).
  194
      Roscigno 2021 (UTC_PH-ILD_010665) at -669 (“The comparative bioavailability assessment
  demonstrated that treprostinil exposure from a single capsule dose of 79.5 μg LIQ861
  (approximate delivered dose 58.1 μg) is comparable to treprostinil exposure from 9 breaths of
  Tyvaso® (approximate delivered dose 54 μg); id. (“In conclusion, comparable treprostinil
  bioavailability was demonstrated after administration of LIQ861 (79.5 μg capsule) and Tyvaso®
  (9 breaths for a 54-mcg dose), and both were well tolerated.”).


                                                  68
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 280 of 455 PageID
                                           #: 34550



         133.    As noted above the administered doses of each product were selected to achieve

  comparable delivered doses of treprostinil and to compare Yutrepia to the then target dose for

  Tyvaso.195 Roscigno 2021 explains that the respective doses of Yutrepia (79.5µg capsule strength;

  58.1μg target delivered dose) and Tyvaso (9 breaths, i.e., a 54µg) were “expected to result in

  approximately the same treprostinil exposure.” 196 Roscigno 2021 states that this is because target

  delivered dose “is a more valid comparison of the doses than the labeled dose strength because of

  the different labeling conventions for the 2 types of drug delivery systems.” 197 Roscigno 2021 also

  credits earlier results generated from Liquidia’s LTI-101 study—“a randomized, double-blind,

  placebo-controlled, single ascending dose study.” 198 The authors of Roscigno 2021 also credit

  LTI-101 for “establish[ing] the dose proportionality of treprostinil exposure and its tolerability

  after administration of [Yutrepia] (25 to 150 μg dose range).” 199 Moreover, Roscigno 2021 states

  that the pharmacokinetic data from LTI-101 “was similar to the published treprostinil PK profile

  after Tyvaso® administration.” Accordingly, in view of LTI-101 and LTI-102, converting between

  Yutrepia and Tyvaso dosing was routine and formulaic once LTI-102 was completed.

         134.    Indeed, the Roscigno 2021 authors state that LTI-102 was only conducted to

  examine the pharmacokinetics of Yutrepia and Tyvaso in the same study.200 The authors further

  acknowledge that LTI-102 “was conducted to establish a PK bridge between treprostinil

  administered as LIQ861 (capsule strength of 79.5 μg and delivered via DPI with target delivered




  195
      Roscigno 2021 (UTC_PH-ILD_010665) at -667, -668-669; 2009 Tyvaso Label (UTC_PH-
  ILD_010692) at -694.
  196
      Roscigno 2021 (UTC_PH-ILD_010665) at -668.
  197
      Roscigno 2021 (UTC_PH-ILD_010665) at -668.
  198
      Roscigno 2021 (UTC_PH-ILD_010665) at -668.
  199
      Roscigno 2021 (UTC_PH-ILD_010665) at -668.
  200
      Roscigno 2021 (UTC_PH-ILD_010665) at -668-669.


                                                  69
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 281 of 455 PageID
                                            #: 34551



  dose of 58.1 μg) and the reference drug, treprostinil solution for inhalation (Tyvaso®) (labeled

  strength with 9 breaths for a target delivered dose via nebulizer of 54 μg).” 201

         135.    As noted above, this pharmacokinetic bridge from Yutrepia to Tyvaso is critical to

  the success of Liquidia’s 505(b)(2) application, even for the PH-ILD indication. 202 Liquidia was

  on notice of this from at least as early as its pre-IND meeting. 203 Liquidia, in their pre-NDA

  meeting correspondence, specifically asked FDA if LTI-102 was sufficient for this purpose, and

  FDA agreed that it was:204




  Moreover, Liquidia’s original NDA repeatedly characterizes LTI-102 as “provid[ing] the

  definitive PK bridge to [Tyvaso],” “PK bridge to the RLD,” etc. 205 In fact, Liquidia’s 505(b)(2)


  201
      Roscigno 2021 (UTC_PH-ILD_010665) at -668; supra §§ III.C, IV.A.2.a.
  202
      Supra §§ III.C, IV.A.1, IV.A.2.a.
  203
      Pre-IND meeting (LIQ_PH-ILD_00046114) at -115-118, -132-133; supra §§ III.C, IV.A.2.a.
  204
      Pre-NDA meeting (LIQ_PH-ILD_00046156) at -163; supra §§ III.C, IV.A.2.a.
  205
      E.g., Original NDA 213005 § 2.2 (LIQ_PH-ILD_00046359) at -362; Original NDA 213005 §
  2.5 (LIQ_PH-ILD_00045509) at -518; see also, e.g., Original NDA 213005 § 2.7.1 (LIQ_PH-
  ILD_00045396) at -402 (characterizes LTI-102 as the “[d]efinitive PK bridge between Tyvaso and



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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25           Page 282 of 455 PageID
                                            #: 34552



  application expressly, recounts the pre-NDA meeting and that “FDA agreed that an adequate PK

  bridge to Tyvaso was established.”206 Also, as discussed above, Table 2.5-1 characterizes LTI-102

  as establishing the requisite 505(b)(2) bridge to Tyvaso. 207 As noted above, when Liquidia

  amended its label, Liquidia did not otherwise adjust course with respect to pursuing the 505(b)(2)

  pathway for Yutrepia’s approval.208

         136.    I also note that the tentatively approved Yutrepia label recites the absorption

  pharmacokinetic data from LTI-102:209




  This also seems to be the case for the provide half-life: 210




         137.    Roscigno 2021 is a well-done study of its type. The selection of subjects was

  standard for studies of this type analysis, as were the methods for collection and analysis of



  LIQ861 using the intended commercial formulation of LIQ861 in healthy volunteers.”); supra §§
  III.C, IV.A.2.a.
  206
      E.g., Original NDA 213005 § 2.7.1 (LIQ_PH-ILD_00045396) at -402; supra §§ III.C, IV.A.2.a.
  207
      Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at LIQ_PH-ILD_00045518; supra §§
  III.C, IV.A.2.a.
  208
      Yutrepia PH-ILD sNDA (LIQ_PH-ILD_00091023) at -023; Amendment Cover Letter
  (LIQ_PH-ILD_00091022) at -022; supra § IV.A.2.a; infra § IV.A.2.c.
  209
      Compare Roscigno 2021 (UTC_PH-ILD_010665) at -667 with Yutrepia label (LIQ_PH-
  ILD_00126017) at -027.
  210
      Compare Roscigno 2021 (UTC_PH-ILD_010665) at -667 with Yutrepia label (LIQ_PH-
  ILD_00126017) at -028.


                                                    71
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 283 of 455 PageID
                                            #: 34553



  pharmacokinetic data and monitoring for potential adverse events. 211 The statistical method for

  analyzing the pharmacokinetic data and for assessing relative bioavailability—an MMRM model

  applied to log-transformed individual pharmacokinetic parameters—was also standard. 212

         138.    Also, it is typical for bioavailability studies—like Roscigno 2021—to be single

  center, single arm studies.213 Although uncontrolled single-center, single-arm studies suffer from

  the significant drawbacks that I detail above and in my Rebuttal Report, 214 there are three reasons

  why those drawbacks do not apply to bioavailability studies. First, the issues related to patient

  referral do not apply because bioavailability studies are conducted in healthy subjects, 215 so the

  referral basis and treatment expertise of the study center is irrelevant to the bioavailability

  assessments these studies conduct. Second, bioavailability studies, including Roscigno 2021,

  examine the same subjects under two treatment conditions, with the results compared within each

  subject—e.g., a crossover study.216 This means that any subject-specific characteristic is present

  for assessment of each treatment, and such effects cancel out when the treatments are compared.

  These studies are controlled, in that each subject serves as his or her own control. Third, the order

  in which subjects receive the two treatments is randomized, 217 so any effects that may result from

  multiple exposures are balanced between the two treatments in such a way that any such effects,

  if present, can be assessed and accounted for in the statistical analysis.

         139.    That the LTI-102 study reported a bridge between Tyvaso and Yutrepia is further

  supported by explicit disclosures in the tentatively approved Yutrepia label. For example, the



  211
      Roscigno 2021 (UTC_PH-ILD_010665) at -666-667.
  212
      Roscigno 2021 (UTC_PH-ILD_010665) at -667.
  213
      E.g., Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  214
      Thisted Reb. Rpt. §§ VII, IX, XI., XV; supra §§ III.B, III.D.2.c c.
  215
      E.g., Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  216
      E.g., Roscigno 2021 (UTC_PH-ILD_010665) at -666.
  217
      E.g., Roscigno 2021 (UTC_PH-ILD_010665) at -666.


                                                    72
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25            Page 284 of 455 PageID
                                          #: 34554



  tentatively approved Yutrepia label provides both the Yutrepia capsule strength – delivered dose

  conversion table and the Tyvaso breath – Yutrepia capsule strength interconversion table detailed

  above. 218 The tentatively approved Yutrepia label also specifically provides the following

  regarding the INCREASE study:

                Patients in the INCREASE study were randomized (1:1) to either
                placebo or treprostinil inhalation solution in four daily treatment
                sessions with a target dose of 9 breaths (equivalent to 79 .5 mcg
                YUTREPIA) per session and a maximum dose of 12 breaths
                (equivalent to 106 mcg YUTREPIA) per session over the course of
                the 16-week study.219

  This reinforces my opinions regarding the applicability of the beneficial outcomes of the

  INCREASE study to PH-ILD patients administered Yutrepia according to Yutrepia’s tentatively

  approved label.

                            c. Liquidia relies on UTC’s INCREASE Study to evidence
                               efficacy

         140.   As noted above and below, Liquidia amended its NDA on July 24, 2023 to include

  the above-recited PH-ILD indication.220 On August 16, 2024 FDA tentatively approved Yutrepia

  for that PH-ILD indication.221 According to Liquidia’s regulatory logs for NDA 213005 and CMO

  Dr. Rajeev Saggar’s testimony, Liquidia has yet to provide FDA any data reflecting Yutrepia in

  PH-ILD patients. 222 Liquidia’s CMO also confirmed that Liquidia’s ongoing ASCENT study,




  218
      Yutrepia Label (LIQ_PH-ILD_00126017) at -021-032, -027; supra § IV.A.1; infra § IV.A.1.
  219
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; infra § IV.A.3.
  220
       Supra §§ IV.A.1, IV.A.2.a; infra § IV.A.2.a; Yutrepia PH-ILD sNDA (LIQ_PH-
  ILD_00091023) at -023-024; Amendment Cover Letter (LIQ_PH-ILD_00091022) at -022;
  Amended Proposed Label (LIQ_PH-ILD_00091129) at -129-130, -139-142.
  221
      Supra §§ IV.A.1, IV.A.2.a; infra § IV.A.3; Yutrepia label (LIQ_PH-ILD_00126017) at -022.
  222
      Supra § IV.A.2.a; LIQ_PH-ILD_00130687; LIQ_PH-ILD_00130689; Rajeev Saggar Dep. Tr.
  at 43:13-17, 67:20-68:13, 77:3-79:9.


                                                 73
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 285 of 455 PageID
                                          #: 34555



  which is enrolling PH-ILD subjects, has no regulatory purpose. 223 Accordingly, Liquidia’s

  tentative approval for its PH-ILD indication relies entirely on UTC’s INCREASE data for safety

  and efficacy in PH-ILD patients, and LTI-102 for the bridge between Yutrepia and Tyvaso that

  the 505(b)(2) pathway requires. 224 Liquidia’s tentatively approved Yutrepia label reflects this,

  reciting nearly identical PH-ILD indication language to that recited in Tyvaso’s labels and only

  citing the INCREASE study and INCREASE data in the section that specifically addresses the

  clinical support for that PH-ILD indication.225 Liquidia’s CMO testified that “the Liquidia label

  for Yutrepia copies the same language described in the PH-ILD indication from the Tyvaso label,”

  including improvements in exercise capacity, and relies on the reference label for Tyvaso and “the

  key results of the INCREASE study.”226

         141.    It appears that Liquidia’s interest in pursuing a PH-ILD indication is highly

  intertwined with the INCREASE study, with Liquidia taking note of INCREASE shortly after the

  top-line results were released in 2020. 227 For example, during the November 2, 2020 LIQ861




  223
      Supra § IV.A.2.a; infra § IV.C; Rajeev Saggar Dep. Tr. at 79:22-80:13 (Q. Are you familiar
  with Liquidia’s ASCENT study? A. Yes, I am. Q. And that study began after Liquidia submitted
  a request to FDA seeking a PH-ILD indication, correct? A. That is correct. Q. And so, as a result
  of that, the ASCENT study does not really play any role in supporting Liquidia's request for a PH-
  ILD indication, correct? A. That is correct. ASCENT has no regulatory status in regards to the
  FDA’s consideration for approval or indication of PH-ILD for Yutrepia.).
  224
      Supra §§ III.C, IV.A.2.a-b; Rajeev Saggar Dep. Tr. at 77:3-79:9.
  225
      Supra § IV.A.1, infra § IV.A.3; compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-
  021 with 2022 Tyvaso Label (UTC_PH-ILD_005268) at -268-269 and 2022 Tyvaso DPI Label
  (UTC_PH-ILD_010709) at -709-710; see also Rajeev Saggar Dep. Tr. at 84:3-19, 84:24 - 85:1,
  85:12-22, 196:10-17.
  226
      Supra § III.D.2; infra § IV.A.3; Rajeev Saggar Dep. Tr. at 84:3-19.
  227
      Nov. 2020 LIQ861 Steering Committee Meeting (LIQ_PH-ILD_00113881) at -885-886, -893-
  894; see also Feb. 24, 2020 press release announcing INCREASE results (UTC_LIQ00063612).


                                                 74
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 286 of 455 PageID
                                            #: 34556



  Steering Committee Meeting, 228 Liquidia’s then CMO, Dr. Tushar Shah, 229 explained to the

  committee members that with respect to “LIQ861 R&D Priorities” that “generating data on

  LIQ861 use in Group 3 PAH” was one of the “six ideas” that Liquidia was “prioritizing” out of

  “more than 20 ideas for LIQ861 optimization.”230 When committee members were solicited for

  their feedback on these six ideas and Liquidia’s corresponding rationales, one of the outside

  advisors in attendance—Dr. Robert Franz, MD, from the Mayo Clinic 231—stated that “[t]he Group

  3 concept obviously is a very straightforward one in terms of the appeal of that given the recent

  results with TYVASO, and is clearly an unmet need in a relatively high-risk population.” 232

         142.    That 2020 LIQ861 Steering Committee meeting also featured a discussion led by

  Dr. Gerald O’Brien, MD, Liquidia’s Vice President for Clinical Development, Respiratory, 233

  regarding a potential open-label study of Yutrepia in PH-ILD that was “being prepared in

  anticipation of TYVASO soon receiving an indication for use in this patient population”: 234




  228
      Rajeev Saggar Dep. Tr. at 168:19 -176:23 (Liquidia’s CMO describes the purpose of Liquidia’s
  steering committees and advisory Boards, explaining how outside consultants are selected and how
  the meetings’ contents are memorialized.).
  229
      Nov. 2020 LIQ861 Steering Committee Meeting (LIQ_PH-ILD_00113881) at -884.
  230
      Id. at -885-886.
  231
      Id. at -884.
  232
      Id. at -886; Rajeev Saggar Dep. Tr. at 186:11 - 187:17 (Q. He says that the results of the
  INCREASE study are, I'll quote, “Clearly an unmet need in a relatively high-risk patient
  population,” correct? A. That is correct. Q. This is an accurate statement of what happened at
  the Liquidia steering committee meeting on November 2, 2020? A. Yes. He is pointing to results
  that have been disclosed on the INCREASE study, and he states it is clearly an unmet need. Q.
  So the carefully selected and respected Dr. Frantz believes that the INCREASE study results
  address a clearly unmet need in a relatively high-risk patient population, right? A. That is correct.).
  233
      Nov. 2020 LIQ861 Steering Committee Meeting (LIQ_PH-ILD_00113881). at -884.
  234
      Id. at -893.


                                                    75
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 287 of 455 PageID
                                          #: 34557




  Here Dr. Frantz inquired whether such a study would be necessary for regulatory approval. 235 Dr.

  Shah answered that this was a discussion Liquidia intended to have with FDA, but that “Liquidia

  [would] not initiate discussions with [FDA] until after Tyvaso receive[d] its approval for use in

  Group 3 patients.” 236 As detailed above, Dr. Shah’s statements are consistent with the route

  Liquidia pursued: electing to rely on UTC’s INCREASE data to get its own PH-ILD indication

  approval.237 Moreover, Liquidia ultimately did not actually begin studying Yutrepia in PH-ILD

  until December 2024 when it initiated the ASCENT study. 238

         143.    As noted above, Tyvaso was approved for PH-ILD in April of 2021, and (as

  foreshadowed by Dr. Shah’s November 2020 statements) Liquidia began soliciting advice from

  FDA regarding amending its Yutrepia NDA to “align” with Tyvaso’s PH-ILD indication. 239

  Liquidia’s CMO explained that Liquidia—in view of Tyvaso’s approval for PH-ILD—wanted “to

  confirm that no additional studies would be required” to add a PH-ILD indication to Yutrepia’s



  235
      Id. (“Dr. Frantz asked if it would even be necessary to do the study if the Company secured
  FDA approval for use of LIQ861 in Group 1 patients.”)
  236
      Id.
  237
      Supra §§ IV.A.1, IV.A.2.a-b; Rajeev Saggar Dep. Tr. at 77:3-79:9.
  238
      Supra § IV.A.2.a; infra § IV.C; Rajeev Saggar Dep. Tr. at 79:22-80:13 (Q. Are you familiar
  with Liquidia’s ASCENT study? A. Yes, I am. Q. And that study began after Liquidia submitted
  a request to FDA seeking a PH-ILD indication, correct? A. That is correct. Q. And so, as a result
  of that, the ASCENT study does not really play any role in supporting Liquidia’s request for a PH-
  ILD indication, correct? A. That is correct. ASCENT has no regulatory status in regards to the
  FDA’s consideration for approval or indication of PH-ILD for Yutrepia.).
  239
      Supra § III.D.1; Nov. 2020 LIQ861 Steering Committee Meeting (LIQ_PH-ILD_00113881) at
  -893; Rajeev Saggar Dep. Tr. at 15:9-17:13.


                                                 76
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 288 of 455 PageID
                                            #: 34558



  label.240 According to Liquidia’s CMO, Liquidia was seeking assurances from FDA that Liquidia

  could rely on UTC’s INCREASE data to get approval for its Yutrepia product indicated for PH-

  ILD without needing to conduct Liquidia-sponsored clinical trials that administered Yutrepia to

  PH-ILD patients. 241 Liquidia’s CMO’s testimony was clear that Liquidia acknowledges that

  Yutrepia’s approval for PH-ILD relies on the INCREASE study and “that Yutrepia should also be

  granted the same label” as Tyvaso.242

         144.    I note that Liquidia submitted a Type B Pre-sNDA Meeting – Meeting Request

  Letter under IND 129819 (SN0091) to FDA on April 8, 2022 that proposed expanding Yutrepia’s

  listed indications to include “treatment of patients with pulmonary hypertension associated with

  interstitial lung disease (PH-ILD; WHO Group 3) to improve exercise ability.” 243 Liquidia stated

  that the requested meeting was “to confirm agreement that the completed development is sufficient




  240
      Rajeev Saggar Dep. Tr. at 17:5-13 (Liquidia’s CMO indicated that Liquidia was probing
  whether “the datasets that [Liquidia] already submitted, which was inclusive of the comparable
  bioavailability study, a safety study in PH patients, and with the additional approval of Tyvaso and
  PH-ILD . . . was sufficient enough to allow for our application to add the addition of PH-ILD to
  the label.”); Rajeev Saggar Dep. Tr. at 15:9-21 (Liquidia’s CMO testified that Liquidia requested
  that “[FDA] provide advice on aligning [Yutrepia’s] label . . . with the new approval for Tyvaso
  PH-ILD,” Liquidia’s CMO when he used “aligning” he was referring to adding a PH-ILD
  indication to Yutrepia.).
  241
      Id. at 15:9-17:13.
  242
      Id. at 78:7-79:9 (Q. Okay. And so essentially, what you are saying to the FDA is, “We did a
  comparative bioavailability study to establish a pharmacokinetic bridge to Tyvaso. Tyvaso is
  effective for PH-ILD; therefore, you should approve our product for PH-ILD as well”; is that
  correct? A. Yes. That we want -- that, given the fact that we had tentative approval for PAH, and
  we had asked for general advice, which the FDA provided to us in April. And in construct with
  that advice, we believed that it was appropriate to not do any additional clinical studies and request
  an amendment to add PH-ILD, consistent with the 505(b)(2) regulatory pathway. Q. In view of
  your reliance on the 505(b)(2) pathway and the advice FDA provided you in April, Liquidia
  believes Yutrepia should be approved for PH-ILD because of the results of the INCREASE study,
  correct? A. Yes. Because of the label that was granted to Tyvaso for the indication of PH-ILD,
  we believe that Yutrepia should also be granted the same label.).
  243
      Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -026, -028-030; supra §§ IV.A.1,
  IV.A.2.


                                                   77
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 289 of 455 PageID
                                           #: 34559



  in scope to support a supplemental New Drug Application (sNDA) to add the PH-ILD, WHO

  Group 3 indication to the Yutrepia label and reach alignment with the FDA on the content of the

  label based on the labeling of the reference listed drug, Tyvaso.” 244 Liquidia’s CMO confirmed

  that the proposed sNDA consisted of “the INCREASE study and supportive data, including the

  three-years safety data.”245 Accordingly, the phrase “completed development” as used by Liquidia,

  in my view, refers to the nonclinical and clinical studies that Liquidia had conducted as of April 8,

  2022, which I note did not include any studies characterized as administering Yutrepia to PH-ILD

  patients.246

          145.   Liquidia’s April 8, 2022 meeting request posed the following three questions to

  FDA:247




  244
      Id. at -029; see also Meeting Request Cover Letter (LIQ_PH-ILD_00134042) states that “[t]he
  objective [of the requested meeting] is to confirm agreement that the completed development is
  sufficient in scope to support a supplemental New Drug Application (sNDA) to add the PH-ILD,
  WHO Group 3 indication to the Yutrepia label and reach alignment with the FDA on the content
  of the label based on the labeling of the reference listed drug, Tyvaso.”
  245
      Rajeev Saggar Dep. Tr. at 96:17-97:1.
  246
      See supra § IV.A.2.a.
  247
      Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -030.


                                                   78
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 290 of 455 PageID
                                           #: 34560




  Based on these questions, it is clear that Liquidia sought to use the 505(b)(2) pathway for the PH-

  ILD indication and to not need any further nonclinical or clinical development to obtain

  approval.248 The nonclinical and clinical development questions (“Question 1” and “Question 2”)

  ask whether “existing … efficacy and safety data for treprostinil (described in Tyvaso PIs and

  peer-reviewed literature)” is sufficient to obtain approval for the proposed PH-ILD indication, and

  specifically reference “fil[ing] a 505(b)(2) sNDA” for this indication.249 I read the phrases “Tyvaso

  PIs” and “peer-reviewed literature” as used in these questions as referring to the INCREASE study,

  the INCREASE publication, and other literature describing post-hoc findings from the data

  generated by the INCREASE study. These questions that Liquidia posed to FDA regarding relying

  on these data confirm Liquidia intended to rely on the FDA’s findings from UTC supplied data, in

  particular data and analyses arising from the INCREASE study, to obtain a Yutrepia product

  indicated for PH-ILD.250


  248
      Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -030; supra §§ III.C, IV.A.1,
  IV.A.2.a-b.
  249
      Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -030; supra §§ III.C, IV.A.1,
  IV.A.2.a-b.
  250
      Supra §§ III.C, IV.A.1, IV.A.2.a-b; infra § IV.A.3.


                                                   79
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 291 of 455 PageID
                                           #: 34561



         146.    On May 25, 2022, FDA responded to Liquidia’s letter, providing written responses

  to Liquidia’s questions and declining a meeting. 251 FDA confirmed that no further data were

  needed if Liquidia relied on “FDA’s previous nonclinical safety findings of Tyvaso [that Liquidia]

  relied on in the original NDA 213005 via the 505(b)(2) pathway” and “data from the 16-week

  randomized, double-blind placebo-controlled, multi-center trial (INCREASE) in patients with PH-

  ILD.”252 Likewise, FDA did not “object to [Liquidia’s] plans to include a revised draft of the

  prescribing information incorporating the PH-ILD indication.” 253 Also, FDA expressly

  acknowledged that Liquidia was proposing to pursue this PH-ILD indication via the 505(b)(2)

  pathway and provided Liquidia notice of what that entails. 254

         147.    Liquidia’s CMO testified that Liquidia in view of FDA’s answers understood FDA

  found Liquidia’s proposal acceptable.255 I understand that Liquidia elected to follow this path to

  approval for the PH-ILD indication.256 As noted Liquidia’s CMO confirmed this, testifying that

  no other studies have been conducted to support Yutrepia’s approval for the PH-ILD indication

  other than those nonclinical and clinical studies listed in the original NDA and an ongoing open

  label safety study in PAH patients, and that Liquidia’s ASCENT study has no regulatory

  purpose. 257 Liquidia’s CMO’s testimony is consistent with a contemporaneous email from Dr.

  Jennifer Weidman, Liquidia’s Vice President of Global Regulatory Affairs. 258 On the same day




  251
      FDA Response (LIQ_PH-ILD_00120424) at -424, -426-427, -432.
  252
      FDA Response (LIQ_PH-ILD_00120424) at -426-427.
  253
      FDA Response (LIQ_PH-ILD_00120424) at -427.
  254
      FDA Response (LIQ_PH-ILD_00120424) at -426, -429-431; Supra §§ III.C, IV.A.1, IV.A.2.a-
  b; infra § IV.A.3.
  255
      Rajeev Saggar Dep. Tr. at 96:14-16; 99:19-21 (Q. And FDA did tell Liquidia it did not need
  to do efficacy studies in PH-ILD patients, right? A. Yes, they had.).
  256
      Rajeev Saggar Dep. Tr. at 78:7-22.
  257
      Rajeev Saggar Dep. Tr. at 67:20-68:13, 77:3-79:9, 79:22-80:13; supra § IV.A.2.a; infra § IV.C.
  258
      Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509.


                                                  80
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 292 of 455 PageID
                                            #: 34562



  FDA responded to Liquidia’s meeting request, Dr. Weidman emailed several Liquidia employees

  (Tushar Shah, Jason Prabel, Ashley Galloway, Savan Patel, and Marisa Law) with the subject line

  “attached: IND 129819 Type B Pre-sNDA Meeting Minutes (WRO).pdf”, attaching FDA’s

  response letter. 259 In that cover email, Dr. Weidman states that Liquidia had “received our

  responses to the pre-sNDA meeting questions early,” and explains that there was “[n]othing

  unexpected in these [responses] and we should feel confident that upon eligibility (expiry of

  exclusivity for the Group 3 indication), we will be able to expand our indication statement to

  include this new patient population without additional preclinical or clinical data.” 260

         148.    On May 20, 2023, Liquidia’s PH-ILD Advisory Board met and, according to the

  executive summary, an invited outside expert—Dr. Franck Rahagi from the Cleveland Clinic 261—

  gave a presentation regarding the design, patient demographics, and results of the INCREASE

  study. 262 The executive summary notes that Dr. Rahagi explained “that because Liquidia was

  ‘going to inherit the indication [for PH-ILD granted to inhaled Tyvaso on the basis of INCREASE],

  they’re going to inherit the INCREASE study’ and its outcomes.”263 Liquidia’s CMO Dr. Rajeev

  Saggar was asked about this statement. 264 Dr. Saggar acknowledged “[Liquidia] relied on the

  reference label drug Tyvaso, and [Liquidia] submitted a totality of package in which the key results

  of the INCREASE study were part of that.” 265 Dr. Saggar acknowledged that Liquidia had nothing

  to do with the INCREASE study, but he stated that Liquidia “deserved” to rely on INCREASE




  259
      Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509, -510-518 (attaching
  LIQ_PH-ILD_00148510 at -510-518).
  260
      Id. at -509.
  261
      May 20, 2023 PH-ILD Advisory Board (LIQ_PH-ILD_00122627) at -651.
  262
      May 20, 2023 PH-ILD Advisory Board (LIQ_PH-ILD_00122627) at -627, -633-636.
  263
      May 20, 2023 PH-ILD Advisory (LIQ_PH-ILD_00122627) at -633.
  264
      Rajeev Saggar Dep. Tr. at 195:20-197:23.
  265
      Rajeev Saggar Dep. Tr. at 196:13-17; supra §§ III.C, IV.A.1, IV.A.2.a-b.


                                                   81
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 293 of 455 PageID
                                            #: 34563



  and its findings as “part of the 505(b)(2) process” and associated regulatory statutes. 266, Dr. Saggar

  further testified that Liquidia’s 505(b)(2) application for a PH-ILD indication “is reliant on . . . the

  dataset that the FDA has used for approving Tyvaso for PH-ILD,” conceding that it is the

  INCREASE study that provides the only PH-ILD patient data upon which Liquidia rests its

  representations to FDA that Yutrepia is safe and effective in PH-ILD patients. 267

                  3.      The Yutrepia label explicitly references the INCREASE study

          149.    As noted above, Liquidia proposed amendments to Yutrepia’s label when it

  amended its NDA on July 24, 2023268. These amendments included adding the PH-ILD indication

  under the “INDICATIONS AND USAGE” section of the “HIGHLIGHTS OF PRESCRIBING

  INFORMATION” page that directs to the indication under “1. INDICATIONS AND USAGE” of

  the “FULL PRESCRIBING INFORMATION”: 269




  266
      Rajeev Saggar Dep. Tr. at 196:17-197:22; supra §§ III.C, IV.A.1, IV.A.2.a-b.
  267
      Rajeev Saggar Dep. Tr. at 212:5-213:1; supra §§ III.C, IV.A.1, IV.A.2.a-b.
  268
       Supra § IV.A.2.a; Yutrepia PH-ILD sNDA (LIQ_PH-ILD_00091023) at -023-024;
  Amendment Cover Letter (LIQ_PH-ILD_00091022) at -022; Amended Proposed Label (LIQ_PH-
  ILD_00091129) at -129-130, -139-142.
  269
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021 with Amended Proposed
  Label (LIQ_PH-ILD_00091129) at -129-130; supra § IV.A.1.


                                                    82
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 294 of 455 PageID
                                            #: 34564




  These indications are essentially indistinguishable to those recited in the Tyvaso labels with the

  Tyvaso labels instead reciting “[t]he study with Tyvaso establishing effectiveness” and the

  indication under 1.2 beginning “Tyvaso is indicated” and “Tyvaso DPI is indicated.” 270 And the

  etiology breakdown is consistent with those subpopulations in the INCREASE study. 271 Moreover,

  the indication provided under Section 1.2 directs to final material that Liquidia added to the label

  on July 24, 2023 under “14 CLINICAL STUDIES”: “14.2 Pulmonary Hypertension Associated

  with ILD (WHO Group 3).”272

         150.    Section 14.2 imports the corresponding language from the Tyvaso labels. 273 This

  language provides a general description of the INCREASE study—“a 16-week, randomized,

  double-blind, placebo-controlled, multicenter study that enrolled 326 patients with PH-ILD: 274



  270
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021 with 2022 Tyvaso Label
  (UTC_PH-ILD_005268) at -268-269 and 2022 Tyvaso DPI Label (UTC_PH-ILD_010709) at -
  709-710; see also Rajeev Saggar Dep. Tr. at 84:3-19.
  271
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -031 with INCREASE
  publication (UTC_PH-ILD_010790) at -795; see also Rajeev Saggar Dep. Tr. at 85:12-22 (Q. The
  patient population For Tyvaso and Tyvaso DPI and Yutrepia is all the same set of PH-ILD patients,
  correct? A. Yeah, so it specifies the specific subgroups of patients with interstitial lung disease and
  combined pulmonary fibrosis with emphysema, various percentages, that were part of the study
  that was used which was increased, correct.); supra § IV.A.1.
  272
      Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021; Compare Yutrepia Label (LIQ_PH-
  ILD_00126017) at -031-033 with Amended Proposed Label (LIQ_PH-ILD_00091129) at -139-
  142; supra § IV.A.1.
  273
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -031-033 with 2022 Tyvaso Label
  (UTC_PH-ILD_005268) at -278-281 and 2022 Tyvaso DPI Label (UTC_PH-ILD_010709) at -
  719-722.
  274
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; supra § III.D.2.


                                                    83
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 295 of 455 PageID
                                            #: 34565




  This following added language provides the contours of the INCREASE study’s dosing

  regimen:275




  These instructions convert the INCREASE study’s target dose of 9 breaths QID and maximum

  dose of 12 breaths QID to Yutrepia capsule doses that these instructions state are equivalent:

  79.5µg and 106 µg, respectively. 276 This language further indicates that the subjects in the

  INCREASE treatment arm were titrated to these doses over the course 16-weeks with

  approximately 75% of subjects reaching INCREASE’s target dose and 48% of subjects reaching

  INCREASE’s maximum dose.277

         151.    As discussed further below, this added language also reports 6MWD and clinical

  worsening due to interstitial lung disease data that was generated from the INCREASE study. 278




  275
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; supra § III.D.2.
  276
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; supra §§ III.D.2, IV.A.2.b (The doses that
  were used in LTI-102 to demonstrate Yutrepia’s biocomparability to Tyvaso were Tyvaso at 9
  breaths QID (i.e., the INCREASE study’s target dose) and a 79.5µg Yutrepia capsule.).
  277
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; supra § III.D.2.
  278
      Infra § IV.A.3.a-b; see also Rajeev Saggar Dep. Tr. at 84:24 - 85:1 (“It relies on -- the label --
  the label has specific results, such as exercise capacity, that are embedded in the label.”).


                                                   84
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25         Page 296 of 455 PageID
                                           #: 34566



          152.   All these amendments remain unchanged in the tentatively approved Yutrepia

  label.279

                             a.   6MWD

          153.   As noted above, the amendments to the Yutrepia label added 6MWD data generated

  from the INCREASE study.280 This language correctly notes that the INCREASE study’s “primary

  efficacy endpoint was the change in 6MWD measured at peak exposure (between 10 and 60

  minutes after dosing) from baseline to Week 16.” 281 This language also reflects that subjects

  administered Tyvaso exhibited a placebo-corrected median change from baseline in peak 6MWD

  of 21 meters at Week 16 (p=0.004) using Hodges-Lehmann estimate. 282 These data are graphically

  represented by Figure 3 of the Yutrepia label: 283




  279
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -031-033 with Amended
  Proposed Label (LIQ_PH-ILD_00091129) at -129-130, -139-142.
  280
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -031-032 with Amended Proposed
  Label (LIQ_PH-ILD_00091129) at -139-140; supra §§ III.D.2, IV.A.3.
  281
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031 ; supra § III.D.2.
  282
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; supra § III.D.2.
  283
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032; supra § III.D.2. The same Hodges-
  Lehmann Estimate data for 6MWD is reported in Figure 8 of the ’327 patent.


                                                   85
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 297 of 455 PageID
                                           #: 34567



  This chart also provides data regarding subjects’ peak 6MWD at weeks 8 and 12 with

  administration of inhaled treprostinil resulting in a placebo-corrected median change from baseline

  of 15 and 20 meters, respectively.284 Moreover, the 95% confidence intervals do not cross zero, 285

  and thus indicate that administering inhaled treprostinil according to the INCREASE study

  achieved statistical significance at 8, 12, and 16 weeks with respect to 6MWD.

         154.    The Yutrepia label also details the INCREASE study’s reported statistically

  significant treatment effect with respect to 6MWD after administering inhaled treprostinil for 16

  weeks using the Hodges-Lehmann estimate, stating that “[p]atients receiving treprostinil

  inhalation solution had a placebo-corrected median change from baseline in peak 6MWD of 21

  meters at Week 16 (p=0.004) using Hodges[-]Lehmann estimate (Figure 3).”286

         155.    The Yutrepia label also provides a forest plot that displays the “Overall” 6MWD

  treatment effect after administering inhaled treprostinil for 16 weeks relative to certain subgroups

  of the following categories: “Age Group,” “Sex,” PH-ILD Etiology,” ”Baseline 6MWD Category,”

  Baseline PVR Category,” and “Maximum Study Drug Dose”). 287 This plot provided p-values as

  well as 95% confidence intervals, and is reproduced here: 288




  284
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032; supra § III.D.2.
  285
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032; supra § III.D.2.
  286
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; supra § III.D.2.
  287
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032; supra § III.D.2.
  288
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032; supra § III.D.2.


                                                  86
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 298 of 455 PageID
                                            #: 34568




                               b. Clinical worsening events

         156.    As noted above, the amendments to the Yutrepia label added clinical worsening

  event data generated from the INCREASE study. 289 The Yutrepia Label indicates that the

  INCREASE study defines time to clinical worsening to include “hospitalization due to a

  cardiopulmonary indication,” “decrease in 6MWD > 15% from baseline,” “death (all causes),” or

  “lung transplantation.”290

         157.    The Yutrepia Label explicitly references the INCREASE study’s clinical

  worsening event data, including the statistically significant treatment effect with respect to

  reducing the risk of a clinical worsening event that was reported by the INCREASE study. 291 The

  Yutrepia label evidences this at least by log-rank test data, stating that “treatment with treprostinil



  289
      Compare Yutrepia Label (LIQ_PH-ILD_00126017) at -032-033 with Amended Proposed
  Label (LIQ_PH-ILD_00091129) at -140-142; supra §§ III.D.2, IV.A.2.a.
  290
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032; supra § III.D.2.
  291
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032-033; supra § III.D.2.


                                                    87
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 299 of 455 PageID
                                           #: 34569



  inhalation solution demonstrated a statistically significant increase in the time to first clinical

  worsening event (log-rank test p=0.041; Figure 5), and a 39% overall reduction in the risk of a

  clinical worsening event (HR=0.61 [95% Cl; 0.40, 0.92]; Figure 5).” 292

         158.    Figure 5 of the Yutrepia Label—which presents the same data as Figure S5 of the

  INCREASE publication—is provided below: 293




  The Yutrepia Label also reports the following tables that further analyze the frequency of clinical

  worsening events in the INCREASE Study’s treatment and placebo arms: 294




  292
      Yutrepia Label (LIQ_PH-ILD_00126017) at -032-033; supra § III.D.2.
  293
      Yutrepia Label (LIQ_PH-ILD_00126017) at -033; supra § III.D.2. The same Kaplan-Meyer
  plot of time to first clinical worsening event is reported in Figure 1 of the ’327 patent.
  294
      Yutrepia Label (LIQ_PH-ILD_00126017) at -033; supra § III.D.2.


                                                  88
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 300 of 455 PageID
                                          #: 34570




         B.      Liquidia’s statements regarding Yutrepia’s performance in PH-ILD subjects
                 invoke INCREASE data

         159.    As detailed above, Liquidia represents to FDA that its Yutrepia product is safe and

  effective.295 And Liquidia’s CMO Dr. Rajeev Saggar confirmed that Liquidia is not changing the

  formulation for Yutrepia, not changing its dry powder inhaler, and not changing anything that



  295
      Supra § IV.A.2; Rajeev Saggar Dep. Tr. at 213:14-22. (Q. Well, I mean, I'm asking -- you are
  talking -- you have told FDA, right, that you think Yutrepia is going to be safe and effective for
  PH-ILD patients, right? A. Yes. We have told them that, and based on the tentative approval, I
  believe they agree with us.).


                                                 89
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 301 of 455 PageID
                                            #: 34571



  would require an update to Yutrepia’s tentatively approved label. 296 Additionally, Liquidia’s CMO

  confirmed that Liquidia is targeting the same PH-ILD patients for which Tyvaso or Tyvaso DPI

  are or can be prescribed.297

         160.    Liquidia’s CMO explained that Yutrepia does not “chang[e] how the [treprostinil]

  molecule acts.”298 However, according to Liquidia’s CMO, Yutrepia’s formulation provides “the

  ability for the [treprostinil] molecule to act how the [treprostinil] molecule should act.” 299 This

  formulation taken together with Yutrepia’s dry powder inhaler is the “combination” that Liquidia’s

  CMO purports will be easier for patients, especially PH-ILD patients, to tolerate. 300 Liquidia’s

  CMO reasoned that “if [patients] can tolerate it better, they can titrate it to effective doses; and

  therefore, their compliance will be better; therefore, their outcomes, you know, if that occurs, will

  be improved.”301 Also, Liquidia’s CMO testified that he “absolutely” believes that Yutrepia would

  be just as effective as Tyvaso for PH-ILD patients and that he believes Yutrepia would “meet or




  296
      Rajeev Saggar Dep. Tr. at 100:19-101:19 (Q. Yeah. So when you say that Liquidia is
  continuing to develop, are you changing -- is Liquidia changing the formulation for Yutrepia or
  LIQ 861? A. Not that I believe we are. Q. Okay. Is Liquidia changing the dry powder inhaler?
  A. No, we are not. Q. Is Liquidia changing anything that would require updating its proposed
  label to FDA? A. Not that I believe so.).
  297
      Rajeev Saggar Dep. Tr. at 85:24-88:11 (Q. All I am trying to confirm, Doctor, is that 60,000
  patients could take Tyvaso or Tyvaso DPI or Yutrepia, correct? A. I think those patients could use
  inhaled treprostinil if the clinician and the patient agreed to it, correct. Q. And so they could take
  either Tyvaso or Tyvaso DPI or Yutrepia, assuming the clinician and patient agree to it, correct?
  A. I believe so.).
  298
      Rajeev Saggar Dep. Tr. at 218:16-219:12.
  299
      Rajeev Saggar Dep. Tr. at 219:13-220:2 (“The way we're formulated, using print, our particles
  are not -- they're not a glomerate, so they tend not to stick; therefore, they could be maximized for
  delivery to lower airways, which then has a better -- you know, the ability for the molecule to act
  how the molecule should act.).
  300
      Rajeev Saggar Dep. Tr. at 218:16-220:2.
  301
      Rajeev Saggar Dep. Tr. at 219:8-12.


                                                   90
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 302 of 455 PageID
                                             #: 34572



  exceed the level of performance that the INCREASE study describes for Tyvaso in PH-ILD

  patients.”302

          161.    Liquidia’s CMO also testified that tolerance in turn permits titratability. 303

  Liquidia’s CMO stated that “the data suggests that, as you titrate to doses higher, that can

  potentially offer the patient an ongoing clinical response that is better than the lower dose prior to

  it.”304 Liquidia’s CMO acknowledges that all treprostinil molecules are titratable, but Liquidia’s

  CMO also shared that patients in Liquidia’s “ASCENT study have been able to be dosed to what

  [Liquidia] believe[s] are higher levels than traditionally used by Tyvaso nebulizer, especially in

  the INCREASE study in PH-ILD . . .”305 A statement that by Liquidia’s CMO’s reasoning would

  indicate that Yutrepia is capable of meeting or exceeding the INCREASE study’s outcomes.

  Likewise, a March 13, 2024 Liquidia press release quotes Roger Jeffs—Liquidia’s CEO—

  announcing Liquidia’s goal for Yutrepia:

                  Once on the market, we are confident that the medical community
                  will see firsthand that YUTREPIA has the potential to not only be
                  the best-in-class inhaled product, but also the prostacyclin of first




  302
       Rajeev Saggar Dep. Tr. at 79:11-15; 213:24-215:8 (Q. So if there is a way to do -- to give
  Yutrepia to the same type of PH-ILD patients as were administered Tyvaso in INCREASE, do you
  think -- does Liquidia believe that Yutrepia's performance would meet or exceed the performance
  of Tyvaso in the INCREASE study? A. Yes. If the settings were exactly the same, yes, I do believe
  that.).
  303
       Rajeev Saggar Dep. Tr. at 128:17-129:10 (Q. When you mentioned titrate-ability a minute ago
  in your answer, titrate-ability during the ASCENT study, what are you talking about? A. Well,
  Yutrepia, as is with every inhaled treprostinil product, is a drug where you can augment the dose
  if it’s tolerable. And the data suggests that, as you titrate to doses higher, that can potentially offer
  the patient an ongoing clinical response that is better than the lower dose prior to it. So as you
  know, all treprostinil molecules are titratable. They are not set at, for example, one or two fixed
  doses, as typical of most -- many drugs. . So Yutrepia is titratable, but so is Tyvaso, Tyvaso DPI,
  Remodulin, Orenitram, for example? A. All treprostinil products have the potential to be -- to
  titrate.)
  304
       Rajeev Saggar Dep. Tr. at 128:22-129:1.
  305
       Rajeev Saggar Dep. Tr. at 220:16-21.


                                                     91
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 303 of 455 PageID
                                           #: 34573



                 choice given its convenient, low-effort delivery and wide dosing
                 range enabled by our proprietary PRINT Technology.306

  Liquidia has used similar language in its recent SEC filings:

                 We believe YUTREPIA can become the prostacyclin of first choice
                 across the disease continuum in PAH and PH-ILD because of its
                 convenience, low-resistance device and the ability to titrate to higher
                 doses.307

         162.    Further, Liquidia’s marketing materials directly rely on INCREASE data to market

  the efficacy of Yutrepia for the treatment of PH-ILD. 308 For example, Liquidia relies on the

  primary endpoint data from INCREASE, the increase in 6MWD resulting from the administration

  of inhaled treprostinil, to demonstrate the efficacy of Yutrepia. 309 These marketing materials,

  relying on the 6MWD data, thus suggest that when there is administration of Yutrepia, there will

  be some infringement of the ’327 patent.310 Some of these marketing publications go as far as

  providing 6MWD data broken down by endpoint 311:




  306
      March 13, 2024 Press Release (LIQ_PH-ILD_00143338) at -338.
  307
      See, e.g., 10-K 2022 at LIQ_PH-ILD_00141708; 10-K 2023 at LIQ_PH-ILD_00002016.
  308
      See, e.g., Yutrepia Formulary Kit (LIQ_PH-ILD_00146970) at -977 (describing the safety and
  efficacy of inhaled treprostinil for the treatment of ILD using the INCREASE trial); LIQ_PH-
  ILD_00147141 (Yutrepia Marketing Handout) at -147 (describing the efficacy and safety results
  from the INCREASE trial); Yutrepia Presentation (LIQ_PH-ILD_00147196) at -235-238
  (describing the efficacy results from INCREASE).
  309
      See, e.g., LIQ_PH-ILD_00146936 (Yutrepia Draft Webpage 2) at LIQ_PH-ILD00146937 (“In
  a clinical study, patients with PH-ILD who took an inhaled treprostinil solution walked further on
  average and lowered the chance of their PH-ILD worsening than those who took a placebo
  solution.”); LIQ_PH-ILD_00147156 (Yutrepia Marketing Diagram) at -157 (describing the
  improvement in 6MWD observed in INCREASE trial patients); LIQ_PHILD_00146970 (Yutrepia
  Formulary Kit) at -977 (“Improvements in 6MWD were observed across a range of subgroups and
  were dose dependent”); LIQ_PH-ILD_00147141 (Yutrepia Marketing Handout) at -147 (“Patients
  treated with inhaled treprostinil solution had a significant improvement in 6MWD”); LIQ_PH-
  ILD_00147196 (Yutrepia Presentation) at -236 (showcasing the statistically significant
  improvement in 6MWD observed in the INCREASE trial).
  310
      See ’327 patent (UTC_PH-ILD_005310).
  311
      Yutrepia Marketing Handout (LIQ_PH-ILD_00147141) at -147.


                                                   92
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 304 of 455 PageID
                                           #: 34574




         163.    Liquidia further relies on the secondary endpoint data from the INCREASE trial,

  the reduction in risk of a clinical worsening event, to support Yutrepia’s efficacy. 312 Other

  marketing materials reference the reduced plasma NT-proBNP levels associated with the

  administration of treprostinil to treat PH-ILD that were observed in the INCREASE trial as further

  support for Yutrepia’s efficacy.313 In doing so, Liquidia is again relying on INCREASE data to

  demonstrate why Yutrepia would also be effective for administration to the PH-ILD population.

  The reliance on INCREASE data, specifically that relating to the reduction in NT-proBNP levels

  and reduction in clinical worsening, in these marketing materials therefore suggests that

  administration of Yutrepia would result in infringement of the ’327 patent. 314



  312
      Yutrepia Marketing Diagram (LIQ_PH-ILD_00147156) at -157 (describing the reduction in
  risk of a clinical worsening event observed in INCREASE trial patients); Yutrepia Presentation
  (LIQ_PH-ILD_00147196) at -237 (“Treatment with inhaled treprostinil solution reduced the risk
  of a clinical worsening event by 39%”); Yutrepia Marketing Handout (LIQ_PH-ILD_00147141)
  at -148 (describing the 39% risk reduction of a clinical worsening event seen with treatment of
  inhaled treprostinil in the INCREASE trial); Yutrepia Formulary Kit (LIQ_PHILD_00146970) at
  -977 (describing the lower incidence of clinical worsening observed in those patients treated with
  inhaled treprostinil).
  313
      See, e.g., Yutrepia Formulary Kit (LIQ_PHILD_00146970) at -977 (describing the 15%
  reduction in NT-proBNP levels for those patients treated with inhaled treprostinil compared to a
  46% increase in the placebo group).
  314
      See ’327 patent (UTC_PH-ILD_005310).


                                                  93
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 305 of 455 PageID
                                          #: 34575



         164.    Liquidia’s Product Dossier explicitly references the finding from the INCREASE

  study indicating a statistically significant reduction of NT-proBNP levels after 16 weeks using

  MMRM applied to log-transformed NT-proBNP measurements in Section 3.1.2.

         165.    The table in Section 3.1.2 of the Yutrepia Product Dossier referencing NT-proBNP

  levels—which presents the same data as Table 2 of the INCREASE publication 315—is provided

  below and reports a mean reduction in NT-proBNP levels of 396.35 pg/mL and p-value of P<0.001

  after 16 weeks316:




         C.      Liquidia’s ASCENT clinical trial is informed by INCREASE

         166.    Liquidia is currently sponsoring a clinical trial in which Yutrepia is administered

  to PH-ILD subjects. The clinical trial’s official title is “An Open-Label ProSpective MultiCENTer

  Study to Evaluate Safety and Tolerability of Dry Powder Inhaled Treprostinil in Pulmonary



  315
     Supra § III.D.2.b.2; INCREASE publication (UTC_PH-ILD_010790) at -797.
  316
     Product Dossier (LIQ_PH-ILD_00146984) at -037-038. The same NT-proBNP data are
  reported in Table 5 of the ’327 patent (UTC_PH-ILD_005310).



                                                 94
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25           Page 306 of 455 PageID
                                            #: 34576



  Hypertension,” which is condensed to the acronym ASCENT (“ASCENT study”). 317 According

  to a Study Details Tab on clinicaltrials.gov, which was posted on January 31, 2024, the ASCENT

  study started on December 28, 2023 and “will evaluate the safety and tolerability of [Yutrepia] in

  subjects who have WHO Group 1 & 3 PH.” 318

         167.      I understand that Liquidia’s CMO has testified that the ASCENT study began after

  Liquidia submitted its sNDA to add a PH-ILD indication to the Yutrepia label. 319 I further

  understand that Liquidia’s CMO testified that the ASCENT study has no regulatory purpose with

  respect to Yutrepia obtaining that PH-ILD indication and that Liquidia is conducting the ASCENT

  study to “showcase [Yutrepia’s] product profile.” 320

         168.      The ASCENT study’s original Clinical Research Protocol (“ASCENT protocol”)

  is dated August 21, 2023,321 and that protocol was amended on October 3, 2023 (“First Amended

  ASCENT Protocol”).322 The First Amended ASCENT Protocol provides the following summary

  of changes:323




  317
      Rajeev Saggar Dep. Tr. at 101:20-102:3 (“So in your view, Liquidia is still clinically
  developing Yutrepia because it’s collecting data somewhere? A. Absolutely. Q. What data are you
  collecting right now? I assume some data from the ASCENT study; is that right? A. Yeah, we’re
  collecting data from the ASCENT study.”); see also id. at 125:20-126:24; see generally, LIQ_PH-
  ILD_00124867 ASCENT Protocol (LIQ_PH-ILD_00124867); First Amended ASCENT Protocol
  (LIQ_PH-ILD_00147607).
  318
      ASCENT at Clinical Trials (UTC_PH-ILD_000395) at -395 to -396.
  319
      Rajeev Saggar Dep. Tr. at 79:22-80:3.
  320
      Rajeev Saggar Dep. Tr. at 80:15-81:8; see also Nov. 2020 LIQ861 Steering Committee Meeting
  (LIQ_PH-ILD_00113881) at -893 (Liquidia’s previous CMO, Dr. Shah, stating in November 2020
  “that even beyond regulatory requirements, clinicians would want data specific to Group 3 patients,
  particularly in terms of safety outcomes.”)
  321
      See ASCENT Protocol (LIQ_PH-ILD_00124867) at -867-868.
  322
      See First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -607-608.
  323
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -609.


                                                  95
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 307 of 455 PageID
                                            #: 34577




         169.      I have reviewed the ASCENT protocol and the First Amended ASCENT Protocol

  (collectively, the “ASCENT Protocols”). 324 The ASCENT Protocols state that the study’s primary

  objective “is to evaluate the safety and tolerability of [Yutrepia] in subjects with WHO Group 1 &

  3 Pulmonary Hypertension (PH).” 325 The ASCENT Protocols also state that the study’s

  “exploratory objectives . . . are to assess the effects of [Yutrepia] on exercise capacity, functional

  class, relevant biomarkers, and imaging assessments.” 326 The ASCENT Protocols contemplate

  multiple cohorts but to date only identify “Cohort A,” with the ASCENT Protocols characterizing

  this cohort as consisting of “subjects who have WHO Group 3 Pulmonary Hypertension associated

  with interstitial lung disease (PH-ILD)” with the First Amended ASCENT Protocol further

  specifying:327




  324
      ASCENT Protocol (LIQ_PH-ILD_00124867) at -867-957; First Amended ASCENT Protocol
  (LIQ_PH-ILD_00147607) at -607 to -697.
  325
      ASCENT Protocol (LIQ_PH-ILD_00124867) at -871, -886; First Amended ASCENT Protocol
  (LIQ_PH-ILD_00147607 ) at -611, -626.
  326
      ASCENT Protocol (LIQ_PH-ILD_00124867) at -871, -886; First Amended ASCENT Protocol
  (LIQ_PH-ILD_00147607) at -611 to -626.
  327
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -626.


                                                   96
Case 1:23-cv-00975-RGA-SRF         Document 422 Filed 07/09/25           Page 308 of 455 PageID
                                         #: 34578




  The First Amended ASCENT Protocol also provides the most up-to-date inclusion and exclusion

  criteria for Cohort A.328

         170. According to the ASCENT Protocols, the ASCENT study is a 52-week, multi-center,

  open-label, single-arm study.329 The ASCENT Protocols summarize the study’s objectives, design,

  and duration as follows: 330




  328
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -628-630.
  329
      According to ASCENT Protocols the desired number of sites is 30. According to Study Record
  Version 4, there are 14 locations all of which recite “Recruiting” as their status.
  330
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -611.


                                                97
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 309 of 455 PageID
                                           #: 34579



         171. The ASCENT Protocols instruct that enrolled subjects will be placed on the following

  Yutrepia dosing regimen: 331




  Appendix 2, entitled GUIDANCE FOR LIQ861 DOSE SELECTION AND TITRATION,

  provides instructions regarding dose titration, instructing that “[a]t Baseline, the subject should

  initiate therapy on [Yutrepia] at the 26.5g treprostinil dose QID,” and should be titrated

  according to the provided schedule such that the subject’s dosage is “greater than or equal to

  132.5μg Treprostinil strength by Week 15 if tolerated by the subject.” 332 Appendix 2 explains that

  “[t]he recommended titration schedule is based on experience in the INSPIRE study (Hill 2022)

  and data from INCREASE on inhaled Treprostinil (Waxman 2021).” 333 The schedule provides the

  Yutrepia “Target Dose” for each week of the 24-week trial period as well as the corresponding

  “Tyvaso Breath equivalents.”:334




  331
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -633.
  332
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -665.
  333
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -665.
  334
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -665-666.


                                                  98
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 310 of 455 PageID
                                          #: 34580




           172.   The dosing regimens provided in the ASCENT Protocols emphasize that

  investigators must consider subject tolerance when uptitrating Yutrepia, instructing that “[i]f a

  subject does not tolerate a higher dose, [the subject should] decrease to the previously tolerated

  dose, and consider if a future increase should be attempted.” 335 Indeed, the ASCENT Protocols


  335
        First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -665.


                                                 99
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 311 of 455 PageID
                                           #: 34581



  instruct investigators to document if a subject’s dosage does not increase between visits.

  Alternatively, the protocol permits investigators to increase doses above 132.5 μg QID for subjects

  exhibiting greater tolerance.336

         173.    The ASCENT Protocols’ dosing regimen instructions are nearly identical to the

  instructions set forth in the tentatively approved Yutrepia label, which instruct treprostinil naïve

  patients to begin at “26.5 mcg 3 to 5 times per day” (which aligns with the initial 3 and 4 breath

  Tyvaso doses in the INCREASE study) and to increase their dosage by 26.5 mcg each week as

  tolerated (which closely tracks Tyvaso titration during INCREASE). 337 Moreover, the “Target

  Dose” to “Tyvaso Breath equivalents” in the ASCENT Protocols’ recommended titration schedule

  seamlessly aligns with the Yutrepia’s tentatively approved label’s “Current Tyvaso Dose” to

  “YUTREPIA Dose” conversion table. 338 Yet the dosing regimens in the ASCENT Protocols

  instruct uptitrating subjects to dosages greater than or equal to 132.5 μg QID, which is

  contemplated by the Yutrepia label’s conversion table but is greater than the Yutrepia label’s 79.5-

  106 mcg QID “target maintenance dosage” (which respectively correspond to INCREASE study’s

  9-breath target dose and 12-breath maximum dose).

         174.    The ASCENT protocol also recognizes Yutrepia’s similarity to Tyvaso dosing

  when it describes that:

                 A PK sub-study including 18 participants found that the rate of
                 absorption of treprostinil following LIQ861 administration was
                 similar to that following Tyvaso (Tmax of approximately 10
                 minutes). As expected, the elimination half-life values were similar
                 across the LIQ861 doses and consistent with the Tyvaso doses.


  336
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -633.
  337
      Compare ASCENT Protocol (LIQ_PH-ILD_00124867) at -928 to -938 and First Amended
  ASCENT Protocol (LIQ_PH-ILD_00147607) at -668-678, with Yutrepia Label (LIQ_PH-
  ILD_00126017) at -036 to -046.
  338
      Compare First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -665-666, with
  Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022.


                                                  100
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 312 of 455 PageID
                                           #: 34582



                 Exposure to treprostinil increased with increasing doses of
                 LIQ861.339

         175.    In view of the ASCENT study’s “exploratory objectives . . . to assess the effects of

  [Yutrepia] on exercise capacity, functional class, relevant biomarkers, and imaging assessments,”

  and express acknowledgement of the INCREASE study meeting “its primary endpoint of change

  in the 6-minute walk distance at 16 weeks,” the ASCENT Protocols’ dosing regimen appears

  designed to administer Yutrepia to enrolled PH-ILD subjects with the intended purpose and

  expectation of improving exercise capacity in these subjects similar to the results observed in the

  INCREASE study. 340 This is further indicated by the ASCENT study’s screening schedule

  including 8 and 16 week clinic visits during which 6MWD is scheduled to be assessed. 341 I also

  note that the ASCENT Study’s single-arm, open label design also indicates the ASCENT study’s

  acceptance of the INCREASE study as informing the expectations of the ASCENT study’s

  outcomes.

         176.    Moreover, the ASCENT Protocols provide more detail concerning the study’s

  exploratory endpoints:342




  339
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -625.
  340
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -623, -626.
  341
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -638-640.
  342
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -627.


                                                 101
Case 1:23-cv-00975-RGA-SRF         Document 422 Filed 07/09/25           Page 313 of 455 PageID
                                         #: 34583




  In addition to peak 6MWD being assessed after 8 and 16 weeks, the protocol also specifies that

  plasma concentration of NT-proBNP and pulmonary function will be assessed. According to the

  ASCENT Protocols, PFT includes “spirometry and Diffusion Capacity (DLCO)” and records a

  number of parameters as absolute values and % predicted including, FEV1, FVC, FEV1/FVC and

  DLCO.343




                                    ASCENT Protocol, § 6.9




  343
    ASCENT Protocol (LIQ_PH-ILD_00124867) at -907, -949; First Amended ASCENT Protocol
  (LIQ_PH-ILD_00147607) at -646 to -647, -689.


                                               102
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 314 of 455 PageID
                                          #: 34584




  It is clear that these endpoints parallel those of the INCREASE study.

         177.    Regarding statistical considerations, the ASCENT protocol indicates no formal

  testing is planned.344 Yet the ASCENT protocol states that a formal SAP will be finalized prior to

  locking the study database:345




  Nevertheless, the ASCENT Protocol reports that changes from baseline for “laboratory parameters

  and vital signs” as well as “exploratory endpoints” will be summarized with baseline being “the

  last measurement prior to the start of study treatment.” 346 The ASCENT protocol identifies a


  344
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -616.
  345
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -656.
  346
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -616.


                                                 103
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 315 of 455 PageID
                                           #: 34585



  “sample size of approximately 60 subjects” including a safety population and an efficacy

  population for analysis. 347 The safety population includes all subjects receiving at least one

  inhalation of Yutrepia and the efficacy population includes all subjects receiving at least one

  inhalation of Yutrepia who also have “at least one post-dosing efficacy assessment.” 348 For the

  exploratory endpoints the protocol specifies that descriptive statistics will be used to summarize

  “[a]bsolute values and changes from baseline.” 349 Regarding safety analysis, the protocol specifies

  that “[t]reatment-emergent adverse events” and laboratory data such as NT-proBNP levels will be

  summarized.350

         178.    I note that because the ASCENT study is an open-label, single-arm, nonrandomized

  study, it cannot provide information about efficacy of Yutrepia in these subjects. Indeed, the

  ASCENT protocol specifically states that while efficacy endpoints identified in the INCREASE

  study such as changes in 6MWD, NT-proBNP, and pulmonary function will be monitored at weeks

  8, 16, 24, and 52, “this study is not designed to make conclusions on efficacy.” 351

         179.    On the other hand, the randomized and controlled INCREASE study provides

  information about the safety and efficacy of inhaled treprosintil in the PH-ILD subjects enrolled

  in the ASCENT study. The active ingredient in the ASCENT study—treprostinil—is the same

  active ingredient examined in the INCREASE study. Furthermore, the ASCENT study includes

  the same type of PH-ILD subjects that were included in the INCREASE study with very similar

  inclusion and exclusion criteria. The dosing schedule used in the ASCENT study also closely

  follows the dosing schedule followed in the INCREASE study—indeed the ASCENT Protocol



  347
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -656.
  348
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -656.
  349
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -656.
  350
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -656-657.
  351
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -627, -635.


                                                  104
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25               Page 316 of 455 PageID
                                              #: 34586



  states that the recommended titration schedule is based on data from INCREASE—and aligns with

  Yutrepia’s tentatively approved label. The ASCENT trial also proposes to administer PH-ILD

  patients even greater doses of treprostinil than administered in INCREASE. The ASCENT

  protocol measures many of the same data reported as endpoints of the INCREASE study.

  Accordingly, for largely the same reasons as I detailed above with respect to the impact of the

  INCREASE results,352 it is my opinion that PH-ILD patients administered an inhaled treprostinil

  equivalent or greater to than the INCREASE study, such as patients included in the ASCENT study,

  will more likely than not experience the beneficial improvements reported in the INCREASE study.

  V.        THE ’327 PATENT

            180.    U.S. Patent No. 11,826,327 titled, “Treatment for Interstitial Lung Disease” lists

  United Therapeutics Corporation as the applicant and assignee and Leigh Peterson, Peter Smith,

  and Chunqin Deng as inventors. The application leading to the ’327 patent was filed as U.S. Patent

  Application No. 17/233,061 on April 16, 2021. The ’327 patent lists as related applications U.S.

  Provisional Application No. 63/011,810 filed on April 17, 2020 and U.S. Provisional Application

  No. 63/160,611 filed on March 12, 2021.

            181.    As recited in the abstract, the ’327 patent is generally directed to:

                    Methods of treating of interstitial lung disease, reducing pulmonary
                    function decline in a subject with interstitial lung disease (ILD), and
                    increasing forced vital capacity (FVC) in a subject suffering from
                    ILD are provided, wherein the methods include administration of
                    treprostinil.

            182.    The ’327 patent contains 19 claims, with claim 1 being the only independent claim.

  I understand that UTC only asserts that Liquidia infringes claims 1-11 and 14-19 in this litigation.

  The Asserted Claims are reproduced below:



  352
        Supra § III.D.2.c.


                                                     105
Case 1:23-cv-00975-RGA-SRF       Document 422 Filed 07/09/25               Page 317 of 455 PageID
                                       #: 34587



             1. A method of improving exercise capacity in a patient having
             pulmonary hypertension associated with interstitial lung disease,
             comprising administering by inhalation to the patient having
             pulmonary hypertension associated with interstitial lung disease an
             effective amount of at least 15 micrograms up to a maximum
             tolerated dose of treprostinil or a pharmaceutically acceptable salt
             thereof in a single administration event that comprises at least 6
             micrograms per breath.

             2. The method of claim 1, wherein said administering provides a
             statistically significant increase of a 6 minutes walk distance in the
             patient after 8 weeks, 12 weeks, or 16 weeks of the administering.

             3. The method of claim 1, wherein said administering increases a 6
             minutes walk distance of the patient by at least 10 m after 8 weeks,
             12 weeks, or 16 weeks of the administering.

             4. The method of claim 1, wherein said administering provides a
             statistically significant reduction of a plasma concentration of NT-
             proBNP in the patient after 8 weeks, 12 weeks, or 16 weeks of the
             administering.

             5. The method of claim 1, wherein said administering reduces a
             plasma concentration of NT-proBNP in the patient by at least 200
             pg/ml after 8 weeks, 12 weeks, or 16 weeks of the administering.

             6. The method of claim 1, wherein said administering provides a
             statistically significant reduction of at least one exacerbations of the
             interstitial lung disease.

             7. The method of claim 1, wherein said administering provides a
             statistically significant reduction of clinical worsening events due to
             the interstitial lung disease.

             8. The method of claim 7, wherein the clinical worsening events
             comprise at least one of hospitalization for cardiopulmonary
             indication and a decrease in a 6-minute walk distance by more than
             15% compared a baseline 6-minute walk distance prior to the
             administering.

             9. The method of claim 1, wherein said administering provides a
             statistically significant improvement of forced vital capacity (FVC)
             in the patient after 8 weeks, 12, weeks or 16 weeks of the
             administering.

             10. The method of claim 9, wherein said administering improves the
             forced vital capacity (FVC) in the patient by at least 20 ml after 8
             weeks, 12 weeks, or 16 weeks of the administering.


                                               106
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 318 of 455 PageID
                                             #: 34588



                   11. The method of claim 1, wherein said administering is performed
                   by a pulsed inhalation device.

                   14. The method of claim 11, wherein the pulsed inhalation device is
                   a dry powder inhaler comprising a dry powder comprising
                   treprostinil or a pharmaceutically acceptable salt thereof.

                   15. The method of claim 1, wherein the effective amount of
                   treprostinil or a pharmaceutically acceptable salt administered to the
                   patient in a single inhalation administration event is from 15 μg to
                   100 μg.

                   16. The method of claim 15, wherein the single inhalation
                   administration event does not exceed 15 breaths by the patient.

                   17. The method of claim 1, wherein said administering increases a
                   6 minutes walk distance of the patient by at least 10 m after 8 weeks
                   of the administering.

                   18. The method of claim 1, wherein said administering increases a
                   6 minutes walk distance of the patient by at least 15 m after 12 weeks
                   of the administering.

                   19. The method of claim 1, wherein said administering increases a
                   6 minutes walk distance of the patient by at least 15 m after 16 weeks
                   of the administering.

            183.   I note that much of the same clinical data reported in the INCREASE data and

  explicitly referenced in the proposed Yutrepia label also appears in the ’327 patent as detailed

  below.

  VI.       ERRORS IN DR. CHANNICK’S REBUTTAL REPORT

            A.     Dr. Channick mischaracterizes what was “already in the public domain,”
                   including the disclosure of Faria-Urbina 2018

            184.   Dr. Channick asserts that “the Yutrepia™ Label is Directed to Activities in the

  Public Domain Long Before the ’327 Patent was Filed,” 353 and Dr. Channick asserts that

  “Liquidia’s Yutrepia™ label, with respect to the PH-ILD indication, as well as the accompanying

  dosing, is directed to what healthcare providers had already been doing to treat PH-ILD patients


  353
        Channick Reb. Rpt. § V.A heading; Id. at ¶ 46.


                                                    107
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 319 of 455 PageID
                                            #: 34589



  and was already in the public domain.”354 Dr. Channick asserts that this is because “soon after

  approval of Tyvaso® for treatment of PAH, healthcare providers began prescribing Tyvaso® off-

  label using the approved PAH dosing regimen to improve exercise capacity in their PH-ILD

  patients” and because of public disclosures. 355 I disagree.

         185.    As detailed above, the PH-ILD indication recited in the tentatively approved

  Yutrepia label is as follows:356




  Contrary to Dr. Channick’s opinion, administering inhaled treprostinil to improve exercise

  capacity in PH-ILD patients was not in the public domain prior to the ’327 patent’s priority date 357

  because there was no multicenter, randomized (1:1 inhaled treprostinil:placebo), double-blinded,

  placebo-controlled clinical trial until the INCREASE study, and such a study is the means by which

  an inhaled treprostinil treatment effect in PH-ILD patients with respect to exercise capacity could

  have been reliably identified and confirmed. 358

         186.    To support his position, Dr. Channick points in part to treprostinil purportedly being

  prescribed to PH-ILD patients by particular individual doctors. 359 But as I explained in my




  354
      Channick Reb. Rpt. ¶ 46, see also Channick Reb. Rpt ¶ 53, n. 54.
  355
      Channick Reb. Rpt. ¶¶ 46-54.
  356
      Supra § IV.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021.
  357
      Thisted Reb. Rpt. at¶¶ 31,31 n.7.
  358
      Thisted Reb. Rpt. at §§ VII, IX-XII, XV; supra §§ III.B, III.D.2; e.g., INCREASE publication
  (UTC_PH-ILD_010790) at -790.
  359
      Channick Reb. Rpt. ¶¶ 29, 46.


                                                     108
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 320 of 455 PageID
                                           #: 34590



  Rebuttal Report, such purported personal observations are subject to bias. 360 The same points that

  I raised in my Rebuttal Report (there in the context of validity) apply with equal force here; while

  I will not repeat my prior stated opinions in full, they should be considered incorporated by

  reference here. 361 Briefly, medical history is replete with examples of “treatments” widely

  believed to be effective—with a biologically plausible explanation that appealed to clinical

  intuition and seemed to be borne out by anecdotal evidence—but which ultimately turned out to

  be ineffective or even harmful. 362 Indeed, the fact that there are inevitable biases inherent in

  relying on clinical intuition and anecdotal evidence is central to the modern paradigm of evidence-

  based medicine.363 As a particularly poignant example, as of 2018 there was anecdotal evidence

  and limited retrospective uncontrolled pilot studies suggesting that inhaled treprostinil could be

  safe and effective for treating patients with pulmonary hypertension associated with COPD. 364

  However, the PH-COPD PERFECT study was the first multi-center, randomized, double-blind,

  placebo-controlled crossover study to test that hypothesis; it assessed inhaled treprostinil to treat

  PH-COPD.365 But the PH-COPD PERFECT study was terminated early due to a determination

  by the Data and Safety Monitoring Committee that patients on the active treatment arm

  experienced serious adverse events at a greater rate than those receiving placebo. 366 Ultimately,

  the PH-COPD PERFECT study demonstrated that—contrary to the promising anecdotal evidence

  and Uncontrolled Studies that came before—administering inhaled treprostinil to patients with

  PH-COPD was not safe and showed no evidence of efficacy in improving 6MWD as compared to



  360
      Thisted Reb. Rpt. at §§VII, XII.
  361
      Thisted Reb. Rpt. at §§ VII, IX-XII, XV; see also supra §§ III.B, III.D.2.c.
  362
      See Thisted Reb. Rpt. at §§VII, XII.
  363
      See Thisted Reb. Rpt. at §§ VII, IX.B-E, X-XII, XV; see supra §§ III.B, III.D.2.c.
  364
      See Thisted Reb. Rpt. at §§ VII, IX.B-E, X-XII, XV; see supra §§ III.B, III.D.2.c.
  365
      Thisted Reb. Rpt. at § X; supra § III.D.2.c.
  366
      Thisted Reb. Rpt. at § X; supra § III.D.2.c.


                                                  109
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25           Page 321 of 455 PageID
                                             #: 34591



  patients receiving placebo.367 Contrary to Dr. Channick’s opinions, anecdotal evidence based on

  individual prescribers and the perceived benefits to patients is inherently biased and cannot

  substitute for a well-controlled clinical trial. 368 Accordingly, I disagree with Dr. Channick’s

  assertion that the purported off-label prescribing practices of individual physicians would render

  the Asserted Claims not infringed.

         187.    Dr. Channick asserts that:

                 The method of treatment described by this indication and associated
                 dosing of inhaled treprostinil from the Yutrepia™ label was already
                 publicly disclosed and was in the public domain, such as [Faria-
                 Urbina 2018 that was] published in the journal Lung . . . before the
                 filing of the ’327 patent.369

  I disagree. Faria-Urbina 2018 fails to disclose the method described by the PH-ILD indication that

  is recited in the tentatively approved Yutrepia label at least for the reasons I detail above and in

  my Rebuttal Report: Faria-Urbina 2018 reports a small sample, retrospective, single-site, single-

  arm, open-label chart review that did not and cannot demonstrate any inhaled treprostinil treatment

  effect in PH-ILD patients. 370 Moreover, the data reported by Faria-Urbina 2018 lack

  generalizability due selection and the small sample size of PH-ILD patients and are unreliable due

  to severe biases, especially selection bias.371 Accordingly, Faria-Urbina 2018 did not place the PH-

  ILD indication recited in the tentatively approved Yutrepia label, or the corresponding methods of

  administering inhaled treprostinil to achieve improved exercise capacity in PH-ILD patients, in the

  public domain.372




  367
      Thisted Reb. Rpt. at § X; supra § III.D.2.c.
  368
      See Thisted Reb. Rpt. at §§ VII, IX.B-E, X-XII, XV; see supra §§ III.B, III.D.2.c.
  369
      Channick Reb. Rpt. ¶ 47.
  370
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  371
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  372
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.


                                                  110
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 322 of 455 PageID
                                           #: 34592



         188.    Dr. Channick’s Rebuttal Report incorporates his Opening Report’s discussion of

  Faria-Urbina 2018 in the context of purportedly anticipating the Asserted Claims. My Rebuttal

  Report directly addresses why Dr. Channick’s Opening Report’s discussion of Faria-Urbina 2018

  and the other Uncontrolled Studies is wrong, and I incorporate by reference my Rebuttal Report’s

  discussion of all the Uncontolled Studies, including Faria-Urbina 2018. 373 I also discuss above

  limitations of Faria-Urbina 2018 and single-arm studies like Faria-Urbina 2018 that I incorporate

  by reference here.374

         189.    I continue to take issue with how Dr. Channick interprets the impact of Faria-

  Urbina 2018 because he ignores the deficiencies therein. 375 For example, Dr. Channick asserts

  that “Faria-Urbina 2018 discloses using inhaled treprostinil to improve the exercise capacity of

  PH-ILD patients.”376 This is incorrect as I detailed above and in my Rebuttal Report. 377 Critically,

  the chart review reported in Faria-Urbina 2018 was retrospective and only had a treatment arm,

  i.e., it was not placebo-controlled and not blinded. 378 Therefore, the reported chart review does

  not and could not identify any inhaled treprostinil treatment effects in PH-ILD patients. 379

         190.    Moreover, at least some patients that the Faria-Urbina 2018 chart review followed

  were on other treatments in addition to treprostinil that varied from subject to subject and were

  continued throughout the observation period, including the followed subjects for which 6MWD is




  373
      Thisted Reb. Rpt. §§ VII, IX-XI, XV.
  374
      Supra §§ §§ III.B, III.D.2.c.
  375
      Channick Reb. Rpt. ¶ 48.
  376
      Channick Reb. Rpt. ¶ 48.
  377
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  378
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937-938, -941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  379
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.


                                                  111
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 323 of 455 PageID
                                            #: 34593



  reported.380 Therefore any changes in exercise capacity or other parameters could not be attributed

  to treprostinil as opposed to the other therapies that the followed patients were taking. 381

         191.    Also, the chart review reported by Faria-Urbina 2018 excluded higher risk patients,

  e.g., subjects that started on treprostinil but required additional pulmonary hypertension

  medications (presumably because of some worsening of their lung disease) or that were recently

  hospitalized.382 In fact, of the 72 patients identified as receiving inhaled treprostinil, all but 22

  were excluded from consideration for these or other reasons; only 14 of those 22 patients were

  characterized as presenting with ILD (9) or CPFE (5); and the data Faria-Urbina 2018 reports often

  reflects fewer patients, e.g., the 6MWD data only reflects 11 followed patients. 383 This indicates

  the chart review reported by Faria-Urbina 2018 suffered from selection bias which would overstate

  positive results and would lack generalizability and reproducibility as detailed in my Rebuttal

  Report and above.384

         192.    Dr. Channick’s Rebuttal Report—like Dr. Channick’s Opening Report—

  completely ignores the significant limitations that the authors of Faria-Urbina 2018 themselves

  raise regarding the reported chart review.385 I discuss this in detail in my Rebuttal Report. 386 For

  example, the authors of Faria-Urbina 2018 acknowledge the following limitations: 387



  380
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937, -940; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  381
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937, -940; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  382
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937-938; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  383
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937-938; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  384
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  385
      Channick Reb. Rpt. § V.A.
  386
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV.
  387
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.


                                                   112
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 324 of 455 PageID
                                           #: 34594




  Dr. Channick’s Rebuttal Report does not address this. 388 The authors of Faria-Urbina 2018

  conclude that “[t]he potential role of inhaled PH-specific drugs in Group 3 PH should be further

  assessed in larger prospective studies.” 389 First, this conclusion does not specifically identify

  treprostinil, PH-ILD, or assessing improved exercise capacity. 390 Second, this conclusion calls for

  further study, specifically “larger prospective studies.”391 In so doing, the authors acknowledge

  that their chart review is a small selection of patients retrospectively identified and conclude only

  that inhaled treprostinil is safe in Group 3 PH patients and recommend only that large prospective

  studies should be conducted. 392 Moreover, the Faria-Urbina 2018 authors warn that inhaled

  treprostinil’s “use in Group 3 PH should be cautiously evaluated in specialized PH Centers, after

  an individualized assessment and risk-benefit consideration.” 393 Again, the authors do not specify

  PH-ILD or mention improved exercise capacity.394


  388
      Channick Reb. Rpt. § V.A.
  389
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941 (emphasis added); Thisted Reb. Rpt. §§
  VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  390
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  391
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  392
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  393
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941 (emphasis added); Thisted Reb. Rpt. §§
  VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  394
      Faria-Urbina 2018 ((UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.


                                                  113
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 325 of 455 PageID
                                            #: 34595



         193.    I also disagree with Dr. Channick’s characterization of Faria-Urbina 2018 as

  “disclos[ing] using inhaled treprostinil to improve the exercise capacity of PH-ILD patients”

  because the Faria-Urbina 2018 does not indicate that any of the 72 referenced patients were being

  treated with inhaled treprostinil in order to improve their exercise capacity. 395 Faria-Urbina 2018

  reports a retrospective chart review of patients who happened to have been treated with inhaled

  treprostinil “based on medical judgment.”396 There is no indication that these followed patients

  were initiated on inhaled treprostinil in order to improve exercise capacity. 397 Indeed, if improving

  exercise capacity had been the goal for the 22 followed patients, it is curious that 6MWD was only

  monitored in 11 of the followed patients. 398 Also, if the Faria-Urbina 2018 authors actually

  believed that their publication “discloses using inhaled treprostinil to improve the exercise capacity

  of PH-ILD patients” as Dr. Channick asserts,399 it is also curious that no such statement appears

  among the authors’ conclusions beyond that “iTre improved WHO-FC and 6MWT distance,” 400

  and “[t]he results suggest that iTre is safe in patients with Group 3 PH and evidence of pulmonary

  vascular remodeling in terms of functional class, gas exchange, and exercise capacity.” 401

  Moreover, as noted above, the authors make no conclusions concerning a specific role for inhaled

  PH-specific drugs in Group 3 PH, much less conclusions concerning PH-ILD patients, only




  395
      Channick Reb. Rpt. ¶ 48; Faria-Urbina 2018 ((UTC_PH-ILD_009936) at -936-941.
  396
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  397
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941.
  398
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -938-940; see also Faria-Urbina 2018 Suppl.
  Materials (UTC_PH-ILD_219375) at -377-378 (Of the 6 PH-ILD patients with 6MWD follow up,
  3 had ILD and another 3 had CPFE).
  399
      Channick Reb. Rpt. ¶ 48.
  400
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936, -941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  401
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.


                                                   114
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 326 of 455 PageID
                                           #: 34596



  proposing that “[t]he potential role of inhaled PH-specific drugs in Group 3 PH should be further

  assessed in larger prospective studies.”402

         194.    Dr. Channick further asserts that:

                 [t]he authors of [Faria-Urbina 2018] reported a statistically
                 “significant improvement in . . . 6-min walk distance (n=11,
                 243±106 vs. 308±109; p=0.022)” and concluded that, for “patients
                 with Group 3 PH treated with [inhaled treprostinil,] … therapy with
                 [inhaled treprostinil] significantly improved WHO-FC and 6MWT
                 distance.”403

  First, I note that the 6MWD figures that Dr. Channick is referencing are mere change scores, which

  as discussed above and in my Rebuttal Report cannot be used to draw inferences about treatment

  effectiveness.404 Second, none of what Dr. Channick cites concerns PH-ILD patients specifically,

  which is what claim 1 of the ’327 patent and the PH-ILD indication recited in the tentatively

  approved Yutrepia label are directed to. 405 Rather the 6MWD figures and statement cited by Dr.

  Channick only concern the heterogenous Group 3 population, which the Faria-Urbina 2018 authors

  expressly call out as a limitation of the reported chart review. 406 Indeed, as discussed in my

  Rebuttal Report, the Faria-Urbina 2018 authors acknowledged that the heterogeneous population

  was a limitation and accordingly cautioned readers that the “[r]esults should be interpreted

  carefully.”407 As I discussed in my Rebuttal Report, the authors appear to offer a counterpoint to

  this heterogeneity limitation, acknowledging subanalyses of the COPD, ILD, and CPFE subgroups



  402
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936, -941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  403
      Channick Reb. Rpt. ¶ 48.
  404
      Thisted Reb. Rpt. §§ VII, IX, XI, XV; supra §§ III.B, III.D.2.c.
  405
      Channick Reb. Rpt. ¶ 48; ’327 patent (UTC_PH-ILD_005310) at Claim 1; Yurtepia Label
  (LIQ_PH-ILD_00126017) at -020-021.
  406
      Channick Reb. Rpt. ¶ 48; Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936, -938-941;
  Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  407
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.


                                                 115
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 327 of 455 PageID
                                           #: 34597



  that only demonstrated “tendenc[ies] for improved functional class and 6-min walk distance.” 408

  As noted in my Rebuttal Report, this is the authors reporting that these subanalyses at most indicate

  a “tendency” with respect to improved functional class and 6MWD when the constituent diagnoses

  of Group 3 PH are considered individually. 409 Dr. Channick’s “significant improvement” and

  “significantly improved” apply only to the heterogeneous aggregate population, not to PH-ILD. 410

  Moreover, the Faria-Urbina authors state that “COPD patients tended to have greater benefit from

  iTre treatment” for 6MWD.411 Accordingly, these aspects of Faria-Urbina 2018 that Dr. Channick

  cites in his Rebuttal Report do not supply evidence that the claimed methods or the PH-ILD

  indication recited in the tentatively approved Yutrepia label were or are in the public domain.

         195.    Dr. Channick also asserts that the chart review reported in Faria-Urbina 2018

  “reflects ‘real-world’ use of Tyvaso® to treat PH-ILD patients since 2009.” 412 I disagree with his

  assertion for several reasons. First, Faria-Urbina 2018 only reports data from a single-center chart

  review as discussed above and in my Rebuttal Report. 413 All patients in the study were being

  treated at the Pulmonary Vascular Disease (PVD) Clinic at the Brigham and Women's Hospital

  (Boston, MA, USA), which Faria-Urbina 2018 characterizes as “a specialized PVD center.” 414

  Ordinarily, I would not consider treatment at a highly specialized clinic as indicative of “real-




  408
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Faria-Urbina 2018 Suppl. Materials
  (UTC_PH-ILD_219375) at -376-378; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B,
  III.D.2.c.
  409
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  410
      Compare Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941 with Channick Reb. Rpt. ¶ 48;
  Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  411
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  412
      Channick Reb. Rpt. ¶ 48.
  413
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937, -941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  414
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937, -941.


                                                  116
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 328 of 455 PageID
                                            #: 34598



  world use.” One reason for this opinion is the very real possibility that the reported results were

  substantively influenced by factors unique to the single site, its investigators, and its patients. 415

  Indeed, patients are often referred to specialty centers because they are able to provide access to

  care that is otherwise unavailable in the “real world.”416

         196.    Second, the administration of inhaled treprostinil was open label and the inclusion

  and exclusion criteria were generated and applied after the fact. 417 But the key inclusion criterion,

  namely the reasons for which patients were started on inhaled treprostinil, is undocumented in the

  chart review and likely varied from patient to patient.418 Faria-Urbina 2018 only discloses that

  “medical judgment” was the basis for all 72 patients the publication references being initiated on

  inhaled treprostinil.419 Whether these represent “real world” conditions is unknowable.

         197.    Third, biases associated with open-label studies can also arise throughout treatment

  and would be unlikely to be reflected in a patient’s chart. 420

         198.    Fourth, the retrospectively applied selection criteria introduced significant selection

  effects as detailed above and in my Rebuttal Report.421 As a consequence, the purported “real

  world” 6MWD results Faria-Urbina 2018 reports for WHO Group 3 to which Dr. Channick alludes

  represent only the 11 such patients who survived the selection process. 422 Faria-Urbina 2018



  415
      Thisted Reb. Rpt. §§ VII, IX-XI, XV; supra §§ III.B, III.D.2.c.
  416
      Thisted Reb. Rpt. §§ VII, IX-XI, XV; supra §§ III.B, III.D.2.c.
  417
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-939, -941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  418
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  419
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  420
      Thisted Reb. Rpt. §§ VII, IX-XI, XV; supra §§ III.B, III.D.2.c.
  421
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  422
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.


                                                   117
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 329 of 455 PageID
                                            #: 34599



  presents no data concerning the “real world” results from the other 61 patients started on inhaled

  treprostinil.423 This means that even if the 72 treated patients were somehow reflective of “real

  world use” of inhaled treprostinil—which for the reasons outline above I dispute—the 11 patients

  on whom Faria-Urbina 2018 reports certainly would not.

         199.    There is no statistically valid reason to believe that the data reported by Faria-

  Urbina 2018 would be a reliable representation of the effects of administering inhaled treprostinil

  to general PH-ILD patients, let alone representative of the heterogenous population that the chart

  review followed.424 And the authors of Faria-Urbina 2018, including Dr. Waxman, acknowledged

  this in their conclusions and statement of limitations. 425

         200.    Dr. Channick also asserts that the chart review reported in Faria-Urbina 2018

  “demonstrates that the indication in Yutrepia™’s label directed to improving exercise ability in

  PH-ILD Group 3 patients was already practiced in the real world by practicing healthcare providers

  and thus in the public domain.”426 I disagree as detailed above and in my Rebuttal Report and for

  the reasons provided there and throughout this section. 427 As far as I know, and as discussed above

  and in my Rebuttal Report, no other publication as of when Faria-Urbina 2018 was published had

  demonstrated that administering inhaled treprostinil to PH-ILD yielded a treatment effect with

  respect to exercise capacity.428 For the reasons explained above, throughout this section, and in my

  Rebuttal Report, Faria-Urbina 2018 is unable to demonstrate that either. 429 Moreover, the chart




  423
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  424
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  425
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936, -941
  426
      Channick Reb. Rpt. ¶ 48.
  427
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  428
      Thisted Reb. Rpt. §§ VII, IX, XI.B, XV; supra §§ III.B, III.D.2.c.
  429
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.


                                                   118
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 330 of 455 PageID
                                             #: 34600



  review reported in Faria-Urbina 2018 and the authors’ conclusions are not directed to PH-ILD

  patients.430 Instead, Faria-Urbina 2018 is directed to Group 3 PH, and further emphasizes that

  “COPD patients tended to have greater benefit from iTre treatment.” 431 Also, as noted herein the

  authors of Faria-Urbina 2018 did not indicate that they initiated any of the 72 referenced patients

  on inhaled treprostinil to improve exercise, and the authors do not conclude that inhaled treprostinil

  improved exercise capacity in PH-ILD patients.432 By contrast, the PH-ILD indication listed in the

  tentatively approved Yutrepia is directed exclusively to PH-ILD patients, concerns administration

  of inhaled treprostinil to improve exercise capacity, and requires that it is inhaled treprostinil that

  is improving exercise capacity.433

         201.    Dr. Channick quotes the inhaled treprostinil dosing regimen that Faria-Urbina 2018

  reports was used with the subjects in that study, including those with Group 3 PH. 434 But Dr.

  Channick asserts that:

                 Similarly, for the same indication and patient population, the
                 YutrepiaTM label recommends treprostinil dosing starting at 79.5
                 μg/day (“26.5 mcg 3 to 5 times per day”) and increasing up to a
                 target maintenance dose of between 318 μg/day to 424 μg/day
                 (“79.5-106 mcg, 4 times daily”).435

  Dr. Channick asserts that “[t]his demonstrates that the recommended dosing in the Yutrepia™

  label for PH-ILD Group 3 patients was already used in the real world by practicing healthcare




  430
      Faria-Urbina 2018 at UTC_PH-ILD_009936-009941.
  431
      Faria-Urbina 2018 at UTC_PH-ILD_009936-009941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  432
      Faria-Urbina 2018 at UTC_PH-ILD_009936-009941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  433
      Yutrepia Label at LIQ_PH-ILD_00126020-021.
  434
      Channick Reb. Rpt. ¶ 50.
  435
      Channick Reb. Rpt. ¶ 50.


                                                   119
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 331 of 455 PageID
                                             #: 34601



  providers, outside the context of a prospective clinical trial, and thus was in the public domain.” 436

  I disagree.

          202.    First, as discussed above, Faria-Urbina 2018 does not disclose the PH-ILD

  indication that is recited on the tentatively approved Yutrepia label (“Pulmonary hypertension

  associated with interstitial lung disease (PH- ILD; WHO Group 3) to improve exercise ability”). 437

  That is at least because in the data in Faria-Urbina are insufficient to demonstrate any inhaled

  treprostinil treatment effect, let alone inhaled treprostinil causing improved exercise capacity in

  PH-ILD patients. 438 A randomized, controlled clinical trial would be required to do so. Faria-

  Urbina 2018 also does not disclose intending to administer treprostinil to improve exercise

  capacity.439 Further, Faria-Urbina does not disclose methods targeting PH-ILD patients. 440 Rather

  Faria-Urbina 2018 concerns Group 3 PH and follows a heterogenous population of patients that

  were retrospectively selected and that include PH-COPD subjects. 441 This is a different patient

  population than the one targeted by Yutrepia’s PH-ILD indication. 442 Also, as noted above, the

  Faria-Urbina 2018 authors expressly identify the reported chart review’s patient heterogeneity as

  limitation to interpreting the results of the reported chart review. 443




  436
      Channick Reb. Rpt. ¶ 50.
  437
      LIQ_PH-ILD_00126017 at -020-021
  438
      Faria-Urbina 2018 at UTC_PH-ILD_009936-009941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  439
      Faria-Urbina 2018 at UTC_PH-ILD_009936-009941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  440
      Faria-Urbina 2018 at UTC_PH-ILD_009936-009941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  441
      Faria-Urbina 2018 at UTC_PH-ILD_009938; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV;
  supra §§ III.B, III.D.2.c.
  442
      LIQ_PH-ILD_00126017 at -020-021
  443
      Faria-Urbina 2018 at UTC_PH-ILD_009941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV;
  supra §§ III.B, III.D.2.c.


                                                    120
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 332 of 455 PageID
                                            #: 34602



         203.    Second, I again disagree with what Dr. Channick asserts Faria-Urbina 2018

  demonstrates: “the recommended dosing in the Yutrepia™ label for PH-ILD Group 3 patients was

  already used in the real world by practicing healthcare providers, outside the context of a

  prospective clinical trial, and thus was in the public domain.” 444 I disagree that Faria-Urbina 2018

  discloses dosing targeting PH-ILD patients. 445 As noted above, Faria-Urbina 2018 only indicates

  that inhaled treprostinil was initiated in the 72 referenced patients “based on medical judgment.” 446

  No other details or explanation is disclosed, so Faria-Urbina 2018 does not disclose initiating

  inhaled treprostinil to improve exercise capacity.447 Moreover, Faria-Urbina does not disclose PH-

  ILD-specific treatment, and the Faria-Urbina 2018 authors’ only emphasis regarding a particular

  Group 3 subtype is that “COPD patients tended to have greater benefit from iTre treatment.” 448

  Moreover, the Faria-Urbina 2018 authors only conclude that there may be a “potential role of

  inhaled PH-specific drugs in Group 3 PH.”449

         204.    I again take issue with Dr. Channick’s “used in the real world” phrasing as

  explained herein.450 I disagree with such a vague statement, especially considering that the data

  Faria-Urbina 2018 reports are not generalizable. As discussed above, Faria-Urbina 2018 reflects

  niche circumstances, e.g., conducted at a single, specialized center, and the reported chart review




  444
      Channick Reb. Rpt. ¶ 50.
  445
      Faria-Urbina 2018 at UTC_PH-ILD_009936-009941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  446
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  447
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  448
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  449
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936, -941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  450
      Channick Reb. Rpt. ¶ 50.


                                                   121
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 333 of 455 PageID
                                            #: 34603



  being based on a small number of selected patients, retrospective, and open-label only compounds

  existing biases.451 Dr. Channick’s omission of these details seems misleading, especially absent

  clarification that the “practicing healthcare providers” only refers to at most those at a single

  specialized center.452 Again, there is no reason to believe any of the data reported by Faria-Urbina

  2018 would be a reliable representation of the effects of administering inhaled treprostinil in PH-

  ILD patients, much less representative of the heterogenous population that the chart review

  purportedly followed. 453 And the authors of Faria-Urbina 2018, including Dr. Waxman,

  acknowledged this in their conclusions and statement of limitations. 454 That said, I do agree with

  Dr. Channick that Faria-Urbina 2018 did not report the results of a “prospective clinical trial”—a

  fact that I have addressed in detail in this section, above, and in my Rebuttal Report. 455

         205.    Dr. Channick asserts that the dosing disclosed in the 2009 Tyvaso label is the same

  as the INCREASE study dosing regimen. 456 This is incorrect at least because the 2009 Tyvaso

  label does not instruct administering inhaled treprostinil to PH-ILD patient and only instructs a 9-

  breath target dose, not the INCREASE Study’s 9-breath target dose and 12-breath maximum

  dose.457 Dr. Channick further asserts that the dosing regimen reported by Faria-Urbina 2018 was

  the same as that used in the INCREASE study.458 Because Faria-Urbina 2018 was retrospective

  and open label it is not possible to know if the 22 followed subjects were actually dosed according



  451
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937-938; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  452
      Channick Reb. Rpt. ¶ 50.
  453
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  454
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -941; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  455
      Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B, III.D.2.c.
  456
      Channick Reb. Rpt. ¶ 52.
  457
      Compare 2009 Tyvaso Label (UTC_PH-ILD_010692) at -694 with INCREASE Protocol
  (UTC_PH-ILD_145360) at -470-471; supra § III.D.2.
  458
      Channick Reb. Rpt. ¶ 52.


                                                   122
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 334 of 455 PageID
                                           #: 34604



  to the parameters Faria-Urbina 2018 report.459 Dr. Channick also asserts that “[e]ven the current

  Tyvaso® label does nothing more than suggest using the dosing as Faria-Urbina 2018 in PH-ILD

  patients to improve their exercise capacity.”460 I disagree. Faria-Urbina 2018, as discussed above,

  does not instruct administering inhaled treprostinil specifically to PH-ILD patients; does not

  demonstrate that any patients were administered inhaled treprostinil with the intent to improve

  exercise capacity; and cannot demonstrate that inhaled treprostinil has any treatment effect let

  alone improving exercise capacity.461 The current Tyvaso labels do.462

         206.    Dr. Channick also asserts that an author of Faria-Urbina 2018, Dr. Waxman,

  confirmed “that the Faria-Urbina 2018 article included essentially the same patient population as

  the INCREASE study.” 463 I disagree that the patient population in Faria-Urbina 2018 and the

  INCREASE study are essentially the same. There are several key differences. First, the patients

  that were followed in Faria-Urbina 2018 included PH-COPD patients. 464 The INCREASE study

  excluded such patients.465

         207.    Second, the patient population on which Faria-Urbina 2018 reports excluded

  patients with < 3 months of followup, patients who had another PH-specific drug added within 3

  months of treatment initiation, patients who underwent lung transplantation, patients who required

  hospitalization due to unstable lung disease within one month of treatment initiation, patients who



  459
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2.c.
  460
      Channick Reb. Rpt. ¶ 52.
  461
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  462
      2022 Tyvaso Label (UTC_PH-ILD_005268) at -268-269; 2022 Tyvaso DPI Label (UTC_PH-
  ILD_010709) at -709-710.
  463
      Channick Reb. Rpt. ¶ 52.
  464
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937-938; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  465
      INCREASE Protocol (UTC_PH-ILD_145360) at -467-468; supra § III.D.2.


                                                 123
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 335 of 455 PageID
                                           #: 34605



  required extemporaneous right-heart catheterization, and patients whose baseline pulmonary

  function tests or right-heart catheterization results could not be reviewed. 466 The INCREASE study

  population excluded no such patients.467

         208.    Third, the INCREASE study had significant exclusion criteria absent from the

  Faria-Urbina 2018 cohort. These included having received any approved PAH therapy in the 60

  days prior to randomization.468

         209.    Moreover, almost every difference in the design of the Faria-Urbina 2018 chart

  review and the INCREASE study contradicts Dr. Channick’s position. The INCREASE study’s

  randomized treatment arm consisted of 163 subjects and 130 of those subjects completed 16 weeks

  (i.e., nearly eight and seven times the number of all patients followed in Faria-Urbina 2018,

  respectively). 469 As discussed above, Faria-Urbina 2018 was a single-site chart review. 470 By

  contrast, the INCREASE study consisted of 93 geographically scattered study centers. 471 The

  open-label, nonrandom, and retroactive aspects of the Faria-Urbina 2018 chart review further

  skewed its population away from representative, and the decision to include a patient in Faria-

  Urbina 2018 is at least subject to the selection issues I discussed above and in my Rebuttal




  466
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937- 938; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  467
      INCREASE Protocol (UTC_PH-ILD_145360) at -467-468; supra § III.D.2.
  468
      Compare INCREASE Protocol (UTC_PH-ILD_145360) at -467-468 with Faria-Urbina 2018
  (UTC_PH-ILD_009936) at -937- 938; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B,
  III.D.2, III.D.2.c.
  469
      Compare INCREASE publication (UTC_PH-ILD_010790) at -794 with Faria-Urbina 2018
  (UTC_PH-ILD_009936) at -937-938; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4, XV; supra §§ III.B,
  III.D.2, III.D.2.c.
  470
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -937; Thisted Reb. Rpt. §§ VII, IX.E, XI.B.4,
  XV; supra §§ III.B, III.D.2, III.D.2.c.
  471
      INCREASE publication (UTC_PH-ILD_010790) at -794; supra § III.D.2.


                                                 124
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25          Page 336 of 455 PageID
                                              #: 34606



  Report.472 By contrast, the INCREASE study prespecified its inclusion/exclusion criteria, included

  randomized assignment to treatment arm, and was double-blinded, and thus was representative of

  a predefined patient population.473

         210.    Dr. Channick also states that Dr. Waxman testified that “the results you see with

  the original Tyvaso dosing you can get in PH-ILD with the same dosing[.]” 474 As far as I know,

  Dr. Waxman would not have been able to conclude that prior to the INCREASE study. As

  discussed herein, above, and in my Rebuttal Report, none of the Uncontrolled Studies were able

  to identify any inhaled treprostinil treatment effect within PH-ILD patients, and I note that Dr.

  Waxman was the senior author of Faria-Urbina 2018. 475 This is also why I disagree with Dr.

  Channick’s further assertion that “even the 2021 Tyvaso® label [and the Yutrepia label], which

  include[] the PH-ILD indication, do[] nothing more than suggest that healthcare providers and

  patients practice what was known in the public domain since 2009.” 476 That is because the

  INCREASE study was the first study capable of determining whether inhaled treprostinil had a

  treatment effect with respect to exercise capacity in PH-ILD patients. 477 Therefore, the PH-ILD

  indication recited in the 2021 Tyvaso and the Yutrepia labels was not known any time prior to

  when the INCREASE study data were unblinded.



  472
      Faria-Urbina 2018 (UTC_PH-ILD_009936) at -936-941; Thisted Reb. Rpt. §§ VII, IX.E,
  XI.B.4, XV; supra §§ III.B, III.D.2.c.
  473
      INCREASE publication (UTC_PH-ILD_010790) at -793; supra § III.D.2.
  474
      Channick Reb. Rpt. ¶ 52.
  475
      Thisted Reb. Rpt. §§ VII, IX, XI.B, XV; supra §§ III.B, III.D.2.c. Moreover, Dr. Waxman is
  the senior author of Faria-Urbina 2018, and even with his specialized expertise there is no reason
  to believe that Dr. Waxman would have been able to demonstrate an inhaled treprostinil treatment
  effect simply from his professional experience. As discussed above and in my Rebuttal Report,
  anecdotal evidence (for example from an individual provider’s clinical judgment) is subject to bias.
  476
      Channick Reb. Rpt. ¶ 52; see also id. at ¶ 53 (Dr. Channick asserts that “[Yutrepia’s PH-ILD]
  indication and dosing is nothing more than what healthcare providers were practicing since at least
  2009”)
  477
      Thisted Reb. Rpt. §§ VII, IX, XI.B, XV; supra §§ III.B, III.D.2.c.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 337 of 455 PageID
                                            #: 34607



         211.    Dr. Channick also asserts that testimony from Liquidia’s CMO—Dr. Rajeev

  Saggar—“corroborates [Dr. Channick’s] opinion that Liquidia knew that treating PH-ILD patients

  with inhaled treprostinil to improve their exercise capacity was in the public domain.” 478 I disagree.

  Dr. Channick cites to a few lines from Dr. Rajeev Saggar’s explanation of the factual bases behind

  the following excerpted statement that Russell Schundler—Liquidia’s General Counsel,

  Secretary—made at the 2024 JPMorgan Healthcare Conference: 479




  In particular, Dr. Channick cites to Dr. Rajeev Saggar explaining the factual basis of the second

  sentence: “What that’s really covering is physicians treating PH-ILD patients with Tyvaso in

  accordance with the Tyvaso label, and doctors have been doing that for more than 10 years.” 480

  Dr. Rajeev Saggar testified that he supplied that factual basis based on his own purported clinical

  practice and what Dr. Rajeev Saggar characterized as “body of literature.” 481 Dr. Rajeev Saggar,

  however, reveals that this so-called “body of literature” consists of only two publications and one

  abstract: Parikh 2016, Agarwal 2015, and Faria-Urbina 2018, i.e., the inhaled treprostinil

  Uncontrolled Studies.482 As discussed here, above, and in my Rebuttal Report, none of the chart

  reviews reported in Parikh 2016, Agarwal 2015, and Faria-Urbina 2018 can establish any inhaled


  478
      Channick Reb. Rpt. ¶ 51 (citing to Rajeev Saggar Dep. Tr. at 207:10-208:14).
  479
      Channick Reb. Rpt. ¶ 51; Rajeev Saggar Dep. Tr. at 197:25-208:16; Schundler Press Release
  (LIQ_PH-ILD_00133247) at -253.
  480
      Channick Reb. Rpt. ¶ 51; Rajeev Saggar Dep. Tr. at 204:24-208:16.
  481
      Rajeev Saggar Dep. Tr. at 202:14-21 (“I informed him that, of course, there’s a body of level –
  there’s a body of literature that has shown that Tyvaso has been used to treat PH-ILD for almost
  10 years or longer. Treprostinil has been used to PH-ILD definitely longer than 10 years.”), 205:3-
  8, 207:10-24 (“I informed you, my personal experience with Tyvaso and PH-ILD, and I also
  informed you that there’s a body of evidence that’s existed in the literature for, you know, on or
  around 10 years using treprostinil to treat -- sorry, using Tyvaso to treat PH-ILD.”).
  482
      Rajeev Saggar Dep. Tr. at 207:24-208:16.


                                                   126
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 338 of 455 PageID
                                            #: 34608



  treprostinil treatment effect.483 Therefore, I disagree with Drs. Channick and Rajeev Saggar to the

  extent either takes the position that any of these chart reviews demonstrate any inhaled treprostinil

  treatment effect in PH-ILD. Concluding otherwise evidences a glaring misunderstanding of the

  fundamental principles of clinical study design, controlling for bias, and statistical analysis, and is

  contrary to the conclusions the authors of each report draw and the limitations they identify

  respectively.484

         B.      Dr. Channick’s attempts to disassociate Yutrepia from INCREASE’s findings
                 is misguided, ignores the Yutrepia label, and disregards the INCREASE
                 clinical study results that Liquidia has relied upon for Yutrepia’s tentative
                 approval

                 1.      Yutrepia’s label only relies on the INCREASE Study to support clinical
                         efficacy and safety of its tentatively approved pulmonary hypertension
                         associated with interstitial lung disease (PH-ILD; WHO Group 3) to
                         improve exercise ability indication

         212.    Dr. Channick asserts that the Yutrepia label is insufficient to demonstrate that

  healthcare providers and patients will directly infringe dependent Asserted Claims 2-10 and 17-19

  of the ’327 patent.485 In particular, Dr. Channick argues that because the Yutrepia label describes

  UTC’s clinical testing of Tyvaso® from the INCREASE study and not the testing of Yutrepia in

  any patient or study subject, the Yutrepia label cannot be used to establish infringement based on

  the future use of Yutrepia by physicians and patients. 486 In reaching this conclusion, Dr. Channick

  acknowledges that aspects of UTC’s INCREASE study that are claimed by the dependent Asserted

  Claims are described in the Yutrepia label. He argues that other claimed aspects are not supported

  by the Yutrepia label.487 Dr. Channick asserts that a POSA would not understand the Yutrepia



  483
      Thisted Reb. Rpt. §§ VII, IX, XI.B, XV; supra §§ III.B, III.D.2.c.
  484
      See Thisted Reb. Rpt. §§ VII, IX, XI.B, XV; supra §§ III.B, III.D.2.c.
  485
      Channick Reb. Rpt. at ¶¶ 55-56.
  486
      Id. at ¶¶ 56-57.
  487
      Id. at ¶ 57.


                                                   127
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 339 of 455 PageID
                                           #: 34609



  label to incorporate each of the INCREASE study’s results because the Yutrepia label contains

  only a “limited description of certain aspects of the INCREASE study.” 488

         213.    I disagree with Dr. Channick’s attempt to disassociate the results of UTC’s

  INCREASE study from the Yutrepia label. As discussed elsewhere in this report, the INCREASE

  study is the only evidence provided in the tentatively approved Yutrepia label to support clinical

  efficacy with respect to Yutrepia’s PH-ILD indication. 489 Therefore, Liquidia has proposed to

  inform physicians, other healthcare providers, and patients that it has relied entirely on the

  INCREASE study to characterize Yutrepia’s effectiveness for treating PH-ILD. As detailed above,

  Liquidia was permitted to rely on FDA’s prior approval of Tyvaso for the PH-ILD indication—

  and thus the INCREASE study—to establish the efficacy of Yutrepia in the treatment of PH-ILD

  because Liquidia (a) sought approval via the section 505(b)(2) pathway, and (b) established that

  doing so was scientifically appropriate since Tyvaso and Yutrepia share similar bioavailability.490

  I understand from counsel that, for the purposes of infringement, Yutrepia is therefore bound by

  its proposed label. In other words, when Yutrepia is administered in accordance with its proposed

  label to PH-ILD patients, it will perform consistent with the results of the INCREASE study, i.e.,

  it is more likely than not that Yutrepia will exhibit the treatment effects reported by the INCREASE

  study when it is administered to PH-ILD patients. Likewise, I understand from counsel that for the

  purposes of infringement, any differences between Tyvaso and Yutrepia that Dr. Channick asserts

  to exist are immaterial with respect to Yutrepia’s performance, as the proposed label instructs that

  Yutrepia’s performance will be entirely consistent with that of the INCREASE study.




  488
      Id.
  489
      Supra §§ IV.A.2, IV.A.3; see also Yutrepia Label (LIQ_PH-ILD_00126017) at -031-033.
  490
      Supra §§ III.C, IV.A.2.


                                                  128
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 340 of 455 PageID
                                           #: 34610



         214.    I have also explained above that Liquidia has attached the results of the INCREASE

  study to Yutrepia because Liquidia relied solely on the INCREASE study to establish Yutrepia’s

  effectiveness for the PH-ILD indication in seeking regulatory approval via the 505(b)(2)

  pathway.491 I have described above that this reliance indicates that if Yutrepia were administered

  consistent with its tentatively approved label or if a clinical trial were conducted with Yutrepia

  that was similar in design and conduct as the INCREASE study, the hypothetical administration

  or clinical trial would be expected to produce results identical to (or nearly identical to) those

  generated by the INCREASE study.492 Therefore, as detailed elsewhere, it is more likely than not

  that Yutrepia will demonstrate the same treatment effects as those demonstrated by the

  INCREASE study, including in the same or similar magnitudes (which I have described earlier in

  this report) as those demonstrated by the INCREASE study, when Yutrepia is administered

  according to its tentatively approved label. 493 Those treatment effects include improved 6MWD,

  reduced plasma concentration of NT-proBNP, decreased risk of exacerbations due to interstitial

  lung disease, decreased risk of clinical worsening events due to interstitial lung disease, and

  improved forced vital capacity.494 Thus, it is my opinion that the Yutrepia label demonstrates that

  physicians and patients administering Yutrepia in accordance with the prescribing information will

  directly infringe the dependent Asserted Claims of the ’327 patent.




  491
      Supra § III.C.
  492
      Supra §§ III.C, III.D.2.c.
  493
      Supra § III.C.
  494
      Supra § III.D.2 (describing treatment effects and magnitudes reported by the INCREASE
  study).


                                                 129
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 341 of 455 PageID
                                           #: 34611



                 2.      Dr. Channick ignores the scientific results on which Liquidia relied to
                         achieve tentative approval for Yutrepia. 495

         215.    As noted above, Dr. Channick asserts that none of the evidence that Dr. Nathan

  raises in his Opening Report “involves the testing of Yutrepia™ in any patient or study subject[,

  and] all of this evidence is limited to the use of Tyvaso® in clinical study subjects as part of the

  INCREASE study.” 496 Yet Dr. Channick is merely describing characteristics of Liquidia’s

  505(b)(2) sNDA to add a PH-ILD indication to Yutrepia—an application that completely lacks

  any testing of Yutrepia in any PH-ILD patient and for which all PH-ILD data is derived from the

  INCREASE study. 497 Dr. Channick nonetheless asserts that the INCREASE study’s findings

  “[are] not sufficient to prove that any future use of Yutrepia™ will meet all the limitations of the

  dependent Asserted Claims,” paradoxically grounding his position in the fact that Liquidia has

  pursued a PH-ILD indication for its Yutrepia product relying entirely the INCREASE study to

  evidence Yutrepia’s clinical efficacy in PH-ILD patients. 498 Moreover, Dr. Channick’s position

  even encompasses the Asserted Claims that address 6MWD (2-3 and 17-19) and clinical worsening




  495
      While technically a 505(b)(2) submission, Liquidia’s application looks very much like an
  ANDA. While the comparative bioavailability study required for 505(b)(2) approval is not
  required to demonstrate bioequivalence, Yutrepia meets the criteria for bioequivalence in both rate
  and extent of absorption. On the NDA-ANDA spectrum, Yutrepia falls close to the ANDA.
  496
      Channick Reb. Rpt. at ¶ 56; .
  497
      See supra §§ III.C, IV.A; Original NDA 213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-362;
  Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; Pre-sNDA Meeting Request
  (LIQ_PH-ILD_00134026) at -028-030; FDA Response (LIQ_PH-ILD_00120424) at -424-427;
  Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509; Rajeev Saggar Dep.
  Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-79:9; 84:24-85:1, 96:17-97:1, 195:20-197:23,
  212:5-213:1.
  498
      Channick Reb. Rpt. at ¶ 57; see supra §§ III.C, IV.A; Original NDA 213005 § 2.2 (LIQ_PH-
  ILD_00046359) at -360-362; Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518;
  Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -028-030; FDA Response (LIQ_PH-
  ILD_00120424) at -424-427; Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509)
  at -509; Rajeev Saggar Dep. Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-79:9; 84:24-85:1,
  96:17-97:1, 195:20-197:23, 212:5-213:1.


                                                  130
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 342 of 455 PageID
                                           #: 34612



  events (7-8).499 Yet Yutrepia’s tentatively approved label’s only recited clinical efficacy support

  for its PH-ILD indication is the summary of the INCREASE study, and that summary expressly

  describes the INCREASE study data, evidencing the statistically significant 6MWD and clinical

  worsening event treatment effects that the INCREASE Study reported. 500 In spite of the tentatively

  approved label’s reliance on this data for its PH-ILD indication, 501 Dr. Channick asserts:

                 The approved indication on the YutrepiaTM label does not include
                 any language pertaining to statistical significance or specific time
                 intervals for taking measurements. It further does not mention the
                 plasma concentration of NT-proBNP, exacerbations of ILD, clinical
                 worsening events or forced vital capacity.502

  I disagree. The tentatively approved Yutrepia label expressly reports the statistically significant

  treatment effects that the INCREASE study detected for 6MWD at 8, 12, and 16 weeks after

  initiation of inhaled treprostinil, along with the magnitude of those effects, and reports a

  statistically significant reduction in clinical worsening events that the INCREASE study also

  detected.503

         216.    Dr. Channick specifies that his position is that the differences that FDA found

  acceptable for Yutrepia to seek 505(b)(2) approval prevent the INCREASE study from evidencing

  “any future use of Yutrepia™ will meet all the limitations of the dependent Asserted Claims.” 504 I

  disagree.


  499
      Channick Reb. Rpt. ¶ 55.
  500
      Supra §§ III.C, III.D.2, IV.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -031-033.
  501
      Supra §§ III.C, IV.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -031-033; Original NDA
  213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-362; Original NDA 213005 § 2.5 (LIQ_PH-
  ILD_00045509) at -515-518; Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -028-030;
  FDA Response (LIQ_PH-ILD_00120424) at -424-427; Weidman Email re: Pre-sNDA Meeting
  (LIQ_PH-ILD_00148509) at -509; Rajeev Saggar Dep. Tr. at 67:20-68:13, 68:14-69:4, 70:11-
  72:16; 77:3-79:9; 84:24-85:1, 96:17-97:1, 195:20-197:23, 212:5-213:1.
  502
      Channick Reb. Rpt. at ¶¶ 57-58.
  503
      Supra §§ III.D.2, IV.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -031-033; see generally
  INCREASE publication (UTC_PH-ILD_010790).
  504
      Channick Reb. Rpt. at ¶ 57; supra § III.C.


                                                  131
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 343 of 455 PageID
                                           #: 34613



         217.    First, I understand from counsel that the analysis is not concerned with “any future

  use of Yutrepia,”505 rather the relevant use is that instructed by Yutrepia’s tentatively approved

  label with respect to the PH-ILD indication.506

         218.    Second, as detailed above, Liquidia has represented to FDA and admits that

  Yutrepia’s only active ingredient is treprostinil. 507 As I explained above, because treprostinil is

  Yutrepia’s only active ingredient and because Liquidia relies on INCREASE to support approval

  of its own product, the INCREASE study is more than sufficient evidence that administering

  Yutrepia to patients with PH-ILD will more likely than not exhibit the treatment effects that the

  INCREASE study reported.508 This is because the INCREASE study’s prospective, multicenter,

  randomized, doubled-blinded, placebo-controlled design was able to identify that administering

  inhaled treprostinil to patients with PH-ILD elicited improved exercise capacity, improved 6MWD,

  reduced plasma NT-proBNP concentration, improved FVC, reduced risk of clinical worsening

  events due to interstitial lung disease, and reduced risk of exacerbations due to interstitial lung

  disease.509 As explained above, the INCREASE study randomized a large, well-defined cohort of

  PH-ILD patients (326 patients that were randomized into 163-person treatment and placebo arms);

  carefully monitored outcomes and obtained data in a well-defined, blinded, and uniform way over



  505
      Channick Reb. Rpt. at ¶ 57.
  506
      Supra § III.C, IV.A, Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -031-033.
  507
      Supra § IV.A; e.g., Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -500-504.
  508
      Supra §§ III.D.2, IV.A; Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -500-504;
  Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -031-033 (instructing that Yutrepia 79.5µg
  and 106µg capsules are “equivalent” to 9 and 12 Tyvaso breaths respectively and instructing that
  target the maintenance dose for its PH-ILD indication is 79.5µg to 106µg capsules, QID); 2022
  Tyvaso Label (UTC_PH-ILD_005268) at -269 (instructing that Tyvaso’s target maintenance range
  for its PH-ILD indication is 9 to 12 breaths QID); see generally INCREASE publication
  (UTC_PH-ILD_010790); see generally INCREASE Protocol (UTC_PH-ILD_145360).
  509
      Supra §§ III.B, III.D.2; Thisted Reb. Rpt. §§ VII, IX, XI, XV; see generally INCREASE
  publication (UTC_PH-ILD_010790); see generally INCREASE Protocol (UTC_PH-
  ILD_145360).


                                                    132
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 344 of 455 PageID
                                           #: 34614



  a scheduled and fixed period of treatment; and rigorously compared outcomes in patients treated

  with inhaled treprostinil to those receiving placebo treatment. 510 The INCREASE study’s findings

  are more compelling evidence of future likely performance if the inhaled product is administered

  consistent with the dosing regimen that the INCREASE study applied. 511 That is what is occurring

  with the Yutrepia label that instructs administering Yutrepia to PH-ILD patients consistent with

  the INCREASE study’s dosing regimen and to a “target maintenance dosage[s]” that the

  tentatively approved Yutrepia label expressly characterizes as “equivalent” to the INCREASE

  study’s target and maximum doses.512 As I have described elsewhere, by reporting the INCREASE

  study as the only source of clinical data supporting Yutrepia’s effectiveness in PH-ILD patients, 513

  Liquidia has acknowledged that its product will provide the same clinical efficacy when it is

  administered in accordance with its proposed label, which requires the same dosing regimen as the

  INCREASE study.514

         219.    Third, as detailed above, Liquidia was required to demonstrate that Tyvaso and

  Yutrepia—products with same single active ingredient—are otherwise biocomparable as part of




  510
      Supra §§ III.B, III.D.2; Thisted Reb. Rpt. §§ VII, IX, XI, XV; see generally INCREASE
  publication (UTC_PH-ILD_010790); see generally INCREASE Protocol (UTC_PH-
  ILD_145360).
  511
      Supra § III.D.2.
  512
      Supra §§ III.D.2; IV.A; e.g., compare Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022,
  -031-033 with INCREASE Protocol (UTC_PH-ILD_145360) at -470-471.
  513
      Supra §§ III.C., IV.A; Original NDA 213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-362;
  Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; Pre-sNDA Meeting Request
  (LIQ_PH-ILD_00134026) at -028-030; FDA Response (LIQ_PH-ILD_00120424) at -424-427;
  Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509; Rajeev Saggar Dep.
  Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-79:9; 84:24-85:1, 96:17-97:1, 195:20-197:23,
  212:5-213:1.
  514
      Supra §§ III.C; III.D.2; U.S. Food & Drug Admin., Guidance for Industry: Applications
  Covered by Section 505(b)(2): Draft Guidance (1999) (UTC_PH-ILD_227310) at -314, -315;
  Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -031-033; see generally INCREASE
  publication (UTC_PH-ILD_010790).


                                                  133
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 345 of 455 PageID
                                           #: 34615



  the 505(b)(2) approval pathway, 515 so it is odd that Dr. Channick argues that the differences

  between Tyvaso and Yutrepia render the INCREASE study incapable of informing the outcomes

  of administering Yutrepia according to its tentatively approved label. 516 Moreover, Liquidia has

  consistently represented to FDA that Tyvaso and Yutrepia products share the same active

  ingredient (treprostinil) and route of administration (oral inhalation) and only a differ in

  formulation and dosage form.517 Oddly, Dr. Channick asserted in his Opening Report—contrary

  to Liquidia’s representations to FDA—that Yutrepia and Tyvaso differ in formulation, dosage

  form, and route of administration. 518 Dr. Channick now asserts that the products differ in

  “formulation and mode of delivery.” 519 The latter term has no regulatory significance that I am

  aware of.

         220.    Liquidia, however, has represented to FDA that Yutrepia’s formulation only differs

  from Tyvaso’s in terms of excipients.520 As detailed above, Yutrepia consists of the following in

  addition to a treprostinil salt: L-leucine, polysorbate 80, sodium citrate, sodium chloride, and

  trehalose.521 Among these, trehalose and leucine were considered novel for inhalation route of

  administration and levels of polysorbate 80 were greater than previously approved. 522 Nonetheless,




  515
      Supra §§ III.C; IV.A; e.g., FDA Response (LIQ_PH-ILD_00120424) at -425-427; see
  generally Roscigno 2021 (UTC_PH-ILD_010665); Rajeev Saggar Dep. Tr. 68:14-69:4, 220:6-15.
  516
      Channick Reb. Rpt. at ¶¶ 56-57.
  517
      Supra §§ III.C; IV.A; Pre-IND meeting (LIQ_PH-ILD_00046114) at -115-118 ; Original NDA
  213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -500-503.
  518
      Channick Op. Rpt. at ¶ 41.
  519
      Channick Reb. Rpt. at ¶ 57.
  520
      Supra §§ III.C; IV.A; Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -503;
  Original NDA 213005 § 3.2.P.4.6 (LIQ_PH-ILD_00062236) at -236-244.
  521
      Supra §§ III.C; IV.A; Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -503;
  Original NDA 213005 § 3.2.P.4.6 (LIQ_PH-ILD_00062236) at -236-244; Yutrepia Label
  (LIQ_PH-ILD_00126017) at -026.
  522
      Supra §§ III.C, IV.A; Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -503;
  Original NDA 213005 § 3.2.P.4.6 (LIQ_PH-ILD_00062236) at -236-244.


                                                 134
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 346 of 455 PageID
                                            #: 34616



  Liquidia’s NDA represents that its own nonclinical studies and other published literature establish

  the safety of Yutrepia’s excipients.523

         221.    Otherwise, Liquidia submitted its LTI-102 data, establishing a PK bridge between

  Tyvaso and Yutrepia. 524 That study not only demonstrates that Yutrepia and Tyvaso are

  biocomparable (satisfying the criteria for bioequivalence) it also exemplified (together with LT1-

  101 data) that Yutrepia dosing and Tyvaso dosing is easily interconvertible. 525 Indeed such

  conversions feature on Yutrepia’s tentatively approved label, converting the INCREASE study’s

  target and maximum dosages into Yutrepia capsules, and the tentatively approved label states these

  doses are equivalent.526 As detailed above, if a provider administers treprostinil to PH-ILD patients

  in an amount consistent with the amounts delivered in the INCREASE study, and if administering

  that product provides comparable bioavailability, I would expect that administration to produce

  efficacy results consistent with the INCREASE study. 527 I conclude that Yutrepia is such a product




  523
      Supra §§ III.C; IV.A; Original NDA 213005 § 2.6.1 (LIQ_PH-ILD_00045498) at -503;
  Original NDA 213005 § 3.2.P.4.6 (LIQ_PH-ILD_00062236) at -236-244
  524
      Supra §§ III.C; IV.A; Pre-NDA meeting (LIQ_PH-ILD_00046156) at -163; Original NDA
  213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; see also Original NDA 213005 § 2.2
  (LIQ_PH-ILD_00046359) at -360-362; see generally Roscigno 2021 (UTC_PH-ILD_010665).
  525
      Supra §§ III.C; IV.A.; see generally Roscigno 2021 (UTC_PH-ILD_010665).
  526
      Supra § IV.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -031-033 (instructing
  that Yutrepia 79.5µg and 106µg capsules are “equivalent” to 9 and 12 Tyvaso breaths respectively
  and instructing that target maintenance dose for its PH-ILD indication is 79.5µg to 106µg capsules,
  QID); 2022 Tyvaso Label (UTC_PH-ILD_005268) at -269 (instructing that Tyvaso’s target
  maintenance range for its PH-ILD indication is 9 to 12 breaths QID).
  527
      Supra §§ III.D.2, IV.A; see generally INCREASE publication (UTC_PH-ILD_010790);
  Yutrepia label (LIQ_PH-ILD_00126017) at -020-021,031-033.


                                                  135
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 347 of 455 PageID
                                            #: 34617



  at least in view of LTI-102 and the proposed Yutrepia label. 528 I understand that FDA has reached

  a similar conclusion based on Liquidia’s representations. 529

         222.    Curiously, Dr. Channick also asserts that the following language regarding

  comparability of clinical trial safety data is relevant to considering the extent to which the

  INCREASE study informs Yutrepia efficacy outcomes in PH-ILD patients: 530




  Dr. Channick states that “in [his] opinion[] this caveat is noteworthy given the extensive

  differences between Yutrepia™ and Tyvaso®.”531 It is not clear why Dr. Channick raises this

  position as it suggests that Liquidia’s safety evidence for Yutrepia is insufficient.

         223.    Fourth, FDA concluded that, in view of the bridging studies (including Roscigno

  2021), that Yutrepia could rely on the results of the INCREASE trial (because Yutrepia and Tyvaso

  deliver the same active ingredient using the same route of administration in comparable delivered

  amounts with comparable bioavailability with the same safety and tolerability profiles). 532

  Consequently, a POSA would recognize that the results of the INCREASE trial provide a reliable

  guide as to clinical outcomes of inhaled treprostinil, whether Tyvaso or Yutrepia. 533



  528
      Supra §§ III.D.2, IV.A; see generally Roscigno 2021 (UTC_PH-ILD_010665); Yutrepia label
  (LIQ_PH-ILD_00126017) at -020-021, -031-033.
  529
      Supra § IV.A; Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -028-30; FDA
  Response (LIQ_PH-ILD_00120424) at -425-427; Yutrepia Label (LIQ_PH-ILD_00126017) at -
  017-018.
  530
      Channick Reb. Rpt. at ¶ 10; Yutrepia Label (LIQ_PH-ILD_00126017) at -023.
  531
      Channick Reb. Rpt. at ¶ 10.
  532
      Supra §§ III.C, IV.A; see generally Roscigno 2021 (UTC_PH-ILD_010665); Pre-sNDA
  Meeting Request (LIQ_PH-ILD_00134026) at -028-30; FDA Response (LIQ_PH-
  ILD_00120424) at -425-427; Yutrepia Label (LIQ_PH-ILD_00126017) at -017-018.
  533
      Supra §§ III.C, III.D.2, IV.A; see generally INCREASE publication (UTC_PH-ILD_010790).


                                                   136
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 348 of 455 PageID
                                          #: 34618



         224.    Fifth, as detailed above, Liquidia’s CMO, Rajeev Saggar, confirmed that Liquidia

  is not changing the formulation for Yutrepia, not changing its dry powder inhaler, not changing

  anything that would require an update to Yutrepia’s label, and Liquidia’s CMO confirmed that

  Liquidia is targeting the same PH-ILD patients for which Tyvaso or Tyvaso DPI are or can be

  prescribed.534 Liquidia’s CMO takes a position contrary to Dr. Channick, which is that Yutrepia’s

  differences purportedly render Yutrepia more tolerable than Tyvaso, especially in PH-ILD patients,

  and Liqudia’s CMO testified that Liquidia believes that increased tolerability, leads to higher

  titration, leads to better outcomes—than Tyvaso. 535 Liquidia’s CMO sets the higher dosage aspect

  as the lynchpin.536 Liquidia’s CMO testified that Liquidia’s ASCENT study is already observing

  higher dosing than observed permitted in the INCREASE study. 537 As noted above, Liquidia’s

  CMO testified that he “absolutely” believes that Yutrepia would be just as effective as Tyvaso for

  PH-ILD patients and that he believes Yutrepia would “meet or exceed the level of performance

  that the INCREASE study describes for Tyvaso in PH-ILD patients.” 538 Moreover, Liquidia’s

  marketing materials rely on INCREASE study 6MWD data to describe the benefits of taking

  Yutrepia.




  534
      Supra § IV.B; Rajeev Saggar Dep. Tr. at 85:24-88:11, 100:19-101:19.
  535
      Supra § IV.B; Rajeev Saggar Dep. Tr. at 128:17-129:10, 218:16-220:2.
  536
      Supra § IV.B; Rajeev Saggar Dep. Tr. at 128:17-129:10, 218:16-220:2.
  537
      Supra § IV.B; Rajeev Saggar Dep. Tr. at 220:16-21.
  538
      Supra § IV.B; Rajeev Saggar Dep. Tr. at 79:11-15; 214:23-215:8 (Q. So if there is a way to do
  -- to give Yutrepia to the same type of PH-ILD patients as were administered Tyvaso in
  INCREASE, do you think -- does Liquidia believe that Yutrepia’s performance would meet or
  exceed the performance of Tyvaso in the INCREASE study? A. Yes. If the settings were exactly
  the same, yes, I do believe that.).


                                                 137
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 349 of 455 PageID
                                             #: 34619



          225.    Liquidia’s CMO also testified that tolerance in turn permits titratability. 539

  Liquidia’s CMO stated that “the data suggests that, as you titrate to doses higher, that can

  potentially offer the patient an ongoing clinical response that is better than the lower dose prior to

  it.”540 Liquidia’s CMO acknowledges that all treprostinil molecules are titratable, but Liquidia’s

  CMO also shared that patients in Liquidia’s “ASCENT study have been able to be dosed to what

  [Liquidia] believe[s] are higher levels than traditionally used by Tyvaso nebulizer, especially in

  the INCREASE study in PH-ILD . . .”541 A statement that by Liquidia’s CMO’s reasoning would

  indicate that Yutrepia is capable of meeting or exceeding the INCREASE study outcomes. 542

          226.    In view of the foregoing, Dr. Channick’s position that Yutrepia’s differences render

  administration non-infringing is wrong in view of Liquidia’s representations to FDA, the

  INCREASE study’s findings’ broad implications to treprostinil products generally as well as to

  products that are administered consistent with the INCREASE study or are comparable to Tyvaso.

  Moreover, Dr. Channick’s position directly conflicts with testimony from Liquidia’s CMO and

  30(b)(6) witness as well as Liquidia’s public statements and proposed marketing materials.




  539
       Rajeev Saggar Dep. Tr. at 128:17-129:10 (Q. When you mentioned titrate-ability a minute ago
  in your answer, titrate-ability during the ASCENT study, what are you talking about? A. Well,
  Yutrepia, as is with every inhaled treprostinil product, is a drug where you can augment the dose
  if it’s tolerable. And the data suggests that, as you titrate to doses higher, that can potentially offer
  the patient an ongoing clinical response that is better than the lower dose prior to it. So as you
  know, all treprostinil molecules are titratable. They are not set at, for example, one or two fixed
  doses, as typical of most -- many drugs. . Q. So Yutrepia is titratable, but so is Tyvaso, Tyvaso
  DPI, Remodulin, Orenitram, for example? A. All treprostinil products have the potential to be --
  to titrate.)
  540
       Rajeev Saggar Dep. Tr. at 128:22-129:1.
  541
       Supra § IV.B; Rajeev Saggar Dep. Tr. at 220:16-21.
  542
       Supra § IV.B; Rajeev Saggar Dep. Tr. at 79:11-15; 213:24-215:8.


                                                    138
Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25              Page 350 of 455 PageID
                                               #: 34620



            C.       Dr. Channick overlooks how the INCREASE study, and Liquidia’s reliance
                     on UTC’s Tyvaso label, satisfies limitations of dependent claims 2, 4, and 6-10

            227.     Dr. Channick asserts that healthcare providers and patients cannot directly infringe

  claims 2, 4, and 6-10 for the following similar reasons:

           “Dr. Nathan provides no evidence that a healthcare provider or patient will measure any of
            these statistical or clinical outcomes based on the proposed Yutrepia™ label, or any of the
            non-label sources Dr. Nathan relies on in his report”; 543
           “there is no evidence that any healthcare provider or patient would perform a statistical
            analysis”;544
           “Dr. Nathan points to no evidence that healthcare providers will measure statistical
            significance in [6MWD, plasma NT-proBNP concentration, exacerbations due to
            interstitial lung disease, clinical worsening events due to interstitial lung disease, or FVC]
            when treating patients with Yutrepia™;545 and
           “Dr. Nathan’s report is devoid of any evidence showing that healthcare providers or
            patients perform these calculations when administering Yutrepia™.” 546

  I disagree with Dr. Channick that any of this evidence is required to demonstrate direct

  infringement of claims 2, 4, and 6-10. These seven claims are reproduced immediately below:

                                       Asserted Claims 2, 4, and 6-10

                   2. The method of claim 1, wherein said administering provides a
                   statistically significant increase of a 6 minutes walk distance in the
                   patient after 8 weeks, 12 weeks, or 16 weeks of the administering.
                   4 .The method of claim 1, wherein said administering provides a
                   statistically significant reduction of a plasma concentration of NT-
                   proBNP in the patient after 8 weeks, 12 weeks, or 16 weeks of the
                   administering.
                   6. The method of claim 1, wherein said administering provides a
                   statistically significant reduction of at least one exacerbations of the
                   interstitial lung disease.
                   7. The method of claim 1, wherein said administering provides a
                   statistically significant reduction of clinical worsening events due to the
                   interstitial lung disease.
                   8. The method of claim 7, wherein the clinical worsening events
                   comprise at least one of hospitalization for cardiopulmonary indication


  543
      Channick Reb. Rpt. ¶ 56.
  544
      Channick Reb. Rpt. § V.B.1 heading.
  545
      Channick Reb. Rpt. ¶ 62.
  546
      Channick Reb. Rpt. ¶ 62.


                                                      139
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 351 of 455 PageID
                                             #: 34621



                 and a decrease in a 6-minute walk distance by more than 15% compared
                 a baseline 6-minute walk distance prior to the administering.
                 9. The method of claim 1, wherein said administering provides a
                 statistically significant improves of forced vital capacity (FVC) in the
                 patient after 8 weeks, 12, weeks or 16 weeks of the administering.
                 10. The method of claim 9, wherein said administering improves the
                 forced vital capacity (FVC) in the patient by at least 20 ml after 8 weeks,
                 12 weeks, or 16 weeks of the administering.


  None of these claims expressly require performing statistical analyses, measuring statistical

  significance or outcomes, or performing calculations.

          228.      However, Dr. Channick takes the position that the above-listed evidence is

  necessary because these claims 2, 4, 6-10 “require ‘statistically significant’ results,” 547 specifically

  asserting that:

                    [c]laims 2, 4, 6, and 7-10 all require a “statistically significant”
                    change in the following clinical parameters: increase in 6MWD
                    (claim 2), a reduction in NT-proBNP plasma concentration (claim
                    4), exacerbations (claim 6), clinical worsening events (claims 7 and
                    8), and an improvement in FVC (claims 9-10). 548


  Moreover, Dr. Channick asserts that:

                    A POSA would understand that, in order to have a statistically
                    significant change, these claims necessitate that a healthcare
                    provider prescribe inhaled treprostinil (apply the intervention), to
                    multiple patients (a group large enough to detect a meaningful
                    difference), measure one of the selected parameters in each group
                    member, aggregate the results from the patients, and then perform
                    statistical analysis on those results.549


  547
      Channick Reb. Rpt. ¶ 59; id. at ¶ 55 (Dr. Channick asserts that “each of the dependent Asserted
  Claims require . . . a ‘statistically significant’ result (claims 2, 4, 6, 7-8, 9-10) . . . .”).
  548
      Channick Reb. Rpt. ¶ 61; see also id. at ¶ 92 (Dr. Channick asserts that “Claims 2, 4, 6, and 7-
  10 of the ’327 patent all require that the method of treatment of claim 1 achieve ‘statistically
  significant’ improvements in six-minute walk distance, plasma concentration of NT-proBNP,
  exacerbations of interstitial lung disease, clinical worsening events, and FVC.”).
  549
      Channick Reb. Rpt. ¶ 61; see also id. at ¶ 92 (Dr. Channick asserts that “to achieve an
  improvement in these areas and confirm its statistical significance, the person practicing the



                                                    140
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 352 of 455 PageID
                                            #: 34622




  It is also Dr. Channick’s personal opinion that this “requires a healthcare provider or patient to

  actively measure whether Yutrepia™ administration produces the claimed statistically significant

  outcomes.” 550 I disagree with Dr. Channick. Again, Dr. Channick is adding steps that these

  method claims do not recite. Moreover, what these claims recite do not require what Dr. Channick

  asserts is necessary for direct infringement. In particular, I disagree with Dr. Channick’s

  characterization of these claims as requiring a physician to physically obtain clinical data for a

  group of patients, to perform statistical analyses on those data to determine whether the group of

  patients exhibit results or changes, or to obtain statistically significant results or changes in such a

  group.551 I do not see those additional steps in the claims.

          229.    In claims 2, 4, 6, 7, and 9, “statistically significant” is a term embedded in a the

  larger phrase (“wherein said administering provides a statistically significant”), which is then

  followed by naming particular treatment effects, e.g., an “increase of a 6 minutes walk distance in

  the patient” (claim 2) and a “reduction of clinical worsening events due to the interstitial lung

  disease” (claim 7). Accordingly, I read this language as describing methods of administering

  inhaled treprostinil to PH-ILD patients that achieve (i.e., provide) the respective treatment effect

  at the population level. And those limitations are met by the INCREASE study that Liquidia’s

  label relies upon. Although I further read claims 2, 4, and 9 as addressing those patients who exhibit

  the treatment effect, these three claims only require the recited inhaled treprostinil treatment effect,




  method of treatment must select a metric to measure, apply the treatment to a sufficiently large
  group of patients, measure the selected metric in each patient, aggregate the collected data, and
  perform statistical analysis on the data.”).
  550
      Channick Reb. Rpt. ¶ 62 (emphasis in original).
  551
      Channick Reb. Rpt. ¶¶ 59, 61, 92.


                                                    141
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 353 of 455 PageID
                                           #: 34623



  not an effect of a particular magnitude. Accordingly, Dr. Channick’s characterization of claims 2,

  4, 6, 7, and 9 overlooks both the language of the claims and key statistical principles.




  552
      Deng Dep. Tr. at 161:4 – 163:19.
  553
      Channick Reb. Rpt. ¶¶ 61, 160, n.61, n.208, n.212.
  554
      Deng Dep. Tr. at 161:4-7.
  555
      Deng Dep. Tr. at 161:11-15.
  556
      Deng Dep Tr. at 161:18-22.
  557
      Deng Dep Tr. at 162:25 – 163:2.


                                                  142
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 354 of 455 PageID
                                            #: 34624




          231.    Importantly, as                              I detailed above, the INCREASE study

  has already established that administering treprostinil to PH-ILD patients provides statistically

  significant treatment effects with respect to 6MWD, plasma NT-proBNP concentration, risk of

  exacerbations due to interstitial lung disease, risk of clinical worsening events due to interstitial

  lung disease, and forced vital capacity. 559 Dr. Channick’s rebuttal position regarding direct

  infringement of claims 2, 4, and 6-10 completely ignores this. 560 In view of the INCREASE study,

  PH-ILD patients that practice the claimed methods are more likely than not going to exhibit the

  treatment effects described by the INCREASE study as I detailed above, including improved

  6MWD, reduced plasma concentration of NT-proBNP, decreased risk of exacerbations due to

  interstitial lung disease, decreased risk of clinical worsening events due to interstitial lung disease,

  and improved forced vital capacity.561

          232.    As discussed above, Liquidia has elected to rely on the INCREASE study with

  respect to approval of Yutrepia’s PH-ILD indication.562 Consequently, Liquidia has told the FDA


  558
      Deng Dep Tr. at 163:6-17.
  559
      Deng Dep Tr. at 161:4 – 163:17; supra § III.D.2; see generally INCREASE publication
  (UTC_PH-ILD_010790); see generally Nathan 2021 (UTC_PH-ILD_147114).
  560
      Channick Reb. Rpt. ¶¶ 59-63.
  561
      Supra §§ III.B, III.D.2; Thisted Reb. Rpt. §§ VII, IX-XI, XV; see generally INCREASE
  publication (UTC_PH-ILD_010790); see generally INCREASE Protocol (UTC_PH-
  ILD_145360); see generally Nathan 2021 (UTC_PH-ILD_147114).
  562
      Supra §§ III.C, IV.A, VI.B; Original NDA 213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-
  362; Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; Pre-sNDA Meeting



                                                    143
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 355 of 455 PageID
                                            #: 34625



  that the INCREASE study—and its results—describe Yutrepia, and thus the INCREASE study

  satisfies the respective “said administering provides a statistically significant . . .” limitations of

  claims 2, 4, 6, 7, and 9.563 Likewise, the tentatively approved Yutrepia label exclusively refers to

  the INCREASE study as clinical support for the PH-ILD indication. 564 As discussed above, the

  label instructs administering Yutrepia according to the INCREASE study’s dosing regimen. 565

  Therefore, any PH-ILD patient that is administered Yutrepia is more likely than not going to

  exhibit the treatment effects described by the INCREASE study as I detailed above, including

  improved 6MWD, reduced plasma concentration of NT-proBNP, decreased risk of exacerbations

  due to interstitial lung disease, decreased risk of clinical worsening events due to interstitial lung

  disease, and improved forced vital capacity.566 Moreover, Dr. Channick is also aware that the

  tentatively approved Yutrepia label recites the INCREASE study statistical findings for 6MWD

  and clinical worsening events due to interstitial lung disease. 567 Yet the presence or absence of




  Request (LIQ_PH-ILD_00134026) at -028-030; FDA Response (LIQ_PH-ILD_00120424) at -
  424-427; Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509; Rajeev
  Saggar Dep. Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-79:9; 84:24-85:1, 96:17-97:1,
  195:20-197:23, 212:5-213:1.
  563
      Supra §§ III.C, IV.A VI.B; Original NDA 213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-
  362; Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; Pre-sNDA Meeting
  Request (LIQ_PH-ILD_00134026) at -028-030; FDA Response (LIQ_PH-ILD_00120424) at -
  424-427; Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509; Rajeev
  Saggar Dep. Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-79:9; 84:24-85:1, 96:17-97:1,
  195:20-197:23, 212:5-213:1; U.S. Food & Drug Admin., Guidance for Industry: Applications
  Covered by Section 505(b)(2): Draft Guidance (1999) (UTC_PH-ILD_227310) at -314, -315;
  Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -031-033; see generally INCREASE
  publication (UTC_PH-ILD_010790).
  564
      Supra §§ IV.A, VI.B; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -031-033.
  565
      Supra §§ III.D.2, IV.A, IV.B, VI.B; compare Yutrepia Label (LIQ_PH-ILD_00126017) at -
  020-022, -031-033 with INCREASE Protocol (UTC_PH-ILD_145360) at -470-471.
  566
      Supra §§ III.D.2, IV.A, IV.B, VI.B; compare Yutrepia Label (LIQ_PH-ILD_00126017) at -
  020-022, -031-033 with INCREASE Protocol (UTC_PH-ILD_145360) at -470-471; see generally
  INCREASE publication (UTC_PH-ILD_010790).
  567
      E.g., Channick Reb. Rpt. ¶¶ 39-38.


                                                   144
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25          Page 356 of 455 PageID
                                             #: 34626



  additional statistical data is not necessary to infringe Asserted Claims 2, 4, and 6-10 in that the

  Yutrepia label describes the INCREASE study’s dosing regimen and 16-week duration. 568 The

  INCREASE study establishes that administering inhaled treprostinil according to the methods of

  the INCREASE study more likely than not provide the treatment effects recited in claims 2, 4, and

  6-10.569 Accordingly, in view of the Yutrepia label, the statistical inferences of the INCREASE

  study apply to Yutrepia.570 I also, therefore, disagree with Dr. Channick’s attempts to distinguish

  for the purposes of direct infringement of claims 2, 4, and 6-10 between the recited treatment

  effects that are listed on Yutrepia’s label and those that are not. 571

          233.    The INCREASE study reports the same methods of administering that the

  tentatively approved Yutrepia label instructs for administering Yutrepia. 572 The tentatively

  approved Yutrepia label also recites the statistical findings from the INCREASE study regarding

  administration of inhaled treprostinil to PH-ILD patients and the corresponding statistically

  significant improvement in 6MWD and reduction of clinical worsening events due to interstitial




  568
      See supra §§ III.D.2, IV.A, VI.B; see Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -
  031-033; see generally INCREASE publication (UTC_PH-ILD_010790); see generally
  INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).
  569
      Supra § III.D.2; see generally INCREASE publication (UTC_PH-ILD_010790); see generally
  INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).
  570
      Supra § III.D.2, IV.A, VI.B; see generally INCREASE publication (UTC_PH-ILD_010790);
  see generally INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021
  (UTC_PH-ILD_147114); Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -031-033.
  571
      E.g., Channick Reb. Rpt. ¶¶ 39, 57.
  572
      Supra §§ III.D.2, IV.A, VI.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-027,
  -031-033); see generally INCREASE publication (UTC_PH-ILD_010790); see generally
  INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).


                                                    145
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 357 of 455 PageID
                                           #: 34627



  lung disease.573 So, the statistical findings of the INCREASE study regarding these methods of

  administration would apply to Yutrepia. 574 Therefore, administration of Yutrepia to PH-ILD

  patients consistent with the tentatively approved Yutrepia label will likely yield a treatment effect

  consistent with the INCREASE study’s findings.575

         234.    I see this relationship between the INCREASE study and the Yutrepia label

  reflected in Dr. Nathan’s direct infringement positions regarding claims 2 and 7. 576 Dr. Nathan

  concludes with respect to claim 2 that:

                 [T]he POSA would understand that the Hodges-Lehmann estimate
                 demonstrated statistical significance in 6MWD after weeks 8, 12,
                 and 16 of administration. Further, the Forest Plot showed statistical
                 significance in 6MWD, at least, at 16 weeks, and the longitudinal
                 data analysis using mixed model repeated measurement also showed
                 statistical significance in 6MWD over, at least, 12 and 16 weeks..
                 The POSA would therefore understand that the Yutrepia label
                 discloses a statistically significant increase of a 6 minute walk
                 distance in the PH-ILD patient after 8 weeks, 12 weeks, or 16 weeks
                 of administration. The POSA would also understand that
                 administration of Yutrepia to at least some PH-ILD patients would
                 result in a similar statistically significant improvement in 6MWD as
                 demonstrated in the Yutrepia label and the INCREASE study. 577




  573
      Supra §§ III.D.2, IV.A, VI.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-027,
  -031-033); see generally INCREASE publication (UTC_PH-ILD_010790); see generally
  INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).
  574
      Supra §§ III.D.2, IV.A, VI.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-027,
  -031-033); see generally INCREASE publication (UTC_PH-ILD_010790); see generally
  INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).
  575
      Supra §§ III.D.2, IV.A, VI.A; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-027,
  -031-033); see generally INCREASE publication (UTC_PH-ILD_010790); see generally
  INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).
  576
      See Nathan Op. Rpt. ¶¶ 278, 314.
  577
      Nathan Op. Rpt. ¶ 278.


                                                  146
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 358 of 455 PageID
                                           #: 34628



  Dr. Nathan is referring to the Hodges-Lehmann estimates cited in the Yutrepia label, which is

  quoting results from the INCREASE study.578 I agree that the INCREASE data applies to Yutrepia

  and thus PH-ILD patients that are administered Yutrepia would exhibit a treatment effect

  consistent with INCREASE with respect to improved 6MWD. 579 Dr. Channick asserts that citation

  to peer-reviewed literature discussing the INCREASE Study is improper because “there is no

  reference to these publications and papers in the Yutrepia™ label nor is there any instruction or

  suggestion in the Yutrepia™ label to go find these materials and review them.” 580 Dr. Channick’s

  position seems odd considering that the tentatively approved label expressly references the

  INCREASE study, and I understand from FDA guidance that at least labels’ clinical study sections

  are understood to be mere summaries.581 Dr. Channick’s opinions here also appear to conflict with

  representations Liquidia made to FDA, including that Yutrepia would rely on INCREASE data in




  578
      See Nathan Op. Rpt. ¶¶ 271, 278; supra §§ III.D.2, IV.A; Yutrepia Label (LIQ_PH-
  ILD_00126017) at -031-032; see generally INCREASE publication (UTC_PH-ILD_010790).
  579
      See supra §§ III.D.2, IV.A, VI.B; Original NDA 213005 § 2.2 (LIQ_PH-ILD_00046359) at -
  360-362; Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; Pre-sNDA Meeting
  Request (LIQ_PH-ILD_00134026) at -028-030; FDA Response (LIQ_PH-ILD_00120424) at -
  424-427; Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509; Rajeev
  Saggar Dep. Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-79:9; 84:24-85:1, 96:17-97:1,
  195:20-197:23, 212:5-213:1; see generally INCREASE publication (UTC_PH-ILD_010790).
  580
      Channick Reb. Rpt. ¶ 62.
  581
      See supra § III.C; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-021, -031-033; FDA’s
  Labeling Resources for Human Prescription Drugs | FDA.pdf (7-Feb-2025) (UTC_PH-
  ILD_227394) (“Human prescription drug labeling … [c]ontains a summary of the essential
  scientific information needed for the safe and effective use of the drug[.]” (emphasis added)); U.S.
  Food & Drug Admin., Guidance for Industry: Clinical Studies Section of Labeling for Human
  Prescription Drug and Biological Products – Content and Format (2006) (UTC_PH-
  ILD_227354)at -359 (“The primary objective of the CLINICAL STUDIES section is to
  summarize (1) the evidence supporting effectiveness in the subjects who were studied, (2) the
  critical design aspects of the studies, including the populations studied and endpoints measured,
  and (3) the important limitations of the available evidence.” (emphasis added)).


                                                  147
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 359 of 455 PageID
                                           #: 34629



  the peer-reviewed literature as demonstrating the safety and efficacy of Yutrepia in PH-ILD. 582

  Nonetheless, as discussed above, infringement only requires employing a method that provides the

  recited treatment effects, and that method is express in the tentatively approved Yutrepia label. 583

         235.    Nonetheless, Dr. Channick mischaracterizes Dr. Nathan’s positions as describing

  “administration of Yutrepia™[] without more.” 584 For all claims, the INCREASE study identified

  that inhaled treprostinil yielded treatment effects with a reasonable degree of statistical certainty

  in PH-ILD patients, and those findings attached to Yutrepia. 585 It is Dr. Channick who is

  improperly overlooking key information available to the POSA and that is also embedded and

  explicitly referenced in the Yutrepia label—the INCREASE study. Accordingly, I disagree with

  Dr. Channick’s personal opinion “that direct infringement of these claims requires a healthcare

  provider or patient to actively measure whether Yutrepia™ administration produces the claimed

  statistically significant outcomes.” 586 But the claims do not require this, and regardless it is

  unnecessary with respect to Yutrepia in view of the INCREASE study and especially in view of




  582
      See supra §§ III.C, IV.A, VI.B; Original NDA 213005 § 2.2 (LIQ_PH-ILD_00046359) at -360-
  362; Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at -515-518; Pre-sNDA Meeting
  Request (LIQ_PH-ILD_00134026) at -028-030; FDA Response (LIQ_PH-ILD_00120424) at -
  424-427; Weidman Email re: Pre-sNDA Meeting (LIQ_PH-ILD_00148509) at -509; Rajeev
  Saggar Dep. Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-79:9; 84:24-85:1, 96:17-97:1,
  195:20-197:23, 212:5-213:1.
  583
      See supra §§ IV.A, VI.B; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-027, -
  031-033).
  584
      Channick Reb. Rpt. ¶ 62.
  585
      Supra §§ III.B, III.C, IV.A VI.B; Thisted Reb. Rpt. §§ VII, IX-XI, XV; see generally
  INCREASE publication (UTC_PH-ILD_010790); see generally INCREASE Protocol (UTC_PH-
  ILD_145360); see generally Nathan 2021 (UTC_PH-ILD_147114); Original NDA 213005 § 2.2
  (LIQ_PH-ILD_00046359) at -360-362; Original NDA 213005 § 2.5 (LIQ_PH-ILD_00045509) at
  -515-518; Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -028-030; FDA Response
  (LIQ_PH-ILD_00120424) at -424-427; Weidman Email re: Pre-sNDA Meeting (LIQ_PH-
  ILD_00148509) at -509; Rajeev Saggar Dep. Tr. at 67:20-68:13, 68:14-69:4, 70:11-72:16; 77:3-
  79:9; 84:24-85:1, 96:17-97:1, 195:20-197:23, 212:5-213:1.
  586
      Channick Reb. Rpt. ¶ 62 (emphasis in original).


                                                  148
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 360 of 455 PageID
                                            #: 34630



  the tentatively approved Yutrepia label. 587 This is also why Dr. Channick’s position regarding

  what the “POSA would understand” is wrong. 588 The POSA would at least have Yutrepia’s label

  and the INCREASE study information and data cited therein, 589 and thus not need to “prescribe

  inhaled treprostinil (apply the intervention)[] to multiple patients (a group large enough to detect

  a meaningful difference), measure one of the selected parameters in each group member, aggregate

  the results from the patients, and then perform statistical analysis on those results.” 590 Instead, the

  treatment course need only be undertaken in accordance with Yutrepia’s label. 591

         236.    Dr. Channick also asserts that the direct infringer’s knowledge or understanding of

  their infringement is relevant to infringing the limitations of dependent claims 2, 4, and 6-10. 592

  Dr. Channick appears to take the position that this knowledge or understanding is an independent

  rationale for direct infringement requiring evidence of infringing healthcare providers “conducting

  a statistical analysis of the patients they treat” and infringing “healthcare providers or patients




  587
      See supra §§ III.B, III.C, IV.A VI.B; Thisted Reb. Rpt. §§ VII, IX-XI, XV; see generally
  INCREASE publication (UTC_PH-ILD_010790); see generally INCREASE Protocol (UTC_PH-
  ILD_145360); see generally Nathan 2021 (UTC_PH-ILD_147114); compare Yutrepia Label
  (LIQ_PH-ILD_00126017) at -020-022, -031-033 with INCREASE Protocol (UTC_PH-
  ILD_145360) at -470-471.
  588
      Channick Reb. Rpt. ¶¶ 61, 92.
  589
      See supra § III.D.2, IV.A, IV.B; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-
  027, -031-033; Pre-sNDA Meeting Request (LIQ_PH-ILD_00134026) at -028-030; FDA
  Response (LIQ_PH-ILD_00120424) at -424-427.
  590
      See supra §§ III.D.2, IV.A, VI.B; see Channick Reb. Rpt. ¶¶ 61, 92.
  591
      See supra §§ III.D.2, IV.A, VI.B; Yutrepia Label (LIQ_PH-ILD_00126017) at -020-022, -026-
  027, -031-033.
  592
      Channick Reb. Rpt. at ¶ 61(“Thus, a healthcare provider will not know or understand if they
  directly infringe any of clams 2, 4, 6, 7-8 and 9-10 without conducting a statistical analysis of the
  patients they treat.”); id. at ¶ 62 (“Because Dr. Nathan’s report is devoid of any evidence showing
  that healthcare providers or patients perform these calculations when administering Yutrepia™, or
  that they would have knowledge or understanding that these outcomes will be met, I am of the
  opinion that this alone is enough to defeat any allegations that Liquidia directly infringes claims 2,
  4, 6, and 7-10.”)


                                                   149
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 361 of 455 PageID
                                           #: 34631



  perform . . . calculations when administering Yutrepia™.” 593 I understand from counsel that

  whether a direct infringer knows or understands they are infringing the limitations added by these

  dependent claims is not relevant. Also, as discussed in this section, Dr. Channick’s position

  overlooks the knowledge and understanding that the INCREASE study provides to the POSA,

  including the INCREASE study data that is recited in the tentatively approved Yutrepia label.

         237.    In view of the foregoing, I also disagree with Dr. Channick’s position that proving

  inducement requires evidencing that:

                 Liquidia instructs or encourages healthcare providers and/or patients
                 to treat a sufficiently large number of patients, measure the metric
                 of interest, aggregate the collected data, and perform statistical
                 analysis on the data. Indeed, Dr. Nathan does not point to any
                 evidence, in the YutrepiaTM label, Liquidia’s marketing materials,
                 or any other document, showing that Liquidia will instruct or
                 encourage healthcare providers and/or patients to treat a sufficiently
                 large number of patients, measure the metric of interest, aggregate
                 the collected data, and perform statistical analysis on the data. 594

  As detailed above, Asserted Claims 2, 4, and 6-10 do not require healthcare providers and/or

  patients to do any of these acts expressly or implicitly. Instead, Asserted Claims 2, 4, and 6-10

  distinguish methods of administering inhaled treprostinil to PH-ILD patients that achieve (i.e.,

  provide) the respective treatment effect at the population level. Moreover, the INCREASE study

  has already established that administering inhaled treprostinil to PH-ILD patients provides

  statistically significant treatment effects with respect to 6MWD, plasma NT-proBNP

  concentration, risk of exacerbations due to interstitial lung disease, risk of clinical worsening

  events due to interstitial lung disease, and forced vital capacity. 595 Therefore, Yutrepia’s

  tentatively approved label does not need to do anything more than instruct administering Yutrepia



  593
      Channick Reb. Rpt. at ¶¶ 61, 62.
  594
      Channick Reb. Rpt. ¶ 93.
  595
      Supra § III.D.2.


                                                  150
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 362 of 455 PageID
                                           #: 34632



  in PH-ILD patients consistent with the INCREASE study’s dosing regimen to instruct, encourage,

  recommend and promote the use of the methods that claims 2, 4, and 6-10 respectively distinguish,

  and I disagree with Dr. Channick’s assertion that the tentatively approved Yutrepia label requires

  instruction to do more. 596 Rather, the tentatively approved Yutrepia label by summarizing the

  INCREASE Study, instructs the use of methods of claims 2, 4, and 6-10.

  VII. DR. CHANNICK IS WRONG REGARDING INFRINGEMENT OF THE
  ASSERTED CLAIMS

         238.    Contrary to Dr. Channick’s opinions, the administration of Liquidia’s proposed

  Yutrepia product to patients having PH-ILD as instructed by Liquidia’s proposed labeling and

  package insert will infringe each of the Asserted Claims of the ’327 patent. This opinion is based

  on the rationale described above. I provide specific evidence below to support that said

  administration of Yutrepia will directly infringe each of the Asserted Claims despite Dr.

  Channick’s opinions to the contrary.

         239.    Further, it is my opinion that Liquidia will induce patients, caregivers, and

  clinicians to infringe each of the Asserted Claims by instructing administration of Yutrepia

  according to the instructions set forth in the proposed labeling and package insert as described both

  above and below. My opinion that Liquidia will induce and contribute to infringement of the

  Asserted Claims is further supported by Liquidia’s own proposed marketing materials, which seek

  to promote Yutrepia for PH-ILD consistent with infringement of the Asserted Claims. 597


  596
      Channick Reb. Rpt. ¶¶ 94-95.
  597
      See, e.g., ’327 patent (UTC_PH-ILD_005310); Yutrepia Draft Webpage 2 (LIQ_PH-
  ILD_00146936) at -937 (“In a clinical study, patients with PH-ILD who took an inhaled
  treprostinil solution walked further on average and lowered the chance of their PH-ILD worsening
  than those who took a placebo solution.”); Yutrepia Marketing Diagram (LIQ_PH-
  ILD_00147156) at -157 (describing the improvement in 6MWD and reduction in the risk of a
  clinical worsening event observed in INCREASE trial patients); Yutrepia Formulary Kit
  (LIQ_PH-ILD_00146970) at -977 (describing the 6MWD, NT-proBNP, and reduction in clinical



                                                  151
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 363 of 455 PageID
                                            #: 34633



          A.      Liquidia’s Yutrepia Will Infringe Claim 1.

                  1.      “A method of improving exercise capacity in a patient having
                          pulmonary hypertension associated with interstitial lung disease,
                          comprising”

          240.    It is my opinion that administering Yutrepia according to Liquidia’s proposed

  labeling will infringe this limitation of claim 1 of the ’327 patent. This is clear because the Yutrepia

  proposed labeling and the INCREASE study on which the proposed labeling relies report

  improving exercise capacity as claimed. Accordingly, it is more likely than not that patients

  administered Yutrepia will experience the beneficial effect of an improvement in exercise capacity

  as claimed.

          241.    As described above, “Yutrepia is indicated for the treatment of pulmonary

  hypertension associated with interstitial lung disease (PH-ILD; WHO Group 3) to improve

  exercise ability.”598

          242.    Furthermore, the Yutrepia label and the INCREASE data (which is relied upon in

  the Yutrepia label) report improvements in 6MWD which a POSA would understand as an

  improvement in exercise capacity as claimed. 599

                  2.      “administering by inhalation to the patient having pulmonary
                          hypertension associated with interstitial lung disease,”

          243.    It is my opinion that administering Yutrepia according to Liquidia’s proposed

  labeling will directly infringe this limitation of claim 1 of the ’327 patent. This is clear because




  worsening data from INCREASE); Yutrepia Marketing Handout (LIQ_PH-ILD_00147141) at -
  147-148 (describing the statistically significant improvement in 6MWD and the 39% risk
  reduction of a clinical worsening event); Yutrepia Presentation (LIQ_PH-ILD_00147196) at -236
  (showcasing the statistically significant improvement in 6MWD and the reduction in risk of
  clinical worsening observed in the INCREASE trial).
  598
      Supra § IV.A.1; Yutrepia Label (LIQ_PH-ILD_00126017) at -021.
  599
      Infra § VII.B.-VII.C,


                                                    152
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 364 of 455 PageID
                                            #: 34634



  the Yutrepia proposed labeling instructs treating PH-ILD patients with the inhaled treprostinil as

  claimed.

          244.    The dosage form of Yutrepia is “inhalation powder contained in capsule” and the

  label instructs that the capsules are “[f]or oral inhalation only.”600

                  3.      “an effective amount of at least 15 micrograms up to a maximum
                          tolerated dose of treprostinil or a pharmaceutically acceptable salt
                          thereof”

          245.    It is my opinion that administering Yutrepia according to Liquidia’s proposed

  labeling will infringe this limitation of claim 1 of the ’327 patent. This is clear because the

  Yutrepia proposed labeling instructs dosing at least 15 micrograms of treprostinil during a single

  treatment session.

          246.    As explained above, “Yutrepia contains treprostinil sodium” as the active

  ingredient.601 More specifically, “[e]ach 5 mg of YUTREPIA inhalation powder contains 26.5

  mcg of treprostinil, where 26.5 mcg of treprostinil is equivalent to 28 mcg of treprostinil

  sodium.”602 In vitro testing further specifies that when using the lowest available capsule strength

  of 26.5 mcg, the amount of treprostinil delivered to the patient administered Yutrepia will be 15.1

  mcg.603 The Yutrepia label also instructs a starting dose of “26.5 mcg 3 to 5 times per day” and a

  target maintenance dosage of “79.5-106 mcg, 4 times daily.” 604




  600
      Supra § IV.A.1; Yutrepia Label (LIQ_PH-ILD_00126017) at -020.
  601
      Supra § IV.A.1; Yutrepia Label (LIQ_PH-ILD_00126017) at -026.
  602
      Yutrepia Label (LIQ_PH-ILD_00126017) at -026.
  603
      Yutrepia Label (LIQ_PH-ILD_00126017) at -027.
  604
      Supra § IV.A.1; Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022.


                                                    153
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 365 of 455 PageID
                                            #: 34635



                  4.     “in a single administration event that comprises at least 6 micrograms
                         per breath.”

           247.   It is my opinion that administering Yutrepia according to Liquidia’s proposed

  labeling will infringe this limitation of claim 1 of the ’327 patent. This is clear from the dosing

  instructed in the Yutrepia proposed label.

           248.   As explained above, each capsule of Yutrepia is delivered in 2 breaths, regardless

  of strength, with the lowest strength being 26.5 mcg.605 In vitro testing by Liquidia also confirmed

  that the 26.5 mcg capsule strength corresponds with a 15.1 mcg dose of treprostinil delivered to

  the patient.606 When a patient consumes that capsule strength in two breathes as instructed, that

  amounts to 7.55 mcg per breath.

           B.     Liquidia’s Yutrepia Will Infringe Claim 2.

                  1.     “The method of claim 1, wherein said administering provides a
                         statistically significant increase of a 6 minutes walk distance in the
                         patient after 8 weeks, 12 weeks, or 16 weeks.”

           249.   Claim 2 depends from claim 1. As described above, administering Yutrepia

  according to Yutrepia’s tentatively approved labeling will meet all of the limitations of claim 1.

  Claim 2 additionally requires that the “administering provides a statistically significant increase of

  a 6 minutes walk distance in the patient after 8 weeks, 12 weeks, or 16 weeks.” I also understand

  that because the timepoint limitations are listed in the alternative (“8 weeks, 12 weeks, or 16

  weeks”) that means acts satisfying any one of those timepoints is sufficient to infringe claim 2, i.e.,

  infringing acts do not require satisfying all three time points.

           250.   Dr. Channick asserts:

                  The Hodges-Lehmann estimate that [Yutrepia’s tentatively
                  approved label recites] only describes a statistically significant
                  improvement in 6MWD shown in a prior clinical study (the

  605
        Supra § IV.A.1; Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022.
  606
        Yutrepia Label (LIQ_PH-ILD_00126017) at -027.


                                                   154
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 366 of 455 PageID
                                           #: 34636



                 INCREASE study, which was completed in 2021), using a different
                 drug formulation (Tyvaso® (i.e., treprostinil inhalation solution)—
                 not Yutrepia™ (i.e., treprostinil inhalation dry powder)). The same
                 is true of the Forest Plot [Yutrepia’s tentatively approved label
                 recites] which . . . ‘compares patients taking Tyvaso (treprostinil)
                 with patients administered placebo’ and shows statistically
                 significant improvement in 6MWD. In my opinion, a POSA reading
                 the Hodges-Lehmann estimate and Forest Plot would only
                 understand that a statistically significant improvement in 6MWD
                 resulted from administration of treprostinil inhalation solution in the
                 group of patients treated in the INCREASE study. 607

  I disagree with Dr. Channick that a direct infringer would need to “understand” whether they are

  infringing in the way that Dr. Channick suggests is necessary. I also disagree with Dr. Channick

  asserting that the INCREASE study’s 6MWD outcomes do not inform Yutrepia outcomes. 608 That

  is wrong for at least two reasons that I detailed above. 609 First, the Yutrepia sNDA for the PH-ILD

  indication relies entirely on the INCREASE study for evidence of clinical efficacy in PH-ILD

  patients, which is consistent with the tentatively approved Yutrepia label that only recites clinical

  support for the listed PH-ILD indication as the INCREASE study.610 Therefore, as I have been

  informed by counsel, Yutrepia is bound by its label with respect to the PH-ILD indication, and for

  the purpose of considering infringement in this case, Yutrepia is administered according to its

  label—i.e., consistent with the INCREASE study—and thus necessarily performs according to the

  INCREASE study.611 That includes the statistically significant treatment effects with respect to

  6MWD at 8, 12, and 16 weeks after initiation of inhaled treprostinil, which as discussed above are

  at least evidenced by the Hodges-Lehmann estimate and forest plot analyses that are expressly



  607
      Channick Reb. Rpt. ¶ 65.
  608
      Channick Reb. Rpt. ¶ 65; see also id. ¶ 102 (“While the Yutrepia™ label does discuss
  improvements in six-minute walk distance, it only does so in the context of clinical trials with
  Tyvaso® (the TRIUMPH and INCREASE trials”).
  609
      Supra §§ VI.B-C.
  610
      Supra § VI.B.
  611
      Supra § VI.B.


                                                  155
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 367 of 455 PageID
                                            #: 34637



  recited on Yutrepia’s tentatively approved label. 612 I note the foregoing applies equally to Asserted

  Claims 3 and 17-19 that I address below. 613

         251.    Second, as far as I am aware, there is no scientific basis for Dr. Channick’s attempts

  to disassociate Yutrepia from the INCREASE study’s outcomes. 614 And further, Dr. Channick’s

  opinions in this regard are directly contrary to Liquidia’s representations, including those made to

  FDA to obtain the PH-ILD indication for its Yutrepia product. 615 As explained above, because

  treprostinil is Yutrepia’s only active ingredient and because Liquidia relies on INCREASE to

  support approval of its own product, the INCREASE study is sufficient evidence that

  administering Yutrepia to patients with PH-ILD will more likely than not exhibit the treatment

  effects that the INCREASE study reported. 616 Liquidia has also asserted that Yutrepia is

  biocomparable (satisfying the criteria for bioequivalence) with Tyvaso through its LTI-102 study,

  and Yutrepia’s label instructs administering Yutrepia consistent with the INCREASE study, even

  going so far as to define the dosing between Tyvaso and Yutrepia as “equivalent” in the context

  of the INCREASE study. 617 Accordingly, in view of the INCREASE study, LTI-102, and

  Yutrepia’s tentatively approved label, I have not seen persuasive evidence or reasoning from Dr.

  Channick to believe that Yutrepia will not meet or exceed the INCREASE study 6MWD

  outcomes.618 In fact, that is what Liquidia’s CMO has admitted and the position Liquidia takes




  612
      Supra §§ III.D.2, VI.B.
  613
      Infra § VII.C.
  614
      Supra § VI.B.
  615
      Supra § VI.B.
  616
      Supra §§ III.D.2, IV.A, VI.B.
  617
      Yutrepia Label (LIQ_PH-ILD_00126017) at -031; supra § IV.A.2.b.
  618
      Supra §§ III.D.2, IV.A, VI.B.


                                                   156
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 368 of 455 PageID
                                            #: 34638



  publicly and in its proposed marketing materials. 619 I note the foregoing applies equally to Asserted

  Claims 3 and 17-19 that I address below. 620

         252.    Also, as detailed above, claim 2 distinguishes methods of administering inhaled

  treprostinil to PH-ILD patients that achieve (i.e., provide) a 6MWD treatment effect at the

  population level at the respectively recited timepoints.621 The tentatively approved Yutrepia label

  instructs administering Yutrepia according to the INCREASE study’s dosing regimen, which as

  detailed above achieved a statistically significant 6MWD treatment effect at 8, 12, and 16 weeks. 622

  Therefore, the demonstrated statistical significance of these 6MWD treatment effects in the

  INCREASE study leads me to conclude that administration of Yutrepia to PH-ILD patients

  consistent with Yutrepia’s tentatively approved label will result in individual PH-ILD patients

  more likely than not exhibiting the 8-week, 12-week, or 16-week treatment effects identified in

  claim 2.623 As detailed above, I disagree with Dr. Channick that infringing claim 2 requires:

                 [A] healthcare provider or patient to administer inhaled treprostinil
                 over a period of at least 8 weeks, measure the 6MWD prior to
                 administering the drug and after a period of at least 8 weeks, after
                 12 weeks, or after 16 weeks and, for claims 2 and 8, assess whether
                 there is any statistically significant improvement in 6MWD. 624

  Moreover, Dr. Channick misunderstands claim 2 in this regard, asserting:

                 In my opinion, a POSA reading the Hodges-Lehmann estimate and
                 Forest Plot would only understand that a statistically significant
                 improvement in 6MWD resulted from administration of treprostinil
                 inhalation solution in the group of patients treated in the INCREASE
                 study.625



  619
      Supra §§ IV.B, VI.B.
  620
      Infra § VII.C.
  621
      Supra § VI.C.
  622
      Supra §§ III.D.2, IV.A, VI.C.
  623
      Supra §§ III.D.2, IV.A, VI.C.
  624
      Supra § VI.C; Channick Reb. Rpt. ¶ 64.
  625
      Channick Reb. Rpt. ¶ 65.


                                                   157
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 369 of 455 PageID
                                            #: 34639



  What is critical with respect to claim 2 is that the INCREASE study identified methods of

  administering inhaled treprostinil that achieved statistically significant treatment effects, which are

  the methods that claim 2 is directed to, and Yutrepia’s tentatively approved label instructs

  performing these methods. 626 Accordingly, I disagree with Dr. Channick’s position that

  infringement of claim 2 requires any instruction, implicit or express, “to measure 6MWD after

  weeks 8, 12 or 16, let alone treat multiple patients, measure 6MWD, aggregate the data, and

  perform a statistical analysis” or proving in any way that those acts would occur. 627 That is at least

  because, as detailed above, those acts are not required by claim 2 in view of the INCREASE

  study’s outcomes, and the tentatively approved Yutrepia label instructs administering Yutrepia

  consistent with the INCREASE study’s dosing regimen. I note the foregoing applies equally as

  relevant to Asserted Claim 8.628

         253.    Therefore, it is my opinion that administering Yutrepia according to Yutrepia’s

  tentatively approved labeling will infringe claim 2 of the ’327 patent. This is clear because

  Yutrepia’s tentatively approved labeling and the INCREASE study on which it relies report

  methods of administering inhaled treprostinil to PH-ILD patients that achieve statistically

  significant treatments effects with respect to 6MWD, specifically improvement in 6MWD after 8

  weeks, 12 weeks, or 16 weeks as claimed. 629 Accordingly, it is more likely than not that patients

  administered Yutrepia consistent with its tentatively approved label will experience an inhaled

  treprostinil treatment effect with respect to 6MWD after 8 weeks, 12 weeks, or 16 weeks that was

  reported by the INCREASE study.630



  626
      Supra §§ III.D.2, IV.A.
  627
      Channick Reb. Rpt. ¶¶ 65-66.
  628
      Infra § VII.H.
  629
      Supra §§ III.D.2, IV.A.
  630
      Supra §§ III.D.2, IV.A.


                                                   158
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 370 of 455 PageID
                                           #: 34640



           254.   Dr. Channick asserts that “a POSA reading the Hodges-Lehmann estimate and

  Forest Plot would only understand that a statistically significant improvement in 6MWD resulted

  from administration of treprostinil inhalation solution in the group of patients treated in the

  INCREASE study.”631 I disagree that a POSA’s reading would be so limited. Rather, a POSA

  would apply the findings from the INCREASE data relating to 6MWD to PH-ILD patients

  administered Yutrepia consistent with Yutrepia’s tentatively approved label. 632

           255.   As explained above, the INCREASE study reported statistically significant

  treatment effects with respect to 6MWD, specifically improvements in 6MWD after 8 weeks, 12

  weeks, and 16 weeks, using at least three statistical methods: MMRM, MCMC, and Hodges-

  Lehmann Estimate.633 The MMRM analysis reported a p-value of P<0.001 at week 8, week 12,

  and week 16.634 The MCMC analysis reported a p-value of P<0.001 at week 16. 635 The Hodges-

  Lehmann Estimate reported a p-value of P=0.0104 at week 8 and P=0.004 at week 12 and week

  16.636

           256.   Furthermore, the tentatively approved Yutrepia label expressly reports the

  INCREASE study’s 6MWD outcomes, detailing that administering inhaled treprostinil to PH-ILD

  patients provided statistically significant treatment effects with respect to 6MWD, specifically

  improvements in 6MWD after 8 weeks, 12 weeks, and 16 weeks. To evidence this, the tentatively

  approved Yutrepia label reports that a Hodges-Lehmann estimate yielded a p-value of P=0.004 at




  631
      Channick Reb. Rpt. ¶ 65.
  632
      Supra §§ III.D.2, IV.A.
  633
      Supra § III.D.2.
  634
       INCREASE publication (UTC_PH-ILD_010790) at -813; INCREASE CSR (UTC_PH-
  ILD_055371) at -444.
  635
      INCREASE publication (UTC_PH-ILD_010790) at -793.
  636
       INCREASE publication (UTC_PH-ILD_010790) at -818; INCREASE CSR (UTC_PH-
  ILD_055371) at -376.


                                                 159
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25           Page 371 of 455 PageID
                                            #: 34641



  week 16 and provides the 95% confidence intervals for the Hodges-Lehmann estimates at 8, 12,

  and 16 weeks. 637 None of the 95% confidence intervals cross zero, which a POSA would

  understand as indicating statistical significance was achieved. 638

         257.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]here is nothing in the Yutrepia™ label that instructs the measurement of 6MWD and in fact,

  6MWD is not, in my experience, routinely conducted in clinical practice in the context of treating

  PH-ILD patients outside of clinical studies.” 639 However, claim 2 does not require that 6MWD be

  measured at all. Claim 2 is directed to methods of administering treprostinil that provide a

  statistically significant treatment effect with respect to 6MWD. Measuring the change in 6MWD

  would not affect whether a patient experienced such a treatment effect, it would merely document

  it. Under Dr. Channick’s interpretation, a 6MWD treatment effect would not occur unless it was

  measured. I disagree. That is because, as detailed above, administering Yutrepia according to its

  tentatively approved label would more likely than not result in that patient experiencing the

  6MWD treatment effects reported by the INCREASE study, and thus would more likely than not

  infringe the claim.




  637
      Yutrepia Label (LIQ_PH-ILD_00126017) at-031.
  638
      Yutrepia Label (LIQ_PH-ILD_00126017) at-032.
  639
      Channick Reb. Rpt. ¶ 65.


                                                  160
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 372 of 455 PageID
                                            #: 34642



         C.      Liquidia’s Yutrepia Will Infringe Claims 3 and 17 through 19

                 1.      Claim 3: “The method of claim 1, wherein said administering
                         increases a 6 minutes walk distance of the patient by at least 10 m
                         after 8 weeks, 12 weeks, or 16 weeks.”

                         Claim 17: “The method of claim 1, wherein said administering
                         increases a 6 minutes walk distance of the patient by at least 10 m
                         after 8 weeks.”

                         Claim 18: “The method of claim 1, wherein said administering
                         increases a 6 minutes walk distance of the patient by at least 15 m
                         after 12 weeks.”

                         Claim 19: “The method of claim 1, wherein said administering
                         increases a 6 minutes walk distance of the patient by at least 15 m
                         after 16 weeks.”

         258.    Claims 3 and 17-19 depend from claim 1. As described above, administering

  Yutrepia according to Liquidia’s proposed labeling will meet all of the limitations of claim 1.

  Claim 3 additionally requires that the “administering increases a 6 minutes walk distance of the

  patient by at least 10 m after 8 weeks, 12 weeks, or 16 weeks.” I also understand that because the

  timepoint limitations are listed in the alternative (“8 weeks, 12 weeks, or 16 weeks”) that means

  acts satisfying any one of those timepoints is sufficient to infringe claim 3, i.e., infringing acts do

  not require satisfying all three time points.

         259.    Claims 17-19 additionally require that the “administering increases a 6 minutes

  walk distance of the patient by at least 10 m after 8 weeks”; that the “administering increases a 6

  minutes walk distance of the patient by at least 15 m after 12 weeks”; and that the “administering

  increases a 6 minutes walk distance of the patient by at least 15 m after 16 weeks,” respectively.

         260.    Therefore, it is my opinion that administering Yutrepia according to Yutrepia’s

  tentatively approved label will infringe claims 3 and 17-19 of the ’327 patent because the

  INCREASE study on which Yutrepia’s tentatively approved labeling relies reported methods of

  administering inhaled treprostinil to PH-ILD patients that yield increases in 6MWD of at least 10m


                                                   161
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 373 of 455 PageID
                                           #: 34643



  and 15m after at least 8 weeks, 12 weeks, and 16 weeks as respectively claimed. 640 Accordingly,

  it is more likely than not that PH-ILD patients administered Yutrepia consistent with its tentatively

  approved label will more likely than not experience the beneficial effect of an increase in 6MWD

  of at least 10m or 15m after at least 8 weeks, 12 weeks, or 16 weeks that was reported by the

  INCREASE study.641

         261.    Dr. Channick asserts that “a POSA reading the Hodges-Lehmann estimate and

  Forest Plot would only understand that a statistically significant improvement in 6MWD resulted

  from administration of treprostinil inhalation solution in the group of patients treated in the

  INCREASE study.”642 I disagree that a POSA’s reading would be so limited. Rather, a POSA

  would apply the findings from the INCREASE data relating to 6MWD to PH-ILD patients

  administered Yutrepia consistent with Yutrepia’s tentatively approved label. 643

         262.    As explained above, the INCREASE study reported an increase in 6MWD by at

  least 15 m after 8 weeks, 12 weeks, and 16 weeks using at least three statistical methods: MMRM,

  MCMC, and Hodges-Lehmann estimate.644 The MMRM analysis reported an increase in 6MWD

  of 24.13 m after 8 weeks, 31.29 m after 12 weeks and 31.12 after 16 weeks. 645 The MCMC

  analysis reported an increase in 6MWD of 22.84 m after 8 weeks, 29.2 m after 12 weeks, and 30.97

  m after 16 weeks.646 The Hodges-Lehmann estimate reported an increase in 6MWD of 15 m after

  8 weeks, 20 m after 12 weeks, and 21 m after 16 weeks. 647




  640
      Supra §§ III.D.2, IV.A.
  641
      Supra §§ III.D.2, IV.A.
  642
      Channick Reb. Rpt. ¶ 65.
  643
      Supra § VII.B.
  644
      Supra § III.D.2.
  645
      INCREASE publication (UTC_PH-ILD_010790) at -813.
  646
      INCREASE publication (UTC_PH-ILD_010790) at -815.
  647
      INCREASE publication (UTC_PH-ILD_010790) at -818.


                                                  162
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 374 of 455 PageID
                                           #: 34644



         263.    Furthermore, the tentatively approved Yutrepia label reports the INCREASE

  study’s 6MWD outcomes, detailing that administering inhaled treprostinil to PH-ILD patients

  provided improvements in 6MWD by at least 15 m after 8 weeks, 12 weeks, and 16 weeks using

  the Hodges-Lehmann estimate.648 The Hodges-Lehmann estimate reported an improvement in

  6MWD of 15 m after 8 weeks, 20 m after 12 weeks, and 21 m after 16 weeks. 649

         264.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]here is nothing in the Yutrepia™ label that instructs the measurement of 6MWD and in fact,

  6MWD is not, in my experience, routinely conducted in clinical practice in the context of treating

  PH-ILD patients outside of clinical studies.” 650 However, claims 3 and 17 through 19 do not

  require that 6MWD be measured at all. Instead claims 3 and 17 through 19 are directed to methods

  of administering treprostinil that yield a beneficial effect. Measuring the change in 6MWD would

  not affect whether a PH-ILD patient experienced such a beneficial effect, it would merely

  document it. Under Dr. Channick’s interpretation, an improvement in 6MWD would not occur

  unless it was measured. I disagree. That is because, as detailed above, administering Yutrepia

  according to its label would infringe the claims 3 and 17-19.

         D.      Liquidia’s Yutrepia Will Infringe Claim 4

                 1. “The method of claim 1, wherein said administering provides a statistically
                    significant reduction of a plasma concentration of NT-proBNP in the
                    patient after 8 weeks, 12 weeks, or 16 weeks.”

         265.    Claim 4 depends from claim 1. As described above, administering Yutrepia

  according to Liquidia’s proposed labeling will meet all of the limitations of claim 1. Claim 4

  additionally requires that the “administering provides a statistically significant reduction of a



  648
      Supra § IV.A.3.a.
  649
      Yutrepia Label (LIQ_PH-ILD_00126017) at-032.
  650
      Channick Reb. Rpt. ¶ 65.


                                                 163
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 375 of 455 PageID
                                             #: 34645



  plasma concentration of NT-proBNP in the patient after 8 weeks, 12 weeks, or 16 weeks.” I also

  understand that because the timepoint limitations are listed in the alternative (“8 weeks, 12 weeks,

  or 16 weeks”) that means satisfaction of the claimed “reduction” at any one of those timepoints is

  sufficient to infringe claim 4, i.e., infringing does not require satisfying all three time points.

          266.    Dr. Channick asserts:

                  I still do not believe [the INCREASE] publication is proof of future
                  direct infringement by healthcare providers because it merely
                  describes past data of a different drug, which does not instruct
                  healthcare providers and/or patients to practice the steps outlined in
                  claims 4 and 5.651

  And Dr. Channick similarly asserts:

                  [The INCREASE] publication describes the effects of Tyvaso®
                  administration on NT-proBNP levels. A POSA reading this
                  publication would not make the leap that YutrepiaTM administration
                  would result in the same NT-proBNP levels. 652

  I disagree with Dr. Channick asserting that the INCREASE study’s NT-proBNP plasma

  concentration outcomes do not inform Yutrepia outcomes. That is wrong for at least two reasons

  that I detailed above.653 First, the Yutrepia sNDA for the PH-ILD indication relies entirely on the

  INCREASE study for evidence of clinical efficacy in PH-ILD patients, which is consistent with

  the tentatively approved Yutrepia label that only recites clinical support for the listed PH-ILD

  indication is the INCREASE study.654 Therefore, as I have been informed by counsel, Yutrepia is

  bound by its label with respect to the PH-ILD indication, and for the purpose of considering

  infringement in this case Yutrepia necessarily is administered according to its label—i.e.,

  consistent with the INCREASE study—and thus necessarily performs according to the



  651
      Channick Reb. Rpt. ¶ 71.
  652
      Channick Reb. Rpt. ¶ 72.
  653
      Supra §§ VI.B-C.
  654
      Supra § VI.B.


                                                    164
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 376 of 455 PageID
                                            #: 34646



  INCREASE study. 655 That at least includes the statistically significant treatment effects with

  respect to NT-proBNP plasma concentrations at 8 and 16 weeks after initiation of inhaled

  treprostinil, which as discussed above and herein are at least evidenced by the least-squares mean

  differences analyses that were reported by the INCREASE publication. 656 Although these data do

  not appear to be recited on Yutrepia’s tentatively approved label, that label still instructs

  administering Yutrepia consistent with methods that the INCREASE Study demonstrated provided

  the statistically significant treatment effects in PH-ILD patients. 657 I note the foregoing applies

  equally to Asserted Claim 5 that I address below. 658

         267.    Second, as far as I am aware there is no scientific basis for Dr. Channick’s attempts

  to disassociate Yutrepia from the INCREASE study’s outcomes. 659 And further, Dr. Channick’s

  opinions in this regard are directly contrary to Liquidia’s representations, including those made to

  FDA to obtain the PH-ILD indication for its Yutrepia product. 660 As explained above, because

  treprostinil is Yutrepia’s only active ingredient and because Liquidia relies on INCREASE to

  support approval of its own product, the INCREASE study is sufficient evidence that

  administering Yutrepia to patients with PH-ILD will more likely than not exhibit the treatment

  effects that the INCREASE study reported. 661 Liquidia has also asserted that Yutrepia is

  biocomparable (satisfying the criteria for bioequivalence) with Tyvaso through its LTI-102 study,

  and Yutrepia’s label instructs administering Yutrepia consistent with the INCREASE study. 662




  655
      Supra § VI.B.
  656
      Supra §§ III.D.2, VI.B.
  657
      Supra §§ III.D.2, IV.A, VI.B.
  658
      Infra § VII.E.
  659
      Supra § VI.B.
  660
      Supra § VI.B.
  661
      Supra §§ III.D.2, IV.A, VI.B.
  662
      Supra §§ IV.A, VI.B.


                                                  165
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 377 of 455 PageID
                                           #: 34647



  Accordingly, in view of the INCREASE study, LTI-102, and Yutrepia’s tentatively approved label,

  I have not seen persuasive evidence or reasoning from Dr. Channick to believe that Yutrepia will

  not meet or exceed the INCREASE study NT-proBNP plasma concentration outcomes. 663 In fact,

  that is what Liquidia’s CMO has admitted and the position Liquidia takes publicly and in its

  proposed marketing materials.664 I note the foregoing applies equally to Asserted Claim 5 that I

  address below.665

         268.    Also, as detailed above, claim 4 distinguishes methods of administering inhaled

  treprostinil to PH-ILD patients that achieve (i.e., provide) a NT-proBNP plasma concentration

  treatment effect at the population level at the respectively recited timepoints. 666 The tentatively

  approved Yutrepia label instructs administering Yutrepia according to the INCREASE study’s

  dosing regimen, which as detailed above achieved a statistically significant NT-proBNP plasma

  concentration treatment effect at 8 and 16 weeks. 667 Therefore, the demonstrated statistical

  significance of these NT-proBNP plasma concentration treatment effects in the INCREASE study

  leads me to conclude that administration of Yutrepia to PH-ILD patients consistent with Yutrepia’s

  tentatively approved label will result in individual PH-ILD patients more likely than not exhibiting

  the 8-week or 16-week treatment effects identified in claim 4. 668 As detailed above, I disagree with

  Dr. Channick that his Rebuttal Report’s discussion under § V.B.1 applies in any way to claim 4. 669

  The INCREASE study identified methods of administering inhaled treprostinil that achieved




  663
      Supra §§ III.D.2, IV.A, VI.B.
  664
      Supra §§ IV.B, VI.B.
  665
      Infra § VII.E.
  666
      Supra § VI.C.
  667
      Supra §§ III.D.2, IV.A, VI.C.
  668
      Supra §§ III.D.2, IV.A, VI.C.
  669
      Channick Reb. Rpt. ¶ 106, § V.B.1.


                                                  166
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 378 of 455 PageID
                                            #: 34648



  statistically significant treatment effects, which are the methods that claim 4 is directed to, and

  Yutrepia’s tentatively approved label instructs performing these methods. 670

         269.    It is my opinion that administering Yutrepia according to Yutrepia’s tentatively

  approved label will infringe claim 4 of the ’327 patent because the INCREASE study on which

  Yutrepia’s tentatively approved labeling relies reported methods of administering inhaled

  treprostinil to PH-ILD patients that achieve statistically significant treatments effects with respect

  to NT-proBNP plasma concentrations, specifically reductions in NT-proBNP plasma

  concentrations after at least 8 weeks and 16 weeks as claimed. 671 Accordingly, it is more likely

  than not that PH-ILD patients administered Yutrepia consistent with its tentatively approved label

  will experience an inhaled treprostinil treatment effect with respect to NT-proBNP plasma

  concentrations after 8 weeks or 16 weeks that was reported by the INCREASE study. 672

         270.    Dr. Channick asserts that a “POSA reading [the INCREASE] publication would

  not make the leap that Yutrepia™ administration would result in the same NT-proBNP levels.” 673

  I disagree that a POSA’s reading would be so limited. Rather, a POSA would apply the findings

  from the INCREASE study relating to NT-proBNP plasma concentrations to PH-ILD patients

  administered Yutrepia consistent with Yutrepia’s tentatively approved label. 674

         271.    As explained above, INCREASE reported statistically significant treatment effects

  with respect to NT-proBNP plasma concentrations, specifically reductions of NT-proBNP plasma

  concentrations after 8 weeks and 16 weeks using least-squares mean differences, expressed as a

  ratio, obtained from the analysis of covariance with change from baseline in log-transformed data



  670
      Supra § VI.C.
  671
      Supra §§ III.D.2, IV.A.
  672
      Supra §§ III.D.2, IV.A.
  673
      Channick Reb. Rpt. ¶ 72.
  674
      Supra §§ III.D.2, IV.A.


                                                   167
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 379 of 455 PageID
                                          #: 34649



  in NT-proBNP as the dependent variable, treatment as the fixed effect, and log-transformed

  baseline NT-proBNP as a covariate. 675 The resulting analysis reported a p-value of P<0.001 at

  week 8 and week 16.676

         272.    Furthermore, the Yutrepia Product Dossier advertises the same 16 week

  INCREASE study finding—a statistically significant reduction of NT-proBNP plasma

  concentration after 16 weeks. 677 The Yutrepia Product Dossier reported the same p-value of

  P<0.001 at week 16.678

         273.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]he Yutrepia™ label never mentions NT-proBNP, let alone provides any instruction to measure

  this parameter” and that “outside of clinical trial settings, healthcare providers treating PH-ILD

  patients do not routinely measure NT-proBNP levels.” 679 However, claim 4 does not require that

  NT-proBNP levels be measured at all. Claim 4 is directed to methods of administering treprostinil

  that provide a statistically significant treatment effect with respect to NT-proBNP plasma

  concentrations. Measuring the change in NT-proBNP plasma concentrations would not affect

  whether a patient experienced such a treatment effect, it would merely document it. Under Dr.

  Channick’s interpretation, a reduction in NT-proBNP levels would not exist unless it was

  measured. I disagree. That is because, as detailed above, administering Yutrepia according to its

  tentatively approved label would infringe claim 4.




  675
      INCREASE publication (UTC_PH-ILD_010790) at -816.; supra § III.D.2.
  676
      INCREASE publication (UTC_PH-ILD_010790) at -816; supra § III.D.2.
  677
      Product Dossier (LIQ_PH-ILD_00146984) at -037-038; ; supra § III.D.2, IV.C.
  678
      Yutrepia Label (LIQ_PH-ILD_00126017) at-037-038.
  679
      Channick Reb. Rpt. ¶ 70.


                                                 168
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25            Page 380 of 455 PageID
                                             #: 34650



          E.      Liquidia’s Yutrepia Will Infringe Claim 5

                  1. “The method of claim 1, wherein said administering reduces a plasma
                     concentration of NT-proBNP in the patient by at least 200 pg/ml after 8
                     weeks, 12 weeks, or 16 weeks.”

          274.    Claim 5 depends from claim 1. As described above, administering Yutrepia

  according to Liquidia’s proposed label will meet all of the limitations of the method of claim 1.

  Claim 5 additionally requires that the “administering reduces a plasma concentration of NT-

  proBNP in the patient by at least 200 pg/ml after 8 weeks, 12 weeks, or 16 weeks.” I also

  understand that because the timepoint limitations are listed in the alternative (“8 weeks, 12 weeks,

  or 16 weeks”) that means acts satisfying any one of those timepoints is sufficient to infringe claim

  5, i.e., infringing acts do not require satisfying all three time points.

          275.    It is my opinion that administering Yutrepia according to Yutrepia’s tentatively

  approved label will infringe claim 5 of the ’327 patent because the INCREASE study on which

  Yutrepia’s tentatively approved labeling relies reported methods of administering inhaled

  treprostinil to PH-ILD patients that yield a reduction of NT-proBNP plasma concentration by at

  least 200 pg/ml after at least 8 weeks and 16 weeks as claimed. 680 Accordingly, it is more likely

  than not that PH-ILD patients administered Yutrepia consistent with its tentatively approved label

  will more likely than not experience the beneficial effect of a reduction in NT-proBNP plasma

  concentration by at least 200 pg/ml after at least 8 weeks or 16 weeks that was reported by the

  INCREASE study.681

          276.    Dr. Channick asserts that a “POSA reading [the INCREASE] publication would

  not make the leap that Yutrepia™ administration would result in the same NT-proBNP levels.” 682



  680
      Supra § III.D.2, IV.A.
  681
      Supra § III.D.2, IV.A.
  682
      Channick Reb. Rpt. ¶ 72.


                                                    169
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 381 of 455 PageID
                                           #: 34651



  I disagree that a POSA’s reading would be so limited. Rather, a POSA would apply the findings

  from the INCREASE data relating to NT-proBNP plasma concentration to PH-ILD patients

  administered Yutrepia consistent with Yutrepia’s tentatively approved label. 683

          277.    As explained above, the INCREASE publication reported a reduction of NT-

  proBNP plasma concentration by at least 200 pg/ml after 16 weeks. 684 The mean reduction of NT-

  proBNP levels in the inhaled treprostinil treatment group was 396.35 pg/ml at week 16. 685

  Meanwhile, the mean increase of NT-proBNP levels in the placebo group was 1453.95 pg/ml at

  week 16.686 As such, the difference in mean change of NT-proBNP levels between the inhaled

  treprostinil group and placebo group was 1,850.3 pg/ml. A POSA would understand that both

  396.35 pg/ml and 1,850.3 pg/ml are at least 200 pg/ml.

          278.    Furthermore, the Yutrepia Product Dossier references these results of the

  INCREASE study, reporting the same reduction of NT-proBNP levels by at least 200 pg/ml after

  16 weeks.687 The Yutrepia Product Dossier reported a mean reduction of NT-proBNP plasma

  concentration by 396.35 pg/mL at week 16 in inhaled treprostinil-treated PH-ILD patients and a

  mean increase of NT-proBNP plasma concentrations of 1453.95 pg/ml at week 16 in placebo-

  treated patients.688

          279.    As explained above, the INCREASE CSR reported a reduction of NT-proBNP

  plasma concentration by at least 200 pg/ml after 8 weeks. 689 The mean reduction of NT-proBNP




  683
      Supra § VII.D.
  684
      Supra § III.D.2.b.2.
  685
      INCREASE publication (UTC_PH-ILD_010790) at -797.
  686
      INCREASE publication (UTC_PH-ILD_010790) at -797.
  687
      Product Dossier (LIQ_PH-ILD_00146984) at -037.
  688
      Product Dossier (LIQ_PH-ILD_00146984) at -037.
  689
      Supra § III.D.2.b.2.


                                                 170
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 382 of 455 PageID
                                          #: 34652



  plasma concentration in the inhaled treprostinil treatment group was 480.81 pg/ml at week 8. 690

  Meanwhile, the mean increase of NT-proBNP plasma concentration in the placebo group was

  604.05 pg/ml at week 8. 691 As such, the difference in mean change of NT-proBNP plasma

  concentration between the inhaled treprostinil group and placebo group was 1,084.9 pg/ml. A

  POSA would understand that both 480.81 pg/ml and 1,084.9 pg/ml are at least 200 pg/ml.

         280.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]he Yutrepia™ label never mentions NT-proBNP, let alone provides any instruction to measure

  this parameter” and that “outside of clinical trial settings, healthcare providers treating PH-ILD

  patients do not routinely measure NT-proBNP levels.” 692 However, claim 5 does not require that

  NT-proBNP plasma concentration be measured at all. Claim 5 is directed to methods of

  administering inhaled treprostinil that yield a reduction in NT-proBNP plasma concentration.

  Measuring the change in NT-proBNP plasma concentration would not affect whether a PH-ILD

  patient experienced such a beneficial effect, it would merely document it. Under Dr. Channick’s

  interpretation, a reduction in NT-proBNP plasma concentration would not occur unless it was

  measured. I disagree. That is because, as detailed above, administering Yutrepia according to its

  tentatively approved label would infringe claim 5.

         F.      Liquidia’s Yutrepia Will Infringe Claim 6

                 1. “The method of claim 1, wherein said administering provides a
                    statistically significant reduction of at least one exacerbations of the
                    interstitial lung disease.”

         281.    Claim 6 depends from claim 1. As described above, administering Yutrepia

  according to Liquidia’s proposed labeling will meet all of the limitations of claim 1. 693 Claim 6


  690
      INCREASE CSR (UTC_PH-ILD_055371) at -437.
  691
      INCREASE CSR (UTC_PH-ILD_055371) at -437.
  692
      Channick Reb. Rpt. ¶ 70.
  693
      Supra § VII.A.


                                                 171
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 383 of 455 PageID
                                            #: 34653



  additionally requires that the “administering provides a statistically significant reduction of at least

  one exacerbations of the interstitial lung disease.”

          282.    Dr. Channick asserts:

                  These documents describe how Tyvaso® administration statistically
                  significantly reduced disease exacerbations. In my opinion, a POSA
                  would not naturally conclude from this that YutrepiaTM (which has
                  a different formulation than Tyvaso®) would necessarily result in
                  the same reduction of disease exacerbations since it is a different
                  drug.694

  I disagree with Dr. Channick asserting that the INCREASE study’s exacerbations of interstitial

  lung disease outcomes do not inform Yutrepia outcomes. That is wrong for at least two reasons

  that I detailed above.695 First, the Yutrepia sNDA for the PH-ILD indication relies entirely on the

  INCREASE study for evidence of clinical efficacy in PH-ILD patients, which is consistent with

  the tentatively approved Yutrepia label that only recites clinical support for the listed PH-ILD

  indication as the INCREASE study.696 Therefore, as I have been informed by counsel, Yutrepia is

  bound by its label with respect to the PH-ILD indication, and for the purpose of considering

  infringement in this case Yutrepia is administered according to its label—i.e., consistent with the

  INCREASE study—and thus necessarily performs according to the INCREASE study. 697 That

  includes the statistically significant treatment effects with respect to reducing the risk of

  exacerbations associated with interstitial lung disease, which as discussed above and herein are at

  least evidenced by the Fisher’s exact test, the log-rank test from the Cox proportional hazards

  model, and the chi-square test analyses that were reported by the INCREASE publication. 698

  Although these data do not appear to be recited on Yutrepia’s tentatively approved label, that label


  694
      Channick Reb. Rpt. ¶ 76.
  695
      Supra §§ VI.B-C.
  696
      Supra § VI.B.
  697
      Supra § VI.B.
  698
      Supra §§ III.D.2, VI.B.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 384 of 455 PageID
                                            #: 34654



  still instructs administering Yutrepia consistent with methods that the INCREASE Study results

  demonstrated provided the statistically significant treatment effects in PH-ILD patients. 699

         283.    Second, as far as I am aware there is no scientific basis for Dr. Channick’s attempts

  to disassociate Yutrepia from the INCREASE study’s outcomes. 700 And further, Dr. Channick’s

  opinions in this regard are directly contrary to Liquidia’s representations, including those made to

  FDA to obtain the PH-ILD indication for its Yutrepia product. 701 As explained above, because

  treprostinil is Yutrepia’s only active ingredient and because Liquidia relies on INCREASE to

  support approval of its own product, the INCREASE study is sufficient evidence that

  administering Yutrepia to patients with PH-ILD will more likely than not exhibit the treatment

  effects that the INCREASE study reported. 702 Liquidia has also asserted that Yutrepia is

  biocomparable (satisfying the criteria for bioequivalence) with Tyvaso through its LTI-102 study,

  and Yutrepia’s label instructs administering Yutrepia consistent with the INCREASE study. 703

  Accordingly, in view of the INCREASE study, LTI-102, and Yutrepia’s tentatively approved label,

  I have not seen persuasive evidence or reasoning from Dr. Channick to believe that Yutrepia will

  not meet or exceed the INCREASE study outcomes with respect to reducing risk of exacerbations

  due to interstitial lung disease.704 In fact, that is what Liquidia’s CMO has admitted. 705

         284.    Also, as detailed above, claim 6 distinguishes methods of administering inhaled

  treprostinil to PH-ILD patients that achieve (i.e., provide) a treatment effect at the population level




  699
      Supra §§ III.D.2, IV.A, VI.B
  700
      Supra § VI.B.
  701
      Supra § IV.A.2.
  702
      Supra §§ III.D.2, IV.A, VI.B.
  703
      Supra §§ IV.A, VI.B.
  704
      Supra §§ III.D.2, IV.A, VI.B.
  705
      Supra §§ IV.B, VI.B.


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Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25               Page 385 of 455 PageID
                                             #: 34655



  with respect to reducing exacerbation due to interstitial lung disease risk. 706 The tentatively

  approved Yutrepia label instructs administering Yutrepia according to the INCREASE study’s

  dosing regimen, which as detailed above achieved a statistically significant treatment effect with

  respect to reducing exacerbation due to interstitial lung disease risk. 707 Therefore, the

  demonstrated statistical significance of this treatment effect in the INCREASE study leads me to

  conclude that administration of Yutrepia to PH-ILD patients consistent with Yutrepia’s tentatively

  approved label will result in individual PH-ILD patients more likely than not exhibiting a treatment

  effect that reduces the risk of an exacerbation due to interstitial lung disease. 708

          285.    Dr. Channick asserts that physicians’ purported inability “to measure a ‘reduction’

  in exacerbations of interstitial lung disease when treating individual patients because, unlike in a

  clinical trial, there is no control group with which [physicians] may draw a comparison . . . is

  sufficient to defeat any allegations of . . . infringement of claim 6.” 709 I disagree with Dr. Channick

  that infringing claim 6 requires such acts. What is critical with respect to claim 6 is that the

  INCREASE study identified methods of administering inhaled treprostinil that achieved

  statistically significant treatment effects, which are the methods that claim 6 is directed to, and

  Yutrepia’s tentatively approved label instructs performing these methods. 710 Accordingly, I

  disagree that the acts Dr. Channick proposes are relevant to whether administration of Yutrepia to

  PH-ILD patients infringes claim 6.711 That is at least because, as detailed above, Dr. Channick’s

  proposed comparisons are not required by claim 6 in view of the INCREASE study’s outcomes,




  706
      Supra § VI.C.
  707
      Supra §§ III.D.2, IV.A, VI.C.
  708
      Supra §§ III.D.2, IV.A, VI.C.
  709
      Channick Reb. Rpt. ¶ 77.
  710
      Supra §§ III.D.2, IV.A.
  711
      Channick Reb. Rpt. ¶¶ 65-66.


                                                    174
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 386 of 455 PageID
                                            #: 34656



  and the tentatively approved Yutrepia label instructs administering Yutrepia consistent with the

  INCREASE study’s dosing regimen.

         286.    It is my opinion that administering Yutrepia according to Yutrepia’s tentatively

  approved labeling will directly infringe claim 6 of the ’327 patent. Yutrepia’s tentatively approved

  labeling relies on reported methods of administering inhaled treprostinil to PH-ILD patients that

  achieve statistically significant treatment effects with respect to reducing the risk of exacerbations

  due to interstitial lung disease.712 Accordingly, it is more likely than not that patients administered

  Yutrepia consistent with its tentatively approved label will experience an inhaled treprostinil

  treatment effect with respect to reducing the risk of exacerbations due to interstitial lung disease

  that was reported by the INCREASE study.713

         287.    Dr. Channick asserts that “a POSA would not naturally conclude from [the

  INCREASE data] that Yutrepia™ (which has a different formulation than Tyvaso®) would

  necessarily result in the same reduction of disease exacerbations since it is a different drug.” 714 I

  disagree that a POSA’s reading would be so limited. Rather, a POSA would apply the findings

  from the INCREASE data relating to exacerbations due to interstitial lung disease to PH-ILD

  patients administered Yutrepia consistent with Yutrepia’s tentatively approved label. 715

         288.    As explained above, INCREASE reported a statistically significant treatment effect

  with respect reducing the risk of an exacerbation due to interstitial lung disease using at least three

  statistical methods: Fisher’s exact test, the log-rank test from the Cox proportional hazards model,




  712
      Supra §§ III.D.2, IV.A.
  713
      Supra §§ III.D.2, IV.A.
  714
      Channick Reb. Rpt. ¶ 76.
  715
      Supra §§ III.D.2, IV.A.


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Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 387 of 455 PageID
                                           #: 34657



  and the chi-square test.716 The Fisher’s exact test reported a p-value of P=0.02.717 The log-rank

  test reported a p-value of P=0.0396.718 The chi-square test reported a p-value of P=0.0180. 719

         289.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]he Yutrepia™ label never mentions exacerbations of the interstitial lung disease, let alone

  provides any instruction to measure this parameter” and that “when treating PH-ILD patients to

  improve exercise capacity, [he] would not measure reductions of exacerbations of the interstitial

  lung disease.”720 However, claim 6 does not require that exacerbations due to interstitial lung

  disease be noted and recorded at all. Claim 6 is directed to methods of administering treprostinil

  that provide a statistically significant treatment effect with respect to reducing the risk of an

  exacerbation due to interstitial lung disease. Recording or noting exacerbations due to interstitial

  lung disease would not affect whether a patient experienced such a treatment effect, it would

  merely document it. Under Dr. Channick’s interpretation, a reduction in the risk of an exacerbation

  due to interstitial lung disease would not occur unless noted or recorded. I disagree. That is

  because, as detailed above, administering Yutrepia according to its tentatively approved label

  would infringe claim 6.

         G.      Liquidia’s Yutrepia Will Infringe Claim 7

                 1. “The method of claim 1, wherein said administering provides a
                    statistically significant reduction of clinical worsening events due to the
                    interstitial lung disease.”

         290.    Claim 7 depends from claim 1. As described above, administering Yutrepia

  according to Liquidia’s proposed label will meet all of the limitations of the method of claim 1.



  716
      Supra § III.D.2.b.4.
  717
      INCREASE publication (UTC_PH-ILD_010790) at -796.
  718
      Nathan 2021 Supplement (UTC_PH-ILD_112161) at -169.
  719
      INCREASE CSR (UTC_PH-ILD_055371) at -469.
  720
      Channick Reb. Rpt. ¶¶ 75, 77.


                                                  176
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 388 of 455 PageID
                                            #: 34658



  Claim 7 additionally requires that the “administering provides a statistically significant reduction

  of clinical worsening events due to the interstitial lung disease.”

         291.    Dr. Channick asserts the “[INCREASE] publication merely describes past data of

  a different drug, which does not instruct healthcare providers to practice the steps outlined in claim

  7.”721 I disagree with Dr. Channick asserting that the INCREASE study’s clinical worsening event

  due to interstitial lung disease outcomes do not inform Yutrepia outcomes. That is wrong for at

  least two reasons that I detailed above.722 First, the Yutrepia sNDA for the PH-ILD indication

  relies entirely on the INCREASE study for evidence of clinical efficacy in PH-ILD patients, which

  is consistent with the tentatively approved Yutrepia label that only recites clinical support for the

  listed PH-ILD indication as the INCREASE study. 723 Therefore, as I have been informed by

  counsel, Yutrepia is bound by its label with respect to the PH-ILD indication, and Yutrepia

  necessarily is administered according to its label—i.e., consistent with the INCREASE study—

  and thus necessarily performs according to the INCREASE study.724 That includes the statistically

  significant treatment effects with respect to reducing the risk of clinical worsening event due to

  interstitial lung disease, which as discussed above and herein are at least evidenced by the log-

  rank test analysis that was reported by the INCREASE publication and that is expressly recited on

  Yutrepia’s tentatively approved label.725 I note the foregoing applies equally to Asserted Claim 8

  that I address below.726




  721
      Channick Reb. Rpt. ¶ 82.
  722
      Supra §§ VI.B-C.
  723
      Supra § VI.B.
  724
      Supra § VI.B.
  725
      Supra §§ III.D.2, VI.B.
  726
      Infra § VII.H.


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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 389 of 455 PageID
                                            #: 34659



         292.    Second, as far as I am aware there is no scientific basis for Dr. Channick’s attempts

  to disassociate Yutrepia from the INCREASE study’s outcomes. 727 And further, Dr. Channick’s

  opinions in this regard are directly contrary to Liquidia’s representations, including those made to

  FDA to obtain the PH-ILD indication for its Yutrepia product. 728 As explained above, because

  treprostinil is Yutrepia’s only active ingredient and because Liquidia relies on INCREASE to

  support approval of its own product, the INCREASE study is sufficient evidence that

  administering Yutrepia to patients with PH-ILD will more likely than not exhibit the treatment

  effects that the INCREASE study reported. 729 Liquidia has also asserted that Yutrepia is

  biocomparable (satisfying the criteria for bioequivalence ) with Tyvaso through its LTI-102 study,

  and Yutrepia’s label instructs administering Yutrepia consistent with the INCREASE study. 730

  Accordingly, in view of the INCREASE study, LTI-102, and Yutrepia’s tentatively approved label,

  I have not seen persuasive evidence or reasoning from Dr. Channick to believe that Yutrepia will

  not meet or exceed the INCREASE study outcomes with respect to reducing risk of clinical

  worsening events due to interstitial lung disease. 731 In fact, that is what Liquidia’s CMO has

  admitted and the position Liquidia takes publicly and in its proposed marketing materials. 732 I note

  the foregoing applies equally to Asserted Claim 8 that I address below. 733

         293.    Also, as detailed above, claim 7 distinguishes methods of administering inhaled

  treprostinil to PH-ILD patients that achieve (i.e., provide) a treatment effect at the population level




  727
      Supra § VI.B.
  728
      Supra § VI.B.
  729
      Supra §§ III.D.2, IV.A, VI.B.
  730
      Supra §§ IV.A, VI.B.
  731
      Supra §§ III.D.2, IV.A, VI.B.
  732
      Supra §§ IV.B, VI.B.
  733
      Infra § VII.H.


                                                   178
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 390 of 455 PageID
                                            #: 34660



  with respect to reducing clinical worsening events due to interstitial lung disease risk. 734 The

  tentatively approved Yutrepia label instructs administering Yutrepia according to the INCREASE

  study’s dosing regimen, which as detailed above achieved a statistically significant treatment effect

  with respect to reducing clinical worsening events due to interstitial lung disease risk. 735 Therefore,

  the demonstrated statistical significance of this treatment effect in the INCREASE study leads me

  to conclude that administration of Yutrepia to PH-ILD patients consistent with Yutrepia’s

  tentatively approved label will result in individual PH-ILD patients more likely than not exhibiting

  a treatment effect that reduces the risk of clinical worsening events due to interstitial lung

  disease.736 As detailed above, I therefore disagree with Dr. Channick that his Rebuttal Report’s

  discussion under § V.B.1 applies in any way to claim 7 or that infringing claim 7 “requires

  measuring clinical worsening events due to ILD, aggregating data from multiple patients and

  performing statistical analyses.”737 What is critical with respect to claim 7 is that the INCREASE

  study identified methods of administering inhaled treprostinil that achieved statistically significant

  treatment effects, which are the methods that claim 7 is directed to, and Yutrepia’s tentatively

  approved label instructs performing these methods. Accordingly, I disagree that the acts Dr.

  Channick proposes are relevant whether administering of Yutrepia to PH-ILD patients infringes

  claim 7.738 This also includes “measure a ‘reduction’ in clinical worsening events when treating

  individual patients” or drawing comparisons to a control group. 739 That is at least because, as

  detailed above, Dr. Channick’s proposed acts are not required by claim 7 in view of the




  734
      Supra § VI.C.
  735
      Supra §§ III.D.2, IV.A, VI.C.
  736
      Supra §§ III.D.2, IV.A, VI.C.
  737
      Channick Reb. Rpt. ¶80.
  738
      Channick Reb. Rpt. ¶¶ 65-66.
  739
      Channick Reb. Rpt. ¶ 81.


                                                   179
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 391 of 455 PageID
                                           #: 34661



  INCREASE study’s outcomes, and the tentatively approved Yutrepia label instructs administering

  Yutrepia consistent with the INCREASE study’s dosing regimen. I note the foregoing applies

  equally to Asserted Claim 8 that I address below. 740

         294.    It is my opinion that administering Yutrepia according to Yutrepia’s tentatively

  approved labeling will infringe claim 7 of the ’327 patent. This is clear because the Yutrepia

  tentatively approved labeling and the INCREASE study on which the proposed labeling relies

  report methods of administering inhaled treprostinil to PH-ILD patients that achieve a statistically

  significant treatment effect with respect to reducing the risk of clinical worsening events due to

  interstitial lung disease. 741 Accordingly, it is more likely than not that patients administered

  Yutrepia consistent with its tentatively approved label will experience an inhaled treprostinil

  treatment effect with respect to reducing the risk of clinical worsening events due to interstitial

  lung disease that was reported by the INCREASE study.742

         295.    Dr. Channick asserts that the “[INCREASE] publication merely describes past data

  of a different drug, which does not instruct healthcare providers to practice the steps outlined in

  claim 7.”743 I disagree that a POSA’s reading would be so limited. Rather, a POSA would apply

  the findings from the INCREASE trial relating to clinical worsening due to interstitial lung disease

  to PH-ILD patients administered Yutrepia consistent with Yutrepia’s tentatively approved label. 744




  740
      Infra § VII.H.
  741
      Supra §§ III.D.2, IV.A.
  742
      Supra §§ III.D.2, IV.A.
  743
      Channick Reb. Rpt. ¶ 82.
  744
      Supra §§ III.D.2, IV.A.


                                                  180
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25                 Page 392 of 455 PageID
                                            #: 34662



         296.    As explained above, INCREASE reported a statistically significant treatment effect

  with respect reducing the risk of clinical worsening events due to interstitial lung disease using at

  least a log-rank test.745 The log-rank test reported a p-value of P=0.04. 746

         297.    Furthermore, the tentatively approved Yutrepia label explicitly reports the

  INCREASE study’s clinical worsening event outcomes, detailing that administering inhaled

  treprostinil to PH-ILD patients provided statistically significant treatment effects with respect to

  reducing the risk of clinical worsening events due to interstitial lung disease. 747 To evidence this,

  the tentatively approved Yutrepia label reports that a log-rank test yielded a p-value of p=0.041. 748

         298.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]o practice claim 7, healthcare providers and patients would need to monitor the clinical

  worsening events experienced due to interstitial lung disease and determine whether Yutrepia™

  administration produces a statistically significant result.” 749 However, claim 7 does not require

  that clinical worsening events due to interstitial lung disease be note or recorded at all. Claim 7 is

  directed to methods of administering treprostinil that provide a statistically significant treatment

  effect with respect to reducing the risk of clinical worsening events due to interstitial lung disease.

  Recording clinical worsening events due to interstitial lung disease would not affect whether a

  patient experienced such a treatment effect, it would merely document it. Under Dr. Channick’s

  interpretation, a reduction in the risk of clinical worsening events due to interstitial lung disease

  would not occur unless noted or recorded. I disagree. That is because, as detailed above,

  administering Yutrepia according to its tentatively approved label would infringe claim 7.



  745
      Supra § III.D.2.b.3.
  746
      INCREASE publication (UTC_PH-ILD_010790) at -794.
  747
      Supra § IV.A.
  748
      Yutrepia Label (LIQ_PH-ILD_00126017) at-032-033.
  749
      Channick Reb. Rpt. ¶ 80.


                                                   181
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 393 of 455 PageID
                                            #: 34663



         H.      Liquidia’s Yutrepia Will Infringe Claim 8

                 1. “The method of claim 7, wherein the clinical worsening events comprise
                    at least one of hospitalization for cardiopulmonary indication and a
                    decrease in a 6-minute walk distance by more than 15% compared a
                    baseline.”

         299.    Claim 8 depends from claims 1 and 7. As described above, administering Yutrepia

  according to Liquidia’s proposed label will meet all of the limitations of claims 1 and 7. Claim 8

  additionally requires that the “the clinical worsening events comprise at least one of hospitalization

  for cardiopulmonary indication and a decrease in a 6-minute walk distance by more than 15%

  compared a baseline.”

         300.    Dr. Channick asserts that he does “not believe a healthcare provider or a patient

  would directly infringe claim 7 based on the proposed Yutrepia™ label (or the publications and

  marketing materials not referenced in the label that Dr. Nathan cites)” and therefore is “of the

  opinion that they will not directly infringe claim 8.” 750 I disagree. First, as detailed above,

  administering Yutrepia consistent with Yutrepia’s tentatively approved label would more likely

  than not result in that patient experiencing the reduction in clinical worsening events due to

  interstitial lung disease risk treatment effect reported by the INCREASE study. 751 Moreover, the

  INCREASE study, in addition to reporting a statistically significant treatment effect with respect

  reducing the risk of clinical worsening events due to interstitial lung disease, further reported

  hospitalizations due to a cardiopulmonary indication and a decrease in 6MWD >15% from baseline

  were among the clinical worsening events due to interstitial lung disease observed at a certain

  frequency in both the treatment and placebo arms. 752 Moreover, when examining just the clinical

  worsening events of hospitalizations due to a cardiopulmonary indication and a decrease in 6MWD


  750
      Channick Reb. Rpt. ¶ 83.
  751
      Supra §§ VII.B & VII.G.
  752
      Supra § III.D.2.b.3; INCREASE publication (UTC_PH-ILD_010790) at -797.


                                                   182
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25             Page 394 of 455 PageID
                                             #: 34664



  >15% from baseline reported in the INCREASE publication, there was a statistically significant

  reduction by Fisher’s exact test (p=0.021). 753

            301.   Furthermore, the tentatively approved Yutrepia label details the INCREASE study

  findings that administering inhaled treprostinil to PH-ILD patients provided statistically significant

  treatment effects with respect to reducing the risk of clinical worsening events due to interstitial

  lung disease, and it also expressly reports that hospitalizations due to a cardiopulmonary indication

  and a decrease in 6MWD >15% from baseline were among those that occurred with a certain

  frequency within the treatment and placebo arms of the INCREASE study. 754

            302.   Therefore, administering Yutrepia according to its tentatively approved label would

  more likely than not result in that patient experiencing the reduction in clinical worsening events

  due to interstitial lung disease risk treatment effect reported by the INCREASE study for which

  the relevant clinical worsening events include at hospitalizations due to a cardiopulmonary

  indication or a decrease in 6MWD >15% from baseline.755

            303.   Therefore, it is my opinion that administering Yutrepia according to Yutrepia’s

  proposed labeling will infringe claim 8. This is clear because Yutrepia’s tentatively approved

  labeling and the INCREASE study on which the tentatively approved labeling relies report


  753
        Calculation of Fisher Exact Test using Stata version 18.5:
         . // Clinical worsening: hospitalization and/or 6MWD decrease of >15%
         . tabi 31 132 \ 50 113, exact

                    |           col
                row |         1          2 |     Total
         -----------+----------------------+----------
                  1 |        31        132 |       163
                  2 |        50        113 |       163
         -----------+----------------------+----------
              Total |        81        245 |       326

                     Fisher's exact =                           0.021
             1-sided Fisher's exact =                           0.010
  754
        Supra § IV.A.3.b; Yutrepia Label (LIQ_PH-ILD_00126017) at-032-033.
  755
        Supra § VI.B.


                                                    183
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 395 of 455 PageID
                                            #: 34665



  methods of administering inhaled treprostinil to PH-ILD patients that achieve a statistically

  significant treatment effect with respect to reducing the risk of clinical worsening events due to

  interstitial lung disease in which the comprising clinical worsening events were at least

  hospitalization for cardiopulmonary indication or a decrease in 6MWD >15% compared to

  baseline.

            I.     Liquidia’s Yutrepia Will Infringe Claim 9

                   1. “The method of claim 1, wherein said administering provides a statistically
                      significant improves of forced vital capacity (FVC) in the patient after 8
                      weeks, 12 weeks or 16 weeks.”

            304.   Claim 9 depends from claim 1. As described above, administering Yutrepia

  according to Liquidia’s proposed label will meet all of the limitations of claim 1. Claim 9

  additionally requires that the “administering provides a statistically significant improves of forced

  vital capacity (FVC) in the patient after 8 weeks, 12, weeks or 16 weeks.” I also understand that

  because the timepoint limitations are listed in the alternative (“8 weeks, 12 weeks, or 16 weeks”)

  that means acts satisfying any one of those timepoints is sufficient to infringe claim 9, i.e.,

  infringing acts do not require satisfying all three time points.

            305.   Dr. Channick asserts that “a healthcare provider or patient would have no reason to

  expect that Yutrepia™ (which is a different formulation from Tyvaso®) would produce these

  results.”756 Dr. Channick also asserts that the INCREASE study and its post-hoc analyses merely

  describe past FVC measurements of a different drug, which does not instruct healthcare providers

  to practice the steps outlined in claims 9 or 10.” 757 I disagree with Dr. Channick that a direct

  infringer would need to “expect” whether they are infringing in the way Dr. Channick suggests is

  necessary, and I also disagree with Dr. Channick’s assertion that the INCREASE study’s FVC


  756
        Channick Reb. Rpt. ¶ 65.
  757
        Channick Reb. Rpt. ¶ 88.


                                                   184
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 396 of 455 PageID
                                           #: 34666



  outcomes do not inform Yutrepia outcomes. That is wrong for at least two reasons that I detailed

  above.758 First, the Yutrepia sNDA for the PH-ILD indication relies entirely on the INCREASE

  study for evidence of clinical efficacy in PH-ILD patients, which is consistent with the tentatively

  approved Yutrepia label that only recites clinical support for the listed PH-ILD indication as the

  INCREASE study.759 Therefore, as I have been informed by counsel, Yutrepia is bound by its label

  with respect to the PH-ILD indication, and for the purpose of considering infringement in this case

  Yutrepia is administered according to its label—i.e., consistent with the INCREASE study—and

  thus necessarily performs according to the INCREASE study. 760 That includes the statistically

  significant treatment effects with respect to FVC at 8 and 16 weeks after initiation of inhaled

  treprostinil, which as discussed above and herein are at least evidenced by the MMRM model

  analyses that were reported by the INCREASE publication and published post-hoc analyses. 761

  Although these data do not appear to be recited on Yutrepia’s tentatively approved label, that label

  still instructs administering Yutrepia consistent with methods that the INCREASE study and post-

  hoc analyses demonstrated provided the statistically significant treatment effects in PH-ILD

  patients. I note the foregoing applies equally to Asserted Claim 10 that I address below. 762

         306.    Second, as far as I am aware there is no scientific basis for Dr. Channick’s attempts

  to disassociate Yutrepia from the INCREASE study’s outcomes. 763 And further, Dr. Channick’s

  opinions in this regard are directly contrary to Liquidia’s representations, including those made to

  FDA to obtain the PH-ILD indication for its Yutrepia product. 764 As explained above, because



  758
      Supra §§ VI.B-C.
  759
      Supra § VI.B.
  760
      Supra § VI.B.
  761
      Supra §§ III.D.2, VI.B.
  762
      Infra § VII.J.
  763
      Supra § VI.B.
  764
      Supra § VI.B.


                                                  185
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 397 of 455 PageID
                                            #: 34667



  treprostinil is Yutrepia’s only active ingredient and because Liquidia relies on INCREASE to

  support approval of its own product, the INCREASE study is sufficient evidence that

  administering Yutrepia to patients with PH-ILD will more likely than not exhibit the treatment

  effects that the INCREASE study reported and will do so at a magnitude equal or greater than what

  was reported.765 Liquidia has also asserted that Yutrepia is biocomparable (satisfying the criteria

  for bioequivalence) with Tyvaso through its LTI-102 study, and Yutrepia’s label instructs

  administering Yutrepia consistent with the INCREASE study. 766 Accordingly, in view of the

  INCREASE study, LTI-102, and Yutrepia’s tentatively approved label, I have not seen persuasive

  evidence or reasoning from Dr. Channick to believe that Yutrepia will not meet or exceed the

  INCREASE study FVC outcomes.767 In fact, that is what Liquidia’s CMO has admitted. I note the

  foregoing applies equally to Asserted Claim 10 that I address below. 768

         307.    Also, as detailed above, claim 9 distinguishes methods of administering inhaled

  treprostinil to PH-ILD patients that achieve (i.e., provide) an FVC treatment effect at the

  population level at the respectively recited timepoints.769 The tentatively approved Yutrepia label

  instructs administering Yutrepia according to the INCREASE study’s dosing regimen, which as

  detailed above achieved a statistically significant FVC treatment effect at 8 and 16 weeks. 770

  Therefore, the demonstrated statistical significance of these FVC treatment effects in the

  INCREASE study leads me to conclude that administration of Yutrepia to PH-ILD patients




  765
      Supra §§ III.D.2, IV.A, VI.B.
  766
      Supra §§ IV.A, VI.B.
  767
      Supra §§ III.D.2, IV.A, VI.B.
  768
      Infra § VII.J.
  769
      Supra § VI.C.
  770
      Supra §§ III.D.2, IV.A, VI.C.


                                                 186
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 398 of 455 PageID
                                            #: 34668



  consistent with Yutrepia’s tentatively approved label will result in individual PH-ILD patients

  more likely than not exhibiting the 8-week or 16-week treatment effects identified in claim 9. 771

         308.    As detailed above, I disagree with Dr. Channick that infringing claim 9 requires:

                 [A] doctor or patient measure FVC at baseline and again at least 8
                 weeks after administering inhaled treprostinil, and then achieve a
                 statistically significant result. Claim 10 adds the requirement that
                 the improvement in the patient must be at least 20 ml after at least 8
                 weeks of administering the drug. 772

  The INCREASE study identified methods of administering inhaled treprostinil that achieved

  statistically significant treatment effects, which are the methods that claim 9 is directed to, and

  Yutrepia’s tentatively approved label instructs performing these methods. 773 Accordingly, I

  disagree with Dr. Channick’s position that infringement of claim 9 requires any of the above-

  quoted acts.774 That is at least because, as detailed above, those acts are not required by claim 9 in

  view of the INCREASE study’s outcomes, and the tentatively approved Yutrepia label instructs

  administering Yutrepia consistent with the INCREASE study’s dosing regimen. I note the

  foregoing applies equally as relevant to Asserted Claim 10.775

         309.    It is my opinion that administering Yutrepia according to Yutrepia’s tentatively

  approved label will infringe claim 9 of the ’327 patent. Yutrepia’s tentatively approved labeling

  relies on reported methods of administering inhaled treprostinil to PH-ILD patients that achieve

  statistically significant treatment effects with respect to % predicted FVC after 8 weeks and 16

  weeks as well as a statistically significant improvement in absolute FVC in the IIP and IPF

  subpopulations after 16 weeks as claimed. 776 Accordingly, it is more likely than not that PH-ILD


  771
      Supra §§ III.D.2, IV.A.
  772
      Supra § VI.C; Channick Reb. Rpt. ¶ 85.
  773
      Supra §§ III.D.2, IV.A, VI.C.
  774
      Channick Reb. Rpt. ¶¶ 65-66.
  775
      Infra § VII.J.
  776
      Supra §§ III.D.2, IV.A.


                                                   187
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 399 of 455 PageID
                                           #: 34669



  patients, especially those within the IIP and IPF subpopulations, administered Yutrepia consistent

  with its tentatively approved label will experience an inhaled treprostinil treatment effect with

  respect to % predicted FVC after 8 weeks and 16 weeks as well as a statistically significant

  improvement in absolute FVC in the IIP and IPF subpopulations after 16 weeks that were reported

  by the INCREASE study or its post hoc analyses. 777

         310.    Dr. Channick asserts that the INCREASE data “merely describe past FVC

  measurements of a different drug, which does not instruct healthcare providers to practice the steps

  outlined in claims 9 or 10” with respect to Yutrepia.778 I disagree that a POSA’s reading would be

  so limited. Rather, a POSA would apply the findings from the INCREASE data relating to FVC

  to PH-ILD patients administered Yutrepia consistent with Yutrepia’s tentatively approved label. 779

         311.    As explained above, INCREASE reported statistically significant treatment effects

  with respect to FVC, specifically improvements of % predicted FVC after 8 weeks and 16 weeks,

  using an MMRM model.780 This analysis resulted in a p-value of P=0.01 at week 8 and P=0.03 at

  week 16.781

         312.    As explained above, the INCREASE post hoc analyses reported statistically

  significant treatment effects with respect to absolute FVC in the IIP and IPF subpopulations after

  16 weeks using the MMRM model.782 The resulting analysis reported a p-value of p=0.023 in the

  IIP subpopulation after 16 weeks and p=0.011 in the IPF subpopulation after 16 weeks. 783




  777
      Supra §§ III.D.2, IV.A.
  778
      Channick Reb. Rpt. ¶ 88.
  779
      Supra §§ III.D.2, IV.A.
  780
      Nathan 2021 (UTC_PH-ILD_147114) at -117.
  781
      INCREASE publication (UTC_PH-ILD_010790) at -825.
  782
      Nathan 2021 (UTC_PH-ILD_147114) at -117.
  783
      Nathan 2021 (UTC_PH-ILD_147114) at -117-119.


                                                  188
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 400 of 455 PageID
                                           #: 34670



         313.    The INCREASE post hoc analysis also reported statistically significant treatment

  effects with respect to % predicted FVC in the IIP and IPF subpopulations after 8 and 16 weeks.

  Regarding the IIP subpopulation, the resulting analysis reported a p-value of p=0.037 after 8 weeks

  and p=0.0096 after 16 weeks.784 Regarding the IPF subpopulation, the resulting analysis reported

  a p-value of p=0.038 after 8 weeks and p=0.015 after 16 weeks. 785

         314.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]he proposed Yutrepia™ label makes no mention of FVC, let alone provide an instruction or

  directive to a healthcare provider to measure FVC during the course of Yutrepia™ treatment of

  PH-ILD patents” and that “FVC is not typically assessed outside of a clinical trial, let alone

  assessed at the claimed intervals.” 786 However, claim 9 does not require that FVC be measured at

  all. Claim 9 is directed to methods of administering treprostinil that provide a statistically

  significant treatment effect with respect to FVC. Measuring FVC would not affect whether a

  patient experienced such a treatment effect, it would merely document it. Under Dr. Channick’s

  interpretation, an improvement in FVC would not occur unless measured. I disagree. That is

  because, as detailed above, administering Yutrepia according to its tentatively approved label

  would infringe claim 9.

         J.      Liquidia’s Yutrepia Will Infringe Claim 10

                 1. “The method of claim 9, wherein said administering improves the forced
                    vital capacity (FVC) in the patient by at least 20 ml after 8 weeks, 12
                    weeks, or 16 weeks.”

         315.    Claim 10 depends from claims 1 and 9. As described above, administering Yutrepia

  according to Liquidia’s proposed label will meet all of the limitations of claims 1 and 9. Claim 10



  784
      Nathan 2021 (UTC_PH-ILD_147114) at -118.
  785
      Nathan 2021 (UTC_PH-ILD_147114) at -118-119.
  786
      Channick Reb. Rpt. ¶¶ 87-89.


                                                 189
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 401 of 455 PageID
                                            #: 34671



  additionally requires that the “administering improves the forced vital capacity (FVC) in the

  patient by at least 20 ml after 8 weeks, 12 weeks, or 16 weeks.” I also understand that because the

  timepoint limitations are listed in the alternative (“8 weeks, 12 weeks, or 16 weeks”) that means

  acts satisfying any one of those timepoints is sufficient to infringe claim 10, i.e., infringing acts do

  not require satisfying all three time points.

          316.    It is my opinion that administering Yutrepia according to Yutrepia’s tentatively

  approved labeling will infringe claim 10 of the ’327 patent. This is clear because Yutrepia’s

  tentatively approved labeling relies on reported methods of administering inhaled treprostinil to

  PH-ILD patients that yield improvements of FVC by at least 20 ml in the IIP and IPF

  subpopulations after 16 weeks as claimed. 787 Accordingly, it is more likely than not that PH-ILD

  patients, especially those within the IIP and IPF subpoplutations, administered Yutrepia consistent

  with its tentatively approved label will generally experience the beneficial effect of improvements

  of FVC by at least 20 ml after 16 weeks that was reported by the INCREASE study or its post hoc

  analyses.788

          317.    Dr. Channick asserts that the INCREASE data “merely describe past FVC

  measurements of a different drug, which does not instruct healthcare providers to practice the steps

  outlined in claims 9 or 10” with respect to Yutrepia.789 I disagree that a POSA’s reading would be

  so limited. Rather, a POSA would apply the findings from the INCREASE data relating to FVC

  to PH-ILD patients administered Yutrepia consistent with Yutrepia’s tentatively approved label. 790




  787
      Supra §§ III.D.2, IV.A.
  788
      Supra §§ III.D.2, IV.A.
  789
      Channick Reb. Rpt. ¶ 88.
  790
      Supra § VII.I.


                                                    190
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25             Page 402 of 455 PageID
                                           #: 34672



         318.    Dr. Channick asserts that the INCREASE data “merely describe past FVC

  measurements of a different drug, which does not instruct healthcare providers to practice the steps

  outlined in claims 9 or 10” with respect to Yutrepia.791 I disagree that a POSA’s reading would be

  so limited. Rather, a POSA would apply the findings from the INCREASE data relating to FVC

  to PH-ILD patients administered Yutrepia consistent with Yutrepia’s tentatively approved label. 792

         319.    As explained above, INCREASE reported improvements of FVC by at least 20 ml

  in the IIP and IPF subpopulations after 16 weeks using an MMRM model. 793 These analyses

  reported an improvement in FVC of 108.2 mL in the IIP subpopulation after 16 weeks and 168.5

  mL in the IPF subpopulation after 16 weeks. 794

         320.    Dr. Channick attempts to support his non-infringement position by asserting that

  “[t]he proposed Yutrepia™ label makes no mention of FVC, let alone provide an instruction or

  directive to a healthcare provider to measure FVC during the course of Yutrepia™ treatment of

  PH-ILD patents” and that “FVC is not typically assessed outside of a clinical trial, let alone

  assessed at the claimed intervals.”795 However, claim 10 does not require that FVC be measured

  at all. Claim 10 is directed to methods of administering treprostinil that provide a statistically

  significant treatment effect with respect to FVC. Measuring FVC would not affect whether a

  patient experienced such a treatment effect, it would merely document it. Under Dr. Channick’s

  interpretation, an improvement in FVC would not occur unless measured. I disagree. That is

  because, as detailed above, administering Yutrepia according to its tentatively approved label

  would infringe claim 10.



  791
      Channick Reb. Rpt. ¶ 88.
  792
      Supra §§ III.D.2, IV.A.
  793
      Nathan 2021 (UTC_PH-ILD_147114) at -117.
  794
      Nathan 2021 (UTC_PH-ILD_147114) at -117-119.
  795
      Channick Reb. Rpt. ¶¶ 87-89.


                                                  191
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25           Page 403 of 455 PageID
                                            #: 34673



            K.     Liquidia’s Yutrepia Will Infringe Claim 11

                   1. “The method of claim 1, wherein said administering is performed by a
                      pulsed inhalation device.”

            321.   Claim 11 depends from claim 1. As described above, administering Yutrepia

  according to Liquidia’s proposed label will meet all of the limitations of the method of claim 1.

  Claim 11 additionally requires that the “administering is performed by a pulsed inhalation device.”

            322.   I understand that the Court construed the term “pulsed inhalation device” in this

  claim as “a device that provides for non-continuous inhaled drug delivery.”

            323.   Dr. Channick does not dispute infringement of claim 11 separate from his opinions

  regarding claim 1. As noted above, I disagree with Dr. Channick’s opinions regarding claim 1

  because it is my opinion that administration of Yutrepia according to Liquidia’s proposed label

  will meet all the limitations of claim 1.796 I have also reviewed Dr. Nathan’s opening report and

  agree with his infringement analysis regarding claim 11. 797

            L.     Liquidia’s Yutrepia Will Infringe Claim 14

                   1. “The method of claim 11, wherein the pulsed inhalation device is a dry
                      powder inhaler comprising a dry powder comprising treprostinil or a
                      pharmaceutically acceptable salt thereof.”

            324.   Claim 14 depends from claims 1 and 11. As described above, administering

  Yutrepia according to Liquidia’s proposed label will meet all of the limitations of claim 1. Claim

  14 additionally requires that the “the pulsed inhalation device is a dry powder inhaler comprising

  a dry powder comprising treprostinil or a pharmaceutically acceptable salt thereof.”

            325.   Dr. Channick does not dispute infringement of claim 14 separate from his opinions

  regarding claim 1. As noted above, I disagree with Dr. Channick’s opinions regarding claim 1



  796
        Supra § VII.A.
  797
        Nathan Op. Rpt. § VI.A.11.


                                                  192
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 404 of 455 PageID
                                            #: 34674



  because it is my opinion that administration of Yutrepia according to Liquidia’s proposed label

  will meet all the limitations of claim 1.798 I have also reviewed Dr. Nathan’s opening report and

  agree with his infringement analysis regarding claim 14. 799

         M.      Liquidia’s Yutrepia Will Infringe Claim 15

                 1. “The method of claim 1, wherein the effective amount of treprostinil or a
                    pharmaceutically acceptable salt administered to the patient in a single
                    inhalation administration event is from 15 μg to 100 μg.”

         326.    Claim 15 depends from claim 1. As described above, administering Yutrepia

  according to Liquidia’s proposed label will meet all of the limitations of claim 1. Claim 15

  additionally requires that the “the effective amount of treprostinil or a pharmaceutically acceptable

  salt administered to the patient in a single inhalation administration event is from 15 μg to 100 μg.”

         327.    Dr. Channick does not dispute infringement of claim 15 separate from his opinions

  regarding claim 1. As noted above, I disagree with Dr. Channick’s opinions regarding claim 1

  because it is my opinion that administration of Yutrepia according to Liquidia’s proposed label

  will meet all the limitations of claim 1.800 I have also reviewed Dr. Nathan’s opening report and

  agree with his infringement analysis regarding claim 15. 801

         N.      Liquidia’s Yutrepia Will Infringe Claim 16

                 1. “The method of claim 15, wherein the single inhalation administration
                    event does not exceed 15 breaths by the patient.”

         328.    Claim 16 depends from claims 1 and 15. As described above, administering

  Yutrepia according to Liquidia’s proposed label will meet all of the limitations of claim 1. Claim




  798
      Supra § VII.A.
  799
      Nathan Op. Rpt. § VI.A.12.
  800
      Supra § VII.A.
  801
      Nathan Op. Rpt. § VI.A.13.


                                                   193
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25               Page 405 of 455 PageID
                                            #: 34675



  16 additionally requires that the “the single inhalation administration event does not exceed 15

  breaths by the patient.”

         329.    Dr. Channick does not dispute infringement of claim 16 separate from his opinions

  regarding claim 1. As noted above, I disagree with Dr. Channick’s opinions regarding claim 1

  because it is my opinion that administration of Yutrepia according to Liquidia’s proposed label

  will meet all the limitations of claim 1.802 I have also reviewed Dr. Nathan’s opening report and

  agree with his infringement analysis regarding claim 16. 803

         O.      The ASCENT Study Infringes the Asserted Claims

         330.    Dr. Channick asserts that the ASCENT study cannot infringe Asserted Claims 2, 4,

  6, 7, and 9 because the claims require a “‘statistically significant’ result.” 804 Dr. Channick asserts

  that infringing these claims requires that a “healthcare provider must take the additional steps of

  treating multiple patients, aggregating the data collected from the patients, and then running a

  statistical analysis,” while the ASCENT clinical research protocol does not instruct these extra

  steps.805 I disagree with Dr. Channick for the reasons I detail above. 806 Claims 2, 4, 6, 7, and 9

  identify methods of administering inhaled treprostinil in PH-ILD patients that achieve statistically

  significant treatment effects, and the INCREASE study has already established that administering

  treprostinil to PH-ILD patients provides statistically significant treatment effects with respect to

  6MWD, plasma NT-proBNP concentration, risk of exacerbations due to interstitial lung disease,

  risk of clinical worsening events due to interstitial lung disease, and forced vital capacity. 807


  802
      Supra § VII.A.
  803
      Nathan Op. Rpt. § VI.A.14.
  804
      Channick Reb. Rpt. ¶ 157.
  805
      Channick Reb. Rpt. ¶ 158.
  806
      Supra §§ VI.B-C.
  807
      Supra §§ III.D.2, VI.B-C; see generally INCREASE publication (UTC_PH-ILD_010790); see
  generally INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).


                                                   194
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 406 of 455 PageID
                                           #: 34676



         331.    As detailed above, the ASCENT study administers Yutrepia to PH-ILD patients

  consistent with the INCREASE study, and ultimately proposes administering dosages that were

  higher than what was administered in INCREASE. 808 Likewise, the ASCENT study’s dosing

  protocol is nearly identical to the dosing protocol provided on Yutrepia’s tentatively approved

  label.809 Both the Yutrepia label and the ASCENT protocol specify administration of Yutrepia 3

  to 5 times per day.810 Both also instruct taking two breaths per capsule.811 Both also instruct

  starting at a capsule strength of 26.5 mcg.812 Both also instruct achieving a target maintenance

  dosage of 79.5 mcg or higher four times per day.813 Accordingly the methods of administering

  Yutrepia to the subjects of the ASCENT study set forth in the ASCENT study’s clinical research

  protocol are more likely than not to yield the inhaled treprostinil treatment effects recited in

  Asserted Claims 2, 4, 6, 7, and 9.814 Therefore, Dr. Channick’s “additional steps” are not required

  in view of the INCREASE study, Yutrepia’s tentatively approved label, and the ASCENT clinical

  research protocol.815



  808
       Supra § III.D.2, IV.C.; see generally First Amended ASCENT Protocol (LIQ_PH-
  ILD_00147607); see generally INCREASE publication (UTC_PH-ILD_010790); see generally
  INCREASE Protocol (UTC_PH-ILD_145360); see generally Nathan 2021 (UTC_PH-
  ILD_147114).
  809
       Supra §§ IV.A, IV.C; see generally First Amended ASCENT Protocol (LIQ_PH-
  ILD_00147607); Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022, -026-027.
  810
      Supra §§ IV.A, IV.C; First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -633;
  Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022, -026-027.
  811
      Supra §§ IV.A, IV.C; First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -668;
  Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022.
  812
      Supra §§ IV.A, IV.C; First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -633;
  Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022.
  813
      Supra §§ IV.A, IV.C; First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -633;
  Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022.
  814
       Supra §§ III.D.2, IV.A, IV.C, VI.B-C; First Amended ASCENT Protocol (LIQ_PH-
  ILD_00147607) at -633; Yutrepia Label (LIQ_PH-ILD_00126017) at -021-022; see generally
  INCREASE publication (UTC_PH-ILD_010790); see generally INCREASE Protocol (UTC_PH-
  ILD_145360); see generally Nathan 2021 (UTC_PH-ILD_147114).
  815
      Channick Reb. Rpt. ¶ 157-158.


                                                 195
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25              Page 407 of 455 PageID
                                            #: 34677



         332.    It is therefore my opinion that physicians and patients have and will directly

  infringe each of the Asserted Claims of the ’327 patent by administering Yutrepia during the

  ASCENT study according to that study’s dosing protocol (which is nearly identical to Liquidia’s

  proposed labeling) because Yutrepia’s tentatively approved labeling, and the INCREASE study

  on which Yutrepia’s tentatively approved labeling relies, reported methods of administering

  inhaled treprostinil that provide the recited statistically significant treatment effects and are more

  likely than not to achieve the recited outcomes.816 Accordingly, it is more likely than not that on

  average patients administered Yutrepia during the ASCENT study will generally experience the

  beneficial effects described in the Yutrepia label and the INCREASE study.

         333.    The inclusion criteria defining the patient population for the ASCENT study are

  also nearly identical to the patient population included in the INCREASE study. Both confirmed

  presence of ILD based on CT imaging. 817 Both confirmed the presence of Group 3 PH with

  inclusion criteria of PVR > 3 Wood units and wedge pressure ≤ 15 mm Hg as measured by right

  heart catheterization.818 And INCREASE had an inclusion criteria of mPAP ≥ 25 mm Hg, while

  ASCENT had an inclusion criteria of mPAP ≥ 30 mm Hg as measured by right heart

  catheterization.819

         334.    While I have not been asked to determine whether the safe harbor applies to the

  ASCENT study, I note that Liquidia’s CMO had indicated that the purpose of the study is to

  “showcase its product profile.”820 He also stated that Liquidia is conducting the ASCENT study

  because “it is important to showcase [Yutrepia] in a clinical trial because it’s actually never been



  816
      Supra §§ IV.C, VI.B.2., VI.C, VII.A-VII.N.
  817
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -612.
  818
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -612.
  819
      First Amended ASCENT Protocol (LIQ_PH-ILD_00147607) at -612.
  820
      Rajeev Saggar Dep. Tr. at 79:22-83:12


                                                   196
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 408 of 455 PageID
                                            #: 34678



  run. And so to run a prospective open-label study will allow providers to gain additional experience

  with Yutrepia, specifically in that population, … .” 821 And he noted that “ASCENT has no

  regulatory status in regards to the FDA’s consideration for approval or indication of PH-ILD for

  Yutrepia.”822 Based on these statements, it appears to me that the ASCENT study is undertaken

  primarily as a marketing exercise in order to showcase to potential prescribing physicians how

  Yutrepia will work in patients if and when it is approved.




  821
        Rajeev Saggar Dep. Tr. at 81:3-8.
  822
        Rajeev Saggar Dep. Tr. at 80:10-13.


                                                  197
Case 1:23-cv-00975-RGA-SRF               Document 422 Filed 07/09/25           Page 409 of 455 PageID
                                               #: 34679



  I declare under penalty of perjury that the foregoing is true and correct.




  DATED:      z_1 ';=;.-L.._.,.,.,.
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                                         ':J
            -------L--



                                                        Ronald A. Thisted, Ph.D.




                                                  198
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 410 of 455 PageID
                                   #: 34680




                    EXHIBIT D
Case 1:23-cv-00975-RGA-SRF        Document 422 Filed 07/09/25           Page 411 of 455 PageID
                                        #: 34681



                                 MATERIALS CONSIDERED

                                          Patent Documents
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                                   Expert Reports/Declarations
   Channick Op. Rept.                      2024-12-20 Expert Report of Dr. Richard Channick
   Channick Reb. Rpt.                      2025-01-23 Rebuttal Expert Report of Dr. Richard
                                           Channick
   Nathan PI Decl.                         2024-02-26 D.I. 28 Declaration of Steven D. Nathan,
                                           M.D.
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   Deng Dep. Tr.                           2024-11-12 Chunqin Deng Deposition Transcript
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   Roscigno 2021                           UTC_PH-ILD_010665
   Thabane 2013                            UTC_PH-ILD_227534
                                              Other
   2009 Tyvaso Label                       UTC_PH-ILD_010692
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   Amendment Cover Letter                  LIQ_PH-ILD_00091022
   ASCENT at Clinical Trials               UTC_PH-ILD_000395
   ASCENT Protocol                         LIQ_PH-ILD_00124867
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                                               1
Case 1:23-cv-00975-RGA-SRF        Document 422 Filed 07/09/25    Page 412 of 455 PageID
                                        #: 34682



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   2025)
   Feb. 24, 2020 press release             UTC_LIQ00063612
   announcing INCREASE results
   First Amended ASCENT Protocol           LIQ_PH-ILD_00147607
   INCREASE CSR                            UTC_PH-ILD_055371
   INCREASE Protocol                       UTC_PH-ILD_145360
   INCREASE publication                    UTC_PH-ILD_010790
   IND 129819 Application                  LIQ_PH-ILD_00022883
   IND 129819 SN0001 Cover Letter          LIQ_PH-ILD_00022878
   June 6, 2017 Correspondence             LIQ_PH-ILD_00046141
   March 13, 2024 Press Release            LIQ_PH-ILD_00143338
   May 11, 2017 Correspondence             LIQ_PH-ILD_00046101
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                                               2
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25   Page 413 of 455 PageID
                                          #: 34683



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   Yutrepia Draft Webpage 2                 LIQ_PH-ILD_00146936
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   Yutrepia Label                           LIQ_PH-ILD_00126017
   Yutrepia Marketing Diagram               LIQ_PH-ILD_00147156
   Yutrepia Marketing Handout               LIQ_PH-ILD_00147141
   Yutrepia PH-ILD sNDA                     LIQ_PH-ILD_00091023
   Yutrepia Presentation                    LIQ_PH-ILD_00147196
                                            LIQ_PH-ILD_00130687
                                            LIQ_PH-ILD_00130689
                                            LIQ_PH-ILD_00148510
                                            UTC_PH-ILD_010670
                                            UTC_PH-ILD_048704
                                            LIQ_PH-ILD_00119653
                                            LIQ_PH-ILD_00141701
                                            LIQ_PH-ILD_00002010
                                            LIQ_PH-ILD_00045361
                                            LIQ_PH-ILD_00045335
                                            LIQ_PH-ILD_00045455
                                            LIQ_PH-ILD_00045454




                                                3
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 414 of 455 PageID
                                   #: 34684




                       EXHIBIT 3
Case 1:23-cv-00975-RGA-SRF       Document 422 Filed 07/09/25   Page 415 of 455 PageID
                                       #: 34685



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE



   UNITED THERAPEUTICS
   CORPORATION,
                                                  C.A. No. 1:23-cv-00975-RGA
                    Plaintiff,
                                                  HIGHLY CONFIDENTIAL
   v.

   LIQUIDIA TECHNOLOGIES, INC.,

                    Defendant.


          REBUTTAL EXPERT REPORT OF BRADLEY M. WERTHEIM, M.D.
Case 1:23-cv-00975-RGA-SRF                      Document 422 Filed 07/09/25                                 Page 416 of 455 PageID
                                                      #: 34686



                                                  TABLE OF CONTENTS

  MATERIALS CONSIDERED & TABLE OF ABBREVIATIONS ................................................v
  I.     INTRODUCTION ...............................................................................................................1
         A.        Scope of Analysis.....................................................................................................1
         B.        Summary of Opinions ..............................................................................................2
         C.        Qualifications ...........................................................................................................2
         D.        Materials Considered ...............................................................................................5
         E.        Compensation ..........................................................................................................5
  II.    THE PATENT-IN-SUIT .......................................................................................................6
         A.        The ’327 Patent ........................................................................................................6
         B.        The ’810 Provisional Application ............................................................................8
  III.   LEGAL STANDARDS ......................................................................................................21
         A.        Validity of Patent Claims .......................................................................................22
         B.        Person of Ordinary Skill in the Art (POSA) ..........................................................22
         C.        Claim Construction ................................................................................................24
         D.        Priority ...................................................................................................................25
         E.        Written Description ................................................................................................27
         F.        Enablement ............................................................................................................28
  IV.    TECHNICAL BACKGROUND & PERSPECTIVE OF A POSA ....................................30
         A.        PH-ILD Overview..................................................................................................30
                   1.         Cardiopulmonary Physiology and Assessment ..........................................30
                   2.         Pulmonary Hypertension ...........................................................................37
                              a)         Overview ........................................................................................37
                              b)         Classifying PH ...............................................................................39
                              c)         Group 1 & Group 3 PH ..................................................................43
                   3.         Interstitial Lung Disease (ILD) ..................................................................47
                              a)         Overview ........................................................................................47
                              b)         The PANTHER-IPF Trial...............................................................52
                              c)         The BUILD-1 Trial ........................................................................53
                              d)         The ARTEMIS-IPF Trial................................................................55
                              e)         The STEP-IPF Trial .......................................................................57
                              f)         The Pirfenidone and Nintedanib Studies .......................................58


                                                                     ii
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25                               Page 417 of 455 PageID
                                              #: 34687



             4.        Standard of Care for PH-ILD .....................................................................61
        B.   Prior Studies in WHO Group 3 Pulmonary Hypertension .....................................71
             1.        Inhaled Iloprost ..........................................................................................72
             2.        Bosentan (BPHIT) .....................................................................................72
             3.        Riociguat (RISE-IIP) .................................................................................74
             4.        Impact of Failed Studies on the PH-ILD Field ..........................................77
        C.   Relationship Between FVC and Exercise Capacity ...............................................81
             1.        Randomized-Controlled Trials Correlating FVC and 6MWD in ILD .......81
                       a)         Noble 2011 (The CAPACITY Trial) ..............................................81
                       b)         The ASCEND Trial (2014) ............................................................82
             2.        Other Studies ..............................................................................................83
                       a)         Fell 2009 ........................................................................................83
                       b)         Swigris 2010 (Post-hoc analysis of the BUILD-1 Trial) ...............83
                       c)         Wallaert 2011 .................................................................................84
                       d)         Du Bois 2010 & du Bois 2011 .......................................................84
                       e)         Nathan 2015 ...................................................................................85
                       f)         Oldham 2018 ..................................................................................85
                       g)         Nishiyama 2016 .............................................................................86
                       h)         Brown 2018 ....................................................................................86
                       i)         Results Outside of ILD ..................................................................87
                       j)         Summary of Other Studies .............................................................87
        D.   Prior Art Disclosures Regarding Use of Inhaled Treprostinil in PH-ILD ..............87
             1.        Overview ....................................................................................................87
             2.        Saggar 2009 ...............................................................................................92
             3.        Saggar 2014 ...............................................................................................93
             4.        Agarwal 2015 ...........................................................................................101
             5.        Parikh 2016 ..............................................................................................104
             6.        Faria-Urbina 2018 ....................................................................................108
             7.        The ’793 Patent ........................................................................................ 114
        E.   The INCREASE Study ........................................................................................ 119
             1.        Overview .................................................................................................. 119
             2.        Disclosures in the ’327 Patent..................................................................128
             3.        Disclosures in the ’810 Provisional Application ......................................131
                                                            iii
Case 1:23-cv-00975-RGA-SRF                       Document 422 Filed 07/09/25                                Page 418 of 455 PageID
                                                       #: 34688



  V.      PRIORITY ANALYSIS ...................................................................................................137
          A.        Claim 1 .................................................................................................................138
                    1.         “A method of improving exercise capacity in a patient having pulmonary
                               hypertension associated with interstitial lung disease.” ...........................138
                    2.         “[A]dministering by inhalation to the patient having pulmonary
                               hypertension associated with interstitial lung disease an effective amount
                               of at least 15 micrograms up to a maximum tolerated dose of treprostinil
                               or a pharmaceutically acceptable salt thereof.” .......................................159
                    3.         “[I]n a single administration event that comprises at least 6 micrograms
                               per breath.” ...............................................................................................160
          B.        Claim 2 .................................................................................................................162
          C.        Claim 6 .................................................................................................................165
          D.        Claim 7 .................................................................................................................170
          E.        Claim 8 .................................................................................................................173
          F.        Claim 9 .................................................................................................................176
          G.        Claim 10 ...............................................................................................................185
          H.        Claim 11 ...............................................................................................................191
          I.        Claim 14 ...............................................................................................................194
          J.        Claim 15 ...............................................................................................................196
          K.        Claim 16 ...............................................................................................................199
  VI.     WRITTEN DESCRIPTION ANALYSIS ........................................................................200
  VII.    CONCLUSION ................................................................................................................205
  VIII.   PRIOR TESTIMONY ......................................................................................................206
  IX.     SUPPLEMENTATION ....................................................................................................206




                                                                     iv
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 419 of 455 PageID
                                           #: 34689



  I.     INTRODUCTION

         A.      Scope of Analysis

         1.      I, Bradley Wertheim, M.D., have been retained by counsel for Plaintiff United

 Therapeutics Corporation (“UTC” or “Plaintiff”) to provide my opinions regarding certain issues

 relating to the validity of certain claims of the ’327 patent. Specifically, UTC has asked me to

 analyze: (1) whether claims 1, 2, 6-11, and 14-16 of the ’327 patent are entitled to claim priority to

 the ’810 Provisional Application, filed on April 17, 2020; and (2) whether the as-issued

 specification of the ’327 patent provides sufficient written description support for claims 9 and 10.

         2.      I understand that in the above-captioned litigation, UTC asserts that Defendant

 Liquidia Technologies, Inc. (“Liquidia” or “Defendant”) has infringed of claims 1-11 and 14-19 of

 the ’327 patent (“Asserted Claims”) by seeking FDA approval to market Yutrepia (inhaled

 treprostinil) for the treatment of pulmonary hypertension associated with interstitial lung disease

 (“PH-ILD”). I understand that Liquidia contends that it does not infringe any Asserted Claim and

 that each of the Asserted Claims is invalid and/or unenforceable. Finally, I understand that the

 parties dispute whether the Asserted Claims are entitled to claim priority to the ’810 Provisional

 Application.1

         3.      As part of my analysis, UTC has also asked me to analyze and respond to certain

 opinions offered by Dr. Richard Channick on behalf of Liquidia in the Expert Report of Dr. Richard

 Channick, dated December 20, 2024.         More Specifically, I have been asked to review Dr.

 Channick’s opinions that: (1) claims 1, 2, 6-11, and 14-16 of the ’327 patent are not entitled to a




  1
   UTC has not asked me to assess the priority date of claims 3-5, 12, 13, and 17-19 of the ’327
  patent, and I offer no opinions in this regard below.


                                                   1
Case 1:23-cv-00975-RGA-SRF              Document 422 Filed 07/09/25               Page 420 of 455 PageID
                                              #: 34690



 priority date of April 17, 2020; and (2) claims 9 and 10 of the ’327 patent are invalid for lack of

 written description.2,3

           B.       Summary of Opinions

           4.       As discussed in more detail below, it is my opinion that:

                   Claims 1, 2, 6-11, and 14-16 of the ’327 patent are entitled to a priority date of April
                    17, 2020, which corresponds to the filing date of the ’810 Provisional Application.

                   Claims 9 and 10 of the ’327 patent are supported by adequate written description
                    in the specification.

           C.       Qualifications

           5.       I am an associate pulmonary and critical care physician and member of the

  Pulmonary Vascular Disease Program at Brigham and Women’s Hospital in Boston,

  Massachusetts, where I serve as the Director of the Rheumatic Pulmonary Vascular Disease Clinic,

  a clinical program responsible for early diagnosis and management of pulmonary hypertension in

  patients with connective tissue diseases. I am also a pulmonary and critical care physician for the

  Veterans Affairs (VA) Boston Healthcare System in Boston, Massachusetts, where I serve as the

  Co-Director for the Pulmonary Vascular Disease Section. In this capacity, I am responsible for

  coordinating pulmonary hypertension care for veterans residing in Connecticut, Massachusetts,

  Vermont, New Hampshire, Rhode Island, and Maine, as well as those veterans in the eastern third



  2
      See generally Channick Op. Rpt. at ¶¶ 71-93, 425-436.
  3
    I understand that Dr. Channick has also opined in his Opening Report that each of the Asserted
  Claims is invalid as anticipated and/or obvious over the relevant prior art. See, e.g., Channick Op.
  Rpt. at ¶¶ 94-424. UTC has not asked me to analyze the validity of any Asserted Claim with
  respect to anticipation and/or obviousness. However, as part of my priority analysis, UTC has
  asked me to review Dr. Channick’s opinions regarding how a person of ordinary skill in the art
  (“POSA”) would understand the disclosures of the prior art and what conclusions a POSA might
  be able to draw from those disclosures. To the extent I disagree with how Dr. Channick has
  interpreted a particular prior art reference, that disagreement is explained below.


                                                       2
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 421 of 455 PageID
                                           #: 34691



  of the United States seeking lung transplantation in the VA system. I specialize in treating patients

  with pulmonary vascular diseases, including all forms of pulmonary hypertension, such as

  pulmonary arterial hypertension (“PAH”), pulmonary hypertension associated with interstitial lung

  disease (PH-ILD), and other conditions leading to abnormal heart-lung interactions. In patients

  who have interstitial lung disease associated with their pulmonary hypertension (PH-ILD) or as a

  comorbidity of their non-PH-ILD forms of pulmonary hypertension, I serve as the treating

  pulmonologist for their interstitial lung disease (ILD). Accordingly, I am experienced in the

  treatment of ILD, including the use of immunomodulatory and antifibrotic medications, and acute

  exacerbations of ILD, which are discussed in detail in forthcoming sections. I have been practicing

  as an attending pulmonary and critical care physician since 2017. I have treated hundreds of

  inpatients and outpatients with advanced pulmonary vascular diseases and hundreds of patients

  with ILD. Further, I have been board certified in Internal Medicine, Pulmonary Disease, and

  Critical Care Medicine since 2014, 2016, and 2017, respectively.

          6.      I am an Assistant Professor of Medicine at Harvard Medical School in Boston,

  Massachusetts. I teach or have taught post-doctoral courses relating to, for example, pulmonary

  hypertension, cardiovascular medicine, and advanced pulmonary hypertension management. I

  have also taught continuing education courses for peers on topics relating to pulmonary vascular

  disease. Moreover, I have been invited over 40 times to present on topics relating to diseases and

  treatment interventions for pulmonary vascular diseases by local, regional, national, and

  international entities.

          7.      I received my Bachelor of Science degree in Biochemistry from Lafayette College

  in Easton, Pennsylvania in 2007. I received my Doctor of Medicine (MD) degree from Harvard

  Medical School in Boston, Massachusetts in 2011. I completed my internship as well as my




                                                   3
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25            Page 422 of 455 PageID
                                          #: 34692



  residency in Internal Medicine at Massachusetts General Hospital in Boston, Massachusetts in

  2012 and 2014, respectively. I completed a clinical fellowship in Pulmonary and Critical Care

  Medicine at Brigham and Women’s Hospital in Boston, Massachusetts in 2017. During this time,

  I was the first physician selected for the Burke Advanced Fellowship in Pulmonary Heart Disease

  at Brigham and Women’s Hospital in Boston, Massachusetts, which was one of the first formal

  pulmonary hypertension training programs in the United States. Lastly, I completed a post-

  doctoral research fellowship in network science and pulmonary vascular biology at Brigham and

  Women’s Hospital in 2019.

         8.      I have authored or co-authored roughly 40 peer-reviewed publications, book

  chapters, commentaries, other scientific or medical publications, reports, abstracts, and poster

  presentations. My primary research interests include understanding the biology, mechanisms, and

  propagation of vascular fibrosis and identifying novel treatment strategies for pulmonary

  circulation diseases. My book chapter on Systems Pharmacology (in Principles of Pharmacology:

  The Pathophysiologic Basis of Drug Therapy, 5th edition, in press) is scheduled for use by medical

  students in the first-year clinical pharmacology course at Harvard Medical School. I also serve as

  an ad hoc reviewer for 16 peer-reviewed journals such as American Journal of Respiratory and

  Critical Care Medicine, Annals of the American Thoracic Society, Chest, Journal of Heart and

  Lung Transplantation, Journal of the American College of Cardiology, and Scientific Reports. As

  an investigator, I run a research laboratory that is funded by the National Heart Lung and Blood

  Institute / National Institutes of Health to study pulmonary vascular biology and mechanisms of

  pulmonary hypertension.     I have specific expertise in studying biological mechanisms of

  inflammation and fibrosis in lung conditions.




                                                  4
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25             Page 423 of 455 PageID
                                            #: 34693



            9.     I am qualified based on my education and professional experience to provide expert

  testimony in this matter. My education and training qualify me as at least a person of ordinary of

  skill in the art at the time of invention in 2020. While the paragraphs above summarize my

  experience and qualifications, a more detailed listing of my professional experience is described

  in my curriculum vitae, which is attached as Exhibit 1.

            D.     Materials Considered

            10.    Unless otherwise stated, in forming and rendering the opinions and analysis in this

  report, I have reviewed, among other things, the materials cited in this report and those referenced

  in the above-listed Materials Considered & Table of Abbreviations,4 in addition to the Channick

  Report and the materials cited therein. I have also relied on my background and experience, which

  is summarized in Section I.C. as well as in my curriculum vitae (attached as Exhibit 1). To the

  extent not identified in my list of Materials Considered, I have also considered each of the

  documents or materials cited in this report. To the extent I have only cited or referred to a portion

  of a particular document below, I reserve the right to rely on the document in its entirety in future

  reports and/or in my forthcoming trial testimony.

            E.     Compensation

            11.    I am being compensated for my time spent working on this matter at my standard

  consulting rate of $750.00 per hour, plus reasonable expenses. I have no other interest in this

  litigation or in any party to this litigation. My compensation does not depend on my performance,

  the substance of my analysis or opinions, the outcome of this case, or any issues involved in or

  related to this case.




  4
      Supra, pp. v-xvii.


                                                    5
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25             Page 424 of 455 PageID
                                          #: 34694


         I declare under penalty of perjury that the foregoing is true and correct to the best of

  my knowledge. Executed on Jan. 23, 2025 at Boston, Mass.




                                               ______________________________

                                               Bradley M. Wertheim, M.D.
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 425 of 455 PageID
                                   #: 34695



                                   EXHIBIT 1
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25         Page 426 of 455 PageID
                                           #: 34696


                                      Harvard Medical School
                                         Curriculum Vitae

 Date Prepared:      December 30, 2024
 Name:               Bradley M. Wertheim, M.D.
 Office Address:     Pulmonary and Critical Care Medicine, Brigham and Women’s Hospital, 15
                     Francis Street, Boston, MA 02115
 Work Phone:         617-732-7420
 Work Email:         bwertheim@bwh.harvard.edu
 Work FAX:           617-732-7421


Education
 2007          BS                    Biochemistry                  Lafayette College, Easton, PA
               (summa cum laude)
 2011          MD                    Medicine                      Harvard Medical School (HMS),
                                                                   Boston, MA

Postdoctoral Training
 6/11-6/14     Intern/Resident       Internal Medicine             Massachusetts General Hospital
                                                                   (MGH), Boston, MA
 6/11-6/14     Clinical Fellow       Medicine                      HMS
 7/14-6/17     Clinical Fellow       Pulmonary and Critical Care   Brigham and Women’s Hospital
                                     Medicine                      (BWH), Boston, MA
 7/14-6/19     Research Fellow       Medicine (Bradley Maron,      BWH
                                     MD; Joseph Loscalzo MD,
                                     PhD)
 7/15-6/16     Fellow                Burke Advanced Fellowship     BWH
                                     in Pulmonary Heart Disease

Faculty Academic Appointments
 7/19-3/2024   Instructor            Medicine                      HMS
 3/24-         Assistant Professor   Medicine                      HMS

Appointments at Hospitals/Affiliated Institutions
 11/16-        Intensivist           Medicine                      Newton Wellesley Hospital,
                                                                   Newton, MA
 7/17-         Associate Physician Pulmonary and Critical Care     BWH
                                   Medicine
 9/23-         Physician           Pulmonary and Critical Care     VA Boston Healthcare System,
                                   Medicine                        Boston, MA



Other Professional Positions
 2017          Consultant, Excellence On-Demand Education          Cornell School of Hotel
               Curriculum                                          Administration Service (Unpaid)
                                                    1
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25           Page 427 of 455 PageID
                                          #: 34697


 2020-2022    Medical Consultant                                    Change Healthcare, Newton, MA

Major Administrative Leadership Positions
Local
 2023-        Co-Director, Pulmonary Vascular Disease Section       VA Boston, Healthcare System,
                                                                    Boston MA

Committee Service
Local
 2007–2011    Student Government Financial Aid                      HMS
                                                                    Representative
2011-2014     Laboratory Utilization Committee                      MGH
                                                                    Member
2011-2014     Internal Medicine Resident Quality and Safety         MGH
              Committee
                                                                    Member
2012          Accreditation Council for Graduate Medical            MGH
              Education Site Visit
              2012                                                  Member (voted by peers)
2016          Medical Intensive Care Unit (MICU) Phenobarbital      W. Roxbury VA Medical Center
              Protocol for Complicated Alcohol Withdrawal Project
                                                                    Member
2016-2017     BWH MICU Vascular Access Cart Project                 BWH
                                                                    Physician Co-Leader
2017          Accreditation Council for Graduate Medical            Pulmonary and Critical Care
              Education Site Visit                                  Medicine, BWH
              2017                                                  Member (voted by peers)
2020-         Mass General Brigham (MGB) Center for COVID           MGB
              Innovation Healthcare Subcommittee
                                                                    Member
2020-         Pulmonary and Critical Care Medicine T32 Advisory     BWH
              Committee
                                                                    Member
2023-         Pulmonary Embolism Response Team Advisory             Newton-Wellesley Hospital
              Committee
                                                                    Member

Professional Societies
2011-2014     American College of Chest Physicians                  Member
2017-         Pulmonary Vascular Research Institute                 Member
2017-         American Thoracic Society                             Member
              2023-                                                 Postgraduate Course in Right
                                                                    Heart Hemodynamics
              2023-                                                 Member, Pulmonary Circulation
                                                                    Programming Committee
              2023-                                                 Conference Co-Organizer,
                                                                    Pulmonary Circulation Committee
2019-         American Heart Association                            Member, Junior International
                                                                    Scholars Network, Council on
                                                                    Cardiopulmonary, Critical Care,
                                                                    Perioperative and Resuscitation
                                                 2
 Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25         Page 428 of 455 PageID
                                            #: 34698


2019-          Massachusetts Medical Society                        Member
2023-          North American Thrombosis Forum                      Conference Organizer, 6th Biannual
                                                                    Right Heart Symposium. Selected
                                                                    to serve on the organizing
                                                                    committee for the 7th Symposium
                                                                    scheduled for 2025.

Editorial Activities
Ad hoc Reviewer
American Journal of Medicine
American Journal of Respiratory and Critical Care Medicine
Annals of the American Thoracic Society
Chest
Circulation: Cardiovascular Imaging
Circulation: Heart Failure
Clinical Cardiology
European Respiratory Journal Open
Journal of Heart and Lung Transplantation
Journal of Hospital Medicine
Journal of the American College of Cardiology
Journal of the American College of Cardiology: Case Reports
Journal of the American Heart Association
New England Journal of Medicine Healer (NEJM video game)
Respiratory Research
Scientific Reports

Honors and Prizes
 2003-2007      Trustee Scholarship     Lafayette College
 2004-2006      Excel Scholarship       Lafayette College
 2006           Sigma Xi                Lafayette College, Scientific Research Honor   Research
                                        Society
 2007         Phi Lambda Upsilon        Lafayette College, Chemistry Honor Society     Academic
 2007         Merck Index Award         Lafayette College
 2008-2010    Howard G. Lapsley         Muhlenberg Foundation
              Memorial Scholarship
 2017         Basic Science           Pulmonary Vascular Disease Research              Research
              Fellowship Award        Institute
 2018-2020    Selected for Divisional Division of Pulmonary and Critical Care          Research
              T32 Training Award      Medicine, BWH
              (HL007633)
 2019         Hearst Young            BWH & Hearst Foundation                          Research
              Investigator Award
 2023         Core Laboratory         Department of Medicine, BWH                      Research
              Voucher Award
Report of Funded and Unfunded Projects
Funding Information
Past
 2017-2020      Mechanisms of Disease Inception in Pulmonary Arterial Hypertension
                Pulmonary Vascular Research Institute
                Principal Investigator (PI)
                                                  3
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25            Page 429 of 455 PageID
                                           #: 34699


              This project focused on characterizing the pathobiology of early pulmonary vascular fibrosis
              and identifying novel therapeutic targets specific to PAH disease inception.
 2020-2021    Proline Bioavailability, Endothelial Fibrosis, and Early Pulmonary Arterial Hypertension
              BWH Hearst Young Investigator Award
              PI
              This project aimed to understand how interaction between C-terminal src kinase (Csk) and
              delta-1-pyrroline-5-carboxylate synthase (P5CS) controls pathogenic endothelial collagen
              synthesis in early-stage pulmonary arterial hypertension.

Current
 2020-2025    Ubiquitination and Endothelial Fibrosis in Early Pulmonary Arterial Hypertension
              National Institutes of Health (NIH)/National Heart, Lung and Blood Institute (NHLBI)
              5K08HL151976-02
              PI ($785,000)
              This project proposes to investigate the role of redox-regulated endothelial C-terminal src
              kinase as a mediator of vascular fibrosis in early-stage pulmonary arterial hypertension
              (PAH).
 2024-2026    Endothelial Proline Utilization in Pulmonary Arterial Hypertension
              NIH/NHLBI R03
              PI – Direct Costs Requested - $150,000
              This grant aims to build on the observations we made in our 2023 JCI Insight paper that
              pulmonary arterial hypertension (PAH) is associated with increased avidity of the amino
              acid proline in pulmonary endothelial and medial cell types. We propose to 1) Establish
              Csk-Src regulation of HPAEC proline availability and fibroproliferative biomass in vitro and
              2) Establish Csk-Src dependent proline dysregulation in experimental early-stage PAH
              and human PAH in vivo.

Projects Submitted for Funding
Submitted    Endothelial Inflammation, Src Kinase Dysregulation, and Fibrosis in Early Pulmonary
2/2/2024     Arterial Hypertension
             NIH/NHLBI R01
             PI – Direct Costs Requested - $2,625,250
             The central goal of this proposal is to identify the molecular mechanism regulating Csk
             dysfunction in early-stage pulmonary arterial hypertension and the functional consequences
             of this mechanism for pathologic collagen 22 synthesis in pulmonary arterioles. We propose
             to 1) Test the hypothesis that inflammation promotes Csk dysfunction and Src activation in
             HPAECs and 2) Define the pulmonary vascular phenotype of Csk-dependent collagen 22.
             Understanding Csk-Src dependent Col22A1 vasculopathy may identify strategies to target
             the inception of pulmonary vascular remodeling, which may have implications for PAH
             prevention in high-risk connective tissue disease patients.
             Scientific Review Group Action: Impact/Priority Score: 33

Report of Local Teaching and Training
Teaching of Students in Courses
HMS/HSDM/DMS Courses
2015-2016 Human Systems: Respiratory Pathophysiology                    HMS
          (IN757.RES)
          Medical Students                                              5 hrs/week for 2.5 weeks

                                                  4
Case 1:23-cv-00975-RGA-SRF          Document 422 Filed 07/09/25           Page 430 of 455 PageID
                                          #: 34700


2016          Patient Doctor II Pulmonary Examination                 HMS
              Medical Students                                        3 hr session/yr
              (IN761)
2016          Patient Doctor II Cardiovascular Examination            HMS
              Medical Students                                        3 hr session/yr
              (IN761)
2017-         The Practice of Medicine: Basic Pulmonary               HMS
              Examination
              Medical Students                                        3 hr session/yr
              (POM100.23)
2017-         The Practice of Medicine: Basic Cardiovascular          HMS
              Examination                                             3 hr session/yr
              (POM100.23)
              Medical Students
2018          Internal Medicine Bootcamp – Approaches to Shock        4 hr session/yr
              and Central Line Training
              Medical Students

Formal Teaching of Residents, Clinical Fellows and Research Fellows (post-docs)
2015          Perioperative Management of Pulmonary Hypertension      BWH
              Pulmonary and critical care medicine fellows            1 hr lecture
2016          ICU Management of Pulmonary Hypertension                BWH
              Surgical ICU residents and fellows                      1 hr lecture
2019          Pulmonary Vascular Disease                              BWH
              1st yr Pulmonary and critical care medicine fellows     1 hr lecture
2019 -        Introductory Course for Allergy and Immunology - Lung   BWH
              physiology, PFTs, and cases                             1 hr lecture x 4 yrs
              Allergy and Immunology clinical fellows
2021, 2022,   Introduction to Pulmonary Hypertension                  BWH
2024          Pulmonary and critical care medicine fellows            1 hr lecture
2022-         Introduction to Pulmonary Hypertension                  BWH
              Cardiovascular Medicine fellows                         1 hr lecture
2023          Advanced Pulmonary Hypertension Management              BWH
              Pulmonary and critical care medicine fellows            1 hr lecture
2024          Pulmonary hypertension                                  1 hr lecture
              Internal medicine residents                             BWFH
2024          Pulmonary Hypertension                                  1 hr lecture
              Cardiovascular Fellows                                  BWH
2024          Pulmonary Hypertension                                  BWH
              Internal medicine residents                             1 hr lecture
2024          Critical care approach to right heart failure           BWFH
              Internal medicine residents                             1 hr lecture

Clinical Supervisory and Training Responsibilities
2017-         Substitute ambulatory preceptor                         BWH – Lung Center
              PCCM Fellows                                            4 hrs/yr
2017-         Inpatient ICU Preceptor                                 Newton Wellesley Hospital
              Internal Medicine Residents                             12-24 hrs/month
2019-         Inpatient Pulmonary Vascular Disease (PVD) Consults     BWH
              Preceptor                                               45 hrs/week, 6 weeks/yr


                                                 5
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 431 of 455 PageID
                                            #: 34701


              Internal Medicine Interns, Residents, and PCCM
              Fellows
2020          Inpatient COVID ICU preceptor                              BWH
              Internal Medicine Interns, Residents, and PCCM             40 hrs/week, 2 weeks/yr (and as
              Fellows                                                    needed pending pandemic
                                                                         trajectory)
2020-2023     BWH Intern Physician Coaching Program: Career              BWH
              Advisor                                                    8 hrs/year
              Internal Medicine House staff
2020-         Ambulatory Subspecialty Preceptor: PVD Clinic              BWH
              Internal Medicine Residents                                5 hrs/session, 4 sessions/year
2020-         Bedside Procedural Service                                 BWH
              Internal Medicine Interns, Residents, Physician            35 hrs/week, 1 week/year
              Assistant Fellows
2021-         Ambulatory Subspecialty Preceptor: PVD Clinic              BWH
              Cardiovascular medicine fellows                            5 hrs/session, 8 sessions/year
2023-         Ambulatory Subspecialty Preceptor: PVD Clinic              West Roxbury VA Hospital
              Burke Fellow in Pulmonary Heart Disease                    3 hrs/session, 15 sessions/year

Laboratory and Other Research Supervisory and Training Responsibilities
2017-          Research supervision         Maron Laboratory, BWH
               Staff scientist              3 hrs/week yearly until 2023. 34 hrs/week yearly 2023-
2021-          Research supervision         Division of Pulmonary and Critical Care Medicine, BWH
               Research fellow              0.5 hr/month
2022-2024      Research supervision         Division of Pulmonary and Critical Care Medicine, BWH
               Internal medicine resident   2 hrs/week

Mentored Trainees and Faculty
2017-2019     Elena Arons, MD / Staff Scientist, Division of Cardiovascular Medicine, BWH
              Career Stage: Staff scientist. Mentoring Role: Co-mentor. Accomplishments: conducted
              research on endothelial cell isolation, characterization, and culture; co-authored
              publication.
2021-         Ann Marcia Tukpah, MD / Clinical, Pulmonary and Critical Care Medicine, BWH; Research
              Fellow in Medicine, HMS
              Career Stage: Fellow. Mentoring Role: Research advisor on T32 committee.
              Accomplishments: accepted to BWH PCCM T32, submitted NIH loan repayment program
              application.
2022-2024     Michael S. Miller, MD / Resident, Internal Medicine, BWH
              Career Stage: Resident. Mentoring Role: Research mentor. Accomplishments: research
              project studying the association of phosophodiesterase inhibition and esophageal
              dysmotility in pulmonary arterial hypertension and the implications for lung transplantation
              evaluation. Manuscript published 4/2024, M.S.M. as first-author, B.M.W. as senior-author.

Formal Teaching of Peers (e.g., CME and other continuing education courses)
No presentations below were sponsored by outside entities
 2019          Central Venous Catheter Placement                         4-hour session
               Bedside Procedure Service Faculty Simulation, BWH         Boston, MA
 2020          Pulmonary arterial hypertension: Clinical presentation,   1-hour audio recorded lecture
               diagnosis, therapy, and prognosis                         Boston, MA
               The Brigham Board Review in Pulmonary –
               “Studio”/Distance Learning Course, BWH
                                                   6
 Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 432 of 455 PageID
                                             #: 34702


 2020           Challenging Pulmonary Cases                               30-minute lecture
                Brigham and Women’s Intensive Review of Internal          Boston, MA
                Medicine, BWH
 2020           Asthma Evaluation and Testing                             30-minute lecture
                The Brigham Board Review in Allergy and                   Virtual
                Immunology: Studio/Distance Learning
 2020           Pulmonary Board Review                                    30-minute lecture
                5th Annual Update in Pulmonary and Critical Care          Boston, MA
                Medicine
 2022           Pulmonary arterial hypertension: Clinical presentation,   1-hour audio recorded lecture
                diagnosis, therapy, and prognosis
                The Brigham Board Review in Pulmonary –                   Boston, MA
                “Studio”/Distance Learning Course, BWH

Local Invited Presentations
No presentations below were sponsored by outside entities
2015           Exercise-induced pulmonary hypertension / case presentation
               Pulmonary Vascular Disease Conference, BWH
2015           Air in the wrong part of the lung / Pulmonary Grand Rounds
               Pulmonary and Critical Care Medicine Division, BWH
2015           A legendary case of respiratory failure (from 1952) / Pulmonary Grand Rounds
               Pulmonary and Critical Care Medicine, BWH
2015           Case Presentation: Exercise-induced pulmonary hypertension / invited lecture
               Bornstein Cardiology Conference, BWH
2016           Extracorporeal life support for massive pulmonary embolism: case presentation and
               review of the literature / invited lecture
               Pulmonary Vascular Disease Conference, BWH
2016           Extracorporeal life support for massive pulmonary embolism: case presentation and
               review of the literature / invited lecture
               Bornstein Cardiology Conference, BWH
2017           Reverse-engineering pulmonary vascular disease: insights from borderline pulmonary
               arterial hypertension / invited lecture
               Pulmonary Vascular Disease Conference, BWH
2017           Pulmonary function testing for the thoracic radiologist / invited lecture
               Radiology Resident Teaching Conference, BWH
2017           Mechanisms of disease inception in pulmonary arterial hypertension / invited talk
               Pulmonary Vascular Disease Conference, BWH
2018           Mechanisms of disease inception in pulmonary arterial hypertension / invited talk
               Work-in-Progress, Pulmonary and Critical Care Medicine, BWH
2019           Mechanisms of disease inception in pulmonary arterial hypertension / invited talk
               Pulmonary and Critical Care Medicine, Work-in-Progress, BWH
2019           Pulmonary function testing / Allergy Grand Rounds
               MGH, Boston, MA
2019           Pulmonary hypertension in connective tissue disease: Managing the spectrum of clinical
               risk / Rheumatology Grand Rounds
               Rheumatology Division, BWH
2019           Pulmonary hypertension for the bedside nurse / invited talk
               Shapiro Cardiovascular Center, BWH
2020           Endothelial fibrosis in early-stage pulmonary arterial hypertension / invited presentation
               Work-in-Progress Conference, Pulmonary and Critical Care Medicine, BWH
2020           Pulmonary hypertension management / panel discussant
               Department of Medicine, W. Roxbury VA Medical Center, Boston, MA
                                                    7
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 433 of 455 PageID
                                           #: 34703


2020          Pulmonary function testing: Indications and interpretation / Allergy Grand Rounds
              Teleconference, Pulmonary Division, MGH (virtual)
2020-2024     Pulmonary hypertension for the bedside nurse / invited talk (x 7)
              Shapiro Cardiovascular Center, BWH (virtual)
2020          Cardiovascular Life Sciences Research Series / invited presentation
              BWH (virtual)
2022          Bad tracheostomies / panelist – Laryngology Grand Rounds
              Mass Eye and Ear Institute, Boston, MA
2022, 2024    Pulmonary function testing / Allergy Grand Rounds
              MGH, Boston, MA
2022          Connective tissue disease associated pulmonary hypertension / Rheumatology Grand
              Rounds
              Department of Medicine, BWH (virtual)
2022          Proline and glucose metabolic reprogramming support vascular endothelial and medial
              biomass in pulmonary arterial hypertension / Invited talk
              MGB Department of Medicine Research Seminar Series
              MGH and BWH (virtual)
2023          Proline and glucose metabolic reprogramming support vascular endothelial and medial
              biomass in pulmonary arterial hypertension / Invited talk
              Cardiovascular Life Sciences Research Series, BWH
2023          Pulmonary endothelial inflammation dysregulates src family kinase signaling to increase
              collagen 22 prior to the development of severe pulmonary hypertension / Invited talk
              Work-in-Progress Research Seminar Series, Division of Pulmonary and Critical Care
              Medicine, BWH
2024          Management of Right Heart Failure / Invited talk
              11C ICU Lecture Series, BWH
2024          Pulmonary hypertension and RV failure / Invited talk
              Vascular Medicine Conference series, Division of Cardiovascular Medicine, BWH
2024          Cardiovascular Work-in-Progress Conference / Invited moderator
              MGH, BWH, Broad Institute, Boston MA
2024          Inflammation disrupts Csk activity to promote Src activation and fibrosis in early-stage
              pulmonary arterial hypertension / Invited talk
              Work-in-Progress Research Seminar Series, Division of Pulmonary and Critical Care
              Medicine, BWH

Report of Regional, National and International Invited Teaching and Presentations
Invited Presentations and Courses
No presentations below were sponsored by outside entities
Regional
2015          A 51-year-old woman with cough / invited talk
              Intracity Pulmonary Conference, Boston University, Boston, MA
2024          A Practical Approach to Pulmonary Hypertension
              Medicine Grand Rounds, Veterans Affairs Boston Healthcare System, Boston, MA

National
2019          The Role of Invasive Exercise Testing for Diagnosis and Treatment of Right Heart Failure
              / Invited lecture
              Case-Based Clinical Management of Patients with Right Heart Failure, American Heart
              Association Scientific Sessions, Philadelphia, PA
2019          Update in CTEPH: From Bench to Bedside / Invited moderator
              American Heart Association Scientific Session, Philadelphia, PA
                                                  8
 Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 434 of 455 PageID
                                            #: 34704


2020           Current and Emerging Strategies to Manage RV Shock in the Setting of RV Infarct /
               Invited lecture
               Critical Clinical Conundrums in Acute Coronary Syndromes / Invited lecture
               American College of Cardiology Annual Scientific Sessions, Chicago, IL
               This presentation was scheduled, but then cancelled because of a Covid-19
               travel/meeting ban
2020           Pulmonary Hypertension Clinical Trials with Novel Approaches / Invited Social Media
               Moderator
               American Heart Association Scientific Sessions, Dallas, TX
               This presentation was scheduled, but then cancelled because of a Covid-19
               travel/meeting ban
2021           Submassive pulmonary embolism / Invited moderator
               North American Thrombosis Forum 5th Right Heart Symposium, Boston, MA
2022           Where We Are Today: Beyond the Original Description of Pulmonary Arterial
               Hypertension / Invited lecture
               American College of Cardiology Annual Scientific Session, Washington, DC
2022           Controversies in RV dysfunction and management: A pro-con debate / Invited moderator
               American Heart Association Scientific Session, Chicago, IL
2022           Vascular fibrosis in early-stage pulmonary arterial hypertension / invited lecture
               Pulmonary and Critical Care Medicine Lung Research Conference, Johns Hopkins
               Hospital, Baltimore, MD
2023           RV: the “other” ventricle / Invited moderator
               Technology and Heart Failure Therapeutics 2023 Meeting, Boston MA
2023           Don't Forget about the Blood Vessels! Pulmonary Vascular Function in Acute Lung Injury
               / Invited Moderator, American Thoracic Society 2023 Meeting, Washington DC
2023           Clinical Pearls and Emerging Insights into CTEPH Biology and Treatment /
               / Invited Moderator, American Heart Association Scientific Sessions

International
 2022         Clinical Tutorials in Pulmonary Arterial Hypertension / Invited moderator
              Management of pericardial effusion in PAH: Don’t tap, fact or fiction / Invited Moderator
              15th Annual World Congress on Pulmonary Vascular Disease, Pulmonary Vascular
              Research Institute, Athens, Greece
              Pulmonary Vascular Research Institute World Congress, Athens, Greece
 2022         An update on clinical trials in PAH / Invited moderator
              Pulmonary Vascular Research Institute World Congress, Athens, Greece
 2023         Vasopressor Support in Right Heart Failure: Can We Optimize RV Mechanics and
              Coronary Perfusion?
              6th Biannual Right Heart Symposium, North American Thrombosis Forum, Boston, MA
 2024         The Next 50 Years of Pulmonary Hypertension: A Global View/
              Invited Moderator, Pulmonary Vascular Research Institute World Congress
 2024         Are Mitochondria the Instigator of Pulmonary Arterial Hypertension?
              Invited Moderator, Pulmonary Vascular Research Institute Digital Webinar
 2024         Critical Care Management of the Patient With Advanced Pulmonary Hypertension and
              Shock Who Develops Right Ventricular Ischemia
              Invited speaker, Right Heart Mini Symposium, North American Thrombosis Forum,
              Boston, MA

Report of Clinical Activities and Innovations
Current Licensure and Certification
2014          Massachusetts Medical License

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 Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25              Page 435 of 455 PageID
                                            #: 34705


2014          American Board of Internal Medicine (ABIM)
2016          ABIM – Pulmonary Disease
2017          ABIM – Critical Care Medicine


Practice Activities
2017-2018     Ambulatory        General Pulmonary Clinic, BWH                   ½ session every other
                                                                                week
2017-         Inpatient         Intensivist / Newton Wellesley Hospital         1-2 per diem shifts/month
2018-         Ambulatory        Pulmonary Vascular Disease Clinic, BWH          ½ session every other
                                                                                week
2018-2019     Inpatient         Pulmonary Vascular Disease Service, BWH         2 weeks/yr
2019-         Inpatient         Pulmonary Vascular Disease Service, BWH         6 weeks/yr
2020          Inpatient         COVID-19 Special Pathogen ICU and MICU          2 weeks/year and as
                                Overflow Attending BWH                          needed during COVID
                                                                                pandemic
2020          Virtual Care      Indian Health Services Critical Care Consult    2 weeks/year and as
                                Pager Coverage                                  needed during COVID
                                                                                pandemic
2020-         Inpatient         Bedside Procedure Service, BWH                  2 weeks/yr
                                                                                2023- PRN coverage

Clinical Innovations
Rheumatic Pulmonary             Connective tissue disease associated pulmonary hypertension (PH) is
Vascular Disease Clinic         associated with increased morbidity and mortality compared to other
(RPVD) Clinic (2019-)           forms of pulmonary hypertension—especially for patients with systemic
                                sclerosis (scleroderma). Reasons for this include delayed diagnosis and
                                frequent co-occurrence of PH with conditions such as interstitial lung
                                disease, left-sided heart disease, and pulmonary venous remodeling. A
                                collaboration with Dr. Paul Dellaripa of the BWH Division of
                                Rheumatology, Inflammation, and Immunity, the goal of the RPVD is to
                                improve clinical PH outcomes in this vulnerable population through
                                systematic screening, timely consultation, multidisciplinary risk-
                                assessment, early treatment, and a platform for translational research.

Technological and Other Scientific Innovations
Provisional US patent         Co-inventor on a novel adenovirus-based therapeutic strategy to inhibit
coversheet application no.    vascular fibrosis and endothelial cell dysfunction. Provisional US patent
63/541,939, “Methods and      application filed by Mass General Brigham 10/2/2023.
Materials in Pulmonary
Arterial Hypertension.”
(2023)
Report of Education of Patients and Service to the Community
Educational Material for Patients and the Lay Community
No educational materials below were sponsored by outside entities
Books, monographs, articles and presentations in other media
 2011    The Doctor Can’t See You Now      Author        Los Angeles Times, January 24, 2011

                                                    10
Case 1:23-cv-00975-RGA-SRF             Document 422 Filed 07/09/25              Page 436 of 455 PageID
                                             #: 34706


                                                             https://www.latimes.com/archives/la-xpm-
                                                             2011-jan-24-la-oe-wertheim-mdshortage-
                                                             20110124-story.html
 2013   How Not to Die of Botulism            Author         The Atlantic, December 2, 2013
                                                             http://www.theatlantic.com/health/archive/20
                                                             13/12/how-not-to-die-of-botulism/281649/
 2013   The Iron in Our Blood That            Author        The Atlantic, January 10, 2013
        Keeps and Kills Us                                  http://www.theatlantic.com/health/archive/2013/
                                                            01/the-iron-in-our-blood-that-keeps-and-kills-
                                                            us/266936/
 2020   How a Polio Outbreak in               Author        Smithsonian Magazine, June 10, 2020
        Copenhagen Led to the                               https://www.smithsonianmag.com/innovation/ho
        Invention of the Ventilator                         w-polio-outbreak-copenhagen-led-to-invention-
                                                            ventilator-180975045/

Recognition
2020    Interviewee / Bio Quest, History of                 Doordarshan News (India’s largest public
        Pandemics: Part 1                                   broadcaster)
                                                            https://www.youtube.com/watch?v=C-
                                                            82e3CA9rU
2021    Interviewee / Virus (forthcoming                    Amos Pictures, HBO/BBC-affiliated project
        documentary)
2021    Interviewee/When Tuberculosis Patients              Smithsonian Magazine
        Quarantined Inside Kentucky’s Mammoth               https://www.smithsonianmag.com/travel/when-
        Cave                                                tuberculosis-patients-quarantined-inside-
                                                            kentuckys-mammoth-cave-180978144/
2023-   Selected for Top Doctors List, Pulmonology          Castle Connolly
2024    Selected for Top Doctors List, Pulmonology          Boston Magazine

Report of Scholarship
http://orcid.org/0000-0002-1414-4692
Peer reviewed publications in print or other media
Research Investigations
1.   Sokolowsky K, Newton M, Lucero C, Wertheim B, Freedman J, Cortazar F, Czochor J, Schelvis JP,
     Gindt YM. Spectroscopic and theromodynamic comparisons of escherichia coli DNA photolyase
     and vibrio cholera cryptochrome 1. J Phys Chem B. 2010;114(20):7121-30. PMID: 20438097.
2.   Banagan BL, Wertheim BM, Roth MJ, Caslake LF. Microbial strengthening of loose sand. Lett Appl
     Microbiol. 2010;51(2):138-42. PMID: 20557452.
3.   Rudolf JW, Dighe AS, Coley CM, Kamis IK, Wertheim BM, Wright DE, Lewandrowski KB, Baron
     JM. Analysis of daily laboratory orders at a large urban academic center: A multifaceted approach
     to changing test ordering patterns. Am J Clin Pathol. 2017;148(2):128-35. PMID: 28898984; PMCID:
     PMC6322419.
4.   Opotowsky AR, Hess E, Maron BA, Brittain EL, Barón AE, Maddox TM, Alshawabkeh LI, Wertheim
     BM, Xu M, Assad TR, Rich JD, Choudhary G, Tedford RJ. Thermodilution vs estimated Fick cardiac
     output measurement in clinical practice: An analysis of mortality from the Veterans Affairs Clinical
     Assessment, Reporting, and Tracking (VA CART) program and Vanderbilt University. JAMA Cardiol.
     2017;2(10):1090-9. PMID: 28877293; PMCID: PMC5710449.
5.   Wertheim BM, Aguirre AJ, Bhattacharyya RP, Chorba J, Jadhav AP, Kerry VB, Macklin EA,
     Motyckova G, Raju S, Lewandrowski K, Hunt DP, Wright DE. An educational and administrative
                                                       11
Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 437 of 455 PageID
                                            #: 34707


     intervention to promote rational laboratory test ordering on an academic general medicine
     service. Am J Med. 2017;130(1):47-53. PMID: 27619354; PMCID: PMC6598201.
6.   Oldham WM, Oliveira RKF, Wang RS, Opotowsky AR, Rubins DM, Hainer J, Wertheim BM, Alba
     GA, Choudhary G, Tornyos A, MacRae CA, Loscalzo J, Leopold JA, Waxman AB, Olschewski H,
     Kovacs G, Systrom DM, Maron BA. Network analysis to risk stratify patients with exercise
     intolerance. Circ Res. 2018;122(6):864-76. PMID: 29437835; PMCID: PMC5924425.
7.   Samokhin AO, Stephens T, Wertheim BM, Wang RS, Vargas SO, Yung LM, Cao M, Brown M,
     Arons E, Dieffenbach PB, Fewell JG, Matar M, Bowman FP, Haley KJ, Alba GA, Marino SM, Kumar
     R, Rosas IO, Waxman AB, Oldham WM, Khanna D, Graham BB, Seo S, Gladyshev VN, Yu PB,
     Fredenburgh LE, Loscalzo J, Leopold JA, Maron BA. NEDD9 targets COL3A1 to promote
     endothelial fibrosis and pulmonary arterial hypertension. Sci Transl Med. 2018;10(445): eaap7294.
     PMID: 29899023; PMCID: PMC6223025.
8.   Wertheim BM, Lin YD, Zhang YY, Samokhin AO, Alba GA, Arons E, Yu PB, Maron BA. Isolating
     pulmonary microvascular endothelial cells ex vivo: Implications for pulmonary arterial hypertension,
     and a caution on the use of commercial biomaterials. PLoS One. 2019;14(2):e0211909. PMID:
     30811450; PMCID: PMC6392245
9.   Samokhin AO, Hsu S, Yu PB, Waxman AB, Alba GA, Wertheim BM, Hopkins CD, Bowman F,
     Channick RN, Nikolic I, Faria-Urbina M, Hassoun PM, Leopold JA, Tedford RJ, Ventetuolo CE, Leary
     PJ, Maron BA. Circulating NEDD9 is increased in pulmonary arterial hypertension: A multicenter,
     retrospective analysis. J Heart Lung Transplant. 2020;39(4):289-99. PMID: 31952977; PMCID:
     PMC7605895.
10. Schimmel K, Jung M, Foinquinos A, San José G, Beaumont J, Bock K, Grote-Levi L, Xiao K, Bär C,
    Pfanne A, Just A, Zimmer K, Ngoy S, López B, Ravassa S, Samolovac S, Janssen-Peters H, Remke
    J, Scherf K, Dangwal S, Piccoli MT, Kleemiss F, Kreutzer FP, Kenneweg F, Leonardy J, Hobuß L,
    Santer L, Do QT, Geffers R, Braesen JH, Schmitz J, Brandenberger C, Müller DN, Wilck N, Kaever
    V, Bähre H, Batkai S, Fiedler J, Alexander KM, Wertheim BM, Fisch S, Liao R, Diez J, González A,
    Thum T. Natural compound library screening identifies new molecules for the treatment of cardiac
    fibrosis and diastolic dysfunction. Circulation. 2020;141(9):751-67. PMID: 31948273; PMCID:
    PMC7050799.
11. Maron BA, Brittan EL, Hess E, Waldo SW, Barón AE, Huang S, Goldstein RH, Assad T, Wertheim
    BM, Alba GA, Leopold JA, Olschewski H, Galiè N, Simonneau G, Kovacs G, Tedford RJ, Humbert
    M, Choudhary G. Pulmonary vascular resistance and clinical outcomes in patients with pulmonary
    hypertension: a retrospective cohort study. Lancet Respir Med. 2020;8(9):873-84. PMID: 32730752;
    PMCID: PMC8219057.
12. Alba GA, Samokhin AO, Wang RS, Zhang YY, Wertheim BM, Arons E, Greenfield EA, Lundberg
    Slingsby MH, Ceglowski JR, Haley KJ, Bowman FP, Yu YR, Haney JC, Eng G, Mitchell RN, Sheets
    A, Vargas SO, Seo S, Channick RN, Leary PJ, Rajagopal S, Loscalzo J, Battinelli EM, Maron BA.
    NEDD9 is a novel and modifiable mediator of platelet-endothelial adhesion in the pulmonary
    circulation. Am J Respir Crit Care Med. 2021;203(12):1533-45. PMID: 33523764; PMCID:
    PMC8483217.
13. Alba GA, Samokhin AO, Wang RS, Wertheim BM, Haley KJ, Padera RF, Vargas SO, Rosas IO,
    Hariri LP, Shih A, Thompson BT, Mitchell RN, Maron BA. Pulmonary endothelial NEDD9 and the
    prothrombotic pathophenotype of acute respiratory distress syndrome due to SARS-CoV-2 infection.
    Pulm Circ 2022 May 11;12(2):e12071. doi: 10.1002/pul2.12071. eCollection 2022
14. Apr. Maron BA, Kleiner DE, Arons E, Wertheim BM, Sharma NS, Haley KJ, Samokhin AO, Rowin
    EJ, Maron MS, Rosing DR, Maron BJ. Evidence of Advanced Pulmonary Vascular Remodeling in
    Obstructive Hypertrophic Cardiomyopathy with Pulmonary Hypertension. Chest 2022 Oct 12:S0012-
    3692(22)03912-5. doi: 10.1016/j.chest.2022.09.040. Online ahead of print. PMID: 36243062
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Case 1:23-cv-00975-RGA-SRF            Document 422 Filed 07/09/25            Page 438 of 455 PageID
                                            #: 34708


15. Wertheim BM, Wang RS, Guillermier C, Hütter CVR, Oldham WM, Menche J, Steinhauser ML*†,
    Maron BA*. Proline and glucose metabolic reprogramming supports vascular endothelial and medial
    biomass in pulmonary arterial hypertension.         JCI Insight 2023 Feb 22;8(4):e163932. doi:
    10.1172/jci.insight.163932. . (*co-senior author; corresponding author)
                                                     †


16. Khurshid S, Churchill TW, Diamant N, Di Achille P, Reeder C, Singh P, Friedman SF, Wasfy MW,
    Alba GAA, Maron BA, Systrom DM, Wertheim BM, Ellinor PT, Ho JE, Baggish AL, Batra P, Lubitz
    SA, Guseh JS. Deep learned representations of the resting 12-lead electrocardiogram to predict
    V̇ O2 at peak exercise. European Journal of Preventative Cardiology, 2024 Jan 25;31(2):252-262.
    doi: 10.1093/eurjpc/zwad321. PMID: 37798122; PMCID: PMC10809171.
17. Miller MS, Johnson SW, Opotowsky AR, Landzberg MJ, Sharma NS, Goldberg HJ, Wong AK, Witkin
    AS, Rodriguez-Lopez J, Goldstein RH, Maron BA, Wertheim BM. Iatrogenic esophageal dysmotility
    as a barrier to transplantation in pulmonary arterial hypertension. Journal of Heart and Lung
    Transplant Open, April 19, 2024. doi: https://doi.org/10.1016/j.jhlto.2024.100098. Online ahead of
    print.
18. Xiao W, Shrimali N, Oldham WM, Clish CB, He H, Wong SJ, Wertheim BM, Arons E, Haigis MC,
    Leopold JA, Loscalzo J. Branched chain α-ketoacids aerobically activate HIF1α signaling in vascular
    cells. bioRxiv [Preprint]. 2024 May 30:2024.05.29.595538. doi: 10.1101/2024.05.29.595538. Update
    in: Nat Metab. 2024 Nov;6(11):2138-2156. doi: 10.1038/s42255-024-01150-4. PMID: 38853866;
    PMCID: PMC11160772.
19. Guarino VA, Wertheim BM, Xiao W, Loscalzo J, Zhang YY. Nanoparticle delivery of VEGF and
    SDF-1α as an approach for treatment of pulmonary arterial hypertension. Pulm Circ. 2024 Oct
    8;14(4):e12412. doi: 10.1002/pul2.12412. PMID: 39380978; PMCID: PMC11459680.

 Other peer-reviewed publications
 1. Wertheim BM, Kapur S, Lakdawala NK, Carroll TL. Hypertrophic cardiomyopathy as an
     unexpected mimic of inducible laryngeal obstruction: The case for cardiopulmonary exercise testing
     in    otolaryngology.     J     Voice.    2020       Dec     30:S0892-1997(20)30432-X.        doi:
     10.1016/j.jvoice.2020.12.002. Epub ahead of print. PMID: 33388230; PMCID: PMC8243399.


Non-peer reviewed scientific or medical publications/materials in print or other media
Reviews, chapters, monographs and editorials
1.   Wertheim BM. COPD. In: Chon, CR, Kiefer M, editors, Pocket Primary Care. Philadelphia, PA:
     Lippincott Williams & Wilkins--Wolters Kluwer Health; 2013. Chapter 12, p. 4.
2.   Wertheim BM, Maron BA, Oldham WM. Pulmonary Hypertension. In: Singh AK, Loscalzo J, editors.
     Brigham Intensive Review of Internal Medicine. 3rd ed. Cambridge, MA: Elsevier; 2019. pp. 906-16.
3.   Wertheim BM, Cockrill BA. Evaluation for the dyspneic patient in primary care. In: Singh AK,
     Loscalzo J, editors. Brigham Intensive Review of Internal Medicine. 3rd ed. Cambridge, MA: Elsevier;
     2019. pp. 339-47.
4.   Wertheim BM, Maron BA. Diagnostic assessment of the pulmonary hypertension patient. Adv Pulm
     Hypertension. 2018;16(3):112-19.
5.   Maron BA, Wertheim BM, Gladwin MT. Under pressure to clarify pulmonary hypertension clinical
     risk. Am J Respir Crit Care Med. 2018197(4):423-6. PMID: 29216444; PMCID: PMC5821912.
6.   Opotowsky AR, Wertheim BM, Tedford RJ. Not quite chronic thromboembolic pulmonary
     hypertension, but more than a SOB story. JACC Cardiovasc Imaging. 2019;12(8 Pt 1):1457-9.
     PMID: 30219406.

                                                   13
Case 1:23-cv-00975-RGA-SRF           Document 422 Filed 07/09/25           Page 439 of 455 PageID
                                           #: 34709


7.   Maron BA, Wertheim BM. Lessons from Oz: Toward early diagnosis of pulmonary hypertension. J
     Am Coll Cardiol. 2019;73(21):2673-5.
8.   Charles EJ, Wertheim BM. Commentary: Small packages, big questions: Mitochondrial
     transplantation in a preclinical model of pulmonary arterial hypertension. J Thorac Cardiovasc
     Surg. 2020 Sep 19. doi: 10.1016/j.jtcvs.2020.09.061. [Epub ahead of print] PMID: 33229181.
9.   Wertheim BM, Maron BA, Oldham WM. Pulmonary Hypertension. In: Singh AK, Loscalzo J, editors.
     Brigham Intensive Review of Internal Medicine. 4th ed. Cambridge, MA: Elsevier. In press.
10. Wertheim BM, Cockrill BA. Evaluation for the dyspneic patient in primary care. In: Singh AK,
    Loscalzo J, editors. Brigham Intensive Review of Internal Medicine. 4th ed. Cambridge, MA:
    Elsevier. In press.
11. Wertheim BM. New tricks for an old drug: Prostacyclins and right ventricular contractility in
    pulmonary arterial hypertension. Am J Respir Crit Care Med. 2022 Jul 1;206(1):12-13. doi:
    10.1164/rccm.202204-0648ED.PMID: 35536731.
12. Wertheim BM, Loscalzo J. Chapter 61, Systems Pharmacology. In: Golan D, Loscalzo J, editors.
    Principles of Pharmacology: The Pathophysiologic Basis of Drug Therapy. 5th ed. Philadelphia,
    PA: Lippincott Williams & Wilkins. In press.

Professional educational materials or reports in print or other media
1.   Wertheim BM. Family medicine. ACP Hospitalist. 2010:
     http://www.acphospitalist.org/archives/2010/11/student.htm
2.   Wertheim BM. New England Journal of Medicine Resident 360, Pulmonology Curriculum Feb 2016
     https://resident360.nejm.org/pages/home?resource_collection_id=pulmonology&subtopic=introduction

Local/Unpublished Clinical Guidelines and Reports
1.   Wertheim BM, Gay EB, Dellaripa P. Brigham and Women’s Hospital Pulmonary Hypertension
     Screening Guidelines for systemic sclerosis. Version January 2020.
2.   Feldman W, Weinberger J, Massaro A, Cohen CL, Wertheim BM. Section editors: Keller S, Choi B.
     Brigham and Women’s Hospital Guideline on COVID-19 Respiratory Support and use of Inhaled
     Pulmonary Vasodilators. Version April 2020. https://covidprotocols.org.

Abstracts, Poster Presentations and Exhibits Presented at Professional Meetings
     Wertheim BM, Wang, R, Zhang Y, Samokhin AO, Alba GA, Arons E, Oldham WM, Maron BA. C-
     terminal src kinases inhibits endothelial fibrosis and is upregulated in early-stage experimental
     pulmonary arterial hypertension. Alan Lerner Research Symposium, Brigham and Women’s
     Hospital; 2021 August 12; Boston, Massachusetts, United States (virtual).
     Wertheim BM, Wang, R, Zhang Y, Samokhin AO, Alba GA, Arons E, Oldham WM, Maron BA. C-
     terminal src kinases inhibits endothelial fibrosis and is upregulated in early-stage experimental
     pulmonary arterial hypertension. Endothelial Function and Pulmonary Vascular Remodeling.
     American Heart Association Scientific Sessions; 2021 November 13; Boston, Massachusetts, United
     States (virtual).
     Wertheim BM, Wang, R, Zhang Y, Samokhin AO, Alba GA, Arons E, Oldham WM, Maron BA. C-
     terminal src kinases inhibits endothelial fibrosis and is upregulated in early-stage experimental
     pulmonary arterial hypertension. Alan Lerner Research Symposium, Brigham and Women’s
     Hospital; 2021 August 12; Boston, Massachusetts, United States (virtual).
     Wertheim BM, Wang, R, Zhang Y, Samokhin AO, Alba GA, Arons E, Oldham WM, Maron BA. C-
     terminal src kinases inhibits endothelial fibrosis and is upregulated in early-stage experimental
     pulmonary arterial hypertension. Endothelial Function and Pulmonary Vascular Remodeling.
                                                  14
Case 1:23-cv-00975-RGA-SRF        Document 422 Filed 07/09/25          Page 440 of 455 PageID
                                        #: 34710


   American Heart Association Scientific Sessions; 2021 November 13; Boston, Massachusetts, United
   States (virtual).
   Samokhin AO, Wertheim BM, Alba GA, Arons E, Maron BA. Inhibition of Sulfatase-1 Prevents
   Pulmonary Arterial Hypertension in Animal Models of Disease. American Heart Association
   Scientific Sessions; 2023 November 23; Philadelphia, Pennsylvania, United states.
   Wertheim BM, Wang R, Arons E, Sharma N, Haley K, Alba GAA, Samokhin AO, Padera R, Loscalzo
   J, Maron BA. Pulmonary Endothelial Inflammation Dysregulates Src Family Kinase Signaling to
   Increase Collagen 22 Prior to the Development of Severe Pulmonary Hypertension. Pulmonary
   Vascular Research Institute World Congress; 2024 February 2; London, United Kingdom.
   Alba G, Wertheim BM, Vargas SO, Kennedy, JC, Arons E, Rahaghi N, Estépar R, Garcia-de-Alba
   C, Carmichael, N, Hariri L, Rodriguez-Lopez J, Channick RN, Maron BA, Raby BA. Familial KDR
   mutation resulting in heritable progressive pulmonary arterial hypertension. Pulmonary Vascular
   Research Institute World Congress; 2025 January (forthcoming); Rio de Janeiro, Brazil.




                                               15
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25   Page 441 of 455 PageID
                                   #: 34711




                       EXHIBIT 4
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25        Page 442 of 455 PageID
                                   #: 34712



                                                                         Page 1

  1                 IN THE UNITED STATES DISTRICT COURT
  2                     FOR THE DISTRICT OF DELAWARE
  3
  4       UNITED THERAPEUTICS
          CORPORATION,
  5
                       Plaintiff,
  6
          vs.                         C.A. NO. 23-975-RGA-SRF
  7
          LIQUIDIA TECHNOLOGIES, INC.,
  8
                       Defendants.
  9
 10
 11                        HIGHLY CONFIDENTIAL
 12                    VIDEO-RECORDED DEPOSITION
                      OF RONALD A. THISTED, Ph.D.
 13                          March 14, 2025
          Sage Boardroom, Four Seasons Resort Rancho Encantado
 14                        198 State Road 592
                      Santa Fe, New Mexico 87506
 15
 16                                      9:35 a.m.
 17
 18
                 PURSUANT TO THE DELAWARE RULES OF CIVIL
 19       PROCEDURE, this deposition was:
 20
 21       TAKEN BY:     DANIEL J. KNAUSS
                        ATTORNEY FOR DEFENDANT
 22
 23       REPORTED BY:       PAUL BACA, CCR #112
                             VERITEXT LEGAL SOLUTIONS
 24                          500 4th Street, Suite 105
                             Albuquerque, New Mexico 87102
 25

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                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25        Page 443 of 455 PageID
                                   #: 34713



                                                                         Page 2

  1                       A P P E A R A N C E S
  2        For the Plaintiff:
  3                  McDERMOTT WILL & EMERY
                     500 North Capitol Street, NW
  4                  Washington, DC $78,701000-1531
                     202-756-8000
  5                  BY: ADAM BURROWBRIDGE
                     aburrowbridge@mwe.com
  6
                         McDERMOTT WILL & EMERY
  7                      300 Colorado Street, Suite 2200
                         Austin, Texas 78701
  8                      512-532-0002
                         BY: BENJAMIN EDIGER
  9                      bediger@mwe.com
 10                      McDERMOTT WILL & EMERY
                         12636 High Bluff Drive, Suite 325
 11                      San Diego, California 92130
                         949-989-6361
 12                      BY: KATHY PAPPAS
                         kpappas@mwe.com
 13
 14        For the Defendant:
 15                  COOLEY LLP
                     3175 Hanover Street
 16                  Palo Alto, California                      94304-1130
                     650-843-5000
 17                  BY: DANIEL J. KNAUSS
                     dknauss@cooley.com
 18                       ADAM LAU
                     alau@cooley.com
 19
 20
 21        Also Present:
 22                  Albert Torres, Veritext Videographer
                     Sanya Sukduang
 23                  Courtney Seams
 24
 25

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Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25        Page 444 of 455 PageID
                                   #: 34714



                                                                         Page 3

  1                                      I N D E X
  2       Examination By:
  3                                                                   Page
  4       Mr. Knauss -------------------------------                           5
  5       Mr. Burrowbridge -------------------------                         179
  6
  7
  8                                      EXHIBITS
  9
                                                        Page                 Page
 10       Defendant's        Description                Introduced           Marked
 11       Exhibit 1     Rebuttal Expert Report                    6            6
 12       Exhibit 2     Reply Expert Report                       6            6
 13       Exhibit 3     Patent 11,826,327                         6            6
 14       Exhibit 4     Patent 10,716,793                         7            7
 15       Exhibit 5     Faria-Urbina 2018                         7            7
 16       Exhibit 6     Supplemental Material                     8            8
 17       Exhibit 7     Agarwal 2015                              8            8
 18       Exhibit 8     Parikh 2016                               8            8
 19       Exhibit 9     Saggar 2014                               9            9
 20       Exhibit 10 February 2020 Press Release 9                             9
 21       Exhibit 11 NEJM Article                              102           102
 22       Exhibit 12 2018 Earnings Call                        106           106
 23       Exhibit 13 FDA Tentative Approval                    136           136
 24       Exhibit 14 2022 Tyvaso Label                         155           155
 25       Exhibit 15 2009 Tyvaso Label                         156           156

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25        Page 445 of 455 PageID
                                   #: 34715



                                                                       Page 16

  1            Q.      When you were preparing your reply report
  2       did you speak with Drs. Nathan or Wertheim?
  3            A.      No, I did not.
  4            Q.      At any time have you ever spoken with
  5       Dr. Nathan about the subject matter of this case?
  6            A.      No, I have not.
  7            Q.      Have you ever spoken with Dr. Wertheim
  8       about this case?
  9            A.      No.
 10            Q.      It is safe to say, then, that the opinions
 11       you are offering in this case don't rely on any
 12       conversations you have had with Dr. Nathan or
 13       Dr. Wertheim?
 14            A.      They don't rely on conversations with
 15       those individuals.
 16            Q.      When were you first retained as an expert
 17       in this case?
 18            A.      I believe I was first retained in the fall
 19       of 2024.
 20            Q.      Okay.     Do you recall what month?
 21            A.      I believe it was September or October.
 22            Q.      How did it come to pass that you were
 23       retained as an expert in this case?
 24                    MR. BURROWBRIDGE:           Objection, form.
 25            A.      I was originally contacted, I believe, in

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Case 1:23-cv-00975-RGA-SRF    Document 422 Filed 07/09/25       Page 446 of 455 PageID
                                    #: 34716



                                                                       Page 23

  1       skill in the art, which I will call a POSA for the
  2       rest of the day, P-O-S-A.
  3            A.      Yes.
  4            Q.      For purposes of the '327 patent you have
  5       UTC's position and Liquidia's position in a box on
  6       Page 9.
  7                    Do you see that?
  8            A.      I do.
  9            Q.      You do not personally qualify as a POSA
 10       under UTC's definition, correct?
 11            A.      Although I don't have a medical degree and
 12       I don't treat PH-ILD patients, I have expertise that
 13       overlaps with what a POSA would have as relates to
 14       issues such as biostatistics, study design, analysis
 15       of studies, and evaluation of what they do and do
 16       not say, which would be part of -- which would be
 17       within the scope of what a POSA would have to have
 18       in order to review these patents.
 19            Q.      You do not have an MD, correct?
 20            A.      I do not.
 21            Q.      You do not have any experience treating
 22       patients with interstitial lung disease, correct?
 23            A.      That's correct.
 24            Q.      Let alone patients with PH-ILD?
 25            A.      Correct.

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Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25        Page 447 of 455 PageID
                                   #: 34717



                                                                       Page 24

  1            Q.      Therefore you do not have the level of
  2       experience that is specified in UTC's definition of
  3       a POSA, correct?
  4                    MR. BURROWBRIDGE:           Objection, form.
  5            A.      Again, while I do not have all the -- all
  6       of the components of what this definition of a POSA
  7       would entail, I do have some components of what I
  8       teach physicians, so individuals with a medical
  9       degree would be expected to have knowledge of the
 10       material that I teach.
 11            Q.      (By Mr. Knauss) Similarly with respect to
 12       Liquidia's definition, you do not personally meet
 13       the definition of a POSA offered by Liquidia that's
 14       recited on Page 9, correct?
 15            A.      Again, I do not have a medical degree in
 16       pulmonology or cardiology.              I don't treat ILD
 17       patients, but I have relevant expertise that a POSA
 18       would be expected to have and that would be
 19       essential to understanding a patent.
 20            Q.      Right.      So your testimony is that you have
 21       some expertise that is relevant to the expertise a
 22       POSA would have, but you do agree with me that you
 23       don't meet the definition of a POSA that is recited
 24       here, correct?
 25                    MR. BURROWBRIDGE:           Objection, form.

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                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF     Document 422 Filed 07/09/25        Page 448 of 455 PageID
                                     #: 34718



                                                                         Page 25

  1            A.        I do not possess all of the qualifications
  2       that are enumerated in these two statements, but I
  3       do have expertise that falls within the scope of
  4       what a POSA would have, I just don't have all of
  5       that expertise.
  6            Q        (By Mr. Knauss) When you say falls within
  7       the scope, you mean have falls partially within the
  8       scope that you have some of the expertise but not
  9       all of it?
 10            A.        Yes, that is right.
 11            Q.        Okay.     And I think we have established
 12       this but just to repeat, you have not treated an ILD
 13       patient, correct?
 14            A.        Correct.
 15            Q.        You have not treated a PH-ILD patient?
 16            A.        That is also correct.
 17            Q.        In fact, have you ever treated a patient
 18       in any clinical context?
 19            A.        Aside from myself, no.
 20            Q.        Do you have any prior training or
 21       experience with pulmonary hypertension as a disease?
 22                      MR. BURROWBRIDGE:           Objection, form.
 23            A.        I am hesitating because over the course of
 24       my employment at the University of Chicago, I serve
 25       in a number of capacities, including as the

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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF     Document 422 Filed 07/09/25        Page 449 of 455 PageID
                                     #: 34719



                                                                         Page 28

  1            A.        I have not formed an opinion on that, but
  2       I rely on the experts in this case who I understand
  3       do consider CPFE to be included within the scope of
  4       PH-ILD.       But that is not my opinion.
  5            Q.        And what you have just referred to are
  6       things you have learned since working on this case,
  7       correct?
  8            A.        Those specific beings we just talked about
  9       in the last question, yes.
 10            Q.        Okay.     And you have not talked to any
 11       other experts for UTC, the clinicians, Dr. Nathan or
 12       Wertheim for understanding of PH-ILD?
 13            A.        I have not spoken with either Dr. Nathan
 14       or Dr. Wertheim.
 15            Q.        Do you have any training or experience in
 16       WHO group classifications for PH?
 17                      MR. BURROWBRIDGE:           Objection, form.
 18            A.        I know generally what they are.
 19            Q        (By Mr. Knauss) Did you know that before
 20       you started working on this case?
 21            A.        I may have, I don't recall.
 22            Q.        Do you have any training or experience in
 23       six-minute walk distance testing?
 24                      MR. BURROWBRIDGE:           Objection, form.
 25            A.        That is a good question.               Again, I am

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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25        Page 450 of 455 PageID
                                   #: 34720



                                                                       Page 86

  1       measured a second time.
  2            Q.      It is not necessarily true that the ones
  3       who were not measured a second time would have
  4       performed more poorly?
  5                    MR. BURROWBRIDGE:           Objection, form.
  6            A.      It is not a given that they would have
  7       performed more poorly and it is not a given that
  8       they wouldn't have, we just don't know.                    And that is
  9       the problem with heavily selected, trying to do
 10       statistical analysis on heavily selected patients.
 11       You don't know what to make of the results.
 12            Q.      (By Mr. Knauss) So in Paragraph 250 of
 13       your report, which is another area where you are
 14       discussing the same Faria-Urbina 2018 reference.                       In
 15       the middle of the paragraph referring to exclusions,
 16       you said, "These exclusions eliminated at least
 17       26" -- as you have corrected it -- "patients who
 18       would be expected to have worse functional outcomes
 19       than the 22 follow-up patients."
 20                    Do you see that?
 21            A.      I do.
 22            Q.      Okay.     Your opinion is that even though
 23       there is no data on this, you would expect that
 24       those excluded patients would have performed more
 25       poorly in the six-minute walk test than the ones who

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                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF    Document 422 Filed 07/09/25       Page 451 of 455 PageID
                                    #: 34721



                                                                       Page 87

  1       were included?
  2            A.      Yes.
  3            Q.      Aren't you speculating about that?
  4                    MR. BURROWBRIDGE:           Objection, form.
  5            A.      I suppose you could say it is a
  6       speculation that if you are hospitalized due to
  7       unstable lung disease that it would be speculation.
  8       Well, you will do just as well in a six-minute walk
  9       distance despite the fact that your lung disease is
 10       so unstable it needed hospitalization or that you
 11       had a need for a lung transplant.
 12                    Patients who need lung transplants aren't
 13       doing very well.         And so presumably they couldn't do
 14       as well on a six-minute walk distance.
 15                    Having to add other drugs because the drug
 16       wasn't working well enough suggests that those
 17       patients weren't doing as well.                And so there is no
 18       data on it, but those reasons for exclusion suggests
 19       that they wouldn't have done as well had they
 20       actually been measured.
 21            Q.      (By Mr. Knauss) That is your opinion, even
 22       though you have never treated a PH-ILD patient,
 23       correct?
 24            A.      Correct.
 25            Q.      Never performed a six-minute walk test?

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                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF    Document 422 Filed 07/09/25       Page 452 of 455 PageID
                                    #: 34722



                                                                       Page 88

  1            A.      Correct.
  2            Q.      Never decided whether a patient was well
  3       enough to perform that test or not?
  4                    MR. BURROWBRIDGE:           Object to form.
  5            A.      Correct.
  6            Q.      (By Mr. Knauss) And you did you talk to
  7       Dr. Nathan about this opinion?
  8                    MR. BURROWBRIDGE:           Objection, form.
  9            A.      I did not talk with Dr. Nathan at all.
 10            Q.      (By Mr. Knauss) If you go back to one
 11       paragraph to 249 in the preceding page.
 12            A.      Uh-huh.
 13            Q.      Regarding Faria-Urbina 2018 you wrote,
 14       "Dr. Waxman was a strong advocate of his
 15       hypothesis."
 16                    Do you see that?
 17            A.      Yes.
 18            Q.      Do you question the integrity of
 19       Dr. Waxman's belief in his hypothesis?
 20            A.      Not in the slightest.
 21            Q.      Do you believe that he lacked the
 22       sufficient basis to have his belief?
 23                    MR. BURROWBRIDGE:           Objection, form.
 24            A.      I have no basis for understanding what his
 25       basis was or his beliefs.

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                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF      Document 422 Filed 07/09/25       Page 453 of 455 PageID
                                      #: 34723



                                                                         Page 98

  1            A.        The POSA would not have been able to
  2       consider that in assessing obviousness as of the
  3       priority date.
  4            Q        (By Mr. Knauss) Take a look for me, please,
  5       at Paragraph 178 of your rebuttal report.                       That is
  6       in the Agarwal 2015 reference.
  7            A.        (Witness complies.)
  8            Q.        So you are noting there that the authors
  9       concluded in their abstract which was published as
 10       Agarwal 2015, that the, "Group 3 PH can be
 11       effectively," and then you have an ellipsis,
 12       "treated with inhaled treprostinil."
 13                      Do you see that?
 14            A.        Yes.
 15            Q.        You don't dispute, of course, the
 16       expressed teachings of Agarwal, the paper does say
 17       that, correct?
 18            A.        It says that -- the paper -- I have
 19       accurately quoted and you have accurately stated
 20       back to me what the paper says in the conclusion.
 21                      The -- I would dispute the fact that the
 22       data in the paper indicate that treprostinil is
 23       effective.        When they talk about effectively
 24       treating they don't say specifically effectively
 25       treating for one purpose but not effective for other

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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF      Document 422 Filed 07/09/25       Page 454 of 455 PageID
                                      #: 34724



                                                                         Page 99

  1       purposes.
  2            Q.        And so that is my next question.                  Your
  3       opinion is that you disagree with the authors'
  4       efficacy conclusion, correct?                 That is what you
  5       wrote in Paragraph 178.
  6                      MR. BURROWBRIDGE:           Object to the form.
  7            A.        Yes, I disagree with the authors'
  8       efficacy.
  9            Q        (By Mr. Knauss) And the authors of Agarwal
 10       include Dr. Waxman, correct?
 11            A.        He is the only other author besides
 12       Agarwal.
 13            Q.        And he is an expert in PH-ILD, correct?
 14            A.        Yes.
 15            Q.        And you're not?
 16            A.        That is right.
 17            Q.        And you disagree with his stated
 18       conclusion, correct?
 19            A.        I disagree that the data he presents
 20       support the conclusions that he drew.
 21            Q.        You just think he is wrong?
 22                      MR. BURROWBRIDGE:           Objection, form.
 23            A.        I believe the data in the paper don't
 24       support the efficacy conclusion he drew.
 25            Q        (By Mr. Knauss) And your opinion is that a

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                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:23-cv-00975-RGA-SRF   Document 422 Filed 07/09/25        Page 455 of 455 PageID
                                   #: 34725



                                                                      Page 181

  1                      C E R T I F I C A T E
  2
  3
                   I do hereby certify that I am a Notary
  4         Public in good standing, that the aforesaid
            testimony was taken before me, pursuant to
  5         notice, at the time and place indicated; that
            said deponent was by me duly sworn to tell
  6         the truth, the whole truth, and nothing but
            the truth; that the testimony of said
  7         deponent was correctly recorded in machine
            shorthand by me and thereafter transcribed
  8         under my supervision with computer-aided
            transcription; that the deposition is a true
  9         and correct record of the testimony given by
            the witness; and that I am neither of counsel
 10         nor kin to any party in said action, nor
            interested in the outcome thereof.
 11
                   WITNESS my hand and official seal this
 12         19th day of March, 2025      .
 13
 14                                    <%28813,Signature%>
 15                               ____________________________
                                           Notary Public
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